     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 1 of 299




                                No. 22-10312



      IN THE UNITED STATES COURT OF APPEALS
              FOR THE NINTH CIRCUIT


                   UNITED STATES OF AMERICA,

                                    Plaintiff-Appellee,

                                         v.

                        ELIZABETH A. HOLMES

                                    Defendant-Appellant.

            On Appeal from the United States District Court
                for the Northern District of California
                          No. 5:18-CR-258
                        Hon. Edward J. Davila


                 FURTHER EXCERPTS OF RECORD


JOHN D. CLINE                           KEVIN M. DOWNEY
LAW OFFICE OF JOHN D. CLINE             LANCE A. WADE
 600 Stewart Street                     AMY MASON SAHARIA
 Suite 400                              KATHERINE A. TREFZ
 Seattle, WA 98101                      WILLIAMS & CONNOLLY LLP
 (360) 320-6435                          680 Maine Ave. S.W.
                                         Washington, D.C. 20024
                                         (202) 434-5000
                                         asaharia@wc.com
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 2 of 299




                                      TABLE OF CONTENTS

Declaration of Amy Mason Saharia in Support of Ms. Holmes’ Re-
  newed Motion To Exclude Certain Doctor Testimony [900]
  (Aug. 6, 2021) ............................................................................................ FER-4
    Ex. A. to Saharia Declaration: June 1, 2021 Letter from K. Trefz to
      J. Schenk. R. Leach, J. Bostic, and K. Volkar [900-1]
      (Aug. 6, 2021) ....................................................................................... FER-6
United States’ Opposition to Defendants’ Motion in Limine To Exclude
  Evidence and Argument Regarding Third-Party Testing Platforms
  [666] (Jan. 8, 2021) ................................................................................... FER-8
United States’ Opposition to Defendants’ Motion to Dismiss Counts
  Two and Nine Through Eleven of Superseding Indictment [267]
  (Jan. 13, 2020) ......................................................................................... FER-14
Trial Exhibit 281: Letter from S. Burd to E. Holmes re: collaboration
   between Safeway and Theranos (Mar. 31, 2010)................................ FER-31
Trial Exhibit 1083: Email from W. Miquelon to E. Holmes, re: part-
   nership between Walgreens and Theranos with attached contract
   term sheet (Sept. 5, 2013) ..................................................................... FER-33
Trial Exhibit 3741a: Theranos Testing Menu ........................................ FER-37
Trial Exhibit 4330: Email from E. Holmes to S. Balwani, forwarding
   email exchange between A. Rosendorff and E. Holmes
   (Nov. 20, 2014) ........................................................................................ FER-44
Trial Exhibit 5441: Email from A. Clammer to B. Grossman with at-
   tachment (Jan. 29, 2014) ....................................................................... FER-47
Trial Exhibit 5473B2: Audio Recording of E. Holmes and
   R. Parloff................................................................................................. FER-99
Trial Exhibit 5478A2: Audio Recording of E. Holmes ........................ FER-100
Trial Exhibit 7250: Email from E. Holmes to S. Burd, re: Poor Lab
   Service (Sept. 12, 2012) ....................................................................... FER-101
Trial Exhibit 7653: Email from E. Holmes to D. Boies et al., re: meet-
   ing between Theranos and outside scientists, with attachment
   (Mar. 1, 2016) ........................................................................................ FER-103
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 3 of 299




Trial Exhibit 10512: Email from J. Mattis to E. Holmes, re: Theranos
   Scientific Meeting 2/28 (Mar. 1, 2016) ............................................... FER-107
Trial Exhibit 10570: Email from E. Holmes to C. Cullen, re: follow up
   to call between Theranos and Shering-Plough, with attachments
   (Nov. 12, 2008) ...................................................................................... FER-110
Trial Exhibit 10628: Email from K. Das to S. Balwani, E. Holmes, et
   al., re: statement to Wall Street Journal (Mar. 31, 2016) ............... FER-168
Trial Exhibit 15039: Email from C. Holmes to E. Holmes, forwarding
   conversation between E. Holmes and C. Lipset re: Pfizer
   (June 23, 2015) ...................................................................................... FER-169
Trial Exhibit 15041: Email from E. Holmes to D. Lester, re:
   Theranos/Pfizer opportunities (Aug. 28, 2009)................................. FER-170
Trial Exhibit 15044: Email from S. DiGiamo to E. Holmes, re: Next
   Steps/Action Items, with attachment (Nov. 22, 2008) ..................... FER-171
Trial Exhibit 15045: Email from C. Balkenhol to E. Holmes, re: call
   between C. Balkenhol and C. Cullen (Mar. 3, 2010) ........................ FER-178
Trial Exhibit 15047: Email from H. Sakul to E. Holmes re: Theranos
   meeting with Pfizer (Oct. 29, 2013) .................................................... FER-179
Trial Exhibit 15048: Email from C. Holmes to M. Sogaard & R. Giur-
   danella, re: Meeting at JPM - Theranos/Pfizer, with attachment
   (Jan. 9, 2014) ......................................................................................... FER-181
Trial Exhibit 15058: Email from E. Holmes to T. Breuer, re: follow up
   to GSK meeting, with attachment (Dec. 15, 2009) ........................... FER-213
Trial Exhibit 15066: Email from C. Balkenhol to A. Flynn, re: follow
   up to Theranos/GSK metabolic study, with attachment
   (Mar. 3, 2009) ........................................................................................ FER-288
         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 4 of 299


                      Case 5:18-cr-00258-EJD Document 900 Filed 08/06/21 Page 1 of 2




  -2+1'&/,1( &$6WDWH%DU1R 
    &DOLIRUQLD6WUHHW6XLWH
  6DQ)UDQFLVFR&$
    7HOHSKRQH  Ň)DFVLPLOH  
  (PDLOFOLQH#MRKQGFOLQHODZFRP
  .(9,10'2:1(< $GPLWWHG3UR+DF9LFH 
    /$1&($:$'( $GPLWWHG3UR+DF9LFH 
  $0<0$6216$+$5,$ $GPLWWHG3UR+DF9LFH 
    .$7+(5,1(75()= &$6WDWH%DU1R 
  :,//,$06 &2112//<//3
    7ZHOIWK6WUHHW1:
  :DVKLQJWRQ'&
    7HOHSKRQH  Ň)DFVLPLOH  
  (PDLO.'RZQH\#ZFFRP/:DGH#ZFFRP$6DKDULD#ZFFRP.7UHI]#ZFFRP

  $WWRUQH\VIRU'HIHQGDQW(/,=$%(7+$+2/0(6

                                       81,7('67$7(6',675,&7&2857

                                     1257+(51',675,&72)&$/,)251,$

                                                6$1-26(',9,6,21


      81,7('67$7(62)$0(5,&$                            &DVH1R&5(-'
                                                        
                 3ODLQWLII                                '(&/$5$7,212)$0<0$6216$+$5,$
                                                         ,168332572)06+2/0(6¶5(1(:('
          Y                                               027,2172(;&/8'(&(57$,1'2&725
                                                         7(67,021<
    (/,=$%(7++2/0(6DQG                                 
 5$0(6+³6811<´%$/:$1,                                +RQ(GZDUG-'DYLOD
                                                           
              'HIHQGDQWV                              
                                                           
                                                        
                                                           



                 ,$0<0$6216$+$5,$GHFODUHDVIROORZV

                        ,UHSUHVHQW'HIHQGDQW(OL]DEHWK+ROPHVDQGKDYHEHHQDGPLWWHGWRSUDFWLFHpro hac vice

      LQWKHDERYHFDSWLRQHGPDWWHU,VXEPLWWKLVGHFODUDWLRQLQVXSSRUWRI0V+ROPHV¶5HQHZHG0RWLRQWR

      ([FOXGH&HUWDLQ'RFWRU7HVWLPRQ\ ³0RWLRQ´ ,DWWHVWWRWKHIROORZLQJIDFWVXSRQZKLFKWKH0RWLRQ

      UHOLHV

 '(&/$5$7,212)$0<0$6216$+$5,$,168332572)06+2/0(6¶5(1(:('
    027,2172(;&/8'(&(57$,1'2&7257(67,021<
    &5(-'




                                                        FER-4
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 5 of 299


                 Case 5:18-cr-00258-EJD Document 900 Filed 08/06/21 Page 2 of 2




                 $WWDFKHGWRWKH0RWLRQDUHIRXUH[KLELWV7KHFRQWHQWRIWKHH[KLELWVDUHDVIROORZV

                   D     ([KLELW$LVDWUXHDQGFRUUHFWFRS\RID-XQHOHWWHUIURP.DWKHULQH7UHI]

  WRJRYHUQPHQWFRXQVHO
                   E     ([KLELW%LVDWUXHDQGFRUUHFWFRS\RID-XQHHPDLOIURP$VVLVWDQW8QLWHG

  6WDWHV$WWRUQH\-RKQ%RVWLFWRGHIHQVHFRXQVHO
                   F     ([KLELW&LVDWUXHDQGFRUUHFWFRS\RID-XQHOHWWHUIURP$VVLVWDQW

  8QLWHG6WDWHV$WWRUQH\-RKQ%RVWLFWRGHIHQVHFRXQVHOSURYLGLQJ,QWHULP$PHQGHG([SHUW'LVFORVXUHV
  UHGDFWHGWRSURWHFWSHUVRQDOLQIRUPDWLRQ

                   G     ([KLELW'LVDWUXHDQGFRUUHFWFRS\RID-XO\OHWWHUIURP$VVLVWDQW

 8QLWHG6WDWHV$WWRUQH\-RKQ%RVWLFWRGHIHQVHFRXQVHOSURYLGLQJILQDO$PHQGHG([SHUW'LVFORVXUHV
 UHGDFWHGWRSURWHFWSHUVRQDOLQIRUPDWLRQ

         ,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVWKDWWKHIRUHJRLQJLVWUXH

 DQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH


         ([HFXWHGWKLVWKGD\RI$XJXVWLQ&KHY\&KDVH0'





                                                        $0<0$6216$+$5,$
                                                           $WWRUQH\IRU(OL]DEHWK+ROPHV












 '(&/$5$7,212)$0<0$6216$+$5,$,168332572)06+2/0(6¶5(1(:('
    027,2172(;&/8'(&(57$,1'2&7257(67,021<
    &5(-'
                                                      




                                                     FER-5
Case
Case:5:18-cr-00258-EJD  Document
      22-10312, 11/13/2023,        900-1 DktEntry:
                            ID: 12823472, Filed 08/06/21  Page
                                                    73, Page 6 of1 299
                                                                   of 2




                  Exhibit A




                                FER-6
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 7 of 299



              Case 5:18-cr-00258-EJD Document 900-1 Filed 08/06/21 Page 2 of 2



                                               LAW OFFICES
                                 WILLIAMS S CONNOLLY LLP
                                         725 TWELFTH STREET, N.W.

KATHERINE TREFZ                        WASHINGTON, D. C. 20005 -5901          EOWAR.0 8 1:.NNETT WII•.LIAMS (1920·1988)
                                                                                  P.I\UL R.. CONNOLLY <15122· 1978)
  (202) 434-5038
                                              (202) 434-5000
  ktrefz@wc.com
                                            FAX (202) 434-5029


                                              June 1, 2021

   Via Email

   Mr. Jeffrey Schenk, Esquire
   Mr. Robert Leach, Esquire
   Mr. John C. Bostic, Esquire
   Ms. Kelly Volkar, Esquire
   Assistant United States Attorneys
   United States Attorney’s Office
   Northern District of California
   150 Almaden Blvd. Suite 900
   San Jose, CA 95113

             Re:   United States v. Elizabeth Holmes and Ramesh “Sunny” Balwani
                   No. CR-18-00258-EJD (N.D. Cal.)
   Dear Counsel:
           Since the government’s September 28, 2020 letter updating its Rule 16(a)(1)(G)
   disclosures, the government has performed additional interviews and produced additional
   documents related to some of the doctors identified in the disclosure. So that Ms. Holmes can
   effectively prepare for trial and so that the parties are aligned on what remains to be identified
   pursuant to pp. 54-56 of the Court’s May 22, 2021 Order Re: Motions in Limine (Dkt. No. 798),
   for those doctors whose patients and patient-specific opinions have been identified since
   September 28, 2020, please provide an updated disclosure. Please provide this information by
   June 14, 2021.
           Additionally, so that Ms. Holmes can adequately prepare for trial, including investigating
   particular patient anecdotes and serving subpoenas if necessary, Ms. Holmes requests that the
   government agree to produce compliant disclosures for all doctors identified in the disclosure by
   July 30, 2021. Please let us know the government’s position on this proposal by June 14, 2021
   so that Ms. Holmes can raise it with the Court at the Pretrial Conference.

                                                         Sincerely,



                                                         Katie Trefz


                                               FER-7
 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 8 of 299


          Case 5:18-cr-00258-EJD Document 666 Filed 01/08/21 Page 1 of 6




STEPHANIE M. HINDS (CABN 154284)
Attorney for the United States,
Acting Under Authority Conferred By 28 U.S.C. § 515

HALLIE HOFFMAN (CABN 210020)
Chief, Criminal Division
JEFF SCHENK (CABN 234355)
JOHN C. BOSTIC (CABN 264367)
ROBERT S. LEACH (CABN 196191)
VANESSA BAEHR-JONES (CABN 281715)
Assistant United States Attorneys
        150 Almaden Boulevard, Suite 900
        San Jose, California 95113
        Telephone: (408) 535-5589
        Fax: (408) 535-5066
        john.bostic@usdoj.gov

Attorneys for United States of America
                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA
                                         SAN JOSE DIVISION


UNITED STATES OF AMERICA,                     )   Case No. 18-CR-00258 EJD
                                              )
        Plaintiff,                            )   UNITED STATES’ OPPOSITION TO
                                              )   DEFENDANT’S MOTION IN LIMINE TO
   v.                                         )   EXCLUDE EVIDENCE AND ARGUMENT
                                              )   REGARDING THIRD-PARTY TESTING
ELIZABETH HOLMES and RAMESH                   )   PLATFORMS [ECF No. 576]
“SUNNY” BALWANI,                              )
                                              )   Date: March 23, 2021
        Defendants.                           )   Time: 10:00 a.m.
                                              )   Court: Hon. Edward J. Davila
                                              )




                                            FER-8
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 9 of 299


         Case 5:18-cr-00258-EJD Document 666 Filed 01/08/21 Page 2 of 6




                          INTRODUCTION & FACTUAL BACKGROUND
       Central to the alleged fraud in this case is the fact that Defendant led victims to believe that
Theranos had developed a small proprietary analyzer device that could conduct the full range of blood
tests using a drop of blood from a finger-stick. In reality, the majority of Theranos’s clinical testing was
conducted using analyzers that the company purchased from other manufacturers. Some of those
analyzers were operated by Theranos in the same manner that other clinical labs used them. For tests

run on those devices, Theranos drew larger blood samples from patient’s veins and ran standard, FDA-
approved assays to arrive at results.
       For other third-party analyzers, though, Theranos made modifications to the devices’ hardware

and software in order to allow them to run tests on finger-stick blood samples that were smaller and

more diluted than those machines were designed to handle. In particular, Theranos replaced internal
hardware components in its Siemens ADVIA analyzers, adding a low-volume sample cup designed to
work with the company’s smaller, pre-diluted samples. Theranos named this component the ‘T-cup,” an

apparent play on the ADVIA’s own “J-cup,” which was not optimized for samples as small as the ones

Theranos wished to use. Theranos also modified the software running on the ADVIA machines to
enable the analyzers to work with those samples. It is undisputed that these modifications were not

common or standard in the clinical testing industry. Indeed, Defendant continues to argue that
Theranos’s practice of modifying third-party devices constituted a valuable trade secret that the

company strove to conceal from competitors.
       Nor were such modifications expected or accounted for by the companies who manufactured

those commercial analyzers. Commercially available analyzers have some built-in functionality
allowing a degree of customization when it comes to testing processes. The evidence at trial will show,

however, that Theranos’s changes to these devices went beyond the scope of what manufacturers like
Siemens envisioned. For example, at least one former Theranos employee has informed the government
that only authorized Siemens technicians had access to a certain level of internal programing on the

analyzer, but that Theranos employees had reprogrammed an analyzer after outside technicians had left
access open on the machine, apparently inadvertently. And as for Theranos’s changes to analyzer




                                                   FER-9
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 10 of 299


         Case 5:18-cr-00258-EJD Document 666 Filed 01/08/21 Page 3 of 6




hardware, operating manuals for devices like the Siemens ADVIA 1800 make no mention of aftermarket
hardware modifications or replacing components for the purpose of testing diluted microsamples. (See

Defense Exh. 44).
       Defendant’s motion expresses concern that the government will argue that Theranos’s
modifications of third-party analyzers violated industry standards or manufacturer user agreements, or
that those modifications were wrong or unethical in and of themselves. The government presently does
not plan to introduce testimony or argument to that effect. As explained below, however, the jury is

entitled to hear about the unusual nature of Theranos’s modifications to commercial analyzers because
those facts are relevant to a full understanding of Defendant’s misrepresentations about Theranos’s
technology and the effect of those misrepresentations on the targets of the fraud. Details about the

nature of those modifications also help explain why Theranos’s tests suffered from problems with

accuracy and reliability—issues which deprived patient victims of the benefit of their bargain. The
Court should deny Defendant’s motion seeking to exclude such evidence.
       For similar reasons, the Court should reject Defendant’s suggestion that the jury be blocked from

hearing about steps Theranos took to conceal its reliance on modified third-party analyzers. Those steps

perpetuated the fraud against investors and patients. Evidence showing those steps constitutes an
important part of the government’s proof at trial.

                                              ARGUMENT
I.     Theranos’s Aftermarket Modifications of Third-Party Analyzers Are Central to
       Defendant’s Fraud
       Theranos’s modifications to third-party devices are relevant for several reasons and critical to the

jury’s understanding of the fraud. As an initial matter, the fact and nature of those modifications are part
of the story surrounding one of Defendant’s most persistent and repeated misrepresentations. As
discussed above, Defendant regularly spoke about Theranos’s technology in a way that caused investor

and patient victims to believe that the company was conducting all of its clinical testing using its own
proprietary analyzer. That claimed ability by Theranos was obviously material to potential investors

attempting to predict the company’s impact on the marketplace. Defendant withheld information from
those investors that would have revealed Theranos’s use of modified third-party devices. And because




                                                     FER-10
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 11 of 299


           Case 5:18-cr-00258-EJD Document 666 Filed 01/08/21 Page 4 of 6




modification of those analyzers to handle microsamples was an unknown and non-standard use, victims
had no basis to suspect that Theranos was using third-party devices to compensate for the shortcomings

of its own analyzer. Details about the nature of those modifications are therefore properly admissible to
provide context for Defendant’s fraudulent statements about the capabilities of Theranos’s technology.
       Additionally, the jury should be allowed to consider whether Theranos’s unusual and non-
standard use of third-party analyzers contributed to the accuracy problems experienced by the
company’s customers. The evidence at trial will show that Theranos’s modifications were aimed at

allowing the third-party analyzers to measure blood samples that were smaller and more diluted than the
machines would be able to handle in their non-modified state. By operating the analyzers under these
conditions, however, Theranos increased the likelihood of inaccurate and unreliable results.

       Dr. Adam Rosendorff, Theranos’s laboratory director during the first year of clinical testing, is

expected to testify that the company’s practice of diluting microsamples to run on the third-party devices
was disadvantageous. According to Dr. Rosendorff, the company’s approach diluted samples below the
lower level of quantitation (or “LLOQ”)—the minimum concentration that would allow the device to

reliably measure the amount of analyte present in the sample. Dr. Rosendorff may testify based on his

extensive experience as a laboratory director that manufacturers of analyzers calculate a device’s LLOQ
by using samples of known concentrations, which are then diluted and run on those devices so that
results can be measured and errors calculated. See Defense Exh. 44 at 23-27 (describing dilution

mechanisms present in Siemens ADVIA). These manufacturer tests established the capabilities of an

integrated system including the chemistries and hardware used by the analyzer. When Theranos altered
the process created by the device manufacturer and introduced additional dilution, they “broke the
system,” in Dr. Rosendorff’s words, by forcing the analyzers to attempt measurements that might be
below their LLOQ. Dr. Rosendorff can explain to the jury that this method increased the risk of error in

Theranos’s tests, since error increases at low analyte concentrations. In addition, to the extent an
analyzer has an undesirable bias—a tendency to under-report or over-report the value of an analyte—
sample dilution can exacerbate the harmful effect of that bias on the accuracy of test results. 1


       1
           The government has given the defense notice of this expected testimony from Dr. Rosendorff,




                                                   FER-11
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 12 of 299


         Case 5:18-cr-00258-EJD Document 666 Filed 01/08/21 Page 5 of 6




       In an effort to paint Theranos’s modifications as something benign and even expected or
condoned by the manufacturers of these devices, Defendant cherry picks and misconstrues language

from an operating manual and a summary of a witness interview. In her motion, Defendant points out
that the Siemens ADVIA software allows users a certain level of customization, and that the devices are
set up to run proprietary tests if needed. (Mot. at 2). As discussed above, though, the manual makes no
mention of the kind of modification Theranos performed on the ADVIA machines, and it appears that
Theranos was only able to make some of its software modifications using access that a Siemens

technician had mistakenly left open on one of the company’s devices. Facts like these, combined with
information about the harmful impact of Theranos’s modifications on test sensitivity and accuracy, show
how Theranos’s modifications to commercial analyzers fit into and enabled Defendant’s fraud.

Defendant’s disagreement with the government regarding the significance of these facts is no reason to

exclude evidence. As always, the defense will be free to present its view of the facts at trial through
witness examination and attorney argument. For now, Defendant’s self-serving description of
Theranos’s modifications only highlights the need for the jury to have the full picture. Indeed, without

context regarding the kinds of changes Theranos made to these third-party analyzers, the jury might be

confused as to who is responsible for their inaccurate test results. Such confusion benefits Defendant
but would unnecessarily hinder the jury in its role as fact-finder.

II.    The Court Should Not Exclude Evidence of Defendant’s Attempts to Conceal Her Fraud
       For the same reasons, the Court should allow the jury to hear about Defendant’s attempts to

conceal Theranos’s modifications from outside technicians sent to Theranos to service third-party
analyzers. At the core of Defendant’s fraudulent schemes was the representation that Theranos’s
technology was ready to replace conventional labs and supply the full range of clinical blood tests using
finger-stick samples. That representation was false in several respects. In particular, Defendant knew

that Theranos’s proprietary analyzer could run only a small number of tests, that its analyzer could not
handle high-throughput testing, that the company relied on third-party analyzers for many of its tests,
and that Theranos’s microsample-based approach suffered from accuracy and reliability problems.


and the defense is not seeking to exclude it.




                                                  FER-12
    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 13 of 299


         Case 5:18-cr-00258-EJD Document 666 Filed 01/08/21 Page 6 of 6




Viewed in the context of Defendant’s fraudulent scheme, Theranos’s use of modified commercial
analyzers is revealed for what it is: a measure Defendant’s company put in place to hide the truth about

what its proprietary analyzer could not do. Revealing the company’s dependence on commercial
analyzers would have demonstrated the limits of Theranos’s own analyzer and exposed Defendant’s
misrepresentations to victims. Keeping that information secret concealed Defendant’s scheme and made
it possible for numerous victims to be defrauded. Defendant’s strategy to hide her fraud should not be
withheld from the jury simply because Defendant now characterizes it as trade secret protection. 2
Questions about Defendant’s intent are for the jury to answer based on a complete record.

                                            CONCLUSION
       For the foregoing reasons, the Court should deny Defendant’s motion.


DATED: January 8, 2021                                      Respectfully submitted,

                                                            STEPHANIE M. HINDS
                                                            Attorney for the United States,
                                                            Acting Under Authority Conferred
                                                            By 28 U.S.C. § 515

                                                            _/s/ John C. Bostic__________
                                                            JOHN C. BOSTIC
                                                            JEFF SCHENK
                                                            ROBERT S. LEACH
                                                            VANESSA BAEHR-JONES
                                                            Assistant United States Attorneys




       2
         This issue is discussed in greater detail in the government’s Opposition to Defendant’s Motion
to Exclude Evidence of Theranos’s Trade Secrets Practices.




                                                 FER-13
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 14 of 299


                Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 1 of 17




  $'$0$5((9(6 1<%1 
    $WWRUQH\IRUWKH8QLWHG6WDWHV
  $FWLQJ8QGHU$XWKRULW\&RQIHUUHG%\86&

  +$//,(+2))0$1 &$%1 
    &KLHI&ULPLQDO'LYLVLRQ
 
    -())6&+(1. &$%1 
  -2+1&%267,& &$%1 
    52%(576/($&+ &$%1 
  9$1(66$%$(+5-21(6 &$%1 
    $VVLVWDQW8QLWHG6WDWHV$WWRUQH\V
 
           $OPDGHQ%RXOHYDUG6XLWH
         6DQ-RVH&DOLIRUQLD
           7HOHSKRQH  
         )$;  
           MRKQERVWLF#XVGRMJRY

    $WWRUQH\VIRU8QLWHG6WDWHVRI$PHULFD

                                    81,7('67$7(6',675,&7&2857

                                  1257+(51',675,&72)&$/,)251,$

                                            6$1-26(',9,6,21


 81,7('67$7(62)$0(5,&$                     &$6(12&5(-'
                                                  
            3ODLQWLII                         81,7('67$7(6¶23326,7,2172
                                                   '()(1'$176¶027,2172',60,66
      Y                                       &281767:2$1'1,1(7+528*+
                                                   (/(9(12)683(56(',1*,1',&70(17
 (/,=$%(7++2/0(6DQG5$0(6+                   (&)12 
    ³6811<´%$/:$1,                             
                                                'DWH)HEUXDU\
         'HIHQGDQWV                              7LPHDP
                                                &RXUW+RQ(GZDUG-'DYLOD












      *2972337202772',60,663$7,(17&28176
      &5(-'




                                             FER-14
            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 15 of 299

              Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 2 of 17
                                               
                                                                                                                                                              
      

                                                         7$%/(2)&217(176

  
  ,       ,1752'8&7,21

  ,,      %$&.*5281'

           $        'HIHQGDQWV¶6FKHPHWR'HIUDXG'RFWRUVDQG3DWLHQWV

           %        +DUP6XIIHUHGE\3DWLHQWVDVD5HVXOWRI'HIHQGDQWV¶)UDXG

  ,,,     $5*80(17

           $        7KH/DZ'RHV1RW6XSSRUW'LVPLVVDO

           %        7KH,QGLFWPHQW$OOHJHV'HIHQGDQWV¶,QWHQWWR'HIUDXG3DWLHQW9LFWLPV

          &        7KH,QGLFWPHQW$OOHJHV'HIHQGDQWV¶,QWHQWWR2EWDLQ0RQH\IURPWKH9LFWLPV
                       RIWKH)UDXG

      ,9    &21&/86,21

      

                                            




















      *2972337202772',60,663$7,(17&28176                                                                                                            
      &5(-'                        L




                                                                       FER-15
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 16 of 299

                   Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 3 of 17
                                                    
                                                                                                                                                              
       

                                                          7$%/(2)$87+25,7,(6

                                                                                                                                                 3DJH V 

  &DVHV

  Monterey Plaza Hotel Ltd. P'ship v. Local 483 of Hotel Employees & Rest. Employees Union, AFL-CIO
      )G WK&LU 
  Neder v. United States
      86  
  Russell v. United States
      86  
  United States v. Cleveland
      86  
  United States v. Ali
      )G WK&LU 
  United States v. Bonallo
      )G WK&LU 
 United States v. Bruchhausen
      )G WK&LU 
 United States v. Buckley
      )G WK&LU 
 United States v. Cecil
      )G WK&LU 
 United States v. Ciccone
      )G WK&LU 
 United States v. Crawford
      )G WK&LU 
 United States v. Curtis
      )G WK&LU 
 United States v. Dowie
      )HG$SS[ WK&LU'HF 
 United States v. Giese
      )G WK&LU 
 United States v. Greenberg
      )G G&LU 
 United States v. Harkonen
      )HG$SS[ WK&LU0DU 
 United States v. Jinian
      )G WK&LU 
 United States v. Keith
      )G WK&LU 
 United States v. Keuylian
      )6XSSG &'&DO 
 United States v. Lew
      )G WK&LU 
 United States v. Lothian
      )G WK&LU 
 United States v. McNally
      86  
 United States v. Mitchell
      )G WK&LU 
 United States v. Pheaster
      )G WK&LU 


       *2972337202772',60,663$7,(17&28176                                                                                                           
       &5(-'                        LL




                                                                          FER-16
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 17 of 299

                   Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 4 of 17
                                                    
                                                                                                                                                                 
       

  United States v. Plache
      )G WK&LU 
  United States v. Regent Office Supply Co
      )G G&LU 
  United States v. Rogers
      )G WK&LU 
  United States v. Sadler
      )G WK&LU 
  United States v. Shellef
      )G G&LU 
  United States v. Takhalov
      )G WK&LU 
  United States v. Utz
      )G WK&LU 
  United States v. Woods
      )G WK&LU 
 
    6WDWXWHV

    86&
 86&
    86&
 86&
    

    




















       *2972337202772',60,663$7,(17&28176                                                                                                              
       &5(-'                        LLL




                                                                           FER-17
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 18 of 299

              Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 5 of 17
                                               
                                                                                                                    
      

  ,     ,1752'8&7,21

          7KLVFDVHLQYROYHVWZRGHIHQGDQWVZKRFRPPLWWHGIUDXGLQFRQQHFWLRQZLWK7KHUDQRVDEORRG

  WHVWLQJFRPSDQ\WKDWWKH\EXLOWDQGRSHUDWHG'HIHQGDQWV¶IUDXGFHQWHUHGRQPLVOHDGLQJWKHSXEOLF

  UHJDUGLQJWKHFDSDELOLWLHVRI7KHUDQRV¶VWHFKQRORJ\'HIHQGDQWVUHSUHVHQWHGWKDWWKHLUWHFKQRORJ\
  SURGXFHGDFFXUDWHDQGUHOLDEOHUHVXOWV,QUHDOLW\'HIHQGDQWVNQHZWKDWWKHLUGHYLFHVIUHTXHQWO\\LHOGHG
  LQDFFXUDWHUHVXOWVUHQGHULQJWKHLUWHVWVXQUHOLDEOH$VDUHVXOWRI'HIHQGDQWV¶PLVUHSUHVHQWDWLRQVRQWKLV
  WRSLFDQGVHYHUDORWKHUVLQYHVWRUVORVWKXQGUHGVRIPLOOLRQVRIGROODUV
          7KHUHLVDVHFRQGJURXSRIYLFWLPVLQWKLVFDVHKRZHYHUDQGLWQXPEHUVLQWRWKHWKRXVDQGV

  :KHQ'HIHQGDQWVPDUNHWHGWKHLUEORRGWHVWLQJVHUYLFHVWRGRFWRUVDQGSDWLHQWVWKH\NQHZWKH\ZHUH

 RIIHULQJDSURGXFWWKDWZDVQRWZKDWLWDSSHDUHGWREH$OWKRXJKWKH\KHOGRXW7KHUDQRV¶VWHVWVDV
 VXLWDEOHIRUXVHLQSDWLHQWFDUHWKH\ZHUHDZDUHWKDWWKHWHVWVZHUHQRWUHOLDEOHHQRXJKIRUPHGLFDO
 GHFLVLRQPDNLQJ$VDUHVXOWRIWKLVIUDXGWKRXVDQGVRISDWLHQWVUHFHLYHGXQUHOLDEOHEORRGWHVWV
 GHSULYLQJWKHPRIPRQH\RUSURSHUW\SODFLQJWKHLUKHDOWKDWULVNDQGLQPDQ\FDVHVFDXVLQJDFWXDO

 KDUP:LWKWKHLQVWDQWPRWLRQ'HIHQGDQWVDVNWKH&RXUWWRLJQRUHDOORIWKHVHYLFWLPVDQGOLPLWWKLV
 FDVHWRWKHIUDXGWDUJHWLQJLQYHVWRUV7KDWPRWLRQVKRXOGEHGHQLHGIRUDWOHDVWWKUHHUHDVRQV

         )LUVWWKH,QGLFWPHQWLQWKLVFDVHPHHWVFRQVWLWXWLRQDOVWDQGDUGVLQSOHDGLQJWKHIUDXGDJDLQVW

 GRFWRUVDQGSDWLHQWV7KRVHVWDQGDUGVGRQRWUHTXLUHDFKDUJLQJGRFXPHQWWRDOOHJHHYHU\GHWDLOWKDWZLOO
 EHSUHVHQWHGDWWULDOEXWLQVWHDGSURYLGHWKDWLQGLFWPHQWVVKRXOGEHUHDGDVDZKROHLQFOXGLQJLPSOLHG

 IDFWVDQGZLWKWKHEHQHILWRIFRPPRQVHQVH
         6HFRQGWKHIUDXGDOOHJHGLQWKH,QGLFWPHQWJRHVWRWKHFRUHRIWKHEDUJDLQEHWZHHQ7KHUDQRVDQG

 LWVFXVWRPHUV7KHPHGLFDOWHVWVRIIHUHGE\7KHUDQRVKDGHVVHQWLDOO\QRYDOXHLIWKH\FRXOGQRWEHUHOLHG
 XSRQDQG'HIHQGDQWV¶GHFLVLRQWRPDUNHWWKRVHXQUHOLDEOHWHVWVLVWKHGHILQLWLRQRILQWHQWWRGHIUDXG
         7KLUGWKH,QGLFWPHQWDOOHJHVWKDW'HIHQGDQWVLQWHQGHGWRGHSULYHWKHLUYLFWLPVRISURSHUW\²

 VSHFLILFDOO\WKHPRQH\WKDW7KHUDQRV¶VFXVWRPHUVZRXOGSD\IRUWHVWLQJVHUYLFHV7KHIDFWWKDWQRW

 HYHU\YLFWLPSDLGGLUHFWO\IRUD7KHUDQRVWHVWGRHVQRWDIIHFWWKHYLDELOLW\RIWKLVFKDUJH
         7KH&RXUWVKRXOGGHQ\'HIHQGDQWV¶PRWLRQWRGLVPLVVLQLWVHQWLUHW\

 
 

      *2972337202772',60,663$7,(17&28176                                                                  
      &5(-'                        




                                                     FER-18
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 19 of 299

              Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 6 of 17
                                               
                                                                                                                     
      

  ,,     %$&.*5281'

           $     'HIHQGDQWV¶6FKHPHWR'HIUDXG'RFWRUVDQG3DWLHQWV

           $VDOOHJHGLQWKH,QGLFWPHQW7KHUDQRVRSHUDWHGLQ³VWHDOWKPRGH´IRUWKHILUVWWHQ\HDUVRILWV

  H[LVWHQFH%HJLQQLQJLQDSSUR[LPDWHO\KRZHYHU'HIHQGDQWVEHJDQWRSURPRWHWKHFRPSDQ\DQG
  LWVWHFKQRORJ\2QHRI'HIHQGDQWV¶JRDOVZDVWRDWWUDFWLQYHVWPHQW7KHRWKHUNH\JRDOZDVWRSURPRWH
  7KHUDQRV¶VVHUYLFHVWRWKHGRFWRUVDQGSDWLHQWVZKRPDGHXSWKHFRPSDQ\¶VSRWHQWLDOFXVWRPHUVRQFHLW
  VWDUWHGRIIHULQJEORRGWHVWLQJLQ6HSWHPEHURIWKDW\HDU
           ,QRUGHUWRDWWUDFWWKRVHFXVWRPHUVDQGLQGXFHWKHPWRSD\IRU7KHUDQRV¶VVHUYLFHV'HIHQGDQWV

  H[SOLFLWO\DQGLPSOLFLWO\UHSUHVHQWHGWKDWWKHLUWHVWVZHUHDFFXUDWHDQGUHOLDEOHLQDGGLWLRQWREHLQJIDVWHU

 DQGFKHDSHUWKDQWKHFRPSHWLWLRQ 6HH,QGLFWPHQW(&)1RDW )RULQVWDQFH7KHUDQRV¶V
 SXEOLFZHEVLWHWRXWHGWKHFRPSDQ\¶VSXUSRUWHGDELOLW\WRFRQGXFWWHVWVXVLQJWLQ\EORRGVDPSOHVDQG
 H[SUHVVO\VWDWHGWKDWLWVODEFRXOGSHUIRUPWHVWV³TXLFNO\DQGDFFXUDWHO\RQVDPSOHVDVVPDOODVDVLQJOH
 GURS´ Id.DW 

          ,QWUXWK'HIHQGDQWVNQHZWKDW7KHUDQRV¶VWHFKQRORJ\VXIIHUHGIURPUHFXUULQJSUREOHPVDQGZDV

 QRWFDSDEOHRIFRQVLVWHQWO\SURGXFLQJDFFXUDWHDQGUHOLDEOHUHVXOWV²LQSDUWLFXODUIRUFHUWDLQDQDO\WHV

 LQFOXGLQJFDOFLXPFKORULGHSRWDVVLXPVRGLXPDQGELFDUERQDWH HDFKRIZKLFKLVUHOHYDQWWRWKH
 GLDJQRVLVRIDYDULHW\RIPHGLFDOFRQGLWLRQV DVZHOODV+,9 WKHOLIHWKUHDWHQLQJDXWRLPPXQHGLVHDVH 
 +ED& LQGLFDWLYHRIWKHSUHVHQFHDQGVHYHULW\RIGLDEHWHV DQGK&* DKRUPRQHDVVRFLDWHGZLWK

 SUHJQDQF\  Id.DW +ROPHVDQG%DOZDQLNQHZWKDWWKHPHGLFDOUHSRUWVWKH\ZHUHSURYLGLQJWR
 SDWLHQWVFRQWDLQHGRUZHUHOLNHO\WRFRQWDLQ  LQDFFXUDWHDQGXQUHOLDEOHUHVXOWV  LPSURSHUO\

 DGMXVWHGUHIHUHQFHUDQJHVGHILQLQJDQRUPDORUKHDOWK\UHVXOWIRUDJLYHQWHVW  LPSURSHUO\UHPRYHG
 ³FULWLFDO´UHVXOWVLHUHVXOWVVXJJHVWLQJWKDWDSDWLHQWQHHGHGPHGLFDODWWHQWLRQDQG  UHVXOWVJHQHUDWHG
 IURPLPSURSHUO\YDOLGDWHGDVVD\VIXUWKHUGHFUHDVLQJWKHUHOLDELOLW\RIWKRVHWHVWV Id.DW 
          :KHQ$UL]RQD¶V$WWRUQH\*HQHUDOILOHGDODZVXLWDJDLQVW7KHUDQRVDOOHJLQJWKDWLWV

 DGYHUWLVHPHQWVPLVUHSUHVHQWHGWKHDFFXUDF\DQGUHOLDELOLW\RILWVEORRGWHVWLQJ7KHUDQRVHQWHUHGLQWRD
 VHWWOHPHQWXQGHUZKLFKLWUHIXQGHGWHQVRIWKRXVDQGVRISDWLHQWVWKHPRQH\WKH\KDGSDLGIRUWKH
 FRPSDQ\¶VWHVWLQJVHUYLFHV%\WKDWWLPHWKHFRPSDQ\KDGDOUHDG\YRLGHG\HDUVRIUHVXOWVSUHYLRXVO\
 
                
                  6HH$UL]RQD$WWRUQH\*HQHUDO¶V2IILFH3UHVV5HOHDVH KWWSVZZZD]DJJRYSUHVVUHOHDVHVDJ
      *2972337202772',60,663$7,(17&28176                                                                   
      &5(-'                        




                                                      FER-19
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 20 of 299

                    Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 7 of 17
                                                     
                                                                                                                   
      

  SURYLGHGWRSDWLHQWVEDVHGRQWHVWVUXQRQLWVSURSULHWDU\DQDO\]HU
              %     +DUP6XIIHUHGE\3DWLHQWVDVD5HVXOWRI'HIHQGDQWV¶)UDXG

              7KHJRYHUQPHQWLVQRWUHTXLUHGWRSOHDGRUSURYHWKDWHYHU\7KHUDQRVSDWLHQWVXIIHUHGKDUPLQ

  RUGHUWRVXVWDLQDFRQYLFWLRQOHWDORQHVXUYLYHDPRWLRQWRGLVPLVVWKHLQGLFWPHQW%XWZKHQ'HIHQGDQWV
  SXWWKHLUIUDXGXOHQWVFKHPHLQWRDFWLRQWKH\SODFHGSDWLHQWV¶KHDOWKDWULVNDQGWKHHYLGHQFHVKRZLQJ
  WKDWWKH\LJQRUHGSRWHQWLDODQGDFWXDOSDWLHQWKDUPZLOOEHLQWHJUDOSURRIRIWKHLULQWHQWWRGHIUDXG,W
  JRHVZLWKRXWVD\LQJWKDWZKHQDFRPSDQ\SURYLGHVXQUHOLDEOHPHGLFDOWHVWLQJVHUYLFHVVHYHUHSDWLHQW
  KDUPLVDQLQHYLWDEOHUHVXOW0DQ\RIWKHSDWLHQWVLQWHUYLHZHGE\WKHJRYHUQPHQWZHUHDIIHFWHGLQ
  VHULRXVZD\VE\WKHLQDFFXUDWHDQGXQUHOLDEOHWHVWVWKH\UHFHLYHGIURP7KHUDQRV

             )RUH[DPSOHRQHSDWLHQWUHFHLYHGDODEUHSRUWIURP7KHUDQRVVWDWLQJWKDWKHZDV+,9SRVLWLYH

 ([SHULHQFLQJVKRFNDQGGHSUHVVLRQDVDUHVXOWRIWKDWOLIHFKDQJLQJGLDJQRVLVKHZDVSODQQLQJWRVHHND
 FRQILUPDWRU\WHVWIURPDQRWKHUODEZKHQD7KHUDQRVUHSUHVHQWDWLYHFDOOHGKLPDQGGLVFRXUDJHGKLPIURP
 REWDLQLQJDVHFRQGRSLQLRQYRXFKLQJIRUWKHUHOLDELOLW\RIWKH7KHUDQRVUHVXOW$IWHUOLYLQJZLWKWKLV

 GLDJQRVLVIRUVHYHUDOGD\VWKDWSDWLHQWOHDUQHGWKDWWKH7KHUDQRVWHVWKDGEHHQLQDFFXUDWHDQGWKDWKHZDV
 KHDOWK\DIWHUDOO

             'HIHQGDQWVZHUHDOVRDZDUHWKDWWKHFRPSDQ\ZDVKDYLQJSUREOHPVZLWKWKHDFFXUDF\RILWVK&*

       KXPDQFKRULRQLFJRQDGRWURSKLQ WHVW²XVHGE\GRFWRUVWRGHWHUPLQHZKHWKHUDSDWLHQWLVSUHJQDQW7KH

 JRYHUQPHQWKDVLQWHUYLHZHGPXOWLSOHLQGLYLGXDOVZKRZHUHWUDXPDWL]HGRUSODFHGLQPHGLFDOGDQJHUDVD

 UHVXOWRILQDFFXUDWHK&*WHVWVIURP7KHUDQRV2QHSDWLHQWZKRKDGEHHQWU\LQJXQVXFFHVVIXOO\WRKDYH
 DFKLOGIRUDORQJWLPHEHFDPHSUHJQDQWRQO\WRUHFHLYHD7KHUDQRVEORRGWHVWGXULQJWKHHDUO\VWDJHVRI

 KHUSUHJQDQF\LQGLFDWLQJWKDWVKHZDVPLVFDUU\LQJ$IWHUEHLQJIRUFHGWROLYHWKURXJKWKHKHDUWEUHDN
 FDXVHGE\WKDWQHZVVKHREWDLQHGDWHVWUHVXOWIURPDFRQYHQWLRQDOODEVKRZLQJWKDWWKDQNIXOO\KHU
 SUHJQDQF\ZDVVWLOOYLDEOH$QRWKHUSDWLHQWUHFHLYHGD7KHUDQRVWHVWUHVXOWLQGLFDWLQJWKDWVKHZDVQRW
 SUHJQDQW,QUHDOLW\VKHZDVFXUUHQWO\H[SHULHQFLQJDQHFWRSLFSUHJQDQF\WKDWZRXOGKDYHWKUHDWHQHG

 KHUOLIHKDGDWHVWIURPDQRWKHUODEQRWUHYHDOHGLWVSUHVHQFH

    
 EUQRYLFKREWDLQVPLOOLRQDUL]RQDQVZKRSXUFKDVHGWKHUDQRVEORRGWHVWV 
                
                6HH³7KHUDQRV+DV7KURZQ2XW7ZR<HDUVRI%ORRG7HVW5HVXOWV´)RUWXQH 0D\ 
          KWWSVIRUWXQHFRPWKHUDQRVYRLGHGLVRQUHVXOWV 
      *2972337202772',60,663$7,(17&28176                                                                 
      &5(-'                        




                                                       FER-20
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 21 of 299

                 Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 8 of 17
                                                  
                                                                                                                    
      

              7KHHYLGHQFHDWWULDOZLOOVKRZWKDWWKHVHSDWLHQWVDORQJZLWKPDQ\RWKHUVZHUHLQWHQGHGWDUJHWV

  RI'HIHQGDQWV¶VFKHPHWRGHIUDXG7KHLUH[SHULHQFHVZLWK7KHUDQRVDUHHYLGHQFHRIWKHLQDFFXUDF\RI
  WKHWHVWVDQGRI'HIHQGDQWV¶NQRZOHGJHRIWKHLUWHFKQRORJ\¶VODFNRIUHOLDELOLW\7KDWGRHVQRWPHDQ

  WKRXJKWKDWVXFKHYLGHQFHQHHGVWREHGHVFULEHGLQWKHFKDUJLQJGRFXPHQW7KH,QGLFWPHQWDGHTXDWHO\
  DOOHJHVWKHH[LVWHQFHRI'HIHQGDQWV¶IUDXGXOHQWVFKHPHXQGHUWKHVWDQGDUGVGLVFXVVHGEHORZ
  ,,,       $5*80(17

              $     7KH/DZ'RHV1RW6XSSRUW'LVPLVVDO

              7KHPDLQSXUSRVHVRIDQLQGLFWPHQWDUH  WRFRQWDLQWKHHOHPHQWVRIWKHRIIHQVHLQWHQGHGWREH

  FKDUJHGDQGVXIILFLHQWO\DSSULVHWKHGHIHQGDQWRIZKDWKHRUVKHPXVWEHSUHSDUHGWRPHHWDQG  LQ

 FDVHDQ\VLPLODUFKDUJHVDUHODWHUILOHGDJDLQVWWKHGHIHQGDQWWRDOORZWKHGHIHQGDQWWRDUJXHGRXEOH
 MHRSDUG\Russell v. United States86  $OWKRXJKDQLQGLFWPHQWVKRXOGDOVREH
 GHWDLOHGHQRXJKWRDOORZDFRXUWWRGHWHUPLQHLWVVXIILFLHQF\WKH1LQWK&LUFXLWFRQVLGHUVWKLVD
 ³FRUROODU\SXUSRVH´RIWKHGRFXPHQWW\SLFDOO\FRQVLGHUHGDIWHUWULDO³ZKHQWKHWKHRU\RQZKLFKWKH

 *RYHUQPHQWKDVREWDLQHGDFRQYLFWLRQLVFOHDU´United States v. Buckley)GQ WK
 &LU $WWKHSUHWULDOVWDJHWKHLQGLFWPHQWLVXVXDOO\GHHPHGVXIILFLHQWLILWVDWLVILHVWKHWZR

 REMHFWLYHVDERYHId.,WLVZHOOHVWDEOLVKHGWKDW³DQLQGLFWPHQWQHHGQRWEHGUDIWHGLQWKHPRVWSUHFLVH
 IRUPSRVVLEOH´United States v. Pheaster)G WK&LU 
             $QLQGLFWPHQW³LVQRWWREHUHDGLQDWHFKQLFDOPDQQHUEXWLWLVWREHFRQVWUXHGDFFRUGLQJWR

 FRPPRQVHQVHZLWKDQDSSUHFLDWLRQRIH[LVWLQJUHDOLWLHV´United States v. Giese)G
       WK&LU  TXRWDWLRQRPLWWHG $GGLWLRQDOO\DQLQGLFWPHQWVKRXOGEH³UHDGDVDZKROH´DQG³UHDG

 WRLQFOXGHIDFWVZKLFKDUHQHFHVVDULO\LPSOLHG´Buckley)GDW
             &RXUWVDSSO\LQJWKHVHVWDQGDUGVZLOOQRWGLVPLVVLQGLFWPHQWVRUUHYHUVHFRQYLFWLRQVH[FHSWLQ

 H[WUHPHFDVHVSee, e.g.Russell86DW UHYHUVLQJFRQYLFWLRQXQGHUVWDWXWHFULPLQDOL]LQJ
 UHIXVDOWRDQVZHUTXHVWLRQIURPFRQJUHVVLRQDOVXEFRPPLWWHHZKHUHLQGLFWPHQWIDLOHGWRVSHFLI\WRSLF

 XQGHULQTXLU\LQSURFHHGLQJV United States v. Keith)G WK&LU  LQGLFWPHQWFKDUJLQJ
 GHIHQGDQWZLWKLQYROXQWDU\PDQVODXJKWHUIDLOHGWRDOOHJHFRUUHFWPHQWDOVWDWHUHTXLUHGXQGHUWKDW
 VWDWXWH United States v. Cecil)G WK&LU  ³EDUUHQ´LQGLFWPHQWFKDUJHG
 HOHYHQGHIHQGDQWVZLWKGUXJFRQVSLUDF\EXWRQO\WUDFNHGVWDWXWRU\ODQJXDJHDQGJDYHVXSHUILFLDOGHWDLOV

      *2972337202772',60,663$7,(17&28176                                                                  
      &5(-'                        




                                                        FER-21
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 22 of 299

              Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 9 of 17
                                               
                                                                                                                      
      

  DERXWFRQVSLUDF\LHLWVORFDWLRQDQGREMHFWLYH United States v. Curtis)G WK&LU
    IUDXGLQGLFWPHQWSOHDGHG³OLWWOHPRUHWKDQWKHVWDWXWRU\ODQJXDJHZLWKRXWDQ\IDLULQGLFDWLRQRI
  WKHQDWXUHRUFKDUDFWHURIWKHVFKHPH´RUWKHPLVUHSUHVHQWDWLRQVWKDWZHUHSDUWRILW United States v.

  Keuylian)6XSSG &'&DO  GLVPLVVLQJLQGLFWPHQWWKDWDGRSWHGVWDWXWRU\
  IUDXGODQJXDJHEXW³IDLO>HG@WRGHVFULEHDQ\DFWRIGHFHSWLRQFRPPLWWHGE\>WKHGHIHQGDQW@´ 
           7KH6XSUHPH&RXUWFRQVLGHUVLWDEHQHILFLDOGHYHORSPHQWLQFULPLQDOODZWKDWLWKDV³XSKHOG

  PDQ\FRQYLFWLRQVLQWKHIDFHRITXHVWLRQVFRQFHUQLQJWKHVXIILFLHQF\RIWKHFKDUJLQJSDSHUV´DQGWKDW
  FRQYLFWLRQVDUHQRORQJHUUHYHUVHGEHFDXVHRIGHILFLHQFLHVWKDWGRQRWSUHMXGLFHWKHDFFXVHGRussell
  86DW

          $QLQGLFWPHQWFKDUJLQJFRQVSLUDF\VDWLVILHVWKHDSSOLFDEOHVWDQGDUGVDERYHLILWDOOHJHVWKHWKUHH

 HOHPHQWVZKLFKDUHWKH³JLVWRIWKHRIIHQVH´Giese)GDW6XFKDQLQGLFWPHQWQHHGQRW
 ³DOOHJHZLWKWHFKQLFDOSUHFLVLRQDOOWKHHOHPHQWVHVVHQWLDOWRWKHFRPPLVVLRQRIWKHRIIHQVHZKLFKLVWKH
 REMHFWRIWKHFRQVSLUDF\´Id.DW

          7KHZLUHIUDXGVWDWXWHFULPLQDOL]HVWKHXVHRIWKHZLUHVE\DQLQGLYLGXDO³KDYLQJGHYLVHGRU

 LQWHQGLQJWRGHYLVHDQ\VFKHPHRUDUWLILFHWRGHIUDXGRUIRUREWDLQLQJPRQH\RUSURSHUW\E\PHDQVRI

 IDOVHRUIUDXGXOHQWSUHWHQVHVUHSUHVHQWDWLRQVRUSURPLVHV´86&7KHHOHPHQWVRIZLUH
 IUDXGDUH  WKHH[LVWHQFHRIDVFKHPHWRGHIUDXG  WKHXVHRIZLUHUDGLRRUWHOHYLVLRQWRIXUWKHUWKH
 VFKHPHDQG  DVSHFLILFLQWHQWWRGHIUDXGUnited States v. Jinian)G WK&LU 

 7KH1LQWK&LUFXLWUHFRJQL]HVWKDWWKHIUDXGVWDWXWH³UHDFKHVDZLGHUDQJHRIIUDXGXOHQWDFWLYLW\´United
 States v. Bonallo)G WK&LU see also 5DNRIIThe Federal Mail Fraud

 Statute'XTXHVQH/5HY   PDLOIUDXGVWDWXWHKDVEHHQFKDUDFWHUL]HGDVWKH³µILUVWOLQH
 RIGHIHQVH¶DJDLQVWYLUWXDOO\HYHU\QHZDUHDRIIUDXGWRGHYHORSLQWKH8QLWHG6WDWHVLQWKHSDVW
 FHQWXU\«´ 
          %     7KH,QGLFWPHQW$OOHJHV'HIHQGDQWV¶,QWHQWWR'HIUDXG3DWLHQW9LFWLPV

          7KH,QGLFWPHQWLQWKLVFDVHFOHDUO\DOOHJHVWKDW+ROPHVDQG%DOZDQL³WKURXJKDGYHUWLVHPHQWV

 DQGVROLFLWDWLRQVHQFRXUDJHGDQGLQGXFHGGRFWRUVDQGSDWLHQWVWRXVH7KHUDQRV¶VEORRGWHVWLQJ

 
                
                  $GGUHVVLQJFKDUJHXQGHU86&
      *2972337202772',60,663$7,(17&28176                                                                    
      &5(-'                        




                                                      FER-22
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 23 of 299

                 Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 10 of 17
                                                   
                                                                                                                   
      

  ODERUDWRU\VHUYLFHV´ ,QGLFWPHQWDW 'HIHQGDQWV¶VFKHPHWRGHIUDXGLQFOXGHG³VROLFLWLQJ
  HQFRXUDJLQJRURWKHUZLVHLQGXFLQJGRFWRUVWRUHIHUDQGSDWLHQWVWRSD\IRUDQGXVHLWVODERUDWRU\DQG
  EORRGWHVWLQJVHUYLFHVXQGHUWKHIDOVHDQGIUDXGXOHQWSUHWHQVHWKDW7KHUDQRVWHFKQRORJ\SURGXFHG

  UHOLDEOHDQGDFFXUDWHEORRGWHVWUHVXOWV´ Id.DW 
              'HIHQGDQWVDWWHPSWWRHVFDSHWKHDOOHJDWLRQVDJDLQVWWKHPE\PLVUHDGLQJWKH,QGLFWPHQWDQG

  PLVLQWHUSUHWLQJWKHDSSOLFDEOHFDVHODZ5HPDUNDEO\'HIHQGDQWV¶PRWLRQDUJXHVWKDWWKH,QGLFWPHQW
  PXVWEHGLVPLVVHGEHFDXVHWKHUHLVQRDOOHJDWLRQWKDWGHFHLYHGSDWLHQWV³GLGQRWJHWZKDWWKH\SDLGIRU´
        0RWDW ,QRWKHUZRUGV'HIHQGDQWVDVVHUWWKDWWKHLUPLVUHSUHVHQWDWLRQVDERXWWKHDFFXUDF\DQG

  UHOLDELOLW\RI7KHUDQRV¶VWHVWVGLGQRWJRWRDQHVVHQWLDOHOHPHQWRIWKHEDUJDLQEHWZHHQWKHPDQGWKHLU

 FXVWRPHUV'HIHQGDQWVDUHLQFRUUHFW
             7KHNH\TXHVWLRQDV'HIHQGDQWVDGPLWLVZKHWKHUWKHFKDUJLQJGRFXPHQWDOOHJHVWKHLULQWHQWWR

 GHIUDXG³,WLVVHWWOHGODZWKDWLQWHQWWRGHIUDXGPD\EHHVWDEOLVKHGE\FLUFXPVWDQWLDOHYLGHQFH´United
 States v. Rogers)G WK&LU 7KDWLQWHQWPD\EHLQIHUUHGIURP

 PLVUHSUHVHQWDWLRQVPDGHE\DGHIHQGDQWsee United States v. Lothian)G WK&LU
  DQGWKHVFKHPHLWVHOIPD\EHSUREDWLYHFLUFXPVWDQWLDOHYLGHQFHRIDQLQWHQWWRGHIUDXGUnited

 States v. Plache)G WK&LU 
             'HIHQGDQWVDFFXVHWKH,QGLFWPHQWRIIDLOLQJWRDOOHJHPLVUHSUHVHQWDWLRQVEHFDXVHLWVWDWHVWKDW

 'HIHQGDQWVFODLPHGWKHLUWHVWVZHUHDFFXUDWHDQGUHOLDEOHHYHQWKRXJK7KHUDQRV³ZDVQRWFDSDEOHRI

 consistentlySURGXFLQJDFFXUDWHDQGUHOLDEOHUHVXOWV´ ,QGLFWPHQWDW  HPSKDVLVDGGHG 
 'HIHQGDQWVVHHPWRDUJXHWKDWWKHLUDOOHJHGUHSUHVHQWDWLRQVZHUHQRWIDOVHEHFDXVHHYHQXQGHUWKH

 ,QGLFWPHQW¶VDOOHJDWLRQVsomeRI7KHUDQRV¶VWHVWUHVXOWVPD\KDYHEHHQDFFXUDWH%XWWKHH[LVWHQFHRI
 VRPHDFFXUDWHWHVWUHVXOWVGRHVQRWFUHDWHDORRSKROHLQWKHFKDUJHV$VFKHPH¶VIUDXGXOHQWQDWXUHLV
 PHDVXUHGE\D³QRQWHFKQLFDO´VWDQGDUGXQGHUZKLFKUHSUHVHQWDWLRQVDUHYLHZHGDVIUDXGXOHQWLIWKH\DUH
 ³PLVOHDGLQJRUGHFHSWLYH´DQGQHHGQRWEH³OLWHUDOO\IDOVH´United States v. Woods)G

       WK&LU  TXRWDWLRQRPLWWHG 7KXV'HIHQGDQWVFDQQRWSUHYDLOEDVHGRQDQRYHUO\WHFKQLFDO

 UHDGLQJRIWKHPLVUHSUHVHQWDWLRQVDOOHJHGLQWKH,QGLFWPHQW,QGHHGWKHJRYHUQPHQWLVQRWUHTXLUHGWR
 SURYHWKDWSDWLHQWVKHDUGDQ\SDUWLFXODUPLVUHSUHVHQWDWLRQDQGWKH1LQWK&LUFXLWKDVXSKHOGZLUHIUDXG
 FRQYLFWLRQVHYHQZKHUHQRIDOVHVWDWHPHQWVZHUHPDGHGLUHFWO\WRYLFWLPVSee, e.g.United States v. Ali

      *2972337202772',60,663$7,(17&28176                                                                 
      &5(-'                        




                                                        FER-23
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 24 of 299


             Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 11 of 17
                                               
                                                                                                                     
      

  )G WK&LU ,WZDVQREDUULHUWRFRQYLFWLRQLQWKDWFDVHWKDWWKHGHIHQGDQWVPD\QRW
  KDYHPDGHIDOVHVWDWHPHQWVGLUHFWO\WR0LFURVRIWWKHRZQHURIWKHVRIWZDUHGHIHQGDQWVIUDXGXOHQWO\

  REWDLQHGEHFDXVHDVSHFLILFIDOVHVWDWHPHQWZDVQRWUHTXLUHGXQGHUDVFKHPHWRGHIUDXGWKHRU\IdDW
  $VWKDWFRXUWREVHUYHG³WKHUHDUHDOWHUQDWLYHURXWHVWRDPDLOIUDXGFRQYLFWLRQRQHEHLQJ
  SURRIRIDVFKHPHRUDUWLILFHWRGHIUDXG´Id.

           ,QWKLVFDVH'HIHQGDQWVHQJDJHGLQDVFKHPHWRGHIUDXGZKHUHE\WKH\XVHGH[SOLFLWDQGLPSOLFLW

  UHSUHVHQWDWLRQVWRFRQYLQFHGRFWRUVDQGSDWLHQWVWKDW7KHUDQRV¶VWHVWVZDVDFFXUDWHDQGUHOLDEOHLQGXFLQJ
  FXVWRPHUVWRSD\IRU7KHUDQRV¶VVHUYLFHVSee, e.g.United States v. Harkonen)HG$SS[
   WK&LU0DU  GHIHQGDQWFRQYLFWHGIRULVVXLQJDIUDXGXOHQWPHGLFDOSUHVVUHOHDVH

 UHJDUGLQJDSKDUPDFHXWLFDOSURGXFWWDUJHWHGDWSRWHQWLDOFXVWRPHUV %HFDXVH7KHUDQRV¶VUHSRUWVWR
 SDWLHQWVFRQWDLQHGRUZHUHOLNHO\WRFRQWDLQLQDFFXUDWHUHVXOWVWKH\ZHUHXQUHOLDEOH7KHSUHYDOHQFHRI

 LQDFFXUDWHUHVXOWVLQ7KHUDQRV¶VWHVWVUHQGHUHGDOO7KHUDQRVUHVXOWVXQUHOLDEOHDVWKH\FRXOGQRWEH

 WUXVWHGWRFRQYH\FRUUHFWLQIRUPDWLRQ$QGXQUHOLDEOHPHGLFDOWHVWUHVXOWVDUHZRUWKOHVVEHFDXVHWKH\
 FDQQRWSURYLGHDVRXQGEDVLVIRUPHGLFDOWUHDWPHQWGHFLVLRQV,QGHHG7KHUDQRVYRLGHG\HDUVRIUHVXOWV

 IURPLWVSURSULHWDU\DQDO\]HUDQGUHIXQGHGWHVWIHHVWRWHQVRIWKRXVDQGVRISDWLHQWVDIWHULWV
 PLVUHSUHVHQWDWLRQVZHUHH[SRVHG%XW+ROPHVDQG%DOZDQLNQHZRIWKHIODZVLQ7KHUDQRV¶VWHFKQRORJ\

 IURPWKHEHJLQQLQJ,QPLVUHSUHVHQWLQJWKHDELOLW\RIWKHLUWHFKQRORJ\WRSURGXFHDFFXUDWHDQGUHOLDEOH

 UHVXOWV²DQGE\KROGLQJRXWWKHLUVHUYLFHVIRUXVHLQFOLQLFDOVHWWLQJV²'HIHQGDQWVLQWHQGHGWKDWSDWLHQWV
 ZRXOGSD\IRUWHVWLQJWKDWZDVQRWDFWXDOO\VXLWDEOHIRUSDWLHQWV¶PHGLFDOQHHGVEHFDXVHLWFRXOGQRWEH

 UHOLHGXSRQ7KLVNLQGRIGHFHSWLRQJRHVVWUDLJKWWRWKHKHDUWRI³WKHYDOXHRIWKHEDUJDLQ´VWUXFN
 EHWZHHQ7KHUDQRVDQGLWVFXVWRPHUVSee United States v. Takhalov)G WK&LU
  ,WVWUDLQVORJLFWRDUJXHRWKHUZLVH,QVXPWKHQDWXUHRI'HIHQGDQWV¶PLVUHSUHVHQWDWLRQVSODFHV

 WKHLUVFKHPHWRGHIUDXGVTXDUHO\ZLWKLQWKHVFRSHRIWKHZLUHIUDXGVWDWXWH
 
    
      7KXVWKHVHIDFWVEHDUOLWWOHUHODWLRQWRWKHFDVHVFLWHGE\'HIHQGDQWVLQZKLFKDSDUW\ZDVWULFNHGLQWR
 HQJDJLQJLQZKDWWKHGHIHQGDQWLQWHQGHGWREHDIDLUWUDQVDFWLRQSee, e.g.United States v. Takhalov
    )G WK&LU  GHIHQGDQWV¶DFWLRQVLQWULFNLQJFXVWRPHUVLQWRHQWHULQJEDUFRXOGQRW
 IRUPWKHEDVLVRIIUDXGFRQYLFWLRQLIWUDQVDFWLRQVLQVLGHEDUZHUHIDLU United States v. Sadler)G
  WK&LU  GHIHQGDQWOLHGWRSKDUPDFHXWLFDOGLVWULEXWRUVDQGFRQFHDOHGKHULGHQWLW\WR
    REWDLQSURGXFWEXWSDLGIXOOSULFHDQGVRGLGQRWGHIUDXGWKHGLVWULEXWRUV United States v. Regent Office
 Supply Co)G G&LU  QRHYLGHQFHWKDWFRPSDQ\DJHQWVPDGHDQ\IDOVH
    UHSUHVHQWDWLRQVUHJDUGLQJWKHTXDOLW\RUSULFHRIWKHLUPHUFKDQGLVH United States v. Shellef)G
      *2972337202772',60,663$7,(17&28176                                                                   
      &5(-'                        




                                                     FER-24
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 25 of 299

             Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 12 of 17
                                               
                                                                                                                       
      

          6WLOO'HIHQGDQWVFRQWHQGWKDWWKH,QGLFWPHQWLVGHILFLHQWEHFDXVHLWGRHVQRWDOOHJHWKDWDQ\

  SDWLHQWactually receivedDQLQDFFXUDWHUHVXOWIURPD7KHUDQRVWHVW 0RWDW )LUVWWKLVDVVHUWLRQLV
  VLPSO\LQFRUUHFW7KH,QGLFWPHQWDOOHJHVWKDWWHVWVSHUIRUPHGRQ7KHUDQRVWHFKQRORJ\³FRQWDLQHGRU

  ZHUHOLNHO\WRFRQWDLQ«LQDFFXUDWHDQGXQUHOLDEOHUHVXOWV´ ,QGLFWPHQWDW & $FRPPRQVHQVH
  UHDGLQJRIWKLVDOOHJDWLRQXQDYRLGDEO\OHDGVWRWKHLQIHUHQFHWKDWRYHUWKHFRXUVHRISURYLGLQJWHVW
  UHVXOWVWRWKRXVDQGVRISHRSOH7KHUDQRVJDYHPDQ\SDWLHQWVWHVWUHVXOWVWKDWZHUHLQDFFXUDWH7KH
  JRYHUQPHQW¶VLQYHVWLJDWLRQKDVFRQILUPHGWKDWIDFW
          6HFRQGDQGPRUHLPSRUWDQW'HIHQGDQWV¶DUJXPHQWLPSURSHUO\VKLIWVWKHLQTXLU\DZD\IURPWKH

  nature of the schemeWRGHIUDXGDQGIRFXVHVLQVWHDGRQLWVDFWXDOHIIHFW%XWZKLOHHYLGHQFHRISDWLHQW

 KDUPLVXQGRXEWHGO\UHOHYDQWWRSURYLQJ'HIHQGDQWV¶LQWHQWWKHJRYHUQPHQWLVQRWUHTXLUHGWRSOHDGRU
 SURYHWKDWWKHFKDUJHGIUDXGXOHQWVFKHPHZDVHYHUFRPSOHWHG,QVWHDGLWLVHQRXJKWKDWWKHJRYHUQPHQW
 FKDUJH³HLWKHUWKDWWKHYLFWLPZDVDFWXDOO\GHSULYHGRIPRQH\RUSURSHUW\orWKDWWKHGHIHQGDQWLQWHQGHG
 WRGHIUDXGWKHYLFWLPRIWKHVDPH´United States v. Utz)G WK&LU  HPSKDVLV

 LQRULJLQDO ³$VFKHPHWRGHIUDXGZKHWKHUVXFFHVVIXORUQRWUHPDLQVZLWKLQWKHSXUYLHZRIVHFWLRQ
 ´Id.%HFDXVHWKHIHGHUDOIUDXGVWDWXWHVFULPLQDOL]HWKH³VFKHPHWRGHIUDXG´WKHFRPPRQODZ

 UHTXLUHPHQWVRIUHOLDQFHDQGGDPDJHVKDYHQRUHOHYDQFHWRWKHVHRIIHQVHVNeder v. United States
 86  ³7KHJUDYDPHQRIWKHRIIHQVHLVWKHVFKHPHWRGHIUDXG´United States v.
 Greenberg)G G&LU  TXRWDWLRQRPLWWHG 7KHJRYHUQPHQW³QHHGQRWSURYHWKDW

 WKHYLFWLPVRIWKHIUDXGZHUHactuallyLQMXUHG´³RQO\WKDWGHIHQGDQWVcontemplatedVRPHDFWXDOKDUPRU
 LQMXU\WRWKHLUYLFWLPV´Id.DW TXRWDWLRQRPLWWHG  HPSKDVLVLQRULJLQDO 

         ,QWKLVFDVHWKHYLFWLPV¶SRWHQWLDODQGDFWXDOKDUPLVFULWLFDOHYLGHQFHRI'HIHQGDQWV¶GHFHSWLYH

 LQWHQW%XWWKHIDFWWKDWWKHJRYHUQPHQWPD\XVHVXFKHYLGHQFHDWWULDOGRHVQRWDOWHUWKHSOHDGLQJ
 UHTXLUHPHQWV5HDGDVDZKROHZLWKWKHEHQHILWRIFRPPRQVHQVHWKH,QGLFWPHQWFOHDUO\DOOHJHVWKDW
 'HIHQGDQWVLQWHQGHGWRGHIUDXG7KHUDQRV¶VSDWLHQWVE\REWDLQLQJWKHLUPRQH\LQH[FKDQJHIRUWHVWLQJ

 VHUYLFHVWKDWZHUHQRWZKDW'HIHQGDQWVUHSUHVHQWHGWKHPWREH7KH,QGLFWPHQWLVWKHUHIRUH
 FRQVWLWXWLRQDOO\VXIILFLHQWDQG'HIHQGDQW¶VPRWLRQVKRXOGEHGHQLHGWRWKHH[WHQWLWDUJXHVIDLOXUHWR

    
  G&LU  GHIHQGDQWGHFHLYHGYLFWLPFRPSDQ\LQWRVHOOLQJSURGXFWLWRWKHUZLVHZRXOG
    QRWKDYHVROGEXWFRPSDQ\REWDLQHGIDLUYDOXH 
      *2972337202772',60,663$7,(17&28176                                                                     
      &5(-'                        




                                                      FER-25
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 26 of 299

                 Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 13 of 17
                                                   
                                                                                                                     
      

  DOOHJHLQWHQWWRGHIUDXG
              &     7KH,QGLFWPHQW$OOHJHV'HIHQGDQWV¶,QWHQWWR2EWDLQ0RQH\
                        IURPWKH9LFWLPVRIWKH)UDXG
 
                7KH,QGLFWPHQWDOOHJHVWKDW+ROPHVDQG%DOZDQL³KHOG7KHUDQRV¶VEORRGWHVWVRXWWRLQGLYLGXDOV
 
      DVDFFXUDWHDQGUHOLDEOH´DQGPDGHUHSUHVHQWDWLRQVWRLQGLYLGXDOV³WRLQGXFHLQGLYLGXDOVWRSXUFKDVH
 
      7KHUDQRV¶VEORRGWHVWV´ ,QGLFWPHQWDW $VDUHVXOWRIWKHVFKHPH³PDQ\KXQGUHGVRISDWLHQWV
 
      SDLGRUFDXVHGWKHLUPHGLFDOLQVXUDQFHFRPSDQLHVWRSD\7KHUDQRVRU:DOJUHHQVDFWLQJRQEHKDOIRI
 
      7KHUDQRVIRUEORRGWHVWVDQGWHVWUHVXOWV´ Id.DW 1HYHUWKHOHVV'HIHQGDQWVDUJXHWKDWWKH
 
      ,QGLFWPHQWIDLOVWRDOOHJHWKDW'HIHQGDQWVLQWHQGHGWRREWDLQPRQH\IURPWKHYLFWLPVGHVFULEHGLQWKH
 
      ,QGLFWPHQW6SHFLILFDOO\'HIHQGDQWVFRQWHQGWKDWSRUWLRQVRIWKH,QGLFWPHQWVKRXOGEHGLVPLVVHG

      EHFDXVHVRPHYLFWLPVGLGQRWSD\7KHUDQRVGLUHFWO\'HIHQGDQWVUHO\RQWKHSURSRVLWLRQWKDWDFULPLQDO

      IUDXGPXVWLQYROYHWKHLQWHQWWRREWDLQPRQH\RUSURSHUW\IURPWKHRQHZKRLVGHFHLYHG 0RWDW 

          FLWLQJUnited States v. Lew)G WK&LU %HFDXVHWKH,QGLFWPHQWLQWKLVFDVHDOOHJHV

      MXVWVXFKDVFKHPHWKH&RXUWVKRXOGGHQ\'HIHQGDQWV¶PRWLRQRQWKLVJURXQG

                $VDQLQLWLDOPDWWHU'HIHQGDQWVGRQRWDFWXDOO\IROORZWKURXJKRQWKHLUFODLPWKDWWKH,QGLFWPHQW

      GRHVQRWDOOHJHDVFKHPHWRREWDLQPRQH\IURPYLFWLPV$WEHVWWKH\DUJXHWKDWWKHUHZDVQRVFKHPHWR

      GHIUDXGsomeRIWKHYLFWLPVUHIHUHQFHGLQWKH,QGLFWPHQW'HIHQGDQWVDSSDUHQWO\FRQFHGHWKDWWKLV

      DUJXPHQWGRHVQRWDSSO\WRDQ\SDWLHQWVZKRSDLGGLUHFWO\IRUWKHWHVWLQJVHUYLFHVWKH\REWDLQHGIURP

      7KHUDQRV$FFRUGLQJO\'HIHQGDQW¶VPRWLRQFDQQRWVHHNGLVPLVVDORIDQ\FRPSOHWHFRXQWVLQWKH

      ,QGLFWPHQWRQWKHVHJURXQGV7KHLUDUJXPHQWLVOLPLWHGWR  GRFWRUVDQG  SDWLHQWVZKRVH7KHUDQRV

      WHVWVZHUHFRYHUHGE\PHGLFDOLQVXUDQFH%XWHYHQLIVRPHYLFWLPVGLGQRWSD\7KHUDQRVGLUHFWO\WKH

      ,QGLFWPHQWVWLOOSURSHUO\DOOHJHV'HIHQGDQWV¶VFKHPHWRGHIUDXGDOORI7KHUDQRV¶VFXVWRPHUV

                7KHUXOHVWDWHGLQLew²WKDWDIUDXGVFKHPHPXVWEHGLUHFWHGDWREWDLQLQJPRQH\IURPWKHYLFWLP

      ZKRLVGHFHLYHG²LVQRWDVULJLGDV'HIHQGDQWVZRXOGKRSHDQGWKDWFDVHLVGLVWLQJXLVKDEOHRQLWVIDFWV

      ,QLewDQDWWRUQH\ZDVFRQYLFWHGRIPDLOIUDXGDIWHUO\LQJWRWKH'HSDUWPHQWRI/DERUUHJDUGLQJWKH

      HPSOR\PHQWVWDWXVRILPPLJUDQWVLew)GDW7KHGHIHQGDQWLQWKDWFDVHKRZHYHUGLGQRW

      REWDLQPRQH\RUSURSHUW\IURPWKHJRYHUQPHQWZKRKDGEHHQGHFHLYHG²RQO\IURPKLVFOLHQWVDQGWKHUH

      ZDVQRHYLGHQFHWKDWWKHGHIHQGDQWHYHUGHFHLYHGWKHPId.DW7KH1LQWK&LUFXLWFRQFOXGHGWKDW


      *2972337202772',60,663$7,(17&28176                                                                   
      &5(-'                        




                                                        FER-26
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 27 of 299

             Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 14 of 17
                                               
                                                                                                                 
      

  WKLVZDVDSUREOHPLQOLJKWRIWKHKROGLQJLQUnited States v. McNally86  ,Q
  GLFWDWKH1LQWK&LUFXLWLQWHUSUHWHGMcNallyWRKROGWKDWDIUDXGVWHU¶VLQWHQWPXVWEHWRREWDLQPRQH\RU
  SURSHUW\IURPWKHRQHZKRLVGHFHLYHGLew)GDW,QSDUWLFXODUWKHFRXUWLQLewWRRNLVVXH

  ZLWKDMXU\LQVWUXFWLRQLQWKDWFDVHVWDWLQJWKDWWKHFKDUJHGVFKHPHZDV³WRPDNHIDOVHVWDWHPHQWVWRWKH
  8QLWHG6WDWHVIRUWKHSXUSRVHRIREWDLQLQJPRQH\IURPGHIHQGDQW¶VFOLHQWV´²DQLQVWUXFWLRQWKDW
  ³SHUPLWWHGFRQYLFWLRQIRUFRQGXFWQRWZLWKLQWKHUHDFK´RIWKHVWDWXWHId.DWsee also United
  States v. Cleveland86   7RTXDOLI\DVSURSHUW\³WKHWKLQJREWDLQHGPXVWEH
  SURSHUW\LQWKHKDQGVRIWKHYLFWLP´ +HUH'HIHQGDQWVDUHFKDUJHGZLWKDVFKHPHWRGHFHLYH
  7KHUDQRV¶VFXVWRPHUVLQRUGHUWRGHSULYHWKRVHVDPHLQGLYLGXDOVRIPRQH\RUSURSHUW\7KHUHZLOOEHQR

 QHHGIRUDMXU\LQVWUXFWLRQLQFRQVLVWHQWZLWKWKHKROGLQJLQLew
         $GGLWLRQDOO\WKH6XSUHPH&RXUWDFNQRZOHGJHVWKDWWKHSKUDVH³VFKHPHRUDUWLILFHWRGHIUDXG´

 VKRXOGEH³LQWHUSUHWHGEURDGO\LQVRIDUDVSURSHUW\ULJKWVDUHFRQFHUQHG´McNally86DW7KH
 1LQWK&LUFXLWKDVWDNHQDIOH[LEOHDSSURDFKWRDVVHVVLQJWKHFRQQHFWLRQEHWZHHQWKHWDUJHWRIDIUDXGDQG

 WKHSURSHUW\VRXJKWE\WKHIUDXGVWHU,QAliGLVFXVVHGDERYHWKH1LQWK&LUFXLWXSKHOGDZLUHIUDXG
 FRQYLFWLRQGHVSLWHWKHIDFWWKDWQRIDOVHVWDWHPHQWVZHUHPDGHWRWKHYLFWLPDQGWKHSURSHUW\REWDLQHGE\

 WKHGHIHQGDQWVGLGQRWFRPHGLUHFWO\IURPWKHYLFWLPEXWUDWKHUWKURXJKWKLUGSDUW\GLVWULEXWRUVUnited
 States v. Ali)G WK&LU $VWKDWFRXUWQRWHGWKHYLFWLPRIWKHIUDXGZDV0LFURVRIW
 HYHQWKRXJKWKHGHIHQGDQWVDFTXLUHGWKHSURSHUW\DWLVVXH²0LFURVRIW¶VVRIWZDUH²IURPWKLUGSDUW\

 GLVWULEXWRUVId.DW$QGWKHGHIHQGDQWVLQWKDWFDVHQHHGQRWKDYHWRPDNHDPLVUHSUHVHQWDWLRQ
 GLUHFWO\WR0LFURVRIWWREHJXLOW\RIZLUHIUDXGEHFDXVHWKHJRYHUQPHQWZDVQRWUHTXLUHGWRSURYHDQ\

 SDUWLFXODUIDOVHVWDWHPHQWXQGHUDVFKHPHWRGHIUDXGWKHRU\IdDW
         7KH1LQWK&LUFXLWVLPLODUO\KHOGLQDowieWKDWWKHGHSULYDWLRQRIPRQH\RUSURSHUW\DVDUHVXOWRI

 DIUDXGPD\EHDFFRPSOLVKHG³LQGLUHFWO\´United States v. Dowie)HG$SS[ WK&LU'HF
  7KHGHIHQGDQWLQWKDWFDVHIRXQGJXLOW\RIGHIUDXGLQJWKH/RV$QJHOHV&RXQW\'HSDUWPHQWRI

 :DWHUDQG3RZHUFRXOGQRWXQGRKLVFRQYLFWLRQEDVHGRQWKHIDFWWKDWKHDFWXDOO\UHFHLYHGSD\PHQW
 IURPWKH&LW\RI/RV$QJHOHV³DVHSDUDWHHQWLW\IURP':3ZKLFKZDVWKHGHFHLYHGSDUW\´Id.DW
 .H\WRWKDWGHFLVLRQZDVWKHODFNRIHYLGHQFHWKDWWKHGHIHQGDQWKDGVRXJKWWRREWDLQPRQH\IURP
 WKHFLW\UDWKHUWKDQIURPWKH':3Id.DW

      *2972337202772',60,663$7,(17&28176                                                               
      &5(-'                        




                                                      FER-27
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 28 of 299

              Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 15 of 17




           ,QDQRWKHUFDVHDGHIHQGDQWZDVFRQYLFWHGDIWHUHQJDJLQJLQDVFKHPHWRGHIUDXGDEDQNDQG

  FKDOOHQJHGKLVFRQYLFWLRQE\DUJXLQJWKDWWKHYLFWLPVRIWKHPLVUHSUHVHQWDWLRQZHUHDFWXDOO\WKHEDQN¶V
  FXVWRPHUVZKRVHDFFRXQWVZHUHIDOVHO\FKDUJHGDQGQRWWKHEDQNLWVHOIUnited States v. Bonallo

  )GQ WK&LU 7KH1LQWK&LUFXLWUHMHFWHGWKDWDUJXPHQWEHFDXVHEDQNVFRPPRQO\
  UHLPEXUVHWKHDFFRXQWVRIZURQJO\FKDUJHGFXVWRPHUVVRWKHGHIHQGDQWZDVXOWLPDWHO\KDUPLQJWKH
  EDQNId.7KXVWKH1LQWK&LUFXLWFRQFOXGHGWKHPLVUHSUHVHQWDWLRQLQWKDWFDVHZDVGLUHFWHGWRZDUGWKH
  EDQN³DQGSRVVLEO\WRZDUGWKHFXVWRPHUVDVZHOO´Id.1RWDEO\WKH1LQWK&LUFXLWLQLewFRQILUPHG
  WKDWBonalloUHPDLQVDYDOLGLQWHUSUHWDWLRQRIWKHUHTXLUHPHQWVIRUDIUDXGFRQYLFWLRQSee Lew)G
  DW GHVSLWHWKHLQGLUHFWQDWXUHRIWKHPRQHWDU\ORVVLQBonalloWKHIUDXGLQWKDWFDVHVWLOOLQFOXGHG

 WKHLQWHQWWRREWDLQPRQH\RUSURSHUW\IURPWKHYLFWLPRIWKHGHFHLW 
          ,QIDFWWKH1LQWK&LUFXLWKDVKHOGWKDWDIUDXGFRQYLFWLRQGRHVQRWHYHQUHTXLUHWKHJRYHUQPHQW

 WRSURYHWKHLGHQWLW\RIWKHIUDXGYLFWLPRUWKHYLFWLP¶VRZQHUVKLSRIWKHSURSHUW\REWDLQHGE\WKH
 IUDXGVWHUSee United States v. Crawford)G WK&LU  GHIHQGDQWZKR

 GHIUDXGHGXQLYHUVLW\LQRUGHUWRREWDLQDYDOXDEOHSLHFHRIDUWZRUNFRXOGQRWREWDLQUHYHUVDOEHFDXVH
 JRYHUQPHQWIDLOHGWRSURYHWKHYLFWLPRZQHGWKHSURSHUW\DVORQJDVWKHGHIHQGDQWNQHZVKHZDVQRW

 HQWLWOHGWRLW 6XFKDKROGLQJLVLQFRPSDWLEOHZLWK'HIHQGDQWV¶WKHRU\WKDWIUDXGKDVRFFXUUHGRQO\LI
 WKHGHIHQGDQWKDVDFWXDOO\REWDLQHGSURSHUW\GLUHFWO\IURPWKHYLFWLP5DWKHULWLVWKHQDWXUHRIWKH
 VFKHPHWRGHIUDXGDQGWKHGHIHQGDQW¶VLQWHQWWKDWFRQWUROV

          ,QWKLVFDVH'HIHQGDQWVGHYLVHGDVFKHPHWRGHIUDXGGRFWRUVDQGSDWLHQWVE\PLVUHSUHVHQWLQJWKH

 DFFXUDF\DQGUHOLDELOLW\RI7KHUDQRV¶VEORRGWHVWV'HIHQGDQWV¶LQWHQWZDVWRFROOHFWFXVWRPHUV¶PRQH\

 ZKLOHSURYLGLQJWKHPZLWKEORRGWHVWLQJVHUYLFHVWKDWZHUHRIOLWWOHWRQRYDOXHGXHWRWKHLUODFNRI
 DFFXUDF\DQGUHOLDELOLW\,WGRHVQRWPDWWHUWKDWDIWHUVXFFHVVIXOO\DWWUDFWLQJSDWLHQWVWRXVHWKHLU
 VHUYLFHVVRPHRIWKRVHSDWLHQWVHQGHGXSKDYLQJKHDOWKLQVXUDQFHWKDWSDLGIRUWKHLUEORRGWHVWV


           
                7KHVWDWXWHDWLVVXHLQWKDWFDVH86&KDVWKHVDPHVWUXFWXUHDVWKHZLUHIUDXG
      VWDWXWHFKDUJHGKHUH
          
             2WKHUFLUFXLWVKDYHUHMHFWHGRXWULJKWWKHUHTXLUHPHQWWKDWWKHUHEH³FRQYHUJHQFH´EHWZHHQWKH
 WKHIUDXGDQGWKHSURSHUW\DWLVVXHSee, e.g.United States v. Greenberg)G G&LU
      ³ZLUHIUDXGGRHVQRWUHTXLUHFRQYHUJHQFHEHWZHHQWKHSDUWLHVLQWHQGHGWREHGHFHLYHGDQGWKRVH
 ZKRVHSURSHUW\LVVRXJKWLQDIUDXGXOHQWVFKHPH´DQGFROOHFWLQJFDVHVIURP)LUVW)LIWK6HYHQWKDQG
    (LJKWK&LUFXLWVKROGLQJVDPH 
      *2972337202772',60,663$7,(17&28176
      &5(-'                        




                                                       FER-28
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 29 of 299

             Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 16 of 17




  'HIHQGDQWVWDUJHWHGWKHLUPLVUHSUHVHQWDWLRQVDQGIDOVHSUHWHQVHVDWSDWLHQWVEHFDXVHWKHLULQWHQWZDVWR
  VHSDUDWHWKRVHLQGLYLGXDOVIURPWKHLUPRQH\DQGLWLV'HIHQGDQWV¶LQWHQWWKDWFRQWUROVWKHDQDO\VLVKHUH
  See Utz)GDW$FFRUGLQJO\'HIHQGDQWVFDQQRWZLQGLVPLVVDOEDVHGRQWKHIDFWWKDW

  7KHUDQRVUHFHLYHGVRPHPRQH\IURPPHGLFDOLQVXUDQFHSURYLGHUV7KHLUDUJXPHQWRQWKLVSRLQWDOVR
  LJQRUHVWKHIDFWWKDWSDWLHQWVZLWKKHDOWKLQVXUDQFHDUHUHTXLUHGWRSD\SUHPLXPVIRUWKDWFRYHUDJH7KDW
  PHDQVWKDWWKHPRQH\KHDOWKLQVXUDQFHFRPSDQLHVXVHWRSD\PHGLFDOVHUYLFHSURYLGHUVLVXOWLPDWHO\
  GHULYHGIURPDQGLQGLUHFWO\UHLPEXUVHGE\WKHFRYHUHGSDWLHQWV$QLQGLUHFWFRQQHFWLRQEHWZHHQWKH
  YLFWLPVRIWKHIUDXGDQGWKHIXQGVREWDLQHGE\WKHIUDXGVWHULVDFFHSWDEOHXQGHUWKHFDVHODZGLVFXVVHG
  DERYH

         'HIHQGDQWVDUHVLPLODUO\PLVJXLGHGLQWKHLUDWWHPSWWRGLVPLVVSRUWLRQVRIWKH,QGLFWPHQWEDVHG

 RQWKHFODLPWKDW7KHUDQRVQHYHUREWDLQHGSURSHUW\IURPDQ\GRFWRUV7KH&RXUWVKRXOGUHMHFWWKLV
 FRQFOXVRU\IDFWXDODUJXPHQWGHFOLQLQJWKHGHIHQVH¶VLQYLWDWLRQWRSUHMXGJHWKHHYLGHQFH0RUHRYHU
 WKHUHLVVXSSRUWLQWKHFDVHODZIRUWKHSURSRVLWLRQWKDWGRFWRUVFDQEHYLFWLPVRIWKLVVSHFLHVRIIUDXG,Q

 HarkonenWKHGHIHQGDQWZDVFRQYLFWHGRIZLUHIUDXGDIWHULVVXLQJDSUHVVUHOHDVHFRQWDLQLQJIDOVH
 LQIRUPDWLRQDERXWDUHFHQWWULDORIDSKDUPDFHXWLFDOSURGXFWHarkonen)HG$SS[DW2Q

 DSSHDOWKH1LQWK&LUFXLWFRQFOXGHGWKDWWKHMXU\IRXQGWKHSUHVVUHOHDVHIUDXGXOHQWHYHQLILWZDVQRW
 ³OLWHUDOO\IDOVH´DQGIXUWKHUKHOGWKDWWKHSUHVVUHOHDVHZDVPDWHULDOEHFDXVHLWZDV³FDSDEOHRI
 LQIOXHQFLQJWKHGHFLVLRQRIdoctors to prescribeRUpatients to seekSUHVFULSWLRQVRI>WKHSURGXFW@´Id

 DW HPSKDVLVDGGHG 
         6HSDUDWHO\PLVUHSUHVHQWDWLRQVWRGRFWRUVDUHUHOHYDQWWRWKHVFKHPHWRWKHH[WHQW'HIHQGDQWV

 LQWHQGHGGRFWRUVWRSDVVDORQJIUDXGXOHQWLQIRUPDWLRQWRWKHLUSDWLHQWVLQUHFRPPHQGLQJ7KHUDQRV7KH
 FDVHODZPDNHVLWFOHDUWKDWDVFKHPHWRGHIUDXGFDQHQFRPSDVVPRUHWKDQPLVOHDGLQJVWDWHPHQWVPDGH
 E\DGHIHQGDQWGLUHFWO\WRDYLFWLPSee, e.g.United States v. Ciccone)G WK&LU


         
              %HFDXVHWKLVFDVHLQYROYHVDVFKHPHWRREWDLQPRQH\IURPYLFWLPVLWLVQRWKLQJOLNHWKHFDVHV
 FLWHGE\'HIHQGDQWVZKHUHWKHLWHPJDLQHGE\WKHIUDXGVWHURUORVWE\WKHYLFWLPGLGQRWTXDOLI\DVDFWXDO
    SURSHUW\See, e.g.United States v. Bruchhausen)G WK&LU  PDQXIDFWXUHUV¶
 LQWHUHVWLQSURGXFWVQRWEHLQJVKLSSHGWR6RYLHW%ORFZDVQRWSURSHUW\ United States v. Mitchell
    )G WK&LU  FLWL]HQV¶LQWDQJLEOHULJKWWR³JRRGJRYHUQPHQW´ZDVQRWSURSHUW\ 
 Monterey Plaza Hotel Ltd. P'ship v. Local 483 of Hotel Employees & Rest. Employees Union, AFL-CIO
    )G WK&LU  KRWHO¶VJRRGZLOOZDVQRWSURSHUW\GHIHQGDQWVRXJKWWRREWDLQ 
      *2972337202772',60,663$7,(17&28176
      &5(-'                          




                                                     FER-29
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 30 of 299

             Case 5:18-cr-00258-EJD Document 267 Filed 01/13/20 Page 17 of 17




    GHIHQGDQW¶VZLUHIUDXGFRQYLFWLRQZRXOGVWDQGHYHQLIKHKLPVHOIKDGQRWPDGHWKHIUDXGXOHQW
  FDOOVWRYLFWLPVDVKHGHYLVHGWKHVFKHPHDQGZDVWKHVRXUFHRIPLVOHDGLQJLQIRUPDWLRQ 
          $FFRUGLQJO\WKH&RXUWVKRXOGUHMHFW'HIHQGDQWV¶DUJXPHQWVDERXWWKHSURSHUW\LQWHUHVWDWLVVXH

  LQWKLVFDVH
  ,9     &21&/86,21

          'HIHQGDQWV¶PRWLRQWRGLVPLVVDVNVWKH&RXUWWRLPPXQL]HWKHPIURPDIUDXGXOHQWVFKHPHWKDW

  WDUJHWHGDQGLPSDFWHGWKRXVDQGVRIYXOQHUDEOHYLFWLPV)RUWKHIRUHJRLQJUHDVRQVWKH&RXUWVKRXOG
  GHQ\'HIHQGDQWV¶PRWLRQLQLWVHQWLUHW\
 


 '$7('-DQXDU\                           5HVSHFWIXOO\VXEPLWWHG

                                                     $'$0$5((9(6
                                                        $WWRUQH\IRUWKH8QLWHG6WDWHV

                                                        $FWLQJ8QGHU$XWKRULW\&RQIHUUHG
                                                     E\86&

                                                      /s/
                                                        -())6&+(1.
                                                     -2+1&%267,&
                                                     52%(576/($&+
                                                        9$1(66$%$(+5-21(6
                                                     $VVLVWDQW8QLWHG6WDWHV$WWRUQH\V














      *2972337202772',60,663$7,(17&28176
      &5(-'                        




                                                  FER-30
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 31 of 299




           Steven A. Burd
           Chairman, President and
           Chief Executive Officer                                                                  SAFEWAY(,_




                                                     March 31, 2010



           Ms. Elizabeth Holmes
           President and CEO
           Theranos Inc.
           3200 Hillview Avenue
           Palo Alto, CA 94304

           Dear Elizabeth:

           I enjoyed our meeting last week, and was impressed with the capabilities of the Theranos
           blood analyzer. I would like to work toward an arrangement where Safeway helps
           Theranos launch the blood analyzer into broad circulation. In return, Safeway secures
           exclusive retail rights for a finite period of time. Here is what I have in mind.

                 •     First, we will arrange a meeting between you and UCSF (under a CDA) so
                       that they can verify that the blood analyzer can perform at least 85% of the
                       blood work done by a standard retail lab today. UCSF will assess the
                       early-stage cancer detection capabilities of the analyzer.

                 •     Next, assuming UCSF confirms the capabilities discussed in our meeting,
                       Safeway would deploy the Theranos blood analyzer in 150 pharmacies in
                       our Northern California (NorCal) division. Once the analyzer is in place
                       and staff is property trained, we would run a 90-day test to determine its
                       marketability to consumers. This test will confirm if there is sufficient
                       demand for the analyzer at an attractive price point for the consumer,
                       Safeway and Theranos. During this 90-day period, Theranos will agree to
                       not market this product to other retailers.

                 •     Assuming we achieve a successful result in the NorCal test, we will roll
                       out the Theranos blood analyzer to all ofour U.S. pharmacies (1,134 in 22
                       states). You would grant Safeway a one-year exclusive for all retail stores
                       in this geography.




                                                                                                      Safeway Inc.
                                                                                                      5918 Staneridg,, Mall Road
                                                                                                      Pleasanton, CA 94588-3229




CONFIDENTIAL                                                                                               SWYSEC_000000084
                                             Trial Exh. 0281 Page 0001

                                                         FER-31
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 32 of 299




               Ms. Elizabeth Holmes
               Page 2




                  •   Finally (and simultaneously with the rollout to all our U.S. pharmacies),
                      we would begin developing through the Blackhawk Network a nationwide
                      network of pharmacies deploying the Theranos blood analyzer that would
                      be comparable to, or exceed, the geographic scope of any of the major
                      national drug chains. This would potentially put the blood analyzer in
                      thousands of pharmacies nationwide. If we are able to build this network,
                      during the 12 month Safeway exclusive, Theranos would grant Safeway
                      and its network partners an additional period of exclusivity to be
                      negotiated for all retail stores nationwide.

               Please give me a call when you would like to discuss this concept further.

                                                    Sincerely,




                                                    Steven A. Burd
                                                    Chairman, President and
                                                    Chief Executive Officer




CONFIDENTIAL                                                                                      SWYSEC_000000085
                                            Trial Exh. 0281 Page 0002

                                                        FER-32
                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 33 of 299



   Message

   From:           Miquelon, Wade [wade.miquelon@walgreens.com]
   Sent:           9/5/2013 6:12:43 PM
   To:             Elizabeth Holmes [eholmes@theranos.com]
   Subject:        Partner framework



   Elizabeth,


   Great talking to you.   Attached is the conceptual framework I shared last night.   Take a look and let me know your
   ideas of how you might modify, etc.


   Let's connect on this soon. Best



   Wade




Confidential Treatment Requested by Walgreen Co.                                                            WAG-TH-00000677
                                              Trial Exh. 1083 Page 0001

                                                             FER-33
                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 34 of 299




                                                     THERANOS - WALGREENS
                                              CONTRACT AMENDMENT TERM SHEET


          As we contemplate our joint future potential and as we move closer to pilot launch, we believe there is
          an opportunity to revise terms in the agreement that would strengthen our partnership and insure
          greater success for both companies.


           I.       Scale Timeline & Volume/Space Commitments-                 After completion of the pilot, subject to
          Theranos having received necessary approva ls to operate laboratories in the selected markets,
          Walgreens is willing to commit to developing Theranos lab services at 1,500 locations within the first 12
           months after the start of rollout with an additional 1,500 locations in the following 12 months. We feel
          3,000 is the proper number for initial scale as this will give Theranos access to more locations than
          either of the two major lab providers. The mix of stores will give Theranos nationwide geo-access that is
          superior to the existing lab providers within 2 years of launch.


           We see three categories of stores/style of build out:
                    A.   Gold -      The "Gold" option will have dedicated space to Theranos lab services and a
                         bathroom that would be adjacent to or in close proximity to the dedicated space.
                    B.   Silver -    The "Silver" option will have a private room that will be available for sample
                         collection. An existing bathroom will also be available for use for collection services. The
                         existing bathroom will receive a refresh prior to lab services being offered at the store.
                    C.   Bronze -    The "Bronze" option will make use of a privacy screen at least equivalent to
                         what will be used in the Phoenix pilot.


          The addition of dedicated space represents a shift for Walgreens.             We previously believed that the
           majority of the locations could be served well by the Bronze option. We have concluded that we will be
           best served by pushing the majority of the locations into either the Gold or Silver category.


           How we saw the mix prior to 1 month ago                     How we see the mix now
          Gold-0                                                       Gold-1,000
          Silver -500                                                  Silver - 1,000
           Bronze - 2500                                               Bronze - 1000


          Should Theranos wish to increase the number of Gold stores beyond what is detailed above, we would
           be amenable to that approach, provided that Theranos contribute to the build out costs. We believe a
          50/50 split of the costs would be equitable, as this is what we have agreed to for the Palo Alto
          store. We would apply the same 50/50 split for Gold locations as we continue to increase the count
           beyond the initial 3,000 locations. The parties shall work together to define standard space, branding,
          fixture/build out standards and construction details for each build out category. Based on this standard,
          the parties will agree upon an average cost per build out for the Gold stores. The parties agree that the
           parties' total contribution shall not exceed 50% of the average Gold location build out cost multiplied by
          the number of Gold locations added in a given quarter. For purposes of clarity, the parties will mutually

                                                   { PAGE   \* MERGEFORMAT}
          09/05/13 Draft



Confidential Treatment Requested by Walgreen Co.                                                                 WAG-TH-00000678
                                                Trial Exh. 1083 Page 0002

                                                             FER-34
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 35 of 299




           plan the pace and location of the rollout up to 3,000 stores. As such, the mix of Gold locations added in
           any given quarter will likely vary based on what is the appropriate mix for a given market.



           II.     Innovation Fee payment schedule-          We believe that the schedule of Innovation Fee
           payments currently contemp lated in the agreement does not align with our shared goal to quickly hit
           the marketplace, as such we are willing to accelerate payments to Theranos and not have them be
           subject to certain performance goals. With that in mind, we suggest the following schedule in order to
           provide Theranos access to capital faster than what was originally contemplated:


                   $35M on 10/1/13
                   $20M on 11/1/13
                   $20M on 12/1/13


           The mechanism by wh ich Theranos can earn the Innovation Fee would be unchanged.


           Il l.   Exclusivity-     In exchange for the commitment that Walgreens is making with respect to scale
           and speed of scale, we think an expansion of exclusivity is required . In committing to a higher cap-ex
           build out plan, acceleration of training and other expenditures that are necessary to make the rollout a
           success, we wou ld like to solidify Theranos' and Walgreens' partnership for the long haul. As such, we
           require the following expansion of the exclusivity provision:


           With respect to all Tests, during the Term of the Agreement, Theranos would agree not to provide
           access to tests/lab services to the following entities for the term of the agreement: Wal-Mart Stores,
           Inc., CVS Caremark Corporation, Rite Aid Corporation, and Target Corp. We acknowledge that initially
           we may not have 100% coverage from a geo-access perspective with respect to sample collection. As
           such, we will work with Theranos to ensure that market planning is done in a manner so that Theranos
           can infill with other retailers not named above to meet patient demand. With respect to individual
           markets, Walgreens acknowledges that Theranos may desire to have additional outlets at which to
           provide its services.


           IV.     TERM/TERMINATION- Given the scale and build out commitments that we are willing to make,
           we require that the initial term (3 years) be extended an additional two years to five years total.


           Given the commitment that Walgreens will make to the rollout, we are willing to waive our right to
           terminate the agreement if the Pilot is not successful. We believe the parties are both committed to
           making this project successful. We hope that this change will give Theranos, and Theranos' investors
           comfort that Walgreens is committed as Theranos' long term partner.


           V.      MUTUAL EXPECTATIONS-             In addition to terms already addressed within our agreement,
           we believe it is necessary that each party make commitments to ensure that the following items are
           addressed:


                                                  { PAGE   \* MERGEFORMAT }
           09/05/13 Draft



Confidential Treatment Req uested by Walgreen Co.                                                                WAG-TH-00000679
                                              Trial Exh. 1083 Page 0003

                                                           FER-35
            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 36 of 299




                                THERANOS                                                WALGREENS
          Train the Walgreens trainer at a pace equal to the        Build locations in stores
          suggested rollout/provide Walgreens with training
          collateral
          Commit      to    add      additional   operational       Train thousands     of technicians     per Theranos
          management to meet the pace of an accelerated             training
          roll out
          Have adequate laboratory space(s) available to            Diligently monitor service for exemplary patient
          meet the scale of rollout                                 experience
          Receive    regulatory     approvals   to   operate        Maintain facilities, including bathrooms, in a
          laboratories/collect samples in each market               manner that promotes a positive patient
                                                                    experience.
          Have an adequate supply of equipment and                  Communicate with Theranos with respect to
          collection supplies to avoid delay in rollout             supply needs.
          Collaborate with Walgreens on Marketing                   Collaborate with Theranos on Marketing
          Align with Walgreens on scale planning                    Align with Theranos on scale planning
          Call center planning & process                            Potential outsource provider of call center services
          Courier selection/logistics optimization/process
          planning
          Payer contracts/billing for scale markets
          Physician detailing


          VI.      DATA- In addition to the data provisions that are currently in the Agreement, we request that
          Walgreens have the right to share raw lab scores with patients via our patient portal, provided that both
          the clinician and patient consent.       Currently Walgreens shares prescription information, EM R and
           immunization histories with its patients. We feel adding the lab scores would increase awareness for
          the patients. We would not share any of the analytical tools/analysis that Theranos provides, and would
          agree to include a directional element on the page along the following lines: "For additional information
           and analysis regarding your laboratory results please go to www.theranos.com ."


          VII.     INTERNATIONAL EXPANSION-          Walgreens agrees that it will continue to assist Theranos in
          order to advance discussions with its partner Alliance Boots GmbH in order to facilitate expansion of
          Theranos laboratory services in the markets in which Alliance Boots operates. To that end, Alliance
           Boots shall have the right of first refusal to carry out a pilot with Theranos for lab services in an
           European market to be mutually determined some time during calendar year 2014. Until the earlier to
          occur of (i) Alliance Boots refusing to conduct a pilot in 2014; or (ii) the end of 2014, Theranos shall not
          enter into any agreements perta ining to, or offer laboratory services within Europe.




                                                   { PAGE   \* MERGEFORMAT}
          09/05/13 Draft



Confidential Treatment Requested by Walgreen Co.                                                                   WAG-TH-00000680
                                               Trial Exh. 1083 Page 0004

                                                            FER-36
                          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 37 of 299


theran s
theran.s
DESCRIPTION
DESCRIPTION                                                             CPT
                                                                        CPT           PRICE
                                                                                      PRICE     DESCRIPTION
                                                                                                DESCRIPTION                                                                             CPT
                                                                                                                                                                                        CPT             PRICE
                                                                                                                                                                                                        PRICE


                                                                                                CD4
                                                                                                CD4 Count,
                                                                                                    Count Absolute
                                                                                                           Absolute wrth
                                                                                                                    with percent
                                                                                                                         percent
                                                                                                                                                                                        86361
                                                                                                                                                                                        86361           $18.40
                                                                                                                                                                                                        $18.40

ACTH Corticotropin
ACTH (Cort1cotropin)                                                    82024
                                                                        82024         $26.55
                                                                                      $26.55
                                                                                                CD4/CD8 Count.
                                                                                                CD4/CD8 Count Absolute
                                                                                                               Absolute
                                                                                                                        with
                                                                                                                        with
                                                                                                                             Ratio
                                                                                                                             Ratio
                                                                                                                                                                                        86360
                                                                                                                                                                                        86360           $32.30
                                                                                                                                                                                                        $32.30

Adenovirus DNA, Quant                                                   87799         $29.44    CD4/CD8 Count,
                                                                                                CD4/CD8        Absolute with
                                                                                                                        with Ratio and Percent
                                                                                                                             Ratio and
                                                                                                                                               86359/86360
                                                                                                                                               86359/86360 $58.22
                                                                                                                                                           $58.22
Adenovirus DNA Quant                                                    87799         $29.44            Count Absolute                 Percent


Alanine Aminotransferase
        Arrnnotransferase ALT/SGPT
                          rALTISGPT)                                    84460          $3.64    Cehac Panel
                                                                                                CeliacPanel
                                                                                                                                                                                        83516x4
                                                                                                                                                                                        83516x4         $31.72
                                                                                                                                                                                                        $31.72
Alanine                                                                 84460          $3.64

Albumin                                                                 82040          $3.40    Chlamydia Trachomatis. DNA. Qual                                                        87491           $12.06
Albumin                                                                 82040          $3.40    Chlamydia Trachomatis  DNA Qual                                                         87491           $12.06

Alkaline Phosphatase (ALP)                                              84075          $3.56    Chlamydia/Gonorrhea Panel, DNA. Qual
                                                                                                                                Qual                                                    87491/87591 $24.12
Alkaline       Phosphatase             ALP                              84075          $3.56    Chlamydia/Gonorrhea                         Panel     DNA                               87491/87591     $24.12

Alpha· 1-Acid Glycoprot8ln                                              82985         $10.36    Chlamyd,a/Gonorrhea/HIV screen
                                                                                                                        screen
                                                                                                                                                                                        multiple        $40.68
                                                                                                                                                                                                        $40.68
Alpha-1-Acid              Glycoprotein
                                                                        82985         $10.36    ChlamydiatGonorrhea/HIV                                                                 multiple


Alpha-1-Ant1tryps1n, Total                                              82103          $9.24        Reflex to HIV-1 /HIV-2 Ab D111·                                                     86701  /86702
                                                                                                                                                                                        86701/86702
                                                                                                                                                                                                        $15.40
Alpha-1-Antitrypsin               Total                                 82103          $9.24        Reflex       to       HIV-1/HIV-2           Ab   Diff                                               $15.40

Alpha· Fetoprote1n (AFP), Maternal                                      82105         $11.53    Chloride                                                                                82435            $3.16
Alpha-Fetoprotein  AFP Maternal                                         82105         $11.53    Chloride                                                                                82435            $3.16

Alpha-Fetoprote1n (AFP), Oncology                                       82105         $11.53    Chloride, Unne                                                                          82436            $3.46
                                                                                                                                                                                        82436
Alpha-Fetoprotein  AFP Oncology                                         82105         $11.53    Chloride         Unne                                                                                    $3.46

Amphetamines. Unne                                                      80101         $10.00    Cholesterol                                                                             82465            $2.99
                              Unne                                      80101         $10.00    Cholesterol                                                                             82465            $2.99
Amphetamines
Amylase                                                                 82150          $4.46    Cholinesterase                                                                          82482            $5.28
                                                                        82150          $4.46    Cholinesterase                                                                          82482            $5.28
Amylase
Androstenedione                                                         82157         $20.12    Cocaine, Unne                                                                           80101           $10.00
Androstenedione                                                         82157         $20.12    Cocaine          Urine                                                                  80101           $10.00
Ant1-Mullerian Hormone {AMH)                                            83520          $8.90    Complement Component 3 antigen                                                          86160            $8.25
                                                                                                                                                                                        86160            $8.25
Anti-Mullerian             Hormone            AMH                       83520          $8.90    Complement                 Component             3   antigen
                                                                                                                                                                                        86160            $8.25
Antibody Detection. RBC                                                 86850         $25.75    Complement Component 4 antigen
                 Detection           RBC                                86850         $25.75    Complement                 Component             4 antigen                              86160            $8.25
Antibody
Antinuclear Antibodies, Screen (ANA)                                    86038          $8.31    Comprehensive Metabolic Panel (CMP) cmim                                                80053            $7.27
Antinuclear  Antibodies Screen ANA                                      86038          $8.31    Comprehensive Metabolic Panel CMP                                                       80053            $7.27

    Reflex to ANA conf1rmatory·                                         86039          $7.68    Cortisol Total                                                                          82533           $11.21
     Reflex       to    ANA    confirmatory                             86039          $7.68    Cortisol        Total                                                                   82533           $11.21
Apohpoprote1n (apo A 1, apo 8)                                          82172         $21.30    C-Pept1de                                                                               84681           $14.31
                                                                                                                                                                                        84681           $14.31
Apolipoprotein apo Al apo B                                             82172         $21.30    C-Peptide
                                                                                                C-React1ve Protein (CRP)                                                                86140            $3.56
Apolipoprotein A-1 (apo A-1)                                            82172         $10.65
                                                                                                C-Reactive Protein, CRP
                            A-1   apo A-1                               82172         $10.65    C-Reactive Protein                                                                      86140            $3.56
Apolipoprotein
Apolipoprote1n 8 (apo 8)                                                82172         $10.65                        High Sensitivity (hsCRP)                                            86141            $8.90
               B apo B                                                  82172         $10.65    C-Reactive            Protein           High    Sensitivity        hsCRP                86141            $8.90
Apolipoprotein
Aspartate Aminotransferase (AST/SG01)                                   84450          $3.56    Creat1ne Kinase                                                                         82550            $4.48
                                                    AST/SGOT            84450          $3.56    Creatine         Kinase                                                                 82550            $4.48
Aspartate          Aminotransferase
                                                                                                Creatinine                                                                              82565            $3.52
                                                                                                Creatinine                                                                              82565            $3.52
B cells, Total Count                                                    86355         $25.93    Creat1nine. Urine                                                                       82570            $3.56
B cells                                                                                                                                                                                 82570            $3.56
              Total
Barbiturates. Unne        Count                                         86355
                                                                        80101         $25.93
                                                                                      $10.00
                                                                                                                      Urine
                                                                                                Cyclic Crtrullinated Peptide (CCP) Antibody, lgG
                                                                                                Creatinine.
                                                                                                                                                                                        86200            $8.90

Basic Metabolic Panel (BMP) G:l:D
Barbiturates              Urine                                         80101
                                                                        80048         $10.00
                                                                                       $5.82    Cyclosponne A
                                                                                                Cyclic       Citrullinated
                                                                                                                     Peptide CCP Antibody. IgG                                          86200
                                                                                                                                                                                        80158           $12.41
                                                                                                                                                                                                         $8.90


                                                                                                                                                                                        80158
Benzod1azep1
BasicMetabolic
                    UrineBMP
              nes.Panel                                                 80101
                                                                        80048          $5.82
                                                                                      $10.00    Cystat1n C A
                                                                                                Cyclosponne                                                                             82610            $9.35
                                                                                                                                                                                                        $12.41


                                                                                                         C
                                                                                                Cytomegalovirus (CMV) Antibody, lgG                                                     86644
                                                                                                                                                                                        82610             $9.90
                                                                                                                                                                                                          $9.35
Beta-2 M1croglobulin
Benzodiazepines  Urine                                                  82232
                                                                        80101         $11.12
                                                                                      $10.00    Cystatin


B1lirub1n.Microglobulin
Beta-2     Direct                                                       82248
                                                                        82232          $3.45
                                                                                      $11.12    Cytomega!ovirus
                                                                                                Cytomegalovirus CMV Antibody
                                                                                                                (CMV) Antibody, IgG
                                                                                                                                lgM                                                     86645
                                                                                                                                                                                        86644           $11.58
                                                                                                                                                                                                         $9.90


B1l1rubin, Total
Bilirubin  Direct                                                       82247
                                                                        82248          $3.45
                                                                                       $3.45     Cytomegalovirus                    CMV Antibody                  IgM                   86645           $11.58


 Blood Type (ABO/RhD)
Bilirubin        Total                                                  86900/86901
                                                                        82247          $4.10
                                                                                       $3.45    D-D1mer, Quant                                                                          85379             $7.00

 Blood Urea
Blood  Type Nrtrogen (BUN)
            ABO/RhD                                                     84520
                                                                        86900/86901    $2_72
                                                                                       $4.10    Deam1dated
                                                                                                D-Dimer.    Gliadin Peptide (DGP) Antibody, lgA
                                                                                                         Quant                                                                          83516
                                                                                                                                                                                        85379             $7.93
                                                                                                                                                                                                          $7.00


 BorreliaUrea
Blood      Antibody  (Lyme
              Nitrogen  BUNDisease)                                     86619
                                                                        84520          $9.20
                                                                                       $2.72     Deam1dated
                                                                                                 Deamidated Ghad1n  Peptide (DGP)
                                                                                                            Gliadin Peptide DGP Antibody,
                                                                                                                                  Antibody lgG
                                                                                                                                           IgA
                                                                                                                                                                                        83516
                                                                                                                                                                                        83516             $7.93
                                                                                                                                                                                                          $7.93


 Brain natnuret1c peptide (BNP)                                         83880         $23.33     Dehydroep1androsterone   Suffate
                                                                                                 Deamidated Gliadin Peptide  DGP(DHEA-S)                                                82627
                                                                                                                                                                                        83516           $15.28
                                                                                                                                                                                                         $7.93
 BorreliaAntibody  Lyme Disease                                         86619          $9.20                                      Antibody                                        IgG


                                                                                                 Deoxypynd1nohne (DPD) Crosslinks, Urine
                                                                                                                                DHEA-S                                                  82523
                                                                                                                                                                                        82627           $12.85
                                                                                                                                                                                                        $15.28
 Brain      natriuretic       peptide         BNP                       83880         $23.33     Dehydroepiandrosterone Sulfate


 Calcitonin                                                             82308         $18.41     Digox1n         DPD
                                                                                                 Deoxypyridinoline                              Crosslinks          Urine               80162
                                                                                                                                                                                        82523            $9.13
                                                                                                                                                                                                        $12.85

 Calcium                                                                82310
                                                                        82308          $3.55
                                                                                      $18.41
                                                                                                 Double-Stranded DNA (dsDNA) Antibody, lgG
                                                                                                 Digoxin
                                                                                                                                                                                        86225
                                                                                                                                                                                        80162             $9.44
                                                                                                                                                                                                          $9.13
 Calcitonin

 Calcium, Urine                                                         82340
                                                                        82310
                                                                                       $4.15
                                                                                       $3.55
                                                                                                 Drug Screen PanelDNA dsDNA Antibody
                                                                                                 Double-Stranded                                                            IgG
                                                                                                                                                                                        80101
                                                                                                                                                                                        86225           $49.98
                                                                                                                                                                                                         $9.44
 Calcium

 Cancer Antigen
         Urine
                125 (CA 125)                                            86304
                                                                        82340
                                                                                      $14.31
                                                                                       $4.15     Drug       Screen          Panel                                                        80101          $49.98
 Calcium
 Cancer Antigen 125
                15-3 (CA 15-3)                                          86300         $14.31     E coli Shiga-like tmon with reflex                                                     87427             $8.25
 Cancer Antigen      CA 125                                             86304         $14.31

 Cancer Antigen 27.29 (CA 27 29)                                        86300         $14.31     E
                                                                                                   • Reflex to E coll 0157
                                                                                                                        with
                                                                                                                            culture·                                                    87046
                                                                                                                                                                                        8742       %
                                                                                                                                                                                                          $6.49
                                                                                                                                                                                                          $8.25
 Cancer         15-3
               Antigen                  CA     15-3                     86300         $14.31         coil     Shiga-like            toxin            reflex



 Cancer Antigen-GI     (CA 19-9)                                         86301        $14.31     EBV (Epstein-Barr) Antibody Panel                                                      multiple
                                                                                                                                                                                        87046
                                                                                                                                                                                                        $35.46
                                                                                                                                                                                                         $6.49
 Cancer Antigen   27.29   CA 27.29                                      86300         $14.31      -Reflex            to    E.   coil    0157       culture

 Carbamazepine. Total                                                   80156         $10.01     EBV Early D Antigen (EA-D) lgG                                                         86663             $9.02
 Cancer Antigen-GI    CA 19-9                                           86301         $14.31     EBV     Epstein-Barr                  Antibody        Panel                             multiple       $35.46

 Carbon Dioxide                                                          82374          $3.36    EBV Nuclear Antibody, lgG                                                               86664          $10.52
                                                                        80156         $10.01     EBV                  D Antigen             EA-D     IgG                                 86663            $9.02
 Carbamazepine                 Total                                                                     Early

 Carc1noembryon,c Antigen (CEA)                                          82378        $13.04     EBV Viral Capsid Antigen ,:VGA) - lgG                                                  86665           $12.47
 Carbon         Dioxide                                                 82374           $3.36    EBV     Nuclear            Antibody           IgG                                       86664           $10.52

 Card1ohp1n Antibody (ACA), lgG                                          86147        $17.49     EBV Viral Caps1d Antigen ,:VGA) - lgM                                                   86665          $12.47
 Carcinoembryonic  Antigen CEA                                          82378         $13.04     EBV       Capsid Antigen
                                                                                                         Viral            VCA IgG                             -                          86665           $12.47

 CBC (Complete Blood Count), no Dill                                     85027          $4.45    Ecstasy (MOMA), Unne                                                                    80101          $10.00
 Cardiolipin           Antibody        ACA IgG                           86147        $17.49     EBV       Capsid Antigen
                                                                                                         Viral            VCA IgM                             -                          86665           $12.47
 CBC (Complete Blood Count), Auto Dlff                                   85025          $5.35    Bectrolytes Panel                                                                       80051            $4.82
 CBC Complete                  Blood      Count       no     Diff        85027          $4.45    Ecstasy         MDMA               Urine                                                80101           $10.00
  L- Reflex to Manual D11! and Smear Review'                             85007          $2.37    Endomys1al Antibody (EMA), lgA                                                          86256            $8.29
 CBC Complete                                                            85025          $5.35                             Panel                                                          80051            $4.82
                               Blood      Count       Auto     Diff                              Electrolytes

 CD4 Count. Absolute                                                     86361         $18.40    Endomysial Antibody (EMA), lgG                                                          86256            $8.29
 L Reflex to Manual                    Diff   and    Smear     Review    85007          $2.37    Endomysial               Antibody          EMA IgA                                      86256            $8.29


 CD4        Count.        Absolute                                       86361        $18.40     Endomysial               Antibody          EMA IgG                                      86256            $8.29


                                                                                                                                                                                                                  4

                                                                                                                                                                   US-REPORTS-0015286

                                                                                          FER-37
                                                            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 38 of 299


                                                                                                                                                                                                                                                                                                                                           ss
                                                                                                                                                                                                                                                                                                                                                        y rejN


                            DESCRIPTION                                                                                         CPT                         PRICE                 DESCRIPTION                                                                                            CPT                                         PRICE
                                                                                                                                                                                                                                                                                                                                                       xa
                                                                                                                                                                                                                                                                                                                                                             Cu




                                En     hrocyte          9edlmantahor$Rata                                ESR75ed Rate          85652-                        $1.86                Hepatitis               Panel              Acute                                                       89874


                                EsVadfol
                                                                                                                                82670                       $19.21                       Roffex            to       HQ / RNA Quarrt                                                      87      22

                                                                                                                                                                                  HER2neu                     Quant                                                                      85950                                       $44        27 4
                                E5triol      unconjugated                                                                       82E77                       $16.63

                                                                                                                                82     73                   $17.16                HerpCsSin7p1                           x   1
                                                                                                                                                                                                                                 1-ISL        1      IgG                                 8659E                                        $9 07

                                                   s
                                Estione                                                                                                                                                                                                                                                                                                                 t


                                                                                                                                                                                                                                                                                                                                                       Is
                                                                                                                                                                                                                             2 HSV2gG
                       s




                                                                                                                                                                                  Herpes Simplex                                                               -
                                                                                                                                                                                                                                                                                         $6896                                       $13 30
                                Ethanol                                                                                         82055                        $7.43                                                                                                                                                                                                 r6
Is
                                                                                                                                                                                                                                                                                                                                      $563
                                EKactable
                                                     Nucl           ar   Antigen             MtihWras             ENG. Panel    8626                        $7 3.95
                                                                                                                                                                                  Noah            density           Lipoprotein                   tHDLJ                                  8j/18
                                                                                                                                                                                                                                                                                                                                                                       P
                                                                                                                                                                                                                                                                                                                                     $1666
                                                                                                                                                                                                                                                                                                                                                             r




                                                                                                                                                                                  HIV screen-HIVI2Pg/A6                                                   Combo                          87389


                                                                                                                                                                                            Rele7t         t0 HIV            11HIV                Ab Dill                                86701r86702                                 $15        40                          1
                                Fernbr                                                                                          82728                        $9.37

                                                                                                                                                                                            r     Retletxrta              HIV      1         RNA         0 ant                           $753                                        $58        46
                                tibnnogen                                                                                        85385                       $6.84
                                                                                                                                                                                      Hot     1
                                                                                                                                                                                                    RNAQuant                                                                              87536                          .. $58                 481
                                FolrrtdFolic              acid                                                                   8213f                      $1031                                                                                                                                                   y




                                                                                                kSHt83001                                                                                                                                                                            .    33090                                      $11        60      r
                                                                                                                                                                                       arnocysfelne                                                                                                                                                                         fr
                                Follicle     Simutatrng                   Hormone                                                                           $12.77


                                                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                      IgA     .Ig 1gM                                                                                     62784x3                                    $19         17
                                                                                                                                                                                                                                                                                                                                                                   r


                                Gamma          ciutar           nyltransferasa                  GGTj                                 2977                    $4.95                                                                                                                                                                                                     Sr
                                                                                                                                                                                                                                                                                                                                                                            -t


                                                                                                                                                                                                                                                                                          82784                                       $6         39




                                                                                                                                                                                         .
                                                                                                                                                                                  IgA                                                                                                                                                                                  v

                                Qa$tful                                                                                          82941                      $12272.
                                                                                                                                                                                      gC                                                                                                               51111                         $11 32                                     a


                                Gentami            in                                                                          .8017                        $11.27
                                                                                                                                                                                  agG                                                                                                     827$4                                       $6         3s
                                Guoose                           a                                                               82947                       $2.70
                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                      pM                                                                                                  82784                                       $639
                                Glucose        TolemnceTj                                                estationaYScreen        S    055Q                   $3.27
                                                                               stGTfl                                                                                             rlnsultn                          _
                                                                                                                                                                                                                                                                                          83525                                       $786

                                                     ihr.o09                                                                                                                                                  Growth                                 j
                                                                                                                                                                                                                                                          GF-I                       84366                                           $14.6V




                                                        s0
                                                                                                                                                                                      Insulin        l   ke                        Factor
                                                        Is
                                Glucose            Tolerance              TestGT11hr                          7b g              82951                                                                                                                                                                                                  $445
                                                                                                                                                                                      ron                                                                                                 835401                                                                   r1
                                Glucose            Toieraneeeat                        G                3hr 1009                .8295126295                 411.54s
                                                                                                                                                                                  Iron          Binding             Gapacrty                   rIBG83550                                                                               $6 61

                                IJ 3onorrhea                    DNA            Qua1                                             87591
15




                           Gr wth Horirioro HGH                                                                                  33003                      $1147                     actate             Dehydrogena-e                                                                    83815                                        $4        15                yym
                                                                                                                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                       cud                                                                                                83655                                        $8 32
5

                                                                                                                                 83010                        $8.65                                                                                                                      83690                                         $474
                                                                                                                                                                                                                                                                                                                                                        is             w
                                iaprogio           b in         _                                                 ss
                                                                                                                                                                                      Lrase                                                                                                                                                                                .t


                            hOG              Chbnonia GonadotropinMaternal                                                      .8470                       $10.35                    Lipid        Panel                                                                                  .F300b                        Is             $921
                                                                                                                                                                                                                                                                                                                                                                            ass




                                                                                                                                                                                                                                                                                          1801          8
                                                     Blood               Quant                                                                                                    -Lithium                      _                                                                                  r




                                                                    Go                                                           d7825                        $435                                                                            n   LOLr                                                                                 $B 56
                                hCQ          GYLcnonia                       adotropin                  Pragnancyfest                                                                 L.ow        density               Lipoprbte                                                         $13721


                                                                _b Qua                                                                                                                Luteinong
                                                                                                                                                                                                                Hcrmcne                  LH                                               83002                                      $12         73              tip       v

                                HlelioobacterFylon                         j41    Pylon                 IgG                      86677                      49 98                     L mnphocyia
                                                                                                                                                                                                                        Enumeration.
                                                                                                                                                                                                                                                                                          multiple                               $110            07     t




                                HematoviE               Hc                                                                      850113                        $1.60
                                                                                                                                                                                                              7L     m hor 4e Subset PaneCI
                                                                                                                                                                                                                    vP                   y



Nil
                                Hrtoglobin                  HGB                                                                  8507$                        $1.63
                                                                                                                                                                                                                                                                                          83735
                                HemoglobinA1                        e HbA1 a                                                    .93173                        $6.67
                                                                                                                                                                                      Magneslurn                                                                                                                                       $4
                                                                                                                                                                                                                                                                                                                                                rei                    r
                                                                                                                                                                                      Manluana                f HC               Urine                                                    80101                                      S10 .00
                                Henogram                    2                                                                    85 014/65     01   8         $3 26                                                                                                                                                                                         y3




                                                                                                                                                                                      Measles Rubeola                               Antibody               IgG                            86765
                                 tepahc            Function              Panel                                                  .8007                         $5 62


                                Hepatitis           A Antibod                    Iqh     r
                                                                                                                                 667599                      .$77                     Mddslea.                Mumps               aid Rubella                          MMR Immunty        multiple



                                                                                                                                                                                                                                                                                          80161
                                                                                                                                                                                                                                                                                                                                     $28

                                                                                                                                                                                                                                                                                                                                     $1000
                                                                                                                                                                                                                                                                                                                                                 13




     $8.09-Msss
                                                                                                                                                                                      Methedone-Dolaphinp                                          Untie                                                                         -




                                 HepatTS           A Antibody                    Total              _

                                                                                                                                 867Q8
                                                                                                                                                                                      Methampnetammas.                                       Urine                                        80101                                       $1000




               $710-c
      t                          HepathS            B Corg AntibotiyIgM                                                          80708
                                                                                                                                                                                                                          Unna
                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                         32043                                   a     $39Q
                                                                                                                                                                                  Microalbunin
                                                                                                                                                              -


                                                                                                                                                                                                                                                                                                                                                             ..
           s




                                 Hepatitis          B Core Antibody                           Total                              86704                  s     $8       29
                                                        -
                                                                                                                                                                                 Microalbunim/CreatiniriaUime                                                          R3pdom             020437825Z0r                                 $7T$9
     yy.                           r                                                                                                                                                                                                                                                                                                                   0
                                                                                                    HBsAb                                                         $738
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                    -
                                                    BSurface                                                                     86706
                                 Hepat s                                    Antibody
                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                       Total
                                                                                                                                                                                      Mumps Antbody                                IgO                                                    86795                                        $692.

                                 H                        Surface           Antigen            HBsAg                             87340
                                                                                                                                                                                                                                                                                                                                       $6 .
                                       Pafills.C
                                                                                                                                                                                                                                                                                          -@3870
                                                                 _                                                                                                                    MYoglobni
                                     Reflex         to      HBsA9              confirmatory                                      87341                            $7410

                                 Hepantis
                                                    B .DN                C7uant
                                                                                                                                  0757 7                          29.44                                                                                                                                                 U o$2
                                                                                                                                                                                                         Kilfet         Cells          Tote Ccunf                                          86357               2-
                                                                                                                                                                                      Natcral

                                 Hepatrtr5          p Antibody                   Screen                                           06809                           $9   81             Nuclear             Antlgati               Arttibotly              Jo        1                     -86230
                                                                                                                                                                                                                                                                                                 s.-
                                                                                                                                                                                                                                                                                                                                       i@
                                                                                                                                                                                                                                                                                                                                                2
                                                                                                                                                                                                                                                                                                                                                            .
                                                            HWRNA                      Quenf                                     87522                                     44




                                                                                                                                                                                                                                                         Sin
                                                    fo                                                                                                       $29
           z
                                          Reflex                                                                                                                                      Nu          Isar
                                                                                                                                                                                                          Antigen                Antibody                RNP                               66235                                     $1

                                 T                   toReV               Genotype                                                 6    902                  $117           96r
                           xa             Reflex
                                                                                                                                                                                      Nuclear             Antigen                Antibody                Scl           70                 86235                                       $12r

                                 Hepatts            G Vus- Genotype.                                                             87H02                      $117
                                                                                                                                                                       s
                                                                                                                                                                           96     r
                                                                                                                                                                                      Nuclear             Antigen                Antibody                                                 86265                                       $12
                                                                          Is

               t
                           Hepati                   tJ-Ulrus             RNA                                  s
                                                                                                                         s.



                                                                                                                                 87       22        .        $29.44                   Nuclear             Antigen                Antibori                SSA                              86235                              y
                                                                                                                                                                                                                                                                                                                                      $igr

     -3a-rIRefffea                                   fo     Rev Genot                         eti                               .8798               %$11796.                           NudlearAntigoa                            Antiboly                SSB




      1E
                   n




                   z                                                                                                                                                                                                                              .rt
                                                                                                                                                                                                                                                                            US-REPORTS-0015287
                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                 tge




                                                                                                                                                                   FER-38
                                       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 39 of 299

                                                                                                                                                                                                                                               theranos.com
                                                                                                                                                                                                                                     fax:
                                                                                                                                                                                                                                     fax 650-852-9594
                                                                                                                                                                                                                                          650-852-0

DESCRIPTION
DESCRIPTION                                                                       CPT
                                                                                  CPT                   PRICE
                                                                                                        PRICE               DESCRIPTION
                                                                                                                            DESCRIPTION                                                                                           CPT
                                                                                                                                                                                                                                  CPT                      PRICE
                                                                                                                                                                                                                                                           PRICE


                                                                                                                            Stool
                                                                                                                            Stool
                                                                                                                                  Culture, V1br10
                                                                                                                                  Culture  Vibrio
                                                                                                                                                                                                                                  87046
                                                                                                                                                                                                                                  87046                         $6.49
                                                                                                                                                                                                                                                                $6.49

Obstetric Pan-l
Obstetric Panel                                                                   80055
                                                                                  80055                $30.07
                                                                                                       $30.07               Streptolys1n
                                                                                                                            Streptolysin
                                                                                                                                         O Antibody, Titer
                                                                                                                                         0 Antibody  Titer
                                                                                                                                                           {ASO)
                                                                                                                                                           ASO                                                                    86060
                                                                                                                                                                                                                                  86060                         $5.02
                                                                                                                                                                                                                                                                $5.02

      Reflex to HBsAg confirmatory·
      Reflex to HBsAg confirmatory
                                                                                  87341
                                                                                  87341                  $7.10
                                                                                                         $7.10
                                                                                                                            Syphilis
                                                                                                                            Syphilis
                                                                                                                                     Screen (Treponema
                                                                                                                                     Screen Treponema
                                                                                                                                                       Palhdum Antibody
                                                                                                                                                       Pallidum
                                                                                                                                                                Antibody)                                                         86780
                                                                                                                                                                                                                                  86780                         $9.10
                                                                                                                                                                                                                                                                $9.10

  , Reflex to Rapid Plasma
L. Reflex to Rapid
                    Plasma Reagin
                           Reagin
                                  (RPR)"
                                  RPR                                             86592
                                                                                  86592
                                                                                                         $2.94
                                                                                                         $2.94
                                                                                                                                  Reflex to Rapid Plasma
                                                                                                                                  Reflex to       Plasma
                                                                                                                                                         Reagin (RPR)"
                                                                                                                                                           Rapid                     Reagin        RPRr
                                                                                                                                                                                                                                  86592
                                                                                                                                                                                                                                  86592
                                                                                                                                                                                                                                                                $2.94
                                                                                                                                                                                                                                                                $2.94

      l , Reflex
      h   Reflex to
                 to TP-PA
                    TP-PA·                                                        86780
                                                                                  86780
                                                                                                         $9.10                    L Reflex
                                                                                                                                    Reflex to
                                                                                                                                           to TP-PA'
                                                                                                                                              TP-PA                                                                               86780
                                                                                                                                                                                                                                  86780
                                                                                                                                                                                                                                                                $9.10
                                                                                                                                                                                                                                                                $9.10
                                                                                                         $9.10

Obstetric Panel with HIV
                     HIV screen
                         screen with
                                with reflex
                                     reflex                                       80055/87389          $46.63
Obstetric Panel with                                                              80055/87389           $46.63

     . Reflex to HBsAg confirmatory·                                              87341                  $7.10              T cells. Total Count                                                                                  86359                    $25.93
L.    Reflex       to    HBsAg          confirmatory                               87341                 $7.10              T   cells.     Total           Count                                                                  86359                    $25.93
      Reflex to HIV-1/HIV-2 Ab Diff"                                              86701 /86702         $15.40               T3, Free Triiodothyronine, Free                                                                       84481                    $11.65
L Reflex           to    HIV-1/HIV-2             Ab    Diff                        86701/86702          $15.40              T3.    Free      -
                                                                                                                                                     Triiodothyronine                 Free                                        84481                    $11.65
   • Reflex to Rapid Plasma Reagin (RPR)"                                         86592                  $2.94              T3, Reverse - Trnodothyrornne, Reverse                                                                84482                    $10.84
L Reflex           to    Rapid         Plasma Reagin                RPR            86592                 $2.94              T3.    Reverse                 -
                                                                                                                                                               Triiodothyronine               Reverse                             84482                    $10.84
          , Reflex to TP-PA'                                                      86780                  $9.10              T3, Total - Triiodothyronine, Total                                                                   84480                         $9.75
      L Reflex to TP-PA                                                            86780                 $9.10              T3     Total         -
                                                                                                                                                     Triiodothyronine                 Total                                       84480                         $9.75
Occult Blood Diagnostic, Fecal (1 card)                                           82272                  $2.24              T4, Free - Thyroxine, Free                                                                            84439                         $6.20
Occult       Blood         Diagnostic            Fecal       1 card                82272                 $2.24              T4     Free      -
                                                                                                                                                     Thyroxine            Free                                                    84439                         $6.20
Occult Blood Screen, Fecal (3 cards)                                              82270                  $2.24              T4, Total - Thyroxine, Total                                                                          84436                         $4.72
Occult       Blood         Screen            Fecal     3 cards                     82270                 $2.24              T4     Total
                                                                                                                                                 -
                                                                                                                                                     Thyroxine            Total                                                   84436                         $4.72
Opiates. Unne                                                                     80101                 $10.00              Testosterone, Free                                                                                    84402                    $17.50
Opiates.       Urine                                                               80101                $10.00              Testosterone                       Free                                                               84402                    $17.50
Ova & Parasrtes                                                                    87177                 $6.12              Testosterone, Total                                                                                   84403                    $17.75
Ova          Parasites                                                             87177                 $6.12              Testosterone                       Total                                                              84403                    $17.75
                                                                                                                            Theophylhne                                                                                           80198                         $9.73
                                                                                                                            Theophylline                                                                                          80198                         $9.73
Parathyroid Hormone (PTH)                                                          83970                $28,37              Thyroglobulin                                                                                         84432                    $11 .04
Parathyroid              Hormone             PTH                                   83970                $28.37              Thyroglobulin                                                                                         84432                    $11.04
Partial Thromboplastin Time (PTT)                                                  85730                 $4.13              Thyroglobulin Antibodies (TAA)                                                                        86800                    $10.93
Partial     Thromboplastin                    Time     PTT                         85730                 $4.13              Thyroglobulin
                                                                                                                                                               Antibodies          fAA                                            86800                     $10.93
Phencyclidine (PCP), Urine                                                         80101                $10.00              Thyroid Peroxidase Antibody (TPO)                                                                     86376                    $10.00
Phencyclidine
Phenobarbital
              PCP Urine                                                            80101
                                                                                   80184
                                                                                                        $10.00
                                                                                                         $7,87              Thyroid         Peroxidase  TPO            Antibody                                                   86376                     $10.00
                                                                                                                            Thyroid Stimulating Hormone (TSH)                                                                     84443                    $11 .55
Phenobarbital
Phenyto1n, Total
                                                                                   80184
                                                                                   80185
                                                                                                          $7.87
                                                                                                         $9.11              Thyroid         Stimulating                Hormone            TSH                                     84443                     $11.55
                                                                                                                                                                                                                                                                $6.20
                                                                                                                                 , Rell ex to T4 Free·                                                                            84439
Phenytoin               Total                                                      80185                  $9.11                   Reflex             to    T4 Free                                                                84439                         $6.20
Phosphorus, Inorganic                                                              84100                 $3.26              Thyroid Uptake                                                                                        84479                         $4.45
Phosphorus                 Inorganic                                               84100                  $3.26                             Uptake                                                                                84479                      $4.45
Platelets, Automated                                                               85049                  $3.08             Thyroid
                                                                                                                            Thyroxine Binding Globulin (TBG)                                                                      84442                     $10.17
                                                                                   85049                  $3.08
Platelets
Potassium          Automated
                                                                                   84132                 $3.16              Thyroxine
                                                                                                                            Tissue     Binding Globulin
                                                                                                                                    Transglutaminase       TBG
                                                                                                                                                        (tTG) Antibody. lgA
                                                                                                                                                                                                                                  84442
                                                                                                                                                                                                                                  83516                     $10.17
                                                                                                                                                                                                                                                                $7.93
Potassium                                                                          84132                  $3.16                                                                                                                   83516                         $7.93
Potassium, Unne                                                                    84133                  $2.96             Tissue
                                                                                                                            Tissue Transglutaminase tTG Antibody,
                                                                                                                                   Transglutam1nase (tTG) Antibody IgA
                                                                                                                                                                   lgG                                                            83516                         $7.93
Potassium  Urine                                                                   84133
                                                                                   84134                 $2.96
                                                                                                        $10.03                                                                                                                    83516                      $7.93
Prealbum1n                                                                                                                  Tissue
                                                                                                                            Tobramycin
                                                                                                                                  Transglutaminase                                 tTG        Antibody         IgG                80200                     $11 .08
Prealbumin
Progesterone                                                                       84134
                                                                                   84144                $10.03
                                                                                                        $14.34                                                                                                                    80200                     $11.08
                                                                                                                            Toxoplasma
                                                                                                                            Tobramycin lgG                                                                                        86777                      $9.90
Prolactin                                                                          84144
                                                                                   84146                $13.32
                                                                                                        $14.34                                                                                                                    86777                         $9.90
Progesterone                                                                                                                Toxoplasma
                                                                                                                            Toxoplasma lgM
                                                                                                                                       IgG                                                                                        86778                         $9.90
Propoxyphene, Urine                                                                84146
                                                                                   80101                $10.00
                                                                                                        $13.32                                                                                                                    86778                         $9.90
Prolactin
                                                                                                                            Toxoplasma
                                                                                                                            Transfernn                     IgM                                                                    84466                         $8.78
Protein, Total
Propoxyphene                    Urine                                              80101
                                                                                   84155                 $2,52
                                                                                                        $10.00
                                                                                                                            Tricychc Antidepressants, Urine
                                                                                                                            Transferrin                                                                                           84466
                                                                                                                                                                                                                                  80101                      $8.78
                                                                                                                                                                                                                                                            $10.00
Protein, Total
         Urine                                                                     84155
                                                                                   84156                  $2.52
                                                                                                          $2.52
Protein
                                                                                                                            Triglycerides
                                                                                                                            Tricyclic      cmll:I:>
                                                                                                                                     Antidepressants
                                                                                                                                                                                    Urine                                         80101
                                                                                                                                                                                                                                  84478                     $10.00
                                                                                                                                                                                                                                                             $3.95
Prothrombin
Protein.Urine Time (PT/INR)                                                        85610
                                                                                   84156                  $2.70
                                                                                                          $2.52             Tropornn I
                                                                                                                            Triglycerides                                                                                         84484
                                                                                                                                                                                                                                  84478                         $6.77
                                                                                                                                                                                                                                                                $3.95

PSA. Free
Prothrombin               Time         PT/INR                                      84154
                                                                                   85610                $12.65
                                                                                                         $2.70              Tuberculosis Ouant1FERON TB Gold In-Tube Test                                                         86480
                                                                                                                                                                                                                                  84484                     $42.60
                                                                                                                                                                                                                                                             $6.77
                                                                                                                            Troponin

PSA, Total
PSA  Free                                                                          84153
                                                                                   84154                $12.65
                                                                                                        $12.65
                                                                                                                            Tuier        culosis               QuantiFERON             TB     Gold      In-Tube        Test       86480                        $42.60

PSA        Total                                                                   84153                $12.65              Unc Acid                                                                                              84550                         $3.11
RBC, Automated                                                                     85041                  $2.07             Urinalysis, Auto                                                                                      81003                         $1  .55
                                                                                                                            Uric Acid                                                                                             84550                         $3.11

Renal Function Panel
RBC Automated                                                                      80069
                                                                                   85041                  $5.97
                                                                                                          $2.07             L Reflex toAuto
                                                                                                                                        Micro·                                                                                    81015                         $2.09
                                                                                                                             Urinalysis
                                                                                                                                                                                                                                  81003                         $1.55
Reticulocyte
Renal Function
              Count,
                Panel
                      Automated                                                    85045
                                                                                   80069                  $2.75
                                                                                                          $5.97              Urinalysis, Complete                                                                                 81001                         $2.18
                                                                                                                             .  Reflex to Micro                                                                                   81015                         $2.09
Rheumatoid Factor, Total
                   Automated
                                                                                   86431
                                                                                   85045
                                                                                                          $3.90
                                                                                                          $2.75             L, Reflex to culture &susceptibility°                                                                 87086                         $5.55
Reticulocyte              Count                                                                                                                                                                                                   81001                         $2.18
                                                                                                                             Urinalysis               Complete
Rubella Antibody, lgG
Rheumatoid          Total
                                                                                   86317
                                                                                   86431
                                                                                                        $10.31
                                                                                                         $3.90               Urine culture                                                                                        87086                         $5.55
                          Factor




positi.-Ruheola
                                                                                                                               Reflex to culture                           susceptibility                                         87086                         $5.55
 Rubella Antibody. lgM                                                             86762
                                                                                   86317
                                                                                                          $9.90
                                                                                                        $10.31                              •Additional charges may apply if unne culture87086
                                                                                                                                                                                          tests positive.
Rubella        Antibody                IgG                                                                                   Urine       culture                                                                                                                $5.55
 Rubeola (Measles) Antibody. lgG                                                   86765                  $8.86
Rubella        Antibody.               IgM                                         86762                  $9.90                              Additional                charges         may        apply   if   urine    culture    tests



                   Measles             Antibody         IgG                        86765                  $8.86                                                                                                                   80164                         $9.32
                                                                                                                             Valproic Acid
Sal1cylate                                                                         80196                  $4.88
                                                                                                                             Vancomyc1n                                                                                           80202                         $9.32
 Sex Hormone-binding Globulin (SHBG)                                               84270                $14,94               Valproic
                                                                                                                                             Acid                                                                                 80164                         $9.32

Salicylate                                                                         80196                  $4.88              Varieella-Zoster Antibody                                                                            86787                         $8.86
                                                                                   84295                  $3.31                                                                                                                   80202                         $9.32
 Sodium                                                                                                                      Vancomycin
Sex Hormone-binding                           Globulin        SHBG                 84270                $14.94               Vitamin B-12                                                                                         82607                     $10.36
 Sodium. Urine                                                                     84300                  $3.35              Varicella-Zoster                      Antibody                                                       86787                         $8.86
Sodium                                                                             84295                  $3.31              Vitamin D 25-OH                                                                                      82306                     $20.35
 STI Comprehensive Panel                                                           multiple             $59.95               Vitamin        B-12                                                                                  82607                        $10.36
Sodium             Urine                                                           84300                  $3.35
 Stool Culture (Salmonella, Shigella,                                              multiple             $19.46               Vitamin        D 25-OH                                                                               82306                        $20.35
STI       Comprehensive                  Panel                                     multiple             $59.95               WBC Count. Automated Differential                                                                    85004                         $4.45
                        Campylobacter, E. coli 0157)
Stool       Culture            Salmonella             Shigella                     multiple             $19.46               WBC, Automated                                                                                       85048                         $1.75
      Reflex to E. coli Shiga-like toxin•                                          87427                  $8.25              WBC         Count                 Automated           Differential                                   85004                         $4.45
                        Campylobacter                  E.    coli   0157
                                                                                                                             WBC          Automated                                                                               Gm
                                                                                                                                                                                                                                  85048 = Fastog recommended
                                                                                                                                                                                                                                                     $1.75
 L. Reflex          to    E.    coli    Shiga-like          toxin          "Ordered87427                   $8.25
                                                                                   reflex losts only performed whE;J1 medtwtty necessdry TesI menu and p/'IOl3s val d as o1 October 2015 v,s.· theranoa.oom for cum:nt 1nforrnahon

                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                               Fastn2    rep            1d
                                                                                      ..      ..i.                .               -...               r_n        .-      ri .-..-
                                                                                                                                                                                         di_                         ...theranos.com-                   r-rc.


                                                                                                                                                                                                                 US-REPORTS-0015288

                                                                                                                      FER-39
                                           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 40 of 299


panels with
       with components
            components                                                                                                                                                                                                                                                                                                                                                          theran
                                                                                                                                                                                                                                                                                                                                                                                theran.ss
All tFtests
Al          available
         t _tza  lhk  on an
                         an individual
                               iri     basis.                    n                    r
                                                                                                     _1i_i        it
                                                                                                                                                                                                                                                                                                                                                                            fax:
                                                                                                                                                                                                                                                                                                                                                                             ax 650-852-9594
                                                                                                                                                                                                                                                                                                                                                                                 650 852 9rrL4



  DESCRIPTION
  DESCRIPTION                                                                                                                                                                       CPT
                                                                                                                                                                                    CPT            PRICE
                                                                                                                                                                                                   PRICE                    DESCRIPTION
                                                                                                                                                                                                                            DESCRIPTION                                                                                                                                             CPT
                                                                                                                                                                                                                                                                                                                                                                                    CPT                   PRICE
                                                                                                                                                                                                                                                                                                                                                                                                          PRICE
                                                                                                                                                                                                                                                                                                                                                                                                     -


  Basic Metabolic
  Basic Metabolic
                  Panel
                  Panel Ill
                        (BMP) "''"
                              TING••                                                                                                                                      80048
                                                                                                                                                                          80048                            $5.82
                                                                                                                                                                                                           $5.82
                                                                                                                                                                                                                            Extractable
                                                                                                                                                                                                                            Extractable
                                                                                                                                                                                                                                        Nuclear Antigen Antibodies
                                                                                                                                                                                                                                        Nuclear Antigen Antibodies
                                                                                                                                                                                                                                                                   (ENA Panel)
                                                                                                                                                                                                                                                                   ENA PaneQ
                                                                                                                                                                                                                                                                                                                                                                                86235
                                                                                                                                                                                                                                                                                                                                                                                86235                    $73.95
                                                                                                                                                                                                                                                                                                                                                                                                         $-7-3.95



  Blood Urea Nitrogen (BUN)                                                                                                                                                                                                 Nuclear Antigen Antibody, Jo-1 • Nuclear Antigen Antibody, RNP
                                                                                                                                                                                                                                                                                       RNP •
  Blood Urea Nitrogen BUN • Calcium
                            Calcium • Carbon dioxide • Chloride
                                      Carbon dioxide   Chloride •                     IS                                      IS
                                                                                                                                                                          IS
                                                                                                                                                                                                                            Nuclear         Antibody
                                                                                                                                                                                                                                         Antigen
                                                                                                                                                                                                                                                      Jo-1   Nuclear Antigen Antibody

  Creatinine • Glucose
               Glucose • Potassium
                         Potassium • Sodium                                                                                                                                                                                 Nuclear
                                                                                                                                                                                                                            Nuclear
                                                                                                                                                                                                                                    Antigen
                                                                                                                                                                                                                                    Antigen
                                                                                                                                                                                                                                            Antibody,
                                                                                                                                                                                                                                            Antibody
                                                                                                                                                                                                                                                      Scl-70
                                                                                                                                                                                                                                                      Scl-70
                                                                                                                                                                                                                                                               • Nuclear
                                                                                                                                                                                                                                                                 Nuclear
                                                                                                                                                                                                                                                                          Antigen
                                                                                                                                                                                                                                                                           Antigen
                                                                                                                                                                                                                                                                                    Antibody,
                                                                                                                                                                                                                                                                                     Antibody
                                                                                                                                                                                                                                                                                                Sm
                                                                                                                                                                                                                                                                                                Sm •                IS


  Creatinine                         Sodium                                                                  IS




                                                                                                                                                                                                                            Nuclear
                                                                                                                                                                                                                            Nuclear
                                                                                                                                                                                                                                    Antigen Antibody, SSA
                                                                                                                                                                                                                                                      SSA
                                                                                                                                                                                                                                                             • Nuclear
                                                                                                                                                                                                                                                               Nuclear
                                                                                                                                                                                                                                                                         Antigen   Antibody,  SSB
                                                                                                                                                                                                                                                                                              SSP
                                                                                                                                                                                                                                         Antigen                   Antibody                                                                         Antigen        Antibody

  Celiac Panel                                                                                                                                                                                     $31 .72
  Celiac            Panel                                                                                                                                                                          $31.72


  Oeam1dated Gliadin Peptide (DGP} Antibody, lgA (83516) •                                                                                                                                                                  Hepatic Function Panel                                                                                                                              80076                      $5.62
                                                                                                                                                                                                                                                                                                                                                                                8W76
      Deamidated                         Gliadin                   Peptide                 DGP Antibody                                                IgA    83516            IS                                           Hepatic      Function                       Panel


      Deamidated Gliadin Peptide (DGP) Antibody, lgG (83516) •                                                                                                                                                              Albumin • Alanine Aminotransferase (All) •
      Deamidated                         Gliadin                   Peptide                 DGP Antibody.                                               IgG 83516                                                            Albumin             Alanine                  Aminotransferase                                 ALT
  Tissue Transglutaminase (tTG) Antibody, lgA (83516) •                                                                                                                                                                     Alkaline Phosphatase (ALP} • Aspartate Aminotransferase (ASP) •
  Tissue                  Transglutaminase                                       tTG            Antibody                               IgA             8351    Li                                                           Alkaline     Phnsphntnse                            Al           P         IS
                                                                                                                                                                                                                                                                                                             Aspartate                         Aminotransferase                           IASI

  Tissue Transglutam1nase (tTG) Antibody, lgG (83516)                                                                                                                                                                       Bilirubin Direct • Bilirub1n Total • Protein Total
  Tissue                  Transglutaminase                                       tTG Antibody                                          IgG 8.


      Chlamydia/Gonorrhea Panel, DNA. OuaHtatlVe                                                                                                                                                    $24.12
                                                                                                                                                                                                                            Hepatitis Panel, Acute                                                                                                                              80074                     $31.89
      Chlamydia Trachomatis, ONA. Qualitative (87491) •                                                                                                                                                                     L. Reflex to HCV RNA Quant·                                                                                                                         87522                     $29.44
      Chlamydia                     Trachomatis                                  DNA.           Qualitative                               87491
      N. Gonorrhea, DNA. Qualitative (87591)                                                                                                                                                                                Hepatrtis A Antibody, lgM • Hepatitis B Core Antibody, lgM (HBcAb) •
      N.   Gonorrhea                       DNA.                      Qualitative                       87591                                                                                                                Hepatitis         A Antibody
                                                                                                                                                                                                                                                  IgM                                             Hepatitis                    B Core Antibody                                      IgM       HBcAb
                                                                                                                                                                                                                            Hepatitis B surface antigen (HBsAg) • Hepatitis C Antibody Screen


                                                                                                                                                                                      W
                                                                                                                                                                                                                            Hepatitis         B surface                    antigen                HBsAg                   IS
                                                                                                                                                                                                                                                                                                                                    Hepatitis                 C Antibody                      Screen
      Chlamyd1a/Gonoll'hea/HIV with reflex•                                                                                                                                                         $40.68
      L. Reflex to HIV-1/2 Ab Differentiation
                                                                                      -
                                                                                                                                                               86701/86702
                                                                                                                                                                     1
                                                                                                                                                                          F                         $15.40   1   al


                                                                                                                                                                                                                   1
                                                                                                                                                                                                                            Lipid Panel "'""•
                                                                                                                                                                                                                                      Panel
                                                                                                                                                                                                                                                                                                                                                                                80061
                                                                                                                                                                                                                                                                                                                                                                                180061
                                                                                                                                                                                                                                                                                                                                                                                                           $9.21
                                                                                                                                                                                                                                                                                                                                                                                                            $9.21
                                                                                                                                                                                                                            Upid                         TASTING

      Chlamydia Trachomatis, DNA, Qualitative (87491) •                                                                                                                                                                     Cholesterol • High-density Lipoprotein (HDL) •
      Chlamydia                     Trachomatis                                  DNA            Qualitative                               87491                                                                                                                       HDL
                                                                                                                                                               IS




      N Gonorrhea, DNA, Qualitative (87591) •                                                                                                                                                                               Cholesterol             IS

                                                                                                                                                                                                                                         High-density
                                                                                                                                                                                                                            Low-density Lipoprote1n     Lipoprotein
                                                                                                                                                                                                                                                      (LDL)  • Triglycerides
      HIVGonorrhea
      N.             DNA
          screen - HIV-1/HIV-2       87591
                               Antigen/Antibody Combo (87389)
                                                                          Qualitative
                                                                                                                                                                                                                            Low-density                  Lipoprotein                         LDL              IS
                                                                                                                                                                                                                                                                                                                   Triglycerides

      HIV screen                    -
                                         HIV-1                   /HIV-2             Antigen/Antibody                                                   Combo        87389
                                                                                                                                                                                                                            Lymphocyte Enumeration - Lymphocyte Subset Panel 1                                                                                                                           $110.07
      Complete Blood Count (CBC), no Diff                                                                                                                                      85027                       $4.45
                                                                                                                                                                                                                            Lymphocyte                   Enumeration                          -
                                                                                                                                                                                                                                                                                                  Lymphocyte                                   Subset         Panel             1                        $110.07
      Complete Blood
      Complete Blood Count   CBC
                     Count (CBC), no DWDiff WBC
                                  Auto                                                                                                                                         Ill
                                                                                                                                                                               85025                       $5.35
                                                                                                                                                                                                           $4.45
                                                                                                                                                                                                                            B cells, Total Count (86355) •
                                                                                                                                                                                                                            B cells Total
      L. Reflex to
      Corroft      Manual
                Blood     DiffCBC
                      Count    and Smear    WBC
                                    Auto Review                                                                                                                                85007                       $2.37
                                                                                                                                                                                                           $5.36            C04/CD8       Count 86355
                                                                                                                                                                                                                                       Count, Absolute with Ratio and Percent (86359/86360) •
                                                                                 and Smear                                                                                                                                  CD4/CD8Killer                            and Percent   i8635P863601
               Reflex          to        Manual                      Diff                                              Review                                                  85DO7   1
                                                                                                                                                                                                           $2.37            Natural       cells,Absolute
                                                                                                                                                                                                                                      Count              with
                                                                                                                                                                                                                                                 Total Count   Ratio
                                                                                                                                                                                                                                                              (86357)  • T cells, Total Count (86359)
      Hernatocrit • Hemoglobin • Platelets Automated • RBC Automated •
                                                                                                                                                                                                                            Natural      Killer            cells          Total              Count                 86357                  IS
                                                                                                                                                                                                                                                                                                                                                    T cells      Total          Count               863591
      WBC   Automated
      Hematocrit  Hemoglobin        IS
                                                                                      Platelets                        Automated                              RBC        Automated                    IS




      WBC Automated                                                                                                                                                                                                         Measles, Mumps, and Rubella (MMR) Immunity                                                                                                                                    $28.13
      Comprehensive Metabolic Panel (CMP) " " '"•                                                                                                                              80053                       $7.27            Measles
                                                                                                                                                                                                                            Measles (Rubeola)         MMR
                                                                                                                                                                                                                                     Mumps Antibody lgG      Immunity
                                                                                                                                                                                                                                                        (86765) •        and      Rubella


      Comprehensive   Metabolic Panel CMP                     80053     $7.27                                                          FASTING

      Albumin • Alanine Aminotransferase (All) • Alkaline Phosphatase (ALP)   •                                                                                                                                             Mumps Antibody
                                                                                                                                                                                                                            MeaslesRubeola lgG  (86735)IgG
                                                                                                                                                                                                                                             Antibody    • Rubella
                                                                                                                                                                                                                                                           86765 Antibody lgG (86317)

      Aspartate
      Albumin   Aminotransferase
                Alanine              (ASl) • ALT
                        Aminotransferase                Total • Phosphatase
                                             BilirubinAlkaline                                                                                                                                      ALP                IS


                                                                                                                                                                                                                            Mumps Antibody                               IgG 86735                                 Rubella                     A- tibrcri              I    l   1631-

      Aspartate
                 Nitrogen (BUN) • AST
      Blood UreaAminotransferase  Calcium Total • Total
                                                  Carbon dioxide •                                                IS
                                                                                                                            Bilirubin                          IS




                                                                                                                                                                                                                            Obstetric Panel                                                                                                                                      80055                    $30.07
      Chloride
      Blood    • Creatinine
            Urea  Nitrogen BUN
                            • Glucose  • Sodium
                                   Calcium  Total • Potassium • Protein Total
                                                    Carbon dioxide                    IS                                                          IS
                                                                                                                                                                                           IS

                                                                                                                                                                                                                            L. Reflex to HBsAg confirmatory•
                                                                                                                                                                                                                            Obstetric     Panel
                                                                                                                                                                                                                                                                                                                                                                                 87341
                                                                                                                                                                                                                                                                                                                                                                                 80055
                                                                                                                                                                                                                                                                                                                                                                                                           $7.10
                                                                                                                                                                                                                                                                                                                                                                                                          1111
      Chloride                 Creatinine                                       Glucose                           Sodium                               Potassium                    Protein         Total
                                                                                                                                                                                                                            L. Reflex to  to Rapid Plasma Reagin (RPR)'                                                                                                          86592
                                                                                                                                                                                                                                                                                                                                                                                 87341
                                                                                                                                                                                                                                                                                                                                                                                                            S2.94
                                                                                                                                                                                                                                             HBsAg conftmatoW
                                                                          IS                                                                 IS                           IS



                                                                                                                                                                                                                                Reflex

      Drug Screen Panel                                                                                                                                                        80101                 $49.98                     L. Reflex to TP-PA"                                                                                                                         $7.L-r
                                                                                                                                                                                                                                                                                                                                                                        86780   $9.10                          r


                                                                                                                                                                                                                            Obstetric Panel wrth HIV screen•                                                                                                     80055/87389   $46.63
                                                                                                                                                                                                                                              to TP-PW                                                                                                                  effm
      Amphetamines
      Drug        Screen                 Panel
                   • Barbiturates • Benzodiazepines • Cocaine •                                                                                                                80101                  $49M                           Reflex
                                                                                                                                                                                                                                                                                                                                                                                $9.16.1
                                                                                                                                                                                                                             L. Reflex to HBsAg confirmatory•                                                                                                           87341   $7,10
                                                                                                                                                                                                                            ObsWW Panel with HIV screeW                                                                                                            1    1




      Ecstasy (MDMA) •Barbiturates
      Amphetamines
                       Marijuana (THC) • Methadone (Oolophine)
                                    Benzodiazepines
                                                  IS
                                                     Cocaine
                                                               •                                                                                                                                                            L. Reflex to HIV-1/2 Ab Diff•                                                                                                        86701 /86702  $15.40
      MethamphetaminesMarijuana
      Ecstasy
                       • OpiatesTHC
                                 • Phencyclidine
                              MDMA     Methadone
                                                 (PCP) •
                                                   Dulopl   IS                                                         IS
                                                                                                                                                                                    line
                                                                                                                                                                                                                            L. Reflex to Rapid Plasma Reagin (RPR)'
                                                                                                                                                                                                                                Reflex    to HIV-1/2
                                                                                                                                                                                                                                L. Reflex to TP-PA•
                                                                                                                                                                                                                                                      Ab Mir                                                                                                     8 6 7 01 1      W
                                                                                                                                                                                                                                                                                                                                                                                 86592
                                                                                                                                                                                                                                                                                                                                                                                 86780
                                                                                                                                                                                                                                                                                                                                                                                          Ir
                                                                                                                                                                                                                                                                                                                                                                                                            $2.94
                                                                                                                                                                                                                                                                                                                                                                                                            $9.10
      Propoxyphene
      I
                   • Tricyclic Antidepressants                                                                                                                                                                               L.    Reflex      to        Rapid Plasma                             Reagin                 RPR                                                     sol                        $2.94
               thamphetamines                                                  Opiates                                                                       PCPi
                                                                     IS                         IS


                                                                                                        Phencyclidine
                                                                                                                                                                                                                                L4 Reflex
                                                                                                                                                                                                                             AIBO/RhD   Blood  Typing • Antibody Detection, RBC • CBC with AutoSO-1
                                                                                                                                                                                                                                           to TP-FW
                                                                                                                                                                                                                                                                                                Diff •
                                                                                                                                                                                                                                                                                                                                                                                                                      9
                                                                                                                                                                                                                                                                                                                                                                                 13157



                poxyphene                    IS
                                                            Tricyclic               Antidepressants




                 -n--
      Electrolytes Panel                                                                                                                                                       80051                       S4.82             Hepatitis B surface antigen (HBsAg) • Rubella lgG •
                                                                                                                                                                                                                             ABO/RhD            Blood              Typing
                                                                                                                                                                                                                                                                                        IS
                                                                                                                                                                                                                                                                                              Antibody                   Detection                          RBC                 CBC            01    Hutt      Diff


      Carbonlytes
              dioxide                                                                                                                                                                                                        Syphilis Screen (Treponema Pallidum Antibody)
                  Panel • Chloride • Potassium • Sodium                                                                                                                        80051                                                           B surface
                                                                                                                                                                                                           $4.82
                                                                                                                                                                                                                             Hepatitis                                     antigen                     HBsAg                   IS
                                                                                                                                                                                                                                                                                                                                     Rubella                 IgG


                                                                                                                                                                                                                             Syphilis         Screen               Treponema                                Pallidum                Antibod
               rbon          dioxide                   IS
                                                                 Chloride             IS
                                                                                           Potassium                                       Sodium
       Epstein-Barr (EBV) Antibody Panel                                                                                                                                                              $35.46                 Renal Function Panel ,.,,,..                                                                                                                        80069                      $5.97

       EBV Nuclear EBV
      Epstein-Barr
                   Antibody.  lgG (86664) •
                         Antibody Panel                                                                                                                                                              $35.46
                                                                                                                                                                                                                             Albumin
                                                                                                                                                                                                                             Renal Function     Urea Nitrogen (BUN) • Calcium Total 1.
                                                                                                                                                                                                                                      • BloodPanel                                  •
                                                                                                                                                                                                                                                                                  FASTING
                                                                                                                                                                                                                                                                                                                                                                                                            Sim
       EBV Viral Capsid Antigen (VCA) - lgG (86665) •                                                                                                                                                                        Carbon dioxide • Chloride • Creatinine • Glucose·•
      EBV         Nuclear                 Antibody                              IgG        86664                                                                                                                             Albumin
                                                                                                                                                                                                                             Phosphorus  Blood Urea
                                                                                                                                                                                                                                            Inorganic Nitrogen BUN• Sodium
                                                                                                                                                                                                                                                      • Potassium     Calcium                                                        IS                                Total

       EBV Viral Capsid Antigen (VCA) - lgM (86665)
                                                                                                                                                                                                                                                                                                                                                     GIucosr
       EBV       Viral          Capsid                           Antigen             VCA                 -
                                                                                                                  IgG 86665                                                                                                  Carbon           dioxide              IS
                                                                                                                                                                                                                                                                         Chloride                 IS
                                                                                                                                                                                                                                                                                                            Creatinine                         IS




                                                                                                                                                                                                                             Phosphorus                                                       Potassium                             Sod
                               VCA
                                                                                                                                                                                                                                                                                   IS



    EBV =Viral         Antigen                                                                                    IgM 86665                                                                                                                                 Inorganic
 a:mm!)        Capsid
           Fasung recommended                                                                            -




•ordered rellex tests only performed when medically necessary Test menu and prices valid as of October 2015.                                                                                                                                                                                                                                        continued on back page 4
 Visit theranos.com  for current 1nfom,at1on.
                   recommended.
                          Fasting


 Or        r
                  ofl _                     ril                           rfrri            h                                       J
                                                                                                                                                                     t         -.w              rrirrv.                       hi         11                                                                                                          Jnti   LI                  %r        1     .
                                                                                                                                                                                                                                                                                                                                                                                                         a7B
                                                                               1J           0




                                                                                                                                                                                                                                                                                                                               US-REPORTS-0015289
                                                                                                                                                                                                                                                                                                                                                                                                                          wood



                                                                                                                                                                                                                   FER-40
                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 41 of 299



                                                                                                                                                                                        theran  s
                                                                                                                                                                                        theran.ps
                                                                                                                                                                                         the ranos.com
                                                                                                                                                                                         theranos.com



BasicHealth™
BasicHealth- menu All tests available on an individual basis.
                                                    All   tests available             on      an      individual       basis.                                                            ID
                                                                                                                                                                                         ID
                                                                                                                                                                                                   PRICE
                                                                                                                                                                                                   PRICE



BasicHealth'"
BasicHealth   starter
              starter am Blood Count (CBC
                         Blood Count      with diff) • Comprehensive
                                     CBC with          Comprehensive
                                                                     Metabolic
                                                                     Metabolic
                                                                               Panel
                                                                               Panel
                                                                             Jiff
                                                                                     (CMP) • HbA1c
                                                                                     CMP     HbAlc • Lipid Panel
                                                                                                           Panel
                                                                                                                 a.mm                                        Lipid
                                                                                                                                                                                         BS1p
                                                                                                                                                                                         E-111
                                                                                                                                                                                                   $28.50
                                                                                                                                                                                                   $28.50


Basic Health'" for
BasicHealth    for women
                    women            amBlood Count (CBC with d1ff) • Comprehensive Metabolic
                                       Blood Count CBC with diff     Comprehensive Metabolic
                                                                                             Panel (CMP) • HbA
                                                                                             Panel CMP HbAl 1cc •                                                                        BW1p      $42.23
                                                                                                                                                                                                   $42.23
Lipid Panel
Lipid Panel
               am •
                 Thyroid Stimulating Hormone
                 Trivroid Stimulating
                                      Hormone (TSHI • Urinalysis Complete
                                               TSH    Urinalysis Complete
                                                                                                                                                                                         ewip




BasicHealth'" for
BasicHealth-
                    for men      am
                         men MIND Blood Count (CBC with diff) • Comprehensive Metabolic Panel (CMP) • HbA1 c • Lipid Panel
                                       Blood Count CBC with diff     Comprehensive Metabolic Panel CMP HbAlc   Lipid Panel
                                                                                                                                                                                am •     BM1p
                                                                                                                                                                                         enp
                                                                                                                                                                                                   $54.88
                                                                                                                                                                                                   $54.88
PSA Total • Thyroid Stimulating Homione (TSH) • Urinalysis Complete
PSA Total   Thyroid  Stimulating Hormone   TSH   Urinalysis Complete




core health
core health menu
            menu All tests
                     tests available on an individual basis.
                           available on an    All     basis.                                      individual




Anemia Assessment Blood Count (CBC with d1ff) • Ferntin • Iron • Iron Binding Capacity (TIBC) • Reticulocyte Count Automated                                                             BH1p      $27.93
Anemia Assessment Blood               Count   CBC         with    diff     Ferritin        Iron       Iron   Binding   Capacity   TIBC   Reticulocyte        Count Automated             BH1p      $27.93


Diabetes Assessment am Glucose am • HbA1c • Lipid Panel am                                                                                                                               D81p      $18.58
Diabetes        Assessment               Glucose                         HbAlc        Lipid       Panel                                                                                  omp       $18.58

Sexual Health Chlamydia. DNA. Qualitative • N. Gonoirhea. DNA. Oualttative • Hepatitis B Surface Antigen (HBsAg) with Reflex to HBsAg                                                    STI1 p    $59,95
Sexual Health Chlamydia DNA Qualitative        N. Gonorrhea DNA Qualitative     Hepatitis B Surface         HBsAg    with  Reflex to HBsAg                                                         $59.95
confirmatory· • HepabtlS C Antibody Screen • Herpes Simplex 1 (HSV1). lgG • Herpes Simples 2 (HSV2).Antigen
                                                                                                     lgG • HIV-1 /HIV-2  Antigen/Antibody                                                Snip




                                                                                                                        IHH 1
confirmatory
Combo with Reflex  to HIVC1Antibody
               Hepatitis
                           /2 Ab diff'Screen
                                       • Syph lis  Herpes
                                                    (TP Ab)Simplex     HSV1
                                                             with Reflex      IgG
                                                                         to APR1
                                                                                   Herpes
                                                                                Ab con!'      Reflex 2toHSV2
                                                                                           Simples
                                                                                         with            TP-PA'IgG                             HIV-1/HIV-2           Antigen/Antibody

Combo with Reflex to HIV   /2 Ab diff
                             1            Syphilis  TP Ab with Reflex to RPR Ab conf with Reflex to TP-PA

Thyroid Assessment T3 Free • T4 Free • T4 Total • Thyroid Stimulating Hormone (fSH)                                                                                                      TY1p      $34.12
Thyroid        Assessment T5      FrH-     - Free         ra     raai      fhyrs          tr-mlatir          Hris ne                                                                          ii
                                                                                                                                                                                                   $34.12




  cmD = Fasting recommended.
·Ordered reflex 1ests only performed when medically necessary Test menu and prices valid as ot October 2015 Visit therw,os.com or log In to the Theranos app for current 1nformat1on
 I 11              II                                    T                  I 1\                        I Ii                                                           MT~,       \A                        fi

                                                                                                                                                                         Ho




                                                                                                                                                                       US-REPORTS-0015290

                                                                                                          FER-41
                                                                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 42 of 299
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I

theran s
theranrS                                                                                                                                                                                                                                                                                                                                                                                                                                 fax:
                                                                                                                                                                                                                                                                                                                                                                                                                                         fax +11 650
                                                                                                                                                                                                                                                                                                                                                                                                                                                 6
                                                                                                                                                                                                                                                                                                                                                                                                                                                     theranos.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                     852-9594
                                                                                                                                                                                                                                                                                                                                                                                                                                                     8 o529.com
                                                                                                                                                                                                                                                                                                                                                                                                                                                          -9594
                                                                                                                                                                                                                                                                                                                                                                                                                                                             594



TESTS ORDERED FOR
Last
Last Nam e
     Name                                                                                                                      First Name
                                                                                                                               First Name                                                                                                                         Midd le Initial
                                                                                                                                                                                                                                                                  Middle.                      lndial
                                                                                                                                                                                                                                                                                                                                                      oos
                                                                                                                                                                                                                                                                                                                                                      DOB ...,.                                                       Sex
                                                                                                                                                                                                                                                                                                                                                                                                                      Sex

                                                                                                                                                                                                                                                                                                                                                                                                                                            L_   M    U F
Address
Address
                                                                                                                                                  City
                                                                                                                                                  City
                                                                                                                                                                                                                                  State
                                                                                                                                                                                                                                  State
                                                                                                                                                                                                                                                                  Zip
                                                                                                                                                                                                                                                                  Zip
                                                                                                                                                                                                                                                                                                                                                      Phone
                                                                                                                                                                                                                                                                                                                                                      Phone
                                                                                                                                                                                                                                                                                                                                                                                                                      Email
                                                                                                                                                                                                                                                                                                                                                                                                                      Email




 0L Fasting _ _ hrs
        Fasting                                               hrs
                                                                                    O
                                                                                    Q Microsample O
                                                                                                Microsample
                                                                                                                      O Traditional Phlebotomy
                                                                                                  Q Patient 's Choice Q                Patients              Choice             Traditional                       Phlebotomy
                                                                                                                                                                                                                                                                             Standing Order
                                                                                                                                                                                                                                                                             Standing
                                                                                                                                                                                                                                                                                      Order
                                                                                                                                                                                                                                                                                                                                                (circle one)
                                                                                                                                                                                                                                                                                                                                                circle    one
                                                                                                                                                                                                                                                                                                                                                                                                                      varid until , •1.A u
                                                                                                                                                                                                                                                                                                                                                                                                                      Valid      until
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Cash Pay          0
 0
 f Non-Fasting
        Non-Fasting
                                                                                                                                                                                                                                                                             Frequency : _ _ _ per week / mo nth / year
                                                                                                                                                                                                                                                                             Frequency                                                          per    week   /   month           /   year
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Cash
                                                                                                                                                                                                                                                                                                                                                                                                                                                               Pay




REQUIRED ICD-9/ICD-10 code(s):
REQUIRED                          ICD-9/ICD-10                                          codes

Tests Ordered By                                                     ,.,
Tess        Ordered                             By




Add ress:
Address
                                                                                                                                                                                                         Phone:                                                                                                                  Fax:                                                                     Email:
                                                                                                                                                                                                         Phone                                                                                                                   Fax                                                                      Email

Cop y To                                                                                                                                          Fax                                                                                                             Clinician Signature                                                                                                                                     Date,..,.A     ,..,
            To                                                                                                                                    Fax                                                                                                             Clinician
                                                                                                                                                                                                                                                                                                   Signature
                                                                                                                                                                                                                                                                                                                                                                                                                          Date
Copy                                                                                                                                                                                                                                                              X
                                                                                                                                                                                                                                                                  x

                                                                                                                                                                       THYROID                                                                                                                                                                                ALPHABETICAL TESTS (1-Z)
                                                                                                                                                                                 -
                                   Panel components listed on reverse                                                                                                  L T3, Free - Tniodothyronre. Free                                                                                                        84481                     $11.65              ~ Iron                                                                                 83540           $4.45
                  Panel     components                    no  reverse                                                                                                                                -                                                                                                                                                                                                                                               83540
   BMP - Basic        Malabo     ic Par'lli                           80048    $5.82
                                                                                                    listed

                                                                                                                                                                       1 T3,
                                                                                                                                                                          T3 Reverse - Triiodothyronire, Re.erse
                                                                                                                                                                                         Free            Trilodothyronine
                                                                                                                                                                                                                                                          Free                                                  8141
                                                                                                                                                                                                                                                                                                                84482                     $11.65
                                                                                                                                                                                                                                                                                                                                          $10.84                    Iron Bind rq Gapaoty Total (TtBC)
                                                                                                                                                                                                                                                                                                                                                                    Iron
                                                                                                                                                                                                                                                                                                                                                                                                                                                     83550           $4.45
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $6.01
   BMP -
   CBC,   noBasic
               D,ff Mefacoic Panel                                    80048                                                                                                                                                                                                                                     8442                                                                                                                                 83550
                                                                      85027    $4.45
                                                                               $5.82
                                                                                                                                                                       !' T3,
                                                                                                                                                                          T3 Tollll - Tri·ocotny,onne, Total
                                                                                                                                                                                         Reverse              -Triodothyronine                                     Reverse
                                                                                                                                                                                                                                                                                                                84480                     $10.84
                                                                                                                                                                                                                                                                                                                                           $9.75              ~ Lactate
                                                                                                                                                                                                                                                                                                                                                                    Iron
                                                                                                                                                                                                                                                                                                                                                                               □a,yd
                                                                                                                                                                                                                                                                                                                                                                          Binding     rogenase
                                                                                                                                                                                                                                                                                                                                                                                    Capacity      TIBCI           Total
                                                                                                                                                                                                                                                                                                                                                                                                                                                     83615           S6.01
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $4.15
               D U Dill                                               85027
L CBC
   CBC w/ co Aulo                                                     85025    $5.35
                                                                               $4.45
                                                                                                                                                                       L      T3
                                                                                                                                                                              T4, Free -- Thyroxine, free
                                                                                                                                                                                         Total
                                                                                                                                                                                                         Triiodothyronine
                                                                                                                                                                                                                                                          Total
                                                                                                                                                                                                                                                                                                                84190
                                                                                                                                                                                                                                                                                                                84439                      $6.20
                                                                                                                                                                                                                                                                                                                                           $9.75                    Lipase Dehydrogenase
                                                                                                                                                                                                                                                                                                                                                                    Lactate                                                                          83615
                                                                                                                                                                                                                                                                                                                                                                                                                                                     83690           $4.15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $4.74
     l Rellex
   CBC   w/        to Manual Drt1 & Smear Revew
                           Aulo-                Jili                  85025
                                                                      85007    $2.37
                                                                               S5.35
                                                                                                                                                                       LJ T4             Free        -
                                                                                                                                                                          T4 , Tota' -Thyroxine. Tola!   Thyroxine                     Free                                                                     8439
                                                                                                                                                                                                                                                                                                                84436                      $4.72
                                                                                                                                                                                                                                                                                                                                           $6.20              c...l Magnesium
                                                                                                                                                                                                                                                                                                                                                                         Ipase
                                                                                                                                                                                                                                                                                                                                                                                                                                                     83690
                                                                                                                                                                                                                                                                                                                                                                                                                                                     83735           $4.74
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $4.61
   Celac
       ReflexPanel Manual             S Smear       Review            85007
                                                                  83516    x4 S31.72
                                                                               S2.37
                                                                                                                                                                                                                                                                                                                                                              ~ Partial                                                                              83735
                                   to                                    Diii

                                                                                                                                                                       LJ ThyroglobulITT ,J\ntiOOdies
                                                                                                                                                                               74        Total
                                                                                                                                                                                                     - Thyroxine                       Total                                                                    84436
                                                                                                                                                                                                                                                                                                                86800                     $10.93
                                                                                                                                                                                                                                                                                                                                           $4.72                    Magnesium Tt'lomboplaslln Time (PTT)                                             85730           $4.13
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $4.61


   CMP - Panel
       Celiac
              Comprehens~e Metabo IC Panel                        83516x4      $7.27
                                                                      80053 S31.72                                                                                                                                                                                                                                                                                                            PTT                                                    83970
                                                                                                                                                                                                                                                                                                                                                                                                                                                     85730       $28.37
                                                                                                                                                                       □ Thyroid Peroxidase   AntilOdy (TPO)
                                                                                                                                                                                      Antibodies
                                                                                                                                                                              Thyroglobulin
                                                                                                                                                                                                                                                                                                                868CO
                                                                                                                                                                                                                                                                                                                86376                     $10.00
                                                                                                                                                                                                                                                                                                                                          $10.93                    Para11\foid
                                                                                                                                                                                                                                                                                                                                                                    Fatal
                                                                                                                                                                                                                                                                                                                                                                                Hormore (PTH)
                                                                                                                                                                                                                                                                                                                                                                          Thromboplastin Time                                                                     $4.13

   Electro~es
   CMP              Panel
          - Comprehensive           Metabotr      Pant
                                                                      8005 1
                                                                      80053    $4.82
                                                                               S7.27
                                                                                                                                                                                                                                                                                                                                                              - Pros,mru;.rogaoc FTH                                                                 83970
                                                                                                                                                                                                                                                                                                                                                                                                                                                     84100           $3.26
                                                                                                                                                                        l Thyroid St:mlJating HormonefP0
                                                                                                                                                                              Thyroid                 (TSH}
                                                                                                                                                                                                    Perozidase                 Antibody                                                                         84443
                                                                                                                                                                                                                                                                                                                861 e                     $11.55
                                                                                                                                                                                                                                                                                                                                          $10.00                    Parathyroid              Hormone                                                             $28.37

  1Epste~ BarrPanel
       Electrolytes
                     IEBVJ Ar,nbocfy Panel                          multiple
                                                                      80051   S35.46
                                                                               $4.82
                                                                                                                                                                                                                                                                                                                                                                    Proth'ornl)n Time (f'T/iNR)                                                      85610
                                                                                                                                                                                                                                                                                                                                                                                                                                                     84105           $2.70
                                                                                                                                                                             , Thyroid
                                                                                                                                                                               LJ         Re'.e, TOT4 free
                                                                                                                                                                                                    Stimulating
                                                                                                                                                                                                                                  Hormone                         TSH                                           84439
                                                                                                                                                                                                                                                                                                                84443                      $6.20
                                                                                                                                                                                                                                                                                                                                          $11.55
                                                                                                                                                                                                                                                                                                                                                                    f
                                                                                                                                                                                                                                                                                                                                                                     f-osphorus               Inorganic
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $3.26

- Hepatic Function         Panel
                           Barr          Pare                         80076 S35.46
                                                                    multiple   $5.62
                                                                                                                                                                                                                                                                                                                                                                                                                                                     84 154U     $12.65
       Epstein       IEBVI   Artibody
                                                                                                                                                                       cJ Thyroid Uptake  Reflex         to       T4       free                                                                                 84479
                                                                                                                                                                                                                                                                                                                84439                      $4.45
                                                                                                                                                                                                                                                                                                                                           $6.20              '--' PSA.   fiee Time PT/INR
                                                                                                                                                                                                                                                                                                                                                                   Prothrombin                                                                       8561         $2.70

_ Hepatic
   HepanbsFOnrtion
                f'a'lel, Acute
                           Panel                                      80074 $31.89
                                                                      80076    $5.62
                                                                                                                                                                                                                                                                                                                                                              L PSA,Total
                                                                                                                                                                                                                                                                                                                                                                   PSA Free                                                                          84 153
                                                                                                                                                                                                                                                                                                                                                                                                                                                     84151       $12.65
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 $12.65

 L L Rene,         to HepC
               Panel     Acute RNA O..iant                            80074   $29.44
                                                                      87522 $31.89                                                                                     URINE     hyroid             Uptake                                                                                                      84479                      S4.45

                                                                                                                                                                                                                                                                                                                                                                   Rheumal!UJ
       Hepatitis
                                                                                                                                                                                                                                                                                                                                                                   HA          FOOlY, TOlal
                                                                                                                                                                                                                                                                                                                                                                                  Total                                                              88431
                                                                                                                                                                                                                                                                                                                                                                                                                                                     84153           S3.90
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 $12.65
   L,p.d
   Q Pan~ HepC RNA Quant                                              80061 $29.44
                                                                      87522    $9.21                                                                                    r
                                                                                                                                                                               M,croalourmn, Unne                                                                                                               82043                      $3.98
                   Reflex              to
                                                                                                                                                                                                                                                                                                                                                              '-' Unc   Ao!I                                                                         84550
                                                                                                                                                                                                                                                                                                                                                                                                                                                     86431           $3.11
L MMRPal    lmn-..nty Panel                                         multiple
                                                                      80061   $28.1  3
                                                                                                                                                                               MiciooJbuTiir/Creabnme Unne Random
                                                                                                                                                                                                                                                                                                                                                                  -h unatoid


                                                                                                                                                                                                                                                                                                                                                                  Vancela
                                                                                                                                                                                                                                                                                                                                                                                              Factor
                                                                                                                                                                                                                                                                                                                                                                                                          Total                                                      53.90


                                                                                                                                                                                                                                                                                                                                                                        Acid looter An,body
                                                                               $9.21
       Lipid
                                                                                                                                                                                                                                                                                                           multiple
                                                                                                                                                                                                                                                                                                            821143                         $7.53
                                                                                                                                                                                                                                                                                                                                           $3.98                                                                                                     88787
                                                                                                                                                                                                                                                                                                                                                                                                                                                     84550           $8.86
L O!Jstenic
   MMR Immunity Panel ,,;th
                         Panel
                               HiV-1/HN-2 /Vj/l/J Coam mulliple     multiple
                                                                              $46.63
                                                                              $28.13
                                                                                                                                                                                .licroalbumi


                                                                                                                                                                       - Unnalysis,/lul0
                                                                                                                                                                                                                    Urine



                                                                                                                                                                                                                                                                                                                81003                      $1.55
                                                                                                                                                                                                                                                                                                                                                                        Jric




                                                                                                                                                                                                                                                                                                                                                              " Vrtamn BZoster 12 Antibody                                                           82607
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     $3.11


                                                                                                                                                                                                                                                                                                                                                                                                                                                                 S10.36
                                                                                                                                                                         AicroalbumirVCreatinine      Urine Ransom                                                                                         mutt    pie                     $7.53                                                                                                     86787        $8.86
       Reflex to HIV 112 NJ Dtterennabon
                              Panel  /HPJ-2               Car
                                                                     multiple S15.40
                                                                   HIV-     i
                                                                              $46.63
                                                                                                                                                                                                                                                                                                                                                                    /nricella


       Obstetric                              Ag/AbMuth             multiple                                   itn
                                                                                                                                                                         Unnalysis Auto
                                                                                                                                                                                      Complete                                                                                                                  8
                                                                                                                                                                                                                                                                                                                81
                                                                                                                                                                                                                                                                                                                   1001
                                                                                                                                                                                                                                                                                                                     03                    $2.18
                                                                                                                                                                                                                                                                                                                                           $1.55
                                                                                                                                                                                                                                                                                                                                                                  1/iiam n D   25-01
                                                                                                                                                                                                                                                                                                                                                                             B 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                     82306
                                                                                                                                                                                                                                                                                                                                                                                                                                                     82607
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 $20.35
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 S10.36
   Renal Functmn     HIV
                         Panel
                          1/2 Ab
                                                                                $5.97
                                                                      80069 $15.40                                                                                             trinalysis
                                                                                                                                                                                                                                                                                                                                                                    Vitamin

                Reflex            to                                multiple    Differentiation
                                                                                                                                                                                        to culture & suscept.bi1t)'
                                                                                                                                                                       - .-, Rene,Complete
                                                                                                                                                                               Jrinalysis
                                                                                                                                                                                                                                                                                                                87086
                                                                                                                                                                                                                                                                                                                81001
                                                                                                                                                                                                                                                                                                                                           SS.55
                                                                                                                                                                                                                                                                                                                                           $2.18                    Vitamin              D 25-OH                                                     82306       $20.35
 REPRODUCTIVE
   Renal       HEALTH
            Panel     Function                                                                                             80069                   $5.97                                                                                                                                                                                                      OTHER TESTS/REQUESTED REFLEX TESTS/NOTES·
                                                                                                                                                                                           Reflex            to   culture           S      susceptibilitl                                                       87086                       $5.55

 REPRODUCTIVE
    DHEA-S                                                        HEALTH                                                   82627                  S15.28               ALPHABETICAL TESTS (A-1)
                                                                                                                                                                         f
                                                                                                                                                                          munn may           ietu
                                                                                                                                                                                            crarge                 he      pstforrea
                                                                                                                                                                                                                                                    and                       re       tuned        n u    ie    u   s   u   x
                                                                                                                                                                                                                                                                                                                                 _1
                                                                                                                                                                                                                                                                                                                                      t    C-



       Estradiol                                                                                                           82670
                                                                                                                           82627
                                                                                                                                                  S19.21
                                                                                                                                                  S15.28
       DHEA-S                                                                                                                                                                  ABQ/RhD Blood Typrng                                                                                                        multiple                         S4.10
       Folicle StmutaLng Honmcoe iFSH)                                                                                     83001                  $12.77
       Estradiol


       Glucose To'erance lest (GTT1, Geslalional
                                                                                                                           82670
                                                                                                                           82950
                                                                                                                                                  $19.21

                                                                                                                                                    $3.27
                                                                                                                                                                       :.J Arf¥ase
                                                                                                                                                                           ABO/RhD                       Blood             Typra
                                                                                                                                                                                                                                                                                                                82150
                                                                                                                                                                                                                                                                                                            multiple
                                                                                                                                                                                                                                                                                                                                            S4.46
                                                                                                                                                                                                                                                                                                                                            $4.10
       Follicle          Stimulating

                Saool, lrr,50)
                                                                  Hormone                    iFSH1                         83001                  $12.77               - Mnnuc:ear Antibod es. Soeen (ANAJ
                                                                                                                                                                               Arrr
                                                                                                                                                                                           lase
                                                                                                                                                                                                                                                                                                                86038
                                                                                                                                                                                                                                                                                                                82150
                                                                                                                                                                                                                                                                                                                                            S8.31
                                                                                                                                                                                                                                                                                                                                            54.46
       Glucose               Tolerance                            Test      617               Gestational                  82950                   $3.27
                                                                                                                                                                                Reflex to M-JA confirmatory                                                                                                     88039                       $7.68
       1-cG- il\late,M) Blood Ouitllt,J•,e                                                                                 84702                  $10.35                        r        nuclear             Antibodies                  Screen                   ANAI                                           86038                      S8.31
                Screen
 ,...., Lute,rlZing Hormoae (LHi
                                       1
                                            hr     50g
                                                                                                                           83002                  $12.73               L Corliso' Tolal                                                                                                                          82533
                                                                                                                                                                                                                                                                                                                 86039
                                                                                                                                                                                                                                                                                                                                          S11.21
                                                                                                                                                                                                                                                                                                                                            $7.68
                                                                                                                                                                                           Reflex            to
                                                                                                                                                                                                                  ANA          confirmatory
        hCG -
        Progesterone
                             Blood
                         Maternall.
                                                                                Quantitative                               84702
                                                                                                                           84 144
                                                                                                                                                  $10.35
                                                                                                                                                  $14.34               L C-Reactrie Protein ICRPJ
                                                                                                                                                                                 31100               Total
                                                                                                                                                                                                                                                                                                                86140
                                                                                                                                                                                                                                                                                                                 82533
                                                                                                                                                                                                                                                                                                                                            $3.56
                                                                                                                                                                                                                                                                                                                                          $11.21
                                                                                                                           83002                  $12.73
 1 Prolacbn
       Luteinizing
                     Homo-ie     ILH
                                                                                                                           84148                  $13.32               L C-Reac!Ml Prote n. lf,gh Senstr,rty (hSCRPJ
                                                                                                                                                                                      Reachde                Protein                6FF
                                                                                                                                                                                                                                                                                                                 86141
                                                                                                                                                                                                                                                                                                                 86140
                                                                                                                                                                                                                                                                                                                                            $8.90
                                                                                                                                                                                                                                                                                                                                            $3.56

        Sex Hormone Bnding Globulin iSHBGi
        Progesterone
                                                                                                                           84144
                                                                                                                            84270
                                                                                                                                                  $14.34
                                                                                                                                                  $14.94               L Creatine Kinase                                                                                                                         82550                      $4.48
 Q Teslooterone Free
 L      Prolactin                                                                                                          84146                  $13.32                       --Reactive                    Protein                High            Sensifivey
                                                                                                                                                                                                                                                                              -N               RP                86141                      $8.90
                                                                                                                           84402                  $17.50               L Ely,h'OC'fle Sedirrernatoo Rate IESR/Sed Ratel 85652
                                                                                                                                                                                                      Kinase            82550
                                                                                                                                                                                                                                                                                                                                            $1.86
                                                                                                                                                                                                                                                                                                                                            $4.48
                                   Gob Jr SHR6                                                                             84270
                                                                                                                                                                       r Femtin
                                                                                                                                                                               Creatine
        Sex   Hormone Binding                                                                                                                     $14.94
 - Testooteicoe.       To1a1                                                                                                84403                 $17.75                                                                                                                                                         82728                      $9.37
 Q     Testosterone                              Free                                                                      84400                  $17.50
                                                                                                                                                                       L FolateErytr1ocyte                   Sedimental-on                           Rate          IESRSed                       Hate            85652
                                                                                                                                                                                                                                                                                                                 82746
                                                                                                                                                                                                                                                                                                                                            $1.86
                                                                                                                                                                                                                                                                                                                                          $ 10.11
                                                                                                                           84403                  517.75                                                                                                                                                         82728
       Testosterone.                             Total

                                                                                                                                                                       LJ Garnrna-GIJtamy transterase (GGT1
                                                                                                                                                                               rerritin

                                                                                                                                                                                                                                                                                                                 82977
                                                                                                                                                                                                                                                                                                                                            $9.37
                                                                                                                                                                                                                                                                                                                                            $4.95
   Chlamyda Tradlornatls, 01'111 Oua'itative                                                                                87491                  S12.06
                                                                                                                                                        ..                     f-olate
                                                                                                                                                                                                                                                                                                                 827.6
                                                                                                                                                                                                                                                                                                                 B2947
                                                                                                                                                                                                                                                                                                                                          $10.11
                                                                                                                                                                                                                                                                                                                                            $2.70
                                                                                                                                                                         Gocose
   Hepabbs B &.<face ,\ntigen IHBs4g)                                                                                       87340                   $7.10                Gamma                                iGGT                                                                                               829.7
                                     DNA                                                                                   87491                  512.06
                                                                                                                                                                       7 Goca;e      i31 yamylracsleraoe
                                                                                                                                                                                    Toaance      Test JGlT), 3iY 100g                                                                                       multiple                       $4.95
                                                                                                                                                                                                                                                                                                                                          $11  .54
 L Chlamydia
          Rellex Trachomalis
                    to conl,rmatOI'/                                                         Qualitalim.
                                                                                                                            87341                   $7.10
                                                                   Al
                                                                                                                                                                         Glucose                                                                                                                                 82947                      $2.70
                                                                                                                                                                       7 Hel.cooactet      Pylon, lgG                                                                                                            60077                      $9.98
                                                                                                                                                                                          AIc (HOA0T
                 B Surface                                                                                                 87310
   ~erpes SittjJ~
        Hepatitis
                           1 (HSVlJ. \jG iHBsAg                                                                             86695                   $7.10
                                                                                                                                                    $9.07                Glucose    Tolerance                                                                                                                   multiple                  $11.54
                                                                                                                                                                         Hemog     obin                 1C)                  Test                           3f1r.10CY.
                                                                                                                                                                                                                                                                                                                 83036                      S6.67
   Herpes Simplex  Reflex
                           2 iHSV2J, lgG
                       confirmatory        to                                                                              873
                                                                                                                            86696                  $13.30
                                                                                                                                                    $7.10
                                                                                                                                                                                                                                                                                                                 86677                      S9.98
                                                                                                                                                                       ~ Hep;itins
                                                                                                                                                                         Helicobacter
                                                                                                                                                                                      B &Jftace Antibody
                                                                                                                                                                                                    IgG       (HB.5A!J)
                                                                                                                                                                                                                  Pylori                                                                                         88706                      S7.38
   HN-1/HN-2
   Herpes      SimplexAnbger/Anllbody
                               HSV1    IgG Cornbinal en   1                        I.                                      8669E
                                                                                                                           87389                   $16.56
                                                                                                                                                    $9.07

                                                                                                                                                                          Hemoglobin c Antibod'/
                                                                                                                                                                                           Al c HbA1                                                                                                             83036                      S6.67

   Herpes      ex to HIV·2 1/HIV
       • Re' Simplex           HSV22 AbIgGDrerentiation                                                                    muttiple
                                                                                                                           86696                   $15.40
                                                                                                                                                   $13.30
                                                                                                                                                                         HepatiliS                   Soeen                                     ci
                                                                                                                                                                                                                                                                                                                 86803                      $9.81
                                                                                                                                                                            ] Reflex  B to
                                                                                                                                                                                Hepatitis   HepC.Antibody
                                                                                                                                                                                         Solace
                                                                                                                                                                                                      RNA Quant
                                                                                                                                                                                                              HBsAb                                                                                              86706
                                                                                                                                                                                                                                                                                                                 87522                     $7.38
                                                                                                                                                                                                                                                                                                                                          $29.44
   N Gonoohea,
        HIV-1
            /HIV-2      DNA 0Jahtawe CoinbrrivFoi
                      Antigen/Antibody
                                                                                                                           87389
                                                                                                                           87591                   $12.06
                                                                                                                                                   $16.56

 L S\IP'l,15
         Re     saeen
               ex         (Trepcnerna pa!IKlum IQGi
                      Hl/-1/HIV-2Ab    to                                                    Differentiation                88780
                                                                                                                           multiple                 $9.10
                                                                                                                                                   $15.40              L Homocystern  C.
                                                                                                                                                                                HepatitisAntibody
                                                                                                                                                                                                      Screen                                                                                                     86803
                                                                                                                                                                                                                                                                                                                 83090                    $11  .60
                                                                                                                                                                                                                                                                                                                                           $9.81



         Reflex to RPR
   N Gonorrhea          DNA                                         Quatitalive                                             88592
                                                                                                                            87591                   S2.94
                                                                                                                                                   $12.06
                                                                                                                                                                         lgA                 HepC RNA Quant
                                                                                                                                                                                           Reflex            to
                                                                                                                                                                                                                                                                                                                 87522
                                                                                                                                                                                                                                                                                                                 82784                    $29.44
                                                                                                                                                                                                                                                                                                                                           $6.39

 P        ~ Rellex
        Syphilis
                screen to   TP-PA
                          Treponema       pallidum IgS                                                                      88780
                                                                                                                            86780                   S9.1
                                                                                                                                                    $9.10 0
                                                                                                                                                                         i&ilin  loSlocysteine
                                                                                                                                                                                                                                                                                                                 83090
                                                                                                                                                                                                                                                                                                                 83525                     $7.86
                                                                                                                                                                                                                                                                                                                                          $11.60


                   Reflex              to        RPP                                                                        86592                   $2.94                        gA.
                                                                                                                                                                                                                                                                                                                 82784                      $6.39


Visit theranos.com for P-HA
                         complete test menu and pncmg
                            Heller                 to 86780
                                                             lJm1ted
                                                              1   S9.10
                                                                       Medicare coverage based on diagnosis ;)l)cf frequer,cy ru'es 83525                                       Insulin                                                                                                                                                     $7.86
                                                                                                                                                                                                                                                                                                                                                              5amp!e Collectoo Datatnme
Ordered reflex tests only pertormad when med!Cally appropnate. For any paY8f wrth a rnedal necessity requ11er1)0(\t ftneluding
rv"ed1care and 'v1ed1Cald). ph~ians shot.id O'l~' order those rests lhat are medcalty necessary for diagnosis and t.real.Jne-,1
  e theranos.com         cem           man  and  l            r
                                                                    -gyp
                                                                             w          e bused
                                                                                        to      en
                                                                                             lest
                                                                                                    doCn             pin   u
                                                                                                                           n
                                                                                                                                          i_--r              l7   1i                ra                                                              ib     arnd         fr         r                      es.
                                                                                                                                                                                                                                                                                                                                                              Sample           Collect
                                                                                                                                                                                                                                                                                                                                                                                             or    Cate     r me                                                             Q
                     v..          t-



                                                                                                                                                                                                                    to                                                                 0       1


                                                                                                                                                                                                                                                                                                                                                                                          US-REPORTS-0015291

                                                                                                                                                                                                                                     FER-42
                                            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 43 of 299


                                                                                                                              All tests available on an ,ndMdual basis
panel components
panel components                                                                                                              A complet,3 I .1of tests, desc• pl1ons a,,d pnc                                                                             car be fol.II' 1 theranos.oom o, a,, I u Tt


    Basic Metabolic Panel
    Basic Metabolic       (BMP) a.mm
                    Panel BMP
    Blood
    Blood
          Urea.
          Urea
                Nrtrogen (BUN)
                Nitrogen  ZUNI • GaJc1
                                 C       a • Ch!onde
                                     um Tota h   rI-
                                                     • Carbon
                                                       carhrn 010Xlde
                                                                 t    • Creatinine
                                                                        r2i4rnne   • Gk.JCOse
                                                                                   31U    rse • PotSSSIUm
                                                                                               ni
                                                                                                    3sii in
                                                                                                         1.
                                                                                                            • Sodium
                                                                                                              Sodium.                                                      a          I.                                          u




    Celiac
    Celiac Panel
           Panel
    DeamidalBd
    Deamid
               GI ad<n Peptide
               Gl
                               (DGP) Ab.
                        Ltiue D-pi   AL.
                                         lgA
                                         ILA
                                             • Geu..i
                                               Deamidated
                                               actin    J
                                                          Gfiadn
                                                              d
                                                                 Peptide (OOP)
                                                                 r             Ab, lgG • Tissue
                                                                          CPI Ab IgG     Tissue
                                                                                                Transglutarmnase
                                                                                                Transglutaminase
                                                                                                                 (tTG) Ab, lgA • Tissue
                                                                                                                 tTG Ab. IgA
                                                                                                                                 TISSU8 Transglutam,nase
                                                                                                                                        Transglutaminase
                                                                                                                                                 it_
                                                                                                                                                         (ITG) Ab. lgG
                                                                                                                                                         tTG Ab.i_ IgG                       0




    Chlamydia/Gonorrhea Panel,
    Chlamydia/Gonorrhea
                               DNA Qual
                        Panel DNA Qua
    Chlamydia Tranhoratis.
              TrachomatJS. DNA Oual,ra:we • N.
                           DNA QuHiocre
                                               Gooom,ea. DNA.
                                            N Gonorrhea  DNA
                                                              Oua1tal1V8
                                                                      or
    Chamydia                                                                                                                                                         Quelr.ni




    Complete Blood             with Diff
                   Count (CBC) with
    Complete Blood Count            CBC
    Hematoc,1t • Hemoglobtn • Plalelets, Automated • RSC. Automated • WBC. Automated
                                                                                                                                         Diff


    Horn                 tru_             Hemngluii                           latelets.                       Automate.-1                  PBC.             Autnii                          VJBC-            Ant nnalrI



    Comprehensive Metabolic Panel (CMP) CmllD
    Comprehensive
    Albumin       Metabolic Panel                   CMP
            • Alkalne Phosphatase (ALI'\ • Al!nr,e Amnotra'1Sferase (All) • Aspartate AminotransfOOISe (AST) • Slrubtn Total • Blood Uee Nitrogen (Bl.RII) • Gabum TOIBI • 01lorde •
    ALumrn            Ph _phatase   iALPI
                                 Alkaline  Alknine Aminctra-r.       ALT     niartate Aminotransferase AST     linibin         Blood Urea Nitrogen BUM Calcium             Chloride                                                                                          Total                                                                                  Total

    Cerbon dioxide • Qoofnr)8   • Glucose • Pot3SSIUm • Proten Total • Sodl.rn
                            it   iib                          atjnin           I   u-ose                        Potassium                   Protein           T--


    Electrolytes Panel
    Electrolytes
                                                       Panel
    Ob1de   • Camon clc»ode • Potassum • Sod,im
    Chl_             ode         Garosrn               d   oxide            Potassium                            Sodium

    Epstein-Barr (EBY) Antibody Panel
    EBV MJctear Ab lgGEBV
    Epstein-Barr             Antibody
                      • EBV Vra            Panel
                                C'1ps,d Antigen (VCA)-!gG • EBV V<al Gapsid Antigen (VCAJ-lg
    EBV              NuclearAh                  IqG            EBV         Vral          CaprAd                Aitinert         IVCA-xtil                     FBVvs.                  Gipii       I   Antigen          IVCA             Ij



    Hepatitis Panel, Acute
    Hepalil1s
    Hepatitis      Panel.
              A Antibody. lgMAcute
                              • Hepahbs B Cora Antibody, lgM • Hepabts B SUrface Antigen !HBsAg) with ""1ex to HBsAg confmala,y (+$7. 101' • Hepatrtls C Artoody Scl80rl •
    Treporoo,a
    Hepatdi      Pal"idum Anllbodywllh
              A AIibod    kiM          reflex to APR
                                         B Cure        (+$2.941" Wllll
                                                  Artrholy        Heoatrts      B TP·PA(+S9.
                                                                       re11e>. to Surf
                                                                            Hepatitis
                                                                                          An
                                                                                              0)' tBAgi with raei to HB AL conirmatury
                                                                                             1tin                                      -7101 Hetauts C A
                                                                                                                                             Iqt       l      J S ru_n                                           t           0                                                                                                                                 t




    Ti
      j-    v  n Paliid.m A     I             t iPR 1O2 y4 . h nI    ti           TP-PA -59.101
                                                                                        rth
                                                                                                 roil-
                                                                                                                                                                   retfr         tc



    Hepatic Function Panel
    Hepatic• Alkaln,e
    Albu1T1111 Function     Panel(Al.PJ • l>Janro Amnotra,,s'erase (ALT) • Asparlate Amnotransfsrase (AST) • &wbn Dlreci • Bi rubn Total • Proten Total
                      Phoophatase
    Albans                       AT       Ai    i Hh                       itase              ALPI              Alanrrr         An n                        .eas All                        Aspartate            A-rinutia               sf-rd-         AST     cn.    bu       is     1   Btl   rui       if    T   Lil         P-ct.           Ict5l



    Lipid Panel cmm
                                                                     iii                                                                     it




            Panel
    Crolesterol
    Lipid       • High-oens.ty i.Jpoproten {HDU • Low-denSlty Lil)C)IXOtJ!f1 (LOL) • Tngtycer,des                                                                                                                                     Glil3
          lick
                      st                    i              itr4y           Itioproten                    HDLI                 Lov-density                   Lipoprotein                    LDL             Trglycendes

    Measles, Mumps, and Rubella (MMR) Immunity Panel
    Rubeela
    Measles i¼>asles)
                 MumpsAnl1bodyand    MU11PS Antiboo/ lgG • Immunity
                               lgG • Rubella                Rubela Antibody lgG
                                                                         Panel                                                MMR
    Rube Mcasles                                       Alit     to     d IgG                    Mumps              Anti
                                                                                                                               rsI/        IgG
                                                                                                                                                           Rubella
                                                                                                                                                                           Antibody               IgG
    Obstetric Panel with HI V-1 /HI V-2 Antigen/Antibody Combination
    ABO/RhD
    Obstetric • Ab  Screen •with
                   Panel       CBCw/    Auto Dtterenb,>WBC
                                   HIV-1/HIV-2                 • Hepat1l1S BSUrfaceAnt,geo
                                                         Antigen/Antibody            Combination (HBsAg) wrth relex to HBsAg confirmata,y(+$7 10)" •
    HIV-1/HIV-2
    ABC. RhD     fVJ/Ab
                Ab       Comoinauonvnlh
                    Screen     CB-      Auto
                                             reflex
                                               D    to HIV-liHN-2
                                                          WBC     Ab  Dlfferan11aton
                                                                  Hepatitis
                                                                             B Suriur (+$15.40)'
                                                                                       r Art en
                                                                                                  • Rubella
                                                                                                 IH   .q Antibody,
                                                                                                              r.er.  lgGEsAg
                                                                                                                        •
                                                                                                                  7erentlal         ator
                                                                                                                                           -r                                                                                                 vvfl                           r. nfir                   a


    Treponema
    HIV-1/HIV-2
                PalHdumCornbinxion
                           Anhbody v,1!11
                                       vdh- x
                                         AgAb
                                                 10 APR [ S2 94)' v,,th
                                             _ex to HIV-1HIV-2    Ab    reflex to TP-PA  i.$901-10f Rubella
                                                                                      1$15                     Ludy IgG                                            Differentiation                                                               Arri




    Trepnnerra                          Pallidum              Antibody             with                           io
                                                                                                                       RPR $2 94-                           with     reflex           to
                                                                                                                                                                                            TP-PA           $910
     Renal Function Panel Glil3
    Album,n • Blood Urea Nitrogen (BUN) • Calcium Total • Chlonde • Cart,on dioxide • Cioohrvie • Gucose . Potassum • Phosphorus, Inorganic • SOdium • Thy,o,d Health
         Renal                   Function                           Panel
         Albumin                  Blcod           Urea          Nitrogen            iBhlt                      C.ab-urn          Total            Chloride                     Carbon            dioxide             Creat       nine         Glucose         Potassium              Phosphorus                 Inorganic
                                                                                                                                                                                                                                                                                                                                     Sodium              Thyroid     Health




                                                                                                                                                                                                                                                              AvE   CREEK




                                                                                                                                           •                    ~ CITY
                                                                                                                                                                               e
                                                                                                                                                                                                                                        •• •                                                                         F AJNL4IN           rrELc




                                                                                                                                                                                      PEORl4


                                                                                                                                                                                      PeoRIA
                                                                                                                                                                                                                     •
                                                                                                                                                                                 •                    GtfN□A., f



                                                                                                                                                                                                      GI    FLIPS      F



                                                                                                                                                                                                                                                        •
                                                                                                                                 GJUOYl:...-.H    •                                                                                                           SCOTTSQ.t.lf


                                                                                                                                                                                                                                                              SCOTS04LE
                                                                                                                                                                                                                                                                                                                                                                   PACHL      JUNC.TI       N
                                                                                                                                 GOODYEAR                                                                                                i.

                                                                                                                                                                                                                                         G                                                       \tL




                                                                                                                                                                                                  PHOENIX

To find your nearest                                                                                                                                                                              PHOENIX
                                                                                                                                                                                                                                                                     iFtIH




theranos
To         wellness
   find your nearestcenter,                                                                                                                                                                                                                              10
                                                                                                                                                                                                                                                                                Q-W'¥l( fR
visit theranos.com
theranos   wellness center
visit                       theranos.com

                                                                                                                                                                                                                                                                                                                                                 LLtI    LLy




 cmm, = Fasting recommended.
·Ordered reflex tests only perfO!Tl1€d when medically necessa,y                                                                                                                                                                                                                                                                                                                         theran s
                 I
                     -

                     raI
                           Fasting

                                   t.     sts
                                               recommended.

                                                  only         perfon
                                                                              red              evhen            triediaalt            ne                    f                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                            heranws

                                                                                                                                                                                                                                                                                                                                                        US-REPORTS-0015292

                                                                                                                                                                                                                                 FER-43
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 44 of 299



   Message

   From:             El izabeth Holmes [/O=THERANOS ORGANIZATION/OU=FIRST ADMINISTRATIVE
                  GROUP/CN=RECIPIENTS/CN=EHOLMES]
   Sent:             11/20/2014 8:51:39 PM
   To:            Sunny Balwani [/O=THERANOS ORGANIZATION/OU=First adm inistrative group/cn=recipients/cn=sbalwani]
   Subject:          FW: Ebola




   From: Adam Rosendorff
   Sent: Thursday, November 20, 2014 12:42 PM
   To: Elizabeth Holmes
   Subject: Re: Ebola



   Elizabeth



   I am sorry you feel that way. I appreciate the opportunity you have given me and would be happy to discuss my
   thoughts further with you privately.



   Thanks,



   Adam


   Sent from my iPhone


   On Nov 19, 2014, at 6:52 PM, "Elizabeth Holmes" <eholmes@theranos.com> wrote:

   Adam:



   How sad and disappointing to see this from you . Outside of the fact you've never emailed me on any concerns you
   allude to there before but now email this, you know from every conversation we've ever had together how fundamental
   it is to all of us for you or any other employee never to do anything you're not completely confident in.



   I have spent a great deal of time looking into every element of your email. We will follow up on that in detail, but I want
   you to know that as I dug into this I started work to transition you off our license ASAP. Sunny will follow up with you on
   that this week.



   Elizabeth




FOIA Confidential Treatment Requested by Theranos                                                                     TS-0903725
                                               Trial Exh. 4330 Page 0001

                                                           FER-44
                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 45 of 299

    TEz¼ 9 WT __¼
    'iTE²¼ 3 ¬W{IW¼ ¼   ¼ ¼72¼
    %si¸EIWd¼ + s{W¼
     9%¼%I sE¼


   &tj¹FJXe¼


   ,¼]YXu¼XFtv³¼¦M|[FJuX¼¯ke¼eX¼¯gF ¼l¼fFYlb¼mcg¼°¼n¼em¼P|F´¼-¼¡eXX¼F´¼°F´¼³¦¼MF¼cY¡¼;XNX¼
   JGOr¼¼eX¼!B¼vnPXX¼FU¼FrY¼|X¼[]¼.¼F|¼[XXwob¼X§YU¼ ¼­§Pe¼^¼X§u¼ gF¡¼-¼MF¡¼KY¼P`kUX ¼j¼GU¼
   Ft¼F¼j¼F¼¦}JY¼\¼QFX¼¯gXX¼-¼bX¼¨Xl¼FJ©¼FFµ¼/¼U¼¼r°¼°eF¼}X¢gU¼l¼JXkb¼©XU¼vX¼®FP¨¢FmX¼
   Fxp© XU¼l£¼"?4¼XR¼


   8yXFX¼FU­qY¼


   ?eFr


   UF|¼


    %si¸EIWd¼ + s{W¼
    'iTE²¼3 ¬W{IW¼ ¼   ¼  ¼72¼
    TE{¼9 WT __¼<ª²¼ Es±Ei¼
     9%¼%I sE¼


   5¼X¼F¡¼F¶¼]¼©¼¢gX¼kX¼k¼¨UX¼¡fp¼l}Xk¼(D1¼@gXX¼FX¼|F¶¼Uj[]XY ¼bFl¹Fl¼p¼§¼Q}F´¼
   ¨£jUX¼^¼#B¼vFJ¼º»»º¼ =¦´¼°myt¼]wx¯¼¦¼°j g¼*U`XU ¼


    TEz¼ 9 WT __¼
    'iTE²¼ 3 ¬W{IW¼ ¼    ¼ ¼2¼
    %si¸EIWd¼ + s{W¼<ª²¼ Es±Ei¼
     9%¼%I sE¼


   8XeF¼F¼S}F³¼¯pUX¼X|Fkw¼n¼j¼UX¼¼¦Ff¼em¼¦}¼


    %si¸EIWd¼+ s{W¼
    'iTE²¼3 ¬W{IW¼ ¼   ¼ ¼2¼
    TE{¼9 WT __¼<ª²¼ Es±Ei¼
     9%¼%I sE¼


   @gF¡¼k¼ ¼PXQ¤¼Ce¼FjU¼gj¼




)60¼$ aiVZ¥iHs¼AZH¥~Z¥¼:Z«Z¥ZV¼L·¼AhZH ¼                                                                A>   ¼
                                                           


                                                          FER-45
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 46 of 299




   Elizabeth



   From: Adam Rosendorff
   Sent: Friday, November 14, 2014 10:38 AM
   To: Sunny Balwani
   Cc: Elizabeth Holmes
   Subject: Ebola



   Sunny/Elizabeth



   I am hearing that Theranos intends to test samples to rule out or diagnose Ebola at 7373 Gateway.



   Can you please confirm that this is correct. If so, I am wondering why, as lab director, I was not involved in the decision
   and planning?



   Thanks,



   Adam Rosendorff, MD, FASCP

   u:rn,onH01rv Director

   Thermws, !nc

         856~4412 (Offke;



         852~9594

   arosendorff@theranos.com

   <i m age0Ol .j pg>



   <image002.jpg>




FOIA Confidential Treatment Requested by Theranos                                                                      TS-0903727
                                               Trial Exh. 4330 Page 0003

                                                            FER-46
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 47 of 299




  From:                  Brian Grossman
  To:                    Adam Clammer
  Sent:                  1/29/ 2014 8:43:57 PM
  Subject:
  Attachments:           Theranos_v12.xlsx



 Cell d113 on pfm rev model is scenario. 1, 2, 3 for the bear. base. bull




Confidential                                                                     PFM-00094204

                                                                            PFM-DEPO-00011495


                                                       FER-47
         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 48 of 299




                      Document Available in Native Format
                                   Theranos_v12.xlsx




Confidential                                                              PFM-00094205

                                                                   PFM-DEPO-00011496


                                        FER-48
            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 49 of 299

L617 ~ ~000-Od30-V\l.:::ld




                                                                                              ~
                                                                                              i
                                                                                              J
                                                                                      f       f
                                                                                      }
                                                                                      I
                                                                                      I
                                                                                              f
                                                                                      f       I




            '.-j !e nr. fi« ije~~ t11R§et1 ~nR§sti =R!§&§
                             ,~s ts!~ -           !!f~        !~I~ ~!f
                                    3                -             -             -

             Is .r.r. H! ;;r ~rrn;;r ar.s;11f !!R!n1
                 ~     nn ~UI       Esa, QIIR§aJ( ar.a~8§.~ a~!h §.
             I   •           fel    !a!<
                                      ;
                                             ~53• !3§" t!~
                                              d
                                               ..       :        :




                                                                                      I
             Ii        nr.   fl!!   I~!       §llff§Sf
                                              -   ~!~
                                                          ttr.R~gl
                                                              w,~
                                                                e
                                                                       •x!ou
                                                                             !
                                                                                      §
                                                                                      §
                                                                                      !
             I ff
             I   11-
                       IIR



                       t.=   ~!!~
                                    ·~8,-~•
                             !!~ !~;. ,:IIR§SI
                                           ~s
                                              n
                                                illR!U c.a ~os s
                                                    ~ .. ~

                                              !!IIP.fef
                                                             !
                                                          1.r.?.§et    05t~os ,:
                             - - tia~             ~= ~
                                                     ,        a!I            ~

            -1~
                , ,. j;"!; ~8( :>11R§8§                   or,~oB S     o~Boss
                                      a,          •5:
                                                     =
                                                               !             !




                                                                                     FER-49
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 50 of 299



                                                                                                                                co
                                                                                                                                O')
                                                                                                                                '<:I'"
                                                                                                                                ,-
                                                                                                                           !    ,-
                                                                                                                                0
                                                                                                                                0
                                                                                                                                0I
                                                                                                                                0
                                                                                                                                a..
                      'It                                                                                                       w
                                                                                                                                CI

                      lt
                                                                                                                                ~
                                                                                                                                LL
                                                                                                                                a..
                     ii!'
                     ,I
                     H             I
                                   :
                     h                                                                    !
                     H             i

     I ~5~i I A
        ~    ~~"' f• :ft{~!'"
                       n           2~
                                         aau
                                         SB!!
                                                    n  u
                                                    · t~t             u           fR ijU
                                                                                          LJ   • r.a            ,,int

                                                  :qat•

     ~ ~5~ }~ I ~H ~(' UH
                                         8MKR
                                         !!H!
                                                      ~~§
                                                      e.i~
                                                                 ,H               &r ~~·       ,:.,. n'l        • ~n R




                            ~,i
                                                  'i:.•

     •fi ~~- 5 ~ !fi!             ~! ~   RKHR
                                         U8!!
                                                  • 'i,a§
                                                      u~              u           QJ nn             1r.~         ijn~


                                                      •i.


     •Ii ~5s _! I itS Iii~               RRR8
                                         m~
                                                      cu
                                                      r.t ~
                                                  - ~ :,;,.:-.
                                                                 .    ~,      ... ;. ;~   5     , na
                                                                                                                   ""
                                         RIBB
                                         mf         .m           .h               ~-            . n•               n•
                                                                                                                           !



                                                                                                                           t
                                                                                                                           f
                                         8HK8
                                         nn~                          2~          u             , nP               n~      ~



a                                        HHY~
                                         !SMl
                                                                 .n               i~                 na         . na

i
!
II                                       IH88
                                         !e!!
                                                    -.n
                                                     ~!!
                                                                 .n .n                          '    ..         • n11


a • 1eu          ii !H 5E(               aau        liliU        •. r.a       ...,              , r.n           I f :;:"


~ •
    il-
        -                                m~         J~!

'                                        MRR~
                                         ~u~
                                                    .Ct§
                                                  .··~··"
                                                    iililiH
                                                                      u           ff ft              n~         , n~

                                                                                 ·ae
                                         H~MH
                                         ! ~~     ,~mi
                                                    ~!-     ~
                                                                     • aij                     "n~ " ~n

                                         euR
                                         !. . ~
                                                  . iii~{!
                                                  . ;~;.              •• ··"                   •, u             , or



                                         ur
                                         !!. ,
                                                      iilil
                                                       nnn
                                                                 ,.. :t A        ...           • : r.              ..
                 I
                 J
              qI o I J                              w                                                      I               l
                            ~     ~
                                                    di                       j                             ;;              I
      L: I  1 i I 1I 1I t l
            11 11! 11! 11! 1t,1111, m.
                                    lhfi
                                                     H~
                                                                      f !J
                                                                      !~ &lh
                                                                                                     JJ l
                                                                                                     J~ &lh
                                                                                                           (
                                                                                                                           f•


                                                                             FER-50
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 51 of 299




     •
     ~          I!     .. 81!      lll      aa     ~~    - 6~

     ~
                n                           aa    _a,. § f !!
     ~



     !
     ii
                                   u        u      u         B!!


     9     _;1          <tn                 aa     ~Q        fl!
     iii

                                                                                           !
                                           ,Qa     u
           .m            Rn                              §i !!!
                                                                                           1
                                                                                           Iz
                         1111     .!Ill     SIi    2!!       u                             ••

•
~
                         P.r.   .,,!!a     ,aa    .:;,       f !;
i
                                   r.a      u     _o R D 18
f
"
           .H            P.~



!•
f              ,iiij     R~        :,.g     118    O•
                                                         ~   I!!
   i
!'
!
                -~     - R~     .. -~r:   ?.t~a    oa    § ~~




                -~
                ~8
                         ~II



                         n11
                                   a~


                                   ~~
                                            Ra



                                            11a
                                                  u ~        B!!

                                                             ft~


           -    ~~     .. R;l      on      ua                R~




                                                                             PFM-DEPO-00011499

                                                                    FER-51
         NPV                               S20,210                                                                                      PFM Investment           575.0
         Nel Cash                            $ 105                                                                                      %0v.n.e rship            1 00%
         Total Value                       $20,315

                                                                2015     2016     2017        2018        2019        2020     2021          202.2       2023     2024     2025
         Implied Revenue Multiple                                13.x     5.7x     4 3x         4.x        3.7x        35x
         Implied EBITDA Mulllple                                55.9x    13.lx     8.6x        7.8x        7. lx      6 5x

         EBtTOA                                                 5343    $1,447  S2,119      S2,355      S2,591      S2,828
         Marl<el Multiple (1 Yr fo,ward)                         15.0x    14 Ox   14 Ox       13.Sx       t3.0x       12,Sx
         EV                                                   $21,7 12 S29,662 532,974     S34,979     $36,762     S37,958
         EauJlv Value                                         S21,817 S29,767 SJ.3.079     S35,084     $36,867     S38,063
         Equ,ly Vatue 10 PFM                                    S218      $298   $331         $351       S369        S381
         IRR                                                    70.6%    58.3%   44.9%       36.1%       30.4%       26.1%              <<.A ssume investmenl made Jan 1st, 2014
         CoCRetum                                                 2.9x     4.0x    4.4X        4.7x        4 .9x       5.1X

                                                     2014        2015     2016    2017        2018         2019       2020     2021          2022        2023     2024     2025

         Theranos Net Revenue                         249       1,558    3,540    4,727      5,106        5,488      5,8-59    6,202         6, 501     6,742    6,912     7,087
          '¼growth                                              525'/£   127%      34%         8%           7%         7%        6%            5%         4%       3%        3"

         COGS                                          90         545    1,269    1,702       1,789       1.875       1,958    2 ,058        2,145      2,217    2.270     2.323
           ,,.mal!]in                                36%         35%      36%      36"        35%          34%        33%      33%            33%        33%      33%      33%

         R&O                                           95         270      324      356        l85          416        436      458            481        496      5 11      526
          %ma'!1m                                    38%         17%       9%       8"         8%           8"         7%        7%            7%         7%       7%        7"
          o/.gro,vth                                            184%      20%                  8%           8%         5%        5%            5%         3%       3%        3%

         SG&A                                         106         400      500
                                                                                   '°"
                                                                                    550        578          606        637      6'19           662        676      689       703
           %rna,vu,                                  .43'/,      26%      14%      12%                     11%                  10%                      10%      10%       Ill%
           o/.grow1h                                            277%      25%                  ""           5%         5%
                                                                                                                       ""        2%            2%
                                                                                                                                              '°"         2%       2%        2"




FER-52
                                                                                   '°"         5"
         EBITOA                                        -42        343    1,447    2 ,119      2,355       2,591       2,828    3,037         3,212      3,354    3,443     3,534
           %ma,gm                                    -17%        22%      41%      45%         46%         47%         48%      4!1%         4!1%        50%      50%       50%

         O&A                                             4         21      106      236        255         274         293       186           195        202      207       213
           %ma'l7,n                                  1.6%        1.3%    30%      5 0%        s~          50%         50%      3 0%          3.0%        3.0%    30%       30%

         EBIT                                          -46        322    1,341    1,882      2,100        2,317      2,535     2,851        3,017       3,152    3,235     3,322
           %mal!1in                                  -18%        21%      38%      40%        4 1%         42%        43%       46%          46%         47%      47%       47%

         Ta~                                           -15        120      507      742        8 2~         907        990     1,063         1,12•       1,174   1,205     1,237
           %,ate                                     35%         35"      35%      35%        35%          35%        35%      3 5%          35%         35%      35%      35%

         NOPAT                                         -27        223      941    1,377       1,531       1 ,684      1.838    1,974         2.088      2,180    2,238     2.297
          %ma'!1in                                   -11%        14%      27%      29%        30%          31%         31%      32"          32%         32%      32%      32%

         Capex                                         -31       ·135     -177     -236        -255        -274        -293     -186          - 195      -202     -207      -213
           %ma(!lm                                    12%         9%       5%        5%         5%          5%         5%        3%            3"         3%       3"        3%
         Chnge in NWC (3% Net Rev)                      -7         -47    - 106    - 142       -153        -165        -1 76    -186          -195       -202     -207      ·213
         D&A                                             4          21      106      236        255         274         293      186           195        202      207       213

         FCF                                           ~2          62      764    1,235       1,378       1 ,520      1,662    1,788         1,893       1,978   2.030     2,085
                                                                                                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 52 of 299




         PFM-00094205_Confidential                                                         Valuation                                                                                 I of 2




                                                                                                                                                                          PFM-DEPO-00011500
          NPV                                    $20,210                                                                                       IPFM lnveslment             S7 5.0    I
         ,Net Cash                                 S105                                                                                        %Ownership                  t00%
          Total Value                            $20.315

                                                                     2015     2016        2017       2018        2019        2020      2021         2022         2023        2024          2025
         Term,nal Value                             15%                                                                                                                                  3 1,091

                                                            0.5       1.5       2. 5       3.5        45           5.5        6.5        75          8.5           9.S       10.S          11.S
         Present Value                                      -59       55       616        914         935         946         949       937          910          872        822         12,314
         Discount Rate                       I      90¾!



         DCF Drivers

         Revenue

         Retld Revenue                                     S97      S631    S1.640      S2.409    S2,445       S2,484      S2.526    S2.570       S2.617      S2,667       S2,720        S2.775
          gl"C'.•1h'9                                              5524%    159.9%       46.9%       1.5%        1.6"        1.7%      18%          18%         19%          ZO%           20"      12%
         Physiaans Office Revenue                          S72       $342    S685        S887     S1,035       S1,182      S1.321    $1,445       S1.544      S1.613       S1,645        Sl,678
          growth%                                                  372.3%   94 6%       33.3%      /6 7%        14 2'"      11.8%      9,3 "        69%         44%          2 0%          2.0%     12%
         HospilaJ (Coumer) Revenue                         S50       S225     S345       S383       $420        $456        S491      5522          5550         S572       5590           5607
          grol\'th%                                                350.0%    53. 3%     10. 5%      98%         8 7"        75"       6 4%          5-3%         41%        3.0%           30%      13%
         Hospital (OnSile) Revenue                           so     5240     S720        S828       S936       S1,042      S1.143    S1 ,235      S1,314      Sl, 375      Sl,416        S l ,459
          growth%                                                           zoo.a,.     15.0%       13.0%       , , 4"       9 1%      80%          63%          4 7"        3 0%           3.0%    13%
         Pharmaceut.Jcal Services Revenue                   S30     S120     S170        S220       S270        S323        S378       S4:l0        S477         SSIS       S54 1          $568
           growlh%                                                           41.7"      29.4%      227%         19 8%       168%      139%         10.9%         80%        5 0%           SO%      15%




FER-53
         Total Revenue                                     S249    $1,558   $3,540      $4,727     $5,106      $5,488      $5,859    $6,202       $6,501      $6,742       $6,912        $7,087
           grollllh%                                                        127. 2%      33.5%       80%           7%         ,,,        6%           5%          4%           3%           3%

         COGs
                                                            SO¾       45%      44%        43'1'      42%          ◄ 1%       40%        40%          40'11.      ,(O'JI,     40%            4()%
         Retall Revenue
         Physiaans Otfice Revenue                           31%       30%      30%        30'%       30"-:1,      30%        30o/,      30%          30'!1,       30%        30%            :lO~,
         Hosprt.a l (Courner) Reve nue                      30%       30%      30<;1,     30%         30%         30')1,     30%        :l0%         30'>1,       30%        30%            30>\
         Hosprtal (OnSrte) Revenue                                    30%      30%        3ml,        30"1.       30%        30%        30%          30%          30%        30%            30%
         Pharmaceutical Services Revenue                    17%       15%      15%        15%         IS%         15'%        15%        15%         15%          15%         15%           15 \;

          Relaff Revenue                                    548      $284     5723      S1,038     Sl,029      S1,020      S1,012    S1,030       S1,049      S1 .069      S1,090        S1,112
          Physicians Office Revenue                         S22      S103     S200        5267       S312        S356       S398       S435         S-465       S486        5495          550S
          Hospital (Coumer) Revenue                         S IS      S68     SI~         $116       $127        S138       S148       S1S8        S166         5173        S178          S184
          Hospi1al (OnS,te) Revenue                          so       S72     S216        $248       $281        5313       S343       S371        S394         S413        5425          S438
          Pllarmaceut,cal Services Revenue                   ss       S18      S26         S33         S41        $49         S57       S65          S72          $77         S81           S85
          Total Cog.s                                      $90       5545   $1,269      $1,702     $ 1,789     S1,875      51,958    $2,058       52,145      $2,217       $ 2,270       SZ,32.3
            %Safes                                         36%       35%       36%         36%        35%         34%        33%        33"          33%         33%          33%          33%
                                                                                                                                                                                                               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 53 of 299




         PFM-00094205_Confidential                                                                Valuation                                                                                           2 of 2




                                                                                                                                                                                         PFM-D EPO-0001 1501
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 54 of 299



                                                                                                                                                                                   C\I
                                                                                                                                                                                   ~
                                                                                                                                                                                   .....
                                                                                                                                                                                   .....
                                                                                                                                                                                   0
                                                                                                                                                                                   0
                                                                                                                                                                                   9
                                                                                                                                                                                   0
                                                                                                                                                                                   Cl.
                                                                                                                                                                                   w
                                                                                                                                                                                   Q
                                                                                                                                                                                       I
                                                                                                                                                                                   ~
                                                                                                                                                                                   LL
                                                                                                                                                                                   Cl.




I
..
J
s
!JI                                                                                                                         ,
~
                                                                                                                            i
                                                                                                                            Il                                                i
                                                                                                                            •                                                 l
                                                                                                                            .~
           111.~~!1B 0 ~ 1~~~~1 ~                                                                                           I
                                                                                                                            !

      !I    U li1.
            f!H
                          ~.a
                          ~u !!"~
                          .,,..i
                                  .. ii
                                 ~.~        -~   JGV I
                                            B. ~~St ~! i
                                                              ,w \           llik
                                                                             an,~
                                                                             •A~    =~! ii••
                                                                                    jj> Q
                                                                                        ,u h~aw
                                                                                            UH  ~m •r.rtj ei
                                                                                                           Hill
                                                                                                                   Q• "
                                                                                                                                 uu
                                                                                                                                 e e£ P
                                                                                                                                          Ut
                                                                                                                                                    ...
                                                                                                                                          ..... u, ••sr. "" '  iHl"tl!:   r



      ;1    ~~iQ          an~
                                  r'
                                  UQ £PH P¥ •  -~-;
                          m . u•• ~! ~~~! !~ I ;u
                                                    r.u a,1§
                                               a~; !H           ~~re ~p
                                                             ~R u•1r                                                             ~ -·
                                                                                                                                 UH       ~r.r.
                                                                                                                                          '!"'!It
                                                                                                                                                    n,
                                                                                                                                                    :r:
                                                                                                                                                          H
                                                                                                                                                          et   .....
                                                                                                                                                               f""' •     t


                                                              t~.
                                                                                            ijH
            t"~i
            .5 ,•                                            'F •;:!'; ·d                            111
                                                        "'"
      II    ~11., au1i H~ ~I H~r~
            gm    m       "'
                             ~ur.
                                  ~~ !
                                  ~~
                                       ij~,u
                                       W~l:i
                                  U° " ""                                    ~rar
                                                                                    ft~:
                                                                                    ~ ~
                                                                                    e""•
                                                                                            e~it u
                                                                                            ~,~      n2
                                                                                                           ;mm ' I r!
                                                                                                                   ~i-
                                                                                                                   '
                                                                                                                                 Ut t
                                                                                                                                 ::e:     Hf m H "£'
                                                                                                                                                 :~-· ~
         ,eP~ i~~ mi iig ft•iU i. I
      II "'~                                                                 i9~Q   m !~! u ma       oc            y~ i          Hf§ m              m H ",r.r.t
                                                                                                                                                           ... ::: : ~
            Au m !! ~l!Y                                      ~~             H§II
                                                                             ~,;,   ...
                                                                                    fl~"    iU• ~k E

                                                                                    ..
         ••R•                                                 , i ..il   :                  s. ::.   r,H   •<I::   .' i

                             un~ ,~ l                                               ,.;::,. u· ~c ~· Irr.
         r.Gr.i! iU
      II "'"'R•
         rH~~ m ...."~'
                    ~ijQ'    r.sn ~~ !
                          !! "t""'"
                                            ~~                               H~~
                                                                             n~u            ~-~ .. ~
                                                                             ,:1oe ~~f ;at ,., •B!a  ~11 - ~
                                                                                                                   i., i
                                                                                                                   Ai< Ii
                                                                                                                   •-::.
                                                                                                                                    ~                              H

                                            u                            I
                                                                                                                            ~
      ii    aaw
                          !fl~ !!£ !~ ~~~! .a
                          ~G~     l,U                l,r ll
            Pi~,
            .. ,.. A.,.                    ~!
          g~u .~a u~
      ijl !liii"          A~:a ~~.
                 m y~~ l: ~p                ..
              ·:=                                             ~~ ~




       IH!d, 1!w ut uH1l IJ1~d 11uI u1l u!hI i I11!d nuI Hil ut h!hl Iu I
           ,J             1 1 ,
                                ;hi
                                                 {       .    j
                                                              HJ 1 •
                                                                       11
                                                                     , I 11 ,
                                                                              1d
                                                                                 I . ·
                                                                                     111 1 •
                                                                                              11
                                                                                             , ! 11,                                                                 -
                                                                                                                                                                              I,
                                                                                                                                                                              ~


                                                                                                                                                                              ~




                                                                                      FER-54
                                                                                                                                                                                  ,,....,uaeo-....-.i
                                                                                                                                                              ~        ....... ..,_.,,.
                                                                                                      .....             ..,..          .,,.
                                                                                                                                       ..,,.
                                                                                                                        tt~
                                                                                 .....''"'             """
                                                                                                                                                                         -
         1'!:t:rrlettcn:n:ltr
                                                                                                    ,tn.,rr         :--~            );)t:.le,.                                C        t ,!111   ...         &.I»
                                                                                !'"•~               :.•W.t:S        1·.i.t*         ....,,.                                   o        ,sn       t~         ~~
         O,C-.W..Olt.-
         l'"l"(,I"-..._                                       tt'1«            ·.,1a
                                                                    ..• --,..,,.                    ~4"-">:
                                                                                                    :,,~
                                                                                                                    e:..1•
                                                                                                                    , ......        •:rs.a
                                                                                                                                    "'"-""
                                                                                                                                                     -                     .t:~
                                                                                                                                                                              0
                                                                                                                                                                                      "l'-'O
                                                                                                                                                                                       ,~·
                                                                                                                                                                                                 ,U.O       ~
                                                                                                                                                                                                 .... .,,,...
         .......,-..r..--                                                       ,...,,              :.•:Cch                         J:"'t•.>e                                 0        '')Q.     ...        •:.a
         ----
                                                                                :,t•_IC              .tn.::n        ,c:.,..           ..,.,                                   0          ,:'"    :,:,        11197
                                                                                ,....               ,er.~           ,.,......,            -....                               0          ,.      :.14:       -1.M:l
                                                                                                                    ·-...           ......
                                                                                                    ,rc:oa          tOIO'ICO        ,..,.,..                                  {):      :s:..     ,,,. . ...,
                                                                                                    ,..,...,.       :.r•UC          :.,a&.5,t!                                 0       ~-tSt     •3'         7,-;::
                                                                                                                                                                                                 J.Q1        ,.,
         ----~----
                                                                                "'"'
                                                                                ,.,..,              ,:,.s_,r.       !tJl.o01        .:..:,IQ                                   0        t"t
                                                                                """'
         ,....
         ,_                                                                                         :~_......       ._ ,,.
                                                                                                                     ...            ...,.,                                             ~&JO
                                                                                                                                                                                       , _       •  •
                                                                                                                                                                                                 s••1.          ~a
                                                                                                                                                                                                            oIC.IC!!
                                                                                -r•
         --....                                                                 .......             :.:uc,:         ,-,.. cc:       •~=a
                                                                                                                                          ..
                                                                                ~'1•                  ..,,..        ,_.,.           , ~.:r,J!,I
                                                                                                                                                                                       ,~
                                                                                                                                                                                         ,;,     :c.u
                                                                                                                                                                                                 u~.,.      ::.r:..i       ::s.:t'
                                                                                                                                    r. r .-..n
         .....
         ..........
          ---                                                  .......•'
                                                               ,11..:
                                                                               1.:::,-
                                                                               111:1:,0
                                                                               ...,.,..             ,-..:...-.
                                                                                                    -:_c,..13
                                                                                                    !.t:IQ.
                                                                                                                    .,..,..
                                                                                                                    -:.;wu:
                                                                                                                                    :..a:..:
                                                                                                                                    :::.ttla::'
                                                                                                                                                                               . ....
                                                                                                                                                                            ,.,,       f..31,f   .. . . ,
         -·-                                                                                                        ""'"'                                                   ....• ·- ,.., ;:: :~
                                                                                ::.u-r,               m,,,.                         , ~,                                                                      tC-,)
                                                                                     ,.,.,..,                        , .....,         ..                                                 '1>     ~
                                                                                                                     :.r!.W:::
         ----·                                                                                                                      ~r•                                                                      ,,,. £~c.-i'
         ----·-                                                                tUOIU~
                                                                                -=- ..,...,                         ,._..,          ...,..,.
                                           ...,.__ <!_ ......., ,. __                                                                                                                                                  'CAO . . . .                 ~·-_...~
         ""rrre•man,am                                                                                                                                                                                                                      __
                                                                                                                                                                                                            i. -
                                                                                                                                                                             ....                                                      ...,-m-
                                                                                                                                                                                      _-.,                  -~ - s - . ~                                .........."
                                                                                                                                                                                                            a1'             MA          1M
                                                                   ...                                                    ,..
                                                                                                                                                                       ·---~
                                                                                                                                                                       --                                                                               _......,. ......,,
                                                                                                                                             ,..                                                            1QI,       ;,c...,,..,.     :"I)
         O C\lllt'II._
         lit/NJ . . . . . _
                                                                                                         .,....           ,..                "'
                                                                                                                                                                                                                                        tn
                                                                                                                                                                                                                                                           ______
                                                                   "'                                                                        ,.,                                                            ~
                                                                                                                                                                                                            ~            .'"'
                                                                                                                                                                                                                           . ..· "'
                                                                                                                                                                                                                                 011    ~..             ~
         ---                                                       "''"              .......,..,.         ""
                                                                                                          ...              ..... ..                                                                                                                      ..----~
                                                                                                          ,.,                                                                                               ~               S\,         .,_.
                                                                                     ,,.                                      !U

         ,
                     .,____                                        ,..
                                                                   .!\•
                                                                   "
                                                                                     ,..
                                                                                     ,..                  ,..
                                                                                                          ,,.                 ,..
                                                                                                                              ,..
                                                                                                                                               .
                                                                                                                                             ,.,..                                                          ~               ....
                                                                                                                                                                                                                            l1r.
                                                                                                                                                                                                                                        r-•
                                                                                                                                                                                                                                        u·
                                                                                                                                                                                                                                                        -·-
                                                                                                                                                                                                                                                        -0-.-----,-.....-......- .....~e...c..
         ,,_...                                                                                           ,.,                                ,.,                                                                                                        __........,....,_.,di
         --...........




FER-55
                                                                                                          ..                                 ...                                                            ....             . ...                      +4-.-0,,,...~c..e-,,
                                                                                                                                                                                                            ~
                                                                                                          ,.,
                                                                                                                           ......                                                                           -                ..
                                                                                                                                                                                                                            ,..,        =-
                                                                                                                                                                                                                                        ,u
         """'                                                      .........          ......,..                            ...               ..,
                                                                                                                                                                                                                                                        -s....__.._,...,..........
                                                                                                                                                                                                            ~               '"lo.       ~
          -
         --,_.                                                     ...=-              ,..
                                                                                     ""
                                                                                                          ,..,..              ""
                                                                                                                              ""             =
                                                                                                                                             ""       _.__                                                  - .......
                                                                                                           :,.)                                                                                                             C0          ..,
         .........                                                                    ,..                  ,.,                ,..            ::-1     ---                                                                   C,          .,.
                                                                                                                                                                                                                            C,
         ...............
          _,_                                                      ..~·
                                                                   "'
                                                                   ,..,
                                                                                      '"
                                                                                      ...
                                                                                      ,..                  ,,.
                                                                                                           "'                 m
                                                                                                                              ~·             rs
                                                                                                                                             ""      :..•~
                                                                                                                                                                                         '"'                                .,
                                                                                                                                                                                                                      ----~--           .,.
         --                                                                                                                   "'             ""      I---·- - '"                                                                        ""
                                                                                                                                                                                                            ---
                                                                    .                 ,:,                  .,.                               ,:,     1=.,--                               1•>                                                           ...~-..--(.qi
                                                                    ::,               ::I                                     ::,
                                                                                                                              '"             ::,     1:                                                     . !!,_                       "T,.,...
             ....
         ----·                                                     "'            =                                                                          - ...                                                                       '"                                     .......

          t,; Ve:::wettttl'l"tMfrrt'l'P?                                                                                                             -r2n r··1=•-a
                                                                                                                                                                                                              - -.. - ·---------
          c.c ....,,.._                                                             :a
                                                                                                       t!!No             ::.or
                                                                                                                         ,1m
                                                                                                                                        ::...,
                                                                                                                                        ,,...,                  .
                                                                                                                                                     ~c.....,..--
                                                                                                                                                     m,....i ......_
                                                                                                                                                                                                                                                    ·~--........
          l'IIVfHJ_.,.,_ ....                                                                          :,,:                             ":".O:
                                                                          .... .... ......
                                                                  .....• ,...,      OJ:
                                                                               ..... ,,,.                                               ,,...,                                             ""
                                                                                    !CT                 ..   ,-,         "-""           r e:
                                                                                    tC,t
          ----
                                                                                                         Ue."t'                                      ~--i
                                                                                    ,,,.                 •---.i·•
                                                                                                                   ........ ..~-..-                  ·-~..-...
                                                                                    t"'.:'1                              H:.'li•
          "'-                                                                       :.•n-                1.21:                           OU'>
                                                                        0
                                                                        ••          : .JOI
           ----........--                                                                                                                            I~
          °""'                                                                                                              ''*                           .
                                                                                                                                                     ,..,.,
          r. .....
                                                                                                         ....'"" ..··-,. .....
          ,_,                                                                                            .,.,            u .111»                     1-
                                                                                                                         14JH
                                                                                                                            ""'         1'1. S:,
                                                                                                                                                     ,
                                                                                    ....""'              ....                                        __
                                                                                     t!"'t               ..,,.
          -.........                                                                                                      ..,.
          eo-
          ...                                                                                                                                        ··-~                         "                  ~             iii
                                                                                    , ...               ''-""            s:.r•
                                                                                                                                                                                                                                                                                                             Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 55 of 299




                  _                                                                                                                      .....,,,,            -                             "'


                                                                                                                                                     --                                                                                                                                              ....
            --
                                                                                                                                                                                                                                                                                         PFM-DEPO-00011503
        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 56 of 299




                      '   I       u~ L .!H '
                              HU fuf                      r,.




J
            "I:
                          • uu {H Uf. u H6i '
                                   ~~e                    f#-

                  ,.!'"
1
         •A
                          I R~U ~H ~g 5~ EHi 5i
!
• !
            :•    .. n• ~S;.£ m          ~" H    riGr,f   !#.

fd ~. ~
• g.;
                  0
                      • u~,
                                   "'    Ut;
                                               '' UH n
~ 1J i j • JlJ I 1111 j jJ l1I!l 111
                               ~
                                                                                       l
                                                                                       !


        pt ~~
            •p



        ,u~
        Ji ...
             ~ ;t ~-
        !~~       ...
                  ii,




        ,~i       ~!!
        t,::.

        ~
        M•·
            ...   00




        ~


        i




            1! j                                                                       li
            iJ Hi                                                                      .
                                                                         PFM-DEPO-00011504

                                                                FER-56
  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 57 of 299



                                                                                                         LO
                                                                                                         0
                                                                                                         LO
                                                                                                         .....
                                                                                                         .....
                                                                                                         0
                                                                                                         0
                                                                                                         0
                                                                                                             I
                                                                                                         0
                                                                                                         a..
                                                                                                         w
                                                                                                         0I
                                                                                                         ~
                                                                                                         LL
                                                                                                         a..

                                                              fi
                                                              1•
                                                              1




          Ei'O ~aQ ~llfl§sl b~a§Af
II r.· n• ··•                                     DM\108 1               rn, C §~    Ila   . ;. .
                                                                                           (   ~


               ....i ~B 9?1                  I
                                                        !     IB HI~~:       - ~?.


  I   DR • r.r. §§§
                »•n..fl!;
                    §Al     lllH§~I.
                            •   ij ~
                                . !
                                       !•Rm •~ttoffa    ~
                                                              §
                                                              ~
                                             tt               ~

  I flll nR !99• lpi s•m~H
                   ~
                       a          s
                                       m:ei       oHtfff81l
                                                        ~
i I a.    ~.: aa~
              .... nsl
                   ;S
                        'llfl§B( nna§sl •aru
                             fBl    a~1.     ~
                      i           J
                                      • •ar •~a
  I :• : :• ••• ht
                na!i
                     e11Aijs1
                        ~a
                                       011~08!1
                                            a           ~
                            •



                                                                                                    I.
                                                              FER-57
        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 58 of 299


                                                                                                          u,
                                                                                                          0
                                                                                                          I.()
                                                                                                          .....
                                                                                                          .....
                                                                                                      ~
                                                                                                          0
                                                                                                          0
                                                                                                          0
                                                                                                              I
                                                                                                          0
                        f                                                                                 a..
                        I                                                                                 w
                                                                                                          0I

                        '
                        lr                                                                                :E
                                                                                                          LL
                                                                                                          a..
                      fl
                      ••al
                      I'             J
                      •I             '                                     !
                      n              I




    I !!!!
      . ! ti! .i i ! I f!
                                     '
                                         l9H8
                                         -~~!
                                                        ·n    I    tR     ~    r: ~nA      U!S: R




    ~    ~v     ti   st t    t   ~,t     RIIRI
                                                    .-u            ~~     UA        na     .;1:ia
    ~
         .UU .~• a • i • ~R5 •••         85!~


    • ~~Q ! 3 Ii!!,~~~!
    l
                                         HkkM
                                         ft!!~!
                                                                   ¥~ ur.           r.M        ~u



    ~
              .
    • •g~lls ~~Yi!
              .    U~P.                  IRHB
                                         m~
                                                              :. r.;R     !i   ,Uk         , >I r.A




                                         us;
                                         !~!_
                                                        ,.~ n                  r. na           nA
                                                                                                      I

                                         fl l u~
                                         U!i t
                                                    • ~ft          ~a          , n•        ' n~
                                                                                                      1
!                                        en: . n
                                         !51_
                                                                   it               n•     . :J il


i
A
                                                        ~ eu
                                                        @                      r. n•           na
I                                        USA
                                         H!!2

I
l.
A  : IH a ~S! fl'
         ~u~e
                                         1888
                                         m~
                                                    • ~Q           ~ll             qr.,:   I   ;;:,




 •                                       9sn
                                         .!~!
                                                        u         • fl~             "~ 'nR
                                         811 11 R       ,nM        2~               na         an


                                                                                    ·~
                                         SB!!
                                                    i,88      ~ "R>c
                                                                               .           ... :::-
                                         m!
                                         HkA8
                                         m~
                                                    •   •R        ·•2
                                                                               .    ·-
                  I
                  l
                  q! ~ J~ j
I
' i;::;l j
j
              i • I ! J &J L l
                  1,l 11! 11l 1
                                 l


                                         I,m I
                                             l!                                                       l
                                                                                                      •




                                                                          FER-58
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 59 of 299



                                                                                         .....
                                                                                         0
                                                                                         LO
                                                                                         .-
                                                                                         .-
                                                                                    !    0
                                                                                         0
                                                                                         0I
                                                                                         0
                                                                                         a..
                                                                                         w
                                                                                         0I
                                                                                         ~
                                                                                         LL
                                                                                         a..




    I        I!          Rn       UI        u         ,.~           I!



    i                            . !~!    ~u          ~H" 6 u~

    I                   - P.r.     n        u         .u             H



    •Ji .-~n       ,1     ijn      u     ~~ ~Ii       na       ft    HB


             u            AA       u        u         B!!      . 8~                 ls
                                                                                    J
             u            ~n      ~u     :1 0          ~~           ~,~




l
0
             r, '··"               ca     aa           :.9           t!
~
!
            . n ~•RQ             :~r.~      u         ": OH    fl l ft~
!
I
~
j                                                              ~ BS
    'Ii      iii          R~       1.U      Ra

~

'            Dtl   fl . R~       . ~Br   ~HU      0   1 1)11
                                                                     ft~


             81         -U         ar     au          ,op
                                                                    B8


             8~     .. u
                                  ·'·"     iH                  , ,~
             '" .. u               •n      UV                  p ,~




                                                       i Ib
                                                      lh




                                                                           FER-59
         Mar1<olC..

                                2008          2009            2010       2011         2012             2013         Current                  IPO Date
         llumna                3.223         3,838           7,920      3.790        6,859           13.978          18.234                   711/2000
         lntul!IVe Surg,cal    4,967        11,589          10,128     18,055       19,499           14,620          15,589                  6113/2000
         Salesforce_com        3.905         9.214          17.345     13,799       23,870           33,280          35,800                  6/2312004
         Tesla                                               2,484      2,979        3,8$4           18,442          21 ,868                  71612010
         Facebook                                                                   57,670          138,820         13.9 .272                5/1812012
         Sprunk                                                                      2,862            7.366            8,447                 4/1912012
         Tv.itter                                                                                    27,859          34,318                  11/612013

               IPO Year

         Sales
                                                                                                                     Current Street
                                2008          2009           2010        2011        2012               2013E        2014E        2015E
         IDumna                  573           666             903      1,060        1, 150              1,420        1,660        1,950
         rntuhri:e Surgcal       875          1,050          1,4 10     1.760        2,180               2.270        2.270        2.480
         Salesf0<cc.com          749          1,080          1.310      1,660        2,270               3,050        4,060        5210
         Tesla                    15            112            117        204          413               2.380        3,300        4.920
         Faccbook                272            777          1,974      3,711        5,090               7,640       10.440       13,520
         Splunk                                                 35         66           121                199          293            396
         Tv.1-r..er                                              28       106          317                 640        1.130        1,780

         Theranos                                                                                          25            261       1 ,675

         Implied MulUple
                                                                                                                     Current Stn?et
                              2008         2009            2010       2011         2012            2013            2014E       2015E
         llhJmna                     4.8          43            7,5          33           4 .8             84          11.D          9.4
         lnru,tive Surg,caJ          4.7          8.2           5.8          83           86               64           6.9          63
         Salesrorce com              3.6          7.0          10.4          6.1       78                  8.2          8.8          6 .9




FER-60
         Tesla                                                 12.2          7.2       1.6                 5.6          6.6          4.4
         Facebook                                                                      75                 13.3         13.3         10.3
         Splunk                                                                       14.4                25. 1        28 8         21.4
         Twiuer                                                                                           24.7         30 4         19 3

         Theranos (i\ssumed SBbn Valuation)                                                                             30.7           4.8

         Twitter                                        FB                                       ILMN                                        CRM                     Tesla                      Splunk
             #NAME?            639.32                    1213112012   5,014.94                   12/3112001              2.4                 12/3112004     174.13   12/3112010   113.667       12/31/2012   193.667
                                                         12/3112013   7,63184                    12/3112002          11 075                  12/30/200S    302.389   1213012011     203.S       12/3112013   292.783
                                                                                                 12/31/2003          25883                   12/29!2006     492.28   12/3112012     407. 5
                                                                                                 12/311200,C         50.652                  12/3112007    740.591   12/3112013    2362.1
                                                                                                 12/3012005          72.854                  12/31/2008   1072.333
                                                                                                  1212912006        181 ,875                 1213112009     1293.4
                                                                                                  12/3112007        359.571                  12131/2010   1650.333
                                                                                                  12/31/2008        567.417                  12/30/2011   2256.737
                                                                                                  12/31/2009        653.583                  12/3112012   3046.158
                                                                                                  12/31/2010        890.824                  12131/2013   4054.47S
                                                                                                  12/30/2011       1053.368
                                                                                                  12/31/2012        1140.95
                                                                                                  12/3112013       1403.583
                                                                                                                                                                                                                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 60 of 299




         PfM-0009420S_Confidential                                                                                fllgh Growth Comps                                                                            1 or 2




                                                                                                                                                                                             PFM-DEPO-00011508
         Stroot Revenue Estimates

                                         First Year Public     Second Year PubTic
         lllumna                       2001         S2        2002      S11
         Salesforce.com                20~       Sl74         2005     S302
         Tesla                         2010      S114         2011       S204
         Facebook                      2012     55,015        2013      $7,632
         Splunk                        2012      5194         2013       S293
         Twitter                       2013      S639         2014     S1, 130

         Sales Multiple

                                         First Yea r Public    Soc.and Year Public
         llumna
         Saleslorce.com
         Tesla
         Facebook
         Splunk
         T,.,tter




FER-61
                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 61 of 299




         PFM-00094205_ Confodent ial                                 Hi&tl Growth Comps              2012




                                                                                          PFM-DEPO-00011509
                                                                  -

                                       2014E             201 5E             2016E      2017E     2018E

         Theranos Net Revenue            261              1,675             3,011       3,664    4,354
          %growth                                       541.5%             79.7%       21.7%     18.8%

         Number of MSAs                    3                 18                1B          18        18
         Average Penetration            3.0%              5.7%             21.7%       35.0%     35.0%

         COGS                              96               598             1,035       1,244     1,472
          %margin                      36.8%             35.7%             34.4%       34.0%     33.8%

         R&D                               95               270                  324     356       385
          %margin                      36.4%             16.1%             10.8%        9.7%      8.8%
          %growth                                       184.2%             20.0%       10.0%      8.0%


         SG&A                             106               400                  500     550       578
          %margin                      40.6%             23.9%             16.6%       15.0%     13.3%
          %growth                                       277.4%             25.0%       10.0%      5.0%

         EBITDA                           -36               407             1,151       1,514     1,919




FER-62
          %margin

         D&A                                4                21                   90       183      218
           %margin                      1.5%              1.3%                  3.0%    5 .0%     5.0%

         EBIT                             -40               386             1,061       1,330     1.702
           %margin                     -15.3%            23.0%             35.2%       36.3%     39.1%




                                                 PFM Bear Case
                                                PFM Base Case
                                                 PFM Bull Case
                                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 62 of 299




         PfM-00094 205 _Confidential                                  Outputs                                     1 of 1




                                                                                                          PFM-DEPO-00011510
         Total US lab Market                             Outside the Hospital Lab Segment


         Outside the Hospital            61%             Independent Labs                55%
         Hospital Inpat ient             28%             Hospital Outreach               33%
         Hospital Outpatient             11%             POL                              6%
                                         100%            Other                            6%
                                                                                         100%




                    Total U.S. Lab Market - $72 bn                                                 Total Outside the Hospital Lab
                                                                                                          Segment- $44 bn

                                                                                                                                  (
                                                                                                                                  .
                                                                                                                         .   ,.
                                                                                                                   J~

                                                                                                                  •i~
                                                                                                                 .., - 111
                                                                                                            ~;       ..
                                                                                                            /
                                                                                                            '•      11
                                                                                                            '1'"- ..... _..·
                                                                                                                                  ..  ,
                                                                                                                                      _.           .
                                                                                                                                               •• -~-~-




FER-63
                                                                                                                 ·, •. ~~~/!] I
                                                                                                                                      •
                                                                                                                              1_,. ;,
                                                                                                                                  '·'a: -",'
                                                                                                                                          ..,.,


                                                                                                   Independent Labs
                                                                                                                                           -
                                                                                                                                           ■ HospitalOutreach   a POL     □ Other
                ■ Outside the Hospital    ■ Hospital Inpatient   a Hospital Outpatient
                                                                                                                                                                                             Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 63 of 299




         PFM-00094205_Confidential                                                        Charts                                                                                    1 of 1




                                                                                                                                                                        PFM-DEPO-00011511
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 64 of 299




CBSA 0rttMon
Cod•        -·
            Cod•
                   Meu~u.n a&ao• ~           a,Hs
                   (Tilla o/ 1MUOPOt1IM d iVi.llor!t .,. ~de,ued,)
                                                                                               2010                             201'


10180
10<20

"''""
t(ISOI)


"''""
107-0
                   ~

                   ,-,,.011
                   ~ t1~.
                   ~fjM
                           .n:
                   .....,_OH
                   ,-,,.GA
                                                 ttt
                                                                                   16$.2"
                                                                                  703,
                                                                                   1$1.30!

                                                                                  "'
                                                                                  870,71!
                                                                                  W ,01
                                                                                                        .•
                                                                                                      \&$.$78
                                                                                                      711).°"

                                                                                                      ,,
                                                                                                      15"75a0


                                                                                                      ...
                                                                                                   1110&1
                                                                                                                   ,., ....
                                                                                                                    1!4"81

                                                                                                                    157W
                                                                                                                    ue.
                                                                                                                   ..,
                                                                                                                   •n
107IIO             A.llr,;ardria, LA                                              1s1m                1$4003        15-t.)7
10900              ~~lehem-fMton.. P/¥NJ                                          821,173             mos,         m.,,i
11020              A.koona, PA                                                     ,:7,074            127039       12773A
                   AINifilO, TX.                                                  :1$1,9'33           2S2M6        25$.IOI
11100
                   .,...__,,.
111ec>
112<,0             ArclWMag,i, M
                                                                                   l'lS4.2
                                                                                  ,e.,021
                                                                                                       eo
                                                                                                      m,n           ....vo1,e
                   -Wt                                                            ""'"'               :Ml          >Ctt!D7
"""
.,,..
"""'
                   NW'l#.-bor. UJ
                   ~lon:h.bd>..IClft'6.AJ.                                        ,,asr
                                                                                  :m
                                                                                                      116.Q)
                                                                                                      :m....
                                                                                                                    n7t1
                                                                                                                   2'27,316
l1700              -         .NC                                                  ..2us               42'.Me       •20.'47
12020              ~         -tai,,.. CN;ly,GA                                    1lil?S41            103$30
12000              ..- - , 5 - R....... OA                                       5ZM.732         ~.:,(),,186$
12f(X)
1ml)               ,......,.,_
                   ~ruC.~on.NJ
                                ...
                   .......,._,._eo...,_.._.se
                                                                                  21•~s
                                                                                   1.&Q.251
                                                                                                   27471
                                                                                                   W)111




·~
,mo                                                                                !,&t 871         !,t,,6,.71,
1:.t20             ~ Roc.t.. fl.                                                 1 l 1&2et       1W061
                   8-:fl'lofMtCA                                                  . . . . .1        &IU&7
12$IIO             ~ T C M , ' I C W \ VD                                        , 710 ol        2 ,1 \~
1~                 8WOot, ME                                                       153921           153.892
12700              B~rn:uotNe Tcwm, MA                                             21S,IU             21$,"'9

',mo
 """°              8aullnft~, LA
                   ~CrM~MJ                                                        ,,.,..
                                                                                  ao,.c,o          IOHI
                                                                                                      ,.,
                                                                                                   136.07
                   9-yCq, Ml                                                       107.771
 '""°
 ll160             !ln,_.Pon....,. TX
                                                                                  "°'·'            <OJ~
                                                                                                      ,:, acn




                   _
•=                 -YN                                                             ,2• .to,




                   _.,
                   s.arv-'l\
                      WA                                                                              ~U1'
"""'
\3460
131.0
                   _,..._..,OIi
                   en.,_ MT
                                                                                                      1$7~
                                                                                                      1se.n,
                                                                                                                    160013
                                                                                                                    160.Ml
137IIO
1$&:0              """"""'°"'I"(
                   _,,o
                   e.rn.,,ghl~M.
                                                                                                      2$\.443
                                                                                                 1,12$..0)$
                                                                                                                   :,,0...
                                                                                                                  1 13' •Ol
I"°"                                                                                                  11$,294-
                                                                                                                    ,,.
                                                                                                                    11721"
I. . . .
1«210
                   ~N~~ad"'"1\/A   ...                                                                ,.....,
                                                                                                      17&.4:M
                                                                                                                    11737



                   -··                                                                                160'          un.tu
'"""                                                                                                   1$4'1

                                                                                                                                       ....
1•100                                                                                                                 1$,161
1<260              S-CllylO                                                                        eu1002            527.&lG
                                                                                                 .a,503.Ml        4,60),)U
'"""°
14450 144S4
                   ~•rnllfilOQ..PffWl<m. MA-Mt
                       ~on.~A                                                                    1,8$36SA         1..910,71<1
1U..SO ,,,764
           "°""
                       catnor~r~MA
                       R.owt-ot-.mCo,,Ny-Stral'fordCOl.l'lty tM
                                                                                                 2,,s,,129
                                                                                                      . , . $10    .,,.1
                                                                                                                  i2n.11.-


 ....
1'4(:.0
,'""°              eo..o;..co
                   Bo,,,wvGtN'l'\fl.Y
                                                                                                      ?A)lfi        ,00,000
                                                                                                                    1,0


.....
1417"10            &,~~WA
                   --No,w.:k.Cl
                                                                                                                   20<
                                                                                                                   m .56>




·-·- --VT
151190             ~ r t-~ TX                                                                                       412 511
15261)             -GA                                                             111'66                           1 13,122
                                                                                 1135.!SH                         1,13$,.tM
'"""
tSSOO
                   &,lt.-,.C.M-e•~>-Na;at•Falb.tl'f
                   ~on.NC                                                         1$1J)87                           152601

,,...,                                                                                                             ...,,..
                                                                                  2'1~                             21UI
                   c ~ ,..                   ~t.tt>
                                                                                  ......,,
                                                                                                                   ......
                                                                                   105.151                          1076&1
                   ~OH
,sseo
,..,..
'""°
                   Cape Cot»Fon MYttl FL
                   C~G.wMeM,-.u Mo-I.
                   Ct,bondllil-MtrlOf\.il.                            129.51
                                                                                  61&.n.a
                                                                                   1'627
                                                                                   126580
                                                                                                                    ...
                                                                                                                    1:&.G-U
1('180             C;a,s;onC¢f, tN                                     ~27•

                                                                      .....
                                                                                    >$_274
                                                                                                                     ,.,~
                                                                                                                     s-a.&~1




·-....
10220              CMptf, Wf                                           7.S.•50     7S.•50
1Sl(JQ             c..darR,pct..,IA                                               2S7                               200,IOl
                   c ~.. ••                                            1'961!     119'11                            1!.0.181
,                  ~L                                                 2'tt91                                        m.oe.
10020              ""'-""""Wol                                        2'27,07                                       m .t11
,oroo              ~~c~se                                             .......7                                      te,,..
                   C ~ O M i, nc-sc                                                                               2.m.,34
 ,..,.,
19140                                                                2"2t7,01
                                                                      21s.m                                         221,101




                       c----..
 ,....,            CNl'lcc:o-swi.. VA



                       _
                                                                                                                    033~,

 .... .,..,_,._.. wt
                   CN.f'~~ Tu-.cA
                                                                                                                     "2'47
,16940             Ct~go•n....,.....£al,\ ._.l,N-w,                                                               9-491$11

,.... ,_
lf.'.8e0 16074                                                                                                    1:m~
         .,.,, ..
15'e0n&,c4
16$90 29,,11),1        Lolt:•eo..il'!f)'~tlai ~ y.     a..~~.,
                                                                                                                    C-4131

                                                                                                                    ....
                                                                                                                    -212,
,1m                a-co. CA                                                                                         120,,oe
111•0              CftclMIU. OH-KV,IU                                                                             2.,n.330
moo
.,.,.,
                   C&ltks:l'Se, lt.M<.Y
                                                                                                                    ...
                                                                                                                    264.6'>

                                                                                                                  ,. ,,,.,ne
                                                                                                                          ..,
                   --co
17•l'0             ci-=ru
,,...,                                                                                                              ,.,..,,
                   ~OH
                   Coeu:dAll'NC
,mo                C.olog,tStatlorl-Oty---.fX
                                                                                                                    wn
,.,,..
17'20
                   Ccluml>a. MO                                                                                     tt51'21
17900              ~SC                                                                                              77$.ffl
170IIO             Colwr:t,v,a,OM\L                                                                                 X>UIM
                                                                                                                     n ,e,,
 ....              """""'"""'
                                                                                                                     -
tll020
                                                                                                                  l~\:)7
,1St.-O            """'""-OH
                                                                                                                   00..9&1

 ....
                   CorP1Aawati. TX
11100              ~OIi
,                  c,~'111"W-fonw.._. ~ r L                                                                         , 00021




PFM-0009420S_Cll~Odenil•I                                                                                                                     lof II




                                                                                                                                 PFM-DEPO-00011512

                                                                           FER-64
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 65 of 299




CBS.A
           ......
          O,Y41lon

,.....
                                                                                                .,.,,
Cod•       Ced•                                                                      £.atil"l'l, UU1bM          2010               :ZOii

lt\00
1&100 191'4
                     CU!'T".tffland.Mo-VN
                     ~ e n WO<lh-Mln(f.on. f)(
                      CMI.-Pl.»-r.rMo TX
                                                                                              ••.2».                   1031•a
                                                                                                                  G,02,7(1,,l
                                                                                                                  ..,2,eeea-
                                                                                                                                           tO'l,.811
                                                                                                                                      s.~.112
                                                                                                                                      4,3l1.C,4A
                                                                                                                                                                       ,.,.   ,,_.,.
19100 23104
1&140
1SHl!IO

,.,...
1,,,00

,...,
                      FenWocV,,o~TX
                     O.,,..,,GA
                     Dwrv.111,L
                     ~ -..... N.
                     ~od.~lA>I..
                                                                                                 .,
                                                                                                 ,.
                                                                                              ?, Its.



                                                                                                ,,.
                                                                                                 Ill.

                                                                                                 mm
                                                                                                                  >,203.li<>I
                                                                                                                        ,,~,
                                                                                                                    1• 2.381
                                                                                                                                           ,.
                                                                                                                                      2.237:i'U
                                                                                                                                        1-42,.SCt7
                                                                                                                                            tl,,a,
                                                                                                                                           ,.,
                                                                                                                                           901,04

 ....
                     O,,,.,,,.OH
                                                                                                 ISU:21                                    IS4.11S
,
15460                o.c¥.ur Mo.
                     Dear:ur, tt                                                                 110,769                                   110616
19660                ~ r , , D N I &,X.,,...O.mond S.Kf\ f"l                                     ~3                                      S&l,S$0
111740               Dtnvtt-Awor►U)twQOd.CO                                                   2$.&3471!                               2..$.96,436
117«>                0n.,i~\YwMDftMoinN._IA                                                     ....033                                    580711!
                     C>wos-\",'a,t~llbol'I'\ M,                                               4 :99-Z:•U                              4Z97i66
'""°
,.:o 19604
,eero ..'1M4
"'°'°
"""°
                       0..~LlillODIM Ml
                       Wlltr~Tftl'l-ft,tmrQtOnHih. Ml

                     """'"'"-
                     .,..,.._OE
                                                                                              I 820,'1~
                                                                                              2.,, um
                                                                                                 I'S
                                                                                                 ,n.:u
                                                                                                                       ,.~   ..
                                                                                                                       102,07J
                                                                                                                                      1001,
                                                                                                                                      24e& ,i1
                                                                                                                                           ,~r.s,
                                                                                                                                           t&S.St

=                    ~ u ., IA                                                                    nos,
                                                                                                ,10.111
                                                                                                                        13,171)
                                                                                                                       vs.no
                                                                                                                                            .... :ie
                                                                                                                                           2708>8
>02<0

=..
                     Oul-..J\.M!l-WI
                     ~,,_,   .... ""
                                                                        ,.,u,m,,.,               .....,
                                                                                                !,().1401           >05.. .

                                                                                                                       ,.,
--..
                                                                                                                    169.fill
,.,
"'700                Eaol$..-PA
                     Eau a..,. V.i                                                               ,., 151
                                                                                                                       ,,.~1
                                                                                                 ,...
                     EJc:.nuc..CA.                                                               ,1.tm
                                                                        \45338                                         ,.~m-
.,,
2106l)               ~onl<na.vl<V

21300
21340
                     £.,...n-Go&Nn..111
                     Enwa.tlY
                     EIPMO. TX
                                                                        111.m
                                                                         ea,
                                                                       $04. 123
                                                                       no,,..
                                                                                                 _,..
                                                                                                 107 ~,
                                                                                                  ea.
                                                                                                 ooc.123
                                                                                                                       197474
                                                                                                                     ,u,
                                                                                                                    .......
21500
21660
                     Erie PA
                     £uo-. OR                                          -»f 71:!i                351 7tS             ~,n,
                                                                                                                       280,74»"

217«>                E-.•-                                              ,1~,                    311~                'HUI"
21020

=
                     F.tiltlb AK
                     Fwv,o~4
                                                                       ""                         "·'"'
                                                                                                 OOlm
                                                                                                 ,,oou
                                                                                                                     IO:fll
                                                                                                                       ;_,of,41

22140                F~HM
                                                                       ,..
                                                                        1)00«                                          1301.U
                                                                                                                       367,7.U
22180
,mo
                     F•-NC
                     F.._._,.,_
                     Fay.a...,._Spr~Rog,Nt,. AA~MO                     "6),,0..                 '""'""
                                                                                                 <!03,201           46$.nt                               4

22380                                                                   13', 42 1
                                                                                                ....
                                                                                                 , ,,..,..?()          ,:w1a1                            138,011
                                                                                                                                                         418...~

                                                                                                                                                             .....
22420                ""-Ml                                             425,
                     ,,_,...SC                                         200                       ~.~                                                     200.007
22500
                                                                                                                                                         ,
,,...
m20
n,!60
12000
                     Fb~Ml.'KltSl,o,IJl,AL
                     FOl'dd.lU<.WI
                     For:Col!N..CO
                     FortS-UI\.Nt-oK
                     F"ort\,',' r,r. IN
                                                                                                 _
                                                                                                 141.137

                                                                                                 ,..
                                                                                                 10,m
                                                                                                     ...
                                                                                                 41&2S7                                    411F$U
                                                                                                                                                         11.>1&0
                                                                                                                                                         _.,,
                                                                                                                                                         310.&a

                                                                                                                                                         421,4'06
23060
23020                F.....,CA                                                                   030,4$,0                                  9'40.4'1      947,m
23400                G ~, AL                                                                     ,o.ioo                                    10;1,.m       104.'92



                     _,.,,                                                                                                                 ""·" '
                                                                                                 :94.27S                                                 '68.ffl



                     -··
23$40
nseo
                     Ga~FL
                     a.-GA                                                                       179684                                    102,86$       ,a,.•1
,.,,.
23'00                                                                                            10lol01                                   101,S.,.9'
                                                                                                                                                         ,~_..,,
                                                                                                                                                         101

......               Gi,w,.F'.... NY                                                             129.921

                                                                                                  .....,
                                                                                                 ,n.12>
                                                                                                                                           l::0,1>3

                                                                                                                                                             ......
                                                                       ....,.
                                                                                                                                           123           1-2'42:-'t
2<220                Gnndf'Ctb.NO-WI
                                                                         OI,                      .,.                                       ...
                                                                                                                                            il8,0G1
                                                                                                                                                             113)1 •
2.42'0
24300
243-IO
24420
                     Gr.-O~NE
                     Gtand.lunatof\CO
                     Gt-andR.op6d:l,,V\o~MJ
                     GfaauPSM,.OR
                                                                        , ,
                                                                         tt71S
                                                                                                 ......
                                                                                                 1•&.m

                                                                                                  82713
                                                                                                                                           147,481

                                                                                                                                            .,
                                                                                                                                           995,4 5,4
                                                                                                                                                         ,,1,&1e
                                                                                                                                                        t,005&.te
                                                                                                                                                             82.
2,1,QO               GttatfA.Ml                                          11327                    41'2.7                61.$4               el,7A            &1,m

  ....
,'"'°
 ,....,
                     -co
                     GtMI\~, \-.,;
                                                                        2S>
                                                                        30&201
                                                                                                 25i
                                                                                                 :m:m
                                                                                                                       :S,001


                                                                                                                       """"
                                                                                                                       m,,.
                                                                                                                                           2,u.,
                                                                                                                                           30&.701
                                                                                                                                                         :,0:,.<01

                                                                                                                                                         ,...
                                                                                                                                                         Slt D8f

2..ieo

,,...
2...0
                     Gf...,,.~o+IQh PO!II IC
                     c:....... NC
                     Gt~~~sc
                                                                        rn.eo1                   m.,..
                                                                                                 161.    ,,e
                                                                                                 82.• 106-             .,.., ..
                                                                                                                       1ea.111

                                                                                                                       3'7\.~1
                                                                                                                                           730.:..)1
                                                                                                                                           17071$

                                                                                                                                           ""·°"'
                                                                                                                                           37$.IU
                                                                                                                                                         112....
                                                                                                                                                         842.M!
                                                                                                                                                         ,n.~1
,.,..,               ~pctHlikt>I-PII~, MS
                     titg~M•lhbul'D. MO-WV
                                                                                                 370702
                                                                                                 1$1 IOO               2'2.4"              254.601       2!,6.27!

=                    ..............                                                              ,2, 101               121,"53             122,519

,..,,,
"""'
                     ~ccql\CA
                     ~ . , . . _ PA
                                                                                                 1>2M2
                                                                                                 54941.l
                                                                                                                       ISl,,01
                                                                                                                       .eG212
                                                                                                                                           1~1,941
                                                                                                                                           Mt.fSn
25500                -VA                                                                         12'21              ,25
                                                                                                                                           '~""

                     _
2$><0                H•nJorcl-\'tet H.mo,d-EJl:II Hankitd Cl                                   1.21238-4           1212m              l.21S..119'

=                    Hatl:~MS                                                                    142041                ••>.100          1•Sl'l2
                                                                                                                                           >04.110


                     ...-GA...
~                    H,d;ofy-u:noir•~"'c                                                         3'S>.•92              3M.20II
                                                                                                                       ,u.m                189,7'49
25940                H".tlon ticod ldaNl>Ell\1f'.'lort<8e)U'..cn_ SC                             1&7,010
                                                                                                 ,.,                     11,,,.             eo,,n
                                                                                                  .....
                                                                                                   77'JH

                                                                                                                        ..,
2....
26141)

,.,..,
""""'
,..,.
                     liomolasuSp,'l'Ol F"L

                     ~Tl'lhdaiul..A                                                              :'0817

                                                                                                 ,..
                                                                                                                       111.u12

                                                                                                                       :,00.192            ,.._  ..
                                                                                                                                           139,&l.9

                                                                                                                                                 ,
                                                                                                                                            I0.837


,.....,

                     _..
                     Hous:;in-Tht Woocl,a,rm,SupB ~ TX                                         S,t:20-4           $.. . .,            OOSI

,..,,,               ~~ 'IN~.O..
                     tvu..... AI.
                                                                                                                       :,uooe
                                                                                                                       •tt'81
                                                                                                                       133.1'7
                                                                                                                                           ll!'M7''1
                                                                                                                                           •~212
                                                                                                                                         1lt&47
,..20

,....,
26000
,,...
                     lnd<1nal)Ob-c.r~PW'I i~-l
                     l~C.J. IA                                          ,......
                                                                       ,.887,877                                   ,.m ,,u
                                                                                                                       1$2,~
                                                                                                                                       I ~,0.0!J
                                                                                                                                           1,-5.31e

27100
21\40
                     -..NY
                                ...                                     101,$64

                                                                        ~,.,
                                                                        teo..2,tS
                                                                                                                       101651
                                                                                                                       Ito
                                                                                                                       l<J6US,
                                                                                                                                           101m



                     -Tll
27100
moo
m•o
                     ..............
                     ~             . NC
                                                                        !>0011
                                                                       '3,t5,"
                                                                        171,772
                                                                                                                    '""
                                                                                                                   '""· 17..487




                     -
                                 e.1o1a.\-.,
,mo
27$00

27140
                     Jo.Aft.....
                     ~ Ctv, MO
                     JotW'dcn Ccy. TN
                                                                        160.331
                                                                        ,.,.801
                                                                        19$.716-
                                                                                                                        IG0,23
                                                                                                                        14t.06-I
                                                                                                                        ,,e,wi
meo                                                                     14,l.97                                         1,.1 . .
moo                            .. ,.,,.
                     ~IJW,,fl.PA
                                                                        121,02'&                                        121~1




PFM-00094?0S_COnnden1lol                                                                                                                                                      201 11




                                                                                                                                                        PFM-DEPO-00011513

                                                                               FER-65
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 66 of 299




,,...
moo
                _...,                                                                                 ,.,.
                                                                                                          1/~flO
                                                                                                                                     2012
                                                                                                                                         174 321

:>e020          ._--..,.,..,
                ~W...u-l~HI                                                                               15$.116                        1S8,.ll


.....
                                                                                                          Xll.911
                                                                                                                                         ""'""
-
28100           Kri>IMI.                                                                                  n>.                            \130(
                --..ec,1,16<($                                                                          :ton.~
l'.&<20         ~fldbtldWlt.                                                                              25$
                1<11Hti-l•fT1)1t. TX
2 8700          ~ - 8 , o t o i - ~. T,..._VA                    308.!:>4•

......
28740           K.11,g\lOfl,.llV
                Kl'lo:MIII, TN
                                                                 182.,4i]
                                                                 e37S7t
:!0020
20100
20180
                l((llelrnO, b'I

                .....,_,.,.
                l.aC~. '\o\,-M►I                                 ......
                                                                  92.7$2



,.,...
moo             Lat)1tc,i,-WH: laf.l~._ It:                      ""''
                                                                 ~I.tit




 -
                L»_.Cl\arm LA                                    t9ttf)i                                                                201,1
~"'
,....,
                Wa-~/oZ
                La~Wituf~Fl
                Larc. . . PA
                                                                 .....,..
                                                                 ::001et

                                                                 $1t,445
                                                                                         2001

                                                                                         ""·
                                                                                         S19.4A8
                                                                                                                                         201.3>1
                                                                                                                                         1516,1
                                                                                                                                         .,.on
:,go;<)         l.aN"'9'£•1L~. Ml                                46,00,0                 '640,0                         •&S.e,,          '6$. •
20100           L>todo.l')(                                      m ...                   200....                        ~ .Ma            2S9,112




--
201-10          ~CFUCt'I..NM                                     200,»3                  209.'134                        21~,944         w ....
,..20           la-. VtQ__...nd~PaJ.ILtiCI, tlV                19Sl,269                1,951,269                       ,..ee1.m        2.0C0.7~'1
                Lr,r,,fttJt,t.KS                                 ,,o.m                   110,                           112.::-«         112.e&C
30000           Ll"Mon.QC                                        ,:)0211                 130..291                        131927          11?.!-4.S
,01 . .         Lff&l'IOC\PA                                     1'3,U                   1ll.513                         13'1W           1'5..l5t
                L~O.WA                                            IOeet                   60
                                                                                                                         ,.,.,.,
                                                                                                                          a,.::n
""""'
   ""'
 ,..,.,
                ~~J,.l_f
                lfft'V'.on-Fa.,..c..KY
                                                                 ,,1102
                                                                 •n*
                                                                                         t07.70'l
                                                                                                                        .,.
.. ..
   ,
,0100           ,._,IE
                l.l<NOH

                L.l!litRod.·t-klnr'lu:ltRod-C~ AA
                                                                 108:s:J,
                                                                 m.,s,
                                                                C99. 7Sl
30060
JOGeO
:s,020
                - .ll(
                LCOM,UMO

                ~          , W'4.
                                                                 12-S,"42
                                                                 21<1,)IS.O
                                                                ,02... ,0
                                                                                                          21• .'586
                                                                                                           102.,447
,,oeo           L w ~ ~lu'lahttm. C4                          1zeoeu1                                  12,$4).$42
,1oeo n2-M       ...,..,.._,...s.,u. AA>~ CA                   ,,o,om                                   l ,019 181
,,oeo ,1oe.a     l o . ~ B e - ~ t , CA                        e,a,,
                                                               ,,.._,...                                tm,'161
                                                                                                         ,.,.,.,
)11.$0
,nao
,,,.,,
,,.20
                ~ ~ C o u , t ) ' J<.Y..,




                    _.,,
                """""""'
                l'f"f'IC#'C:UO VA
                lboonGA
                .....-.CA
                                                                 ,.,_.,..
                                                                 2>0

                                                                 mm
                                                                                                        12'3'7..Ml


                                                                                                         ,,,,.,..,
                                                                                                          2S2.           2>00,1
                                                                                                                        2'261i
                                                                                                                                        .....
                                                                                                                                        ==
)t@                                                              ,~.86$                                   1$1, 177       1u~             152.21
:n~o                                                            eos.o,                                    608548        $139U           820.77!


,,...
)\700
311"40
                M•nct1•i.t-f-:-..rw1 NH
                MIN\OlfllW'l,K$
                ~,bnb!t>Nonh MJl'IUto. 1-IJI
                                                                 400,111
                                                                  92,1\&
                                                                  M,740
                                                                                                          -01           401,8-12
                                                                                                                          . . 1,0
                                                                                                                          97.ffl
                                                                                                                                        •02.922'
                                                                                                                                         97,810
                                                                                                                                         08.020

                                                                                                                                        .......,
   ..
""'°            ...,..,.., OH                                    1Z447                                                   123.ttt        122,173
moo
,,,
:,mo
32900           ---
                Mc,tJltr,.Ecflnb.wg-Md&on,iX
                ......... OR

                -        . CA
                                                                 n•m                                                     794.,181




                                                                                                                      ....,...
                                                                                                                        2047,e
                                                                                                                       1.ni.
                                                                                                                        ~
                                                                                                                                       ,.,.,
                                                                                                                                        206.◄ 1 2


                                                                                                                                         =

          _
'3100           ~ ~ \ - . . S : S P-Mft 8MCtl,, fL                                                                                     S.762.717




      _,,
)3100 227,u        F"011~Bt~0Ncn.FL                                                                                   17~tse           u,s.,,:
>lHJCI '3t2<1      M.,.,,._Mlarnl &uch,.~ fL                                                                          2.'6544          2.'91 <m
)3100 .:&a24       W.1 PMm 8uc:h-&ca Rxoi,.-DH•'f 0.xh. FL                                              1. '2~,        1,337,$12       1)$6.$4




                _.., ....
33140           ~Clly,,laPorte. lN                                                                        11 1,432        111.ffl        111.2.:;e

•=
.,,..           Md..-.d. Ml                                                                                83,037          &1,01!1        83.1127


......
""°
                ~.dlarld.TX
                ~...waus.N-wn,-.. WI             .......                                  , o .871

                                                                                       ,.,..~
                                                                                       , .....906
                                                                                                          141, 157
                                                                                                        1.558.711
                                                                                                        l-"'5.67.c
                                                                                                                         144..,
                                                                                                                      t ..5e1,'11
                                                                                                                      3,3,e&,Ga9
                                                                                                                                         151.~
                                                                                                                                       t.$68.iel
                                                                                                                                       3.422.26<
                                                                                         .,,.                            ,,o ,,,
......
33>&0                                                                                    100,             109,1'$7                      110.977


.,,
W00
   ..           ......AL
                ....,,..,.,.
                -.CA                                                                     S\4451
                                                                                         176.441
                                                                                                         .,
                                                                                                          .u121e

                                                                                                          178.673
                                                                                                                        413.td
                                                                                                                        Sl7M7
                                                                                                                         ,n,3
                                                                                                                         ,~,--
                                                                                                                                         .,,
                                                                                                                                        41U>!

                                                                                                                                         m.
.....
                --\W
woo                                                                                                                                      m
                ...._.,,,.,_
                -Ml                                              IS?.a:?1
                                                                 )74.$.)6
                                                                                         1~,021
                                                                                         37,.529          '"
                                                                                                          '75.1&3       37&'61           ,n.1.111.s
....-.0
,..,co                                                           ,,,.~,
                                                                 12V,109                 12'S-, 109
                                                                                                          '"'"'"
                                                                                                          ,,.o.t9       132.201
                                                                                                                        ,,,.,en           ll,4.,1~

,..,..          W>nkl.0¥.I'\, ltJ
                MOw1ll vou-.on-Mt.eotlcrs. WA                    l 111,801
                                                                                         11'-.9"
                                                                                         ll&.1101         111,0, ..     117,
                                                                                                                                         114 931
                                                                                                                                         na.m
,.,.,,
34620           t.kindt,IU                                       117,871
                                                                 ,n ,u
                                                                                         117S71
                                                                                         1n.1eo
                                                                                                          '17,849       117,7M           117.~


                                                                                         ,,.....
                MW.-oo,\ ,_.r                                                                                           170,011          110,.1&2
34!20           ! . t , - r t l e ~M71'1»8NU\ SC•UC              mm                      31e..m                         le5.t10          ~5,:2
)4,00

,..,..
'°'°
                Unwa. CA
                t4~.._.M.IN:o hlrwi, Fl                          .,
                                                                 1,0 . . .
                                                                                         ,,.                             131 fT1
                                                                                                                        m .s,            ,.,,.,,
                                                                                                                                         1'9.~

                                                                                                                                       ,.ne.m
3S100
                ~ w t r M U O f o - F ~ lN
                !'4-we«t\t«:                                     1,..,
                                                               lf70f;GO                1,610
                                                                                         126
                                                                                                                       16-'4&
                                                                                                                        12.e,.Oi'        ll&,.11

,.,..
lSXIO           ~ ~ . f l o t d. Cl
                l......,on.t,..IMl.a.ne. LA
                                                                !IQ,&71
                                                               11$10!,6
                                                                                         e1$2.4 14
                                                                                       1.1S9,
                                                                                                                        &152.111
                                                                                                                       12u,•.au
                                                                                                                                         "'2.91
                                                                                                                                       1.227,
35020
:s5620 m2•
,,.,.,,,,,..
                ,~-vcw._~~...,_..,c,:, tlV-NJ.PA
                    CMa.M COln)'•P\ltNmC~. NY
                    Nuwu Cot1nty&-f!okC01.my, NY
                                                              1i~7.410

                                                               "''·'"
                                                               2exz.ea2
                                                                                      19,567.607
                                                                                         :»7, 198
                                                                                       2,932.87'1
                                                                                                                      ,a.rn
                                                                                                                        .-.,~
                                                                                                                      2.M&,14,
                                                                                                                                         .....,.
                                                                                                                                      11&31.8$1

                                                                                                                                       2.84$.,!iOe
                    t~t.U.PA                                  ,.,,.111                 2.471,17                        ,...152,701     2-48&,.81i

,....,                                                                                                                  ,,.
                                                                   .
~ ·
35020 ~14
       -            Hftl'Yort;.JtrMVCtly-~. P1.-.. ti't•fiJ   11.otG,15'              1:\e&$.1'&0                     ,...00'2.fmi    14.091,60e

,....,          ~onH,a,bOf', MJ                                  1~111                    156.113
                                                                                                                        ,...,,           154.0!!1

,....
'6100
                MortnPor1-S.IIICQ•~ FL
                ~~--lo,Oo,\CT
                Ow, Fl
                                                                 ,., ..,
                                                                 70~.;291

                                                                 ,.,,..                  =·
                                                                                         V40$!
                                                                                         3:31.29t
                                                                                                         .,,
                                                                                                          )31.07
                                                                                                                        l:74091
                                                                                                                        mm
                                                                                                                                        720.0ilZ
                                                                                                                                        »411
                                                                                                                                        "'5..12!
,0140

,.,..
llli220

36420
                0,C..9ftc«y1LI
                o..-rx
                ~ltwNild UT
                ~Ctly,OK
                                                                  173$
                                                                 137. 110
                                                                 ~l»'. 1'4
                                                               12$2.987
                                                                                          97...
                                                                                         137.1
                                                                                       ,,..
                                                                                         5-971~           ...,...
                                                                                                          V
                                                                                                          1'7,056

                                                                                                        \,2~7,'27
                                                                                                                          . . !,02

                                                                                                                        .... ,..
                                                                                                                         1,0,u

                                                                                                                       1.275821
                                                                                                                                          '6.30'
                                                                                                                                         144. 2

                                                                                                                                       ,.,.._.
                                                                                                                                         612.,441



   ..
,.,..
'6500

,.,
                ~T~ers.WA
                OIMhit-~Blitfi.t:E•I,'
                0,frtftdo,KJMMIVNe.~fL
                                                                 .......
                                                                2»,264

                                                               2' 1J.l,,&U
                                                                                         ....
                                                                                         202264

                                                                                       2', 134<111
                                                                                                          25:),0,ll
                                                                                                          e&l.116
                                                                                                        2,1».~
                                                                                                                        ""6,4'£
                                                                                                                        877,171
                                                                                                                      :.17$..004




PfM-00094205_Conllc!en1i.1                                                    Census Oat.I                                                            3of 11




                                                                                                                                      PFM-DEPO-00011514

                                                                       FER-66
             Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 67 of 299




                                  f•*' Annua,Eaumate•ofth•P    • tianot Me1,   1t.n•ndMtaf         1tanSt1ot1WCalAlu:1: A   11 1.2010toJul 1.2012

              ......                                                                 April 1, 2010




.......
CBSA         DMsloft

,.,
Cod•          Cod<
                       OSHO!lh-tfNNI\ wt                                                                                                            1'1,108
                                                                                                                                                                2011
                                                                                                                                                                       ,.......
,.,,..
37100
                       .,._,_,, KY
                       O:a:f'IM'doThc:ii.aaN:I Oab-V•rnn CA
                       P"a&mllay-Mebow,..lll•v•• Fl
                                                                                                                                                    11s..-.
                                                                                                                                                    a,1.1,e
                                                                                                                                                    ~4.m
                                                                                                                                                                   ......
                                                                                                                                                                   us
                                                                                                                                                                         ,
                                                                                                                                                                    541,30"7
mso
37620
                       F>~Cl'Y. Fl.
                       Pa.ektl'ituo-V~ \W
                                                                                                                               ,as,21
                                                                                                                                lt7S7
                                                                                                                                                    1es,soo
                                                                                                                                                      92,Gt,           .,,...
                                                                                                                                                                   181.02-1


                       ._.....
                       ~Ft11)'P-.8t...._Fl                                                                                     4S111                • ~<$0          461-227
"""°
31000
31. . .                ~~~ PA-W-QE-11.0                                                                                      ,m
                                                                                                                               378931               179,5)
                                                                                                                                               ,m.,1,               380.-447
                                                                                                                                                                  &.018.
37980 1$IO,I             C""""'-tU
                                                                                                                             ,121-,,
                                                                                                                             12$1611
                                                                                                                                               •=•                ,r...,1.t61




-
31fle0 3»74              ~CGftY"°"'UCcviry-ChH-t«~f PA                                                                                         1.fflf.7           1,V-,2.
37980 l7WA
lneQ '4&0$C
                         -Wht'G=Qn. •P•
                                    OE•M.O•·NJ
                                                                                                                             )091831
                                                                                                                                70$13--=
                                                                                                                                               :tOSlttn
                                                                                                                                                    710.17
                                                                                                                                                                  2.10$.70$
                                                                                                                                                                    7'3-.
                       PhQ«'lk,Mna-Scoaldai., ii3.                                                                           .;2QSt,37         4,25J,07f          <1,.329. 53(
, mo                   PNBkttf.AA                                                                                               t00,11-8          N.173                 97,4S1

.....,                                                                                                                                                            2.360.m
"""°                   Pinst~
                       ~t.ld,W.
                       ,...._,o
                                PA
                                                                                                                               ,,,.
                                                                                                                             2,)$1,821         2.)6011•

                                                                                                                                                     ...,,.
                                                                                                                                                    130"417            130014
                                                                                                                                e:.m
,....
33$<0
                       _...,,,..,.._ME                                                                                                                                  $3.

.....
.....
                                                                                                                              511e1                 ~160,1          518 ,,,


..,  ..                P~V~OR-WA
                       PonSI..~ FL
                                                                                                                             2-"2717
                                                                                                                               415,251
                                                                                                                                               2...09'
                                                                                                                                                <.'8
                                                                                                                                                                  Z.299.81»
                                                                                                                                                                    02.



·~                     Pi-.AZ                                                                                                                   211 I               '212.137
moo                    PYo,,,d.noe-W~RI-MA                                                                                                     1600251            1,601,31~

,.,..                  F,c,.,o-Orem,UT                                                                                                              ~0.•31          MO,e.t~

,....                  ""'°"'co
                       PunbGotda., fl
                                                                                                                                                    IG0,).1(1
                                                                                                                                                    1:.04$9
                                                                                                                                                                    1G0,8S.1'
                                                                                                                                                                       16:2,44~
m.o
,....                  RKJN
                       •-NC
                            \Vt

                                                                                                          ,,..
                                                                                                                                                    t~OU
                                                                                                                                               t1e2.&ae
                                                                                                                                                                     lk,791
                                                                                                                                                                  ',.1!8W
moo                    R~C.1. SD                                                                                                                 US3"                tJ&,.l~

...,.,
3>7. .
                       ~-.CA
                       R.Nd,o.PA

                       R-IN                                                       42S417
                                                                                                          4\t._447
                                                                                                          ,n.m
                                                                                                          4~.. 17
                                                                                                                                                    412.5,17
                                                                                                                                                    171.031
                                                                                                                                                    •:-t
                                                                                                                                                                   -413..UI
                                                                                                                                                                       171
                                                                                                                                                                    43) . .,




                                                                                                                               -.....
'9000
•0060                  RcN'IIIIDnd, VA                                           t.208.101              1.20$.101                              1219,072           ,.w
401'0
40220
                       R~SttnNd.no-~lflo, CA
                       Ro,.rd.o VA
                                                                                4 22:4 &$1
                                                                                   300.707                ,.._,.,
                                                                                                        ...224,851           , :'l.987
                                                                                                                                                    ......
                                                                                                                                               .a ,0164'

                                                                                                                                                    100..,.e
                                                                                                                                                                  -4.3$009'
                                                                                                                                                                    311), 11!

,.,..
'""'°
                       RocN'Qo,, MN
                       R ~. ttY
                                                                                   208,877
                                                                                 1,01'9,&71
                                                                                                          lOS.177
                                                                                                        1 011,671
                                                                                                                              1 07,137
                                                                                                                             1079 11           1.0Q.1
                                                                                                                                                                   20960)
                                                                                                                                                                  ,.002..2SA
, 0,1.20

·=
.....,
                       Roc~tL
                       Roctyl.Aou'I:. NC
                       R-0>.
                                                                                   ,,,.
                                                                                  3'9:,"31

                                                                                    '"-317
                                                                                                          ,,,_,..
                                                                                                          l-i!i,431

                                                                                                           ""'317
                                                                                                                               '4914~
                                                                                                                               1~2•.-&e
                                                                                                                                                     ..,
                                                                                                                                                 3,17 lt:S
                                                                                                                                                    U1Mil
                                                                                                                                                                    )41000
                                                                                                                                                                       ,s,.m:
                                                                                                                                                                   -961;7


..'"""',..
•0000


41100
                       S W ~ ~ u o . CA
                       -        Ml
                       Sl.Oou:l'MU
                       St C.0t;., UT
                                                                                    ..
                                                                                 2.,,912,
                                                                                  200.1
                                                                                   , .,..,
                                                                                                        2.1""9 ,21
                                                                                                          ,00.U;>
                                                                                                          18UlS3
                                                                                                          1la.H5
                                                                                                                             :!. 15,1 71(

                                                                                                                               '",a,.:o!
                                                                                                                               1)8,,ISl
                                                                                                                                                    ,,.
                                                                                                                                               2.t18.4S1

                                                                                                                                                    1fl0.0~
                                                                                                                                                    141,!.11
                                                                                                                                                                       ,...
                                                                                                                                                                  ~"6,...,


                                                                                                                                                                       ,....
                                                                                                                                                                       190,4111
                                                                                                                                                                              ~
                                                                                                          ,21.m                ,:n.m                127,640          121.927
41140

....,.
411&0
                       Sl..tos.ph. MO-KS
                       S l ~ MO-IL
                       -..,OR
                       -c•
                                                                                                        2,717,
                                                                                                          3'0.738
                                                                                                                             2.1aun
                                                                                                                               391,031
                                                                                                                              •1e.m
                                                                                                                                               2.78~)i5'
                                                                                                                                                    mom            ......
                                                                                                                                                                  2'.79$,79,l




·-.....
C\500                                                                                                     41S..057                                  A2ttr2          -?Sl

"""
.....
                       $atuy M:>0£
                       S..uteCcy. lJT                                                                     ==
                                                                                                        1081.873
                                                                                                                               l'1A.
                                                                                                                             ,oe,.11           UOl~t
                                                                                                                                                    371.1$

                                                                                                                                                    ,,.,...       1. \23.712

"700
                       $,n-b. TI(
                       S-•~Br•.-,6tla..l:-C
                                                                                                                               112241
                                                                                                                             21Sl.,1-&         2.1918T            ,..,..00,
                                                                                                                                                                     1\'49S,1;

•U7~                   S M ~ CA.                                                                                             >,co~,            ).131.113          1.1n,
                       $Ml, Ftllt'oCiSCO-O~yws,d. CA                                                                         4,34S 1S6         4,3!l$,i18         ♦,,aM,

4 1960 lS0&4             Oal.bncHu~O.•i..tley, CA.                                                                           2.~       ..73    2.~9' 14,          2.634,317
41860 4 !884
41560 A.'2034
4~940
                         S.11'.1: F't~-w:~Ctt,Sod:h ~ fntntflco. CA
                         S..R-CA
                       5 " " . . , ~ c.w,cA
                                                                                                                             U2S.712
                                                                                                                               '252..971
                                                                                                                             19,Q, tn
                                                                                                                                               ts.Q,21J
                                                                                                                                                 lS5..19)
                                                                                                                                               18'11.k '
                                                                                                                                                                   .......
                                                                                                                                                                  1,56$,174

                                                                                                                                                                  1."'4.:,$!
,mo                                                                                                                                                 211.34          27-l(l(M.
, 2100
                       SM~et.pc:,-PMoR-...AAC,,OGf_.._CA
                       S-00\l:·~CA                                                                                             * ·""
                                                                                                                               :-&3,                2t-l.QG1        2(6.77!
412140                 S.Oh KM                                                                            l.:..t,.l            1'4 441              14,S.)1         14&.3P-
'2200                  Beta Man>Sal'U~ CA                                                                 '23,                 ,24.-0,              41_16101        4131~.&i
42220
423AO
                       $anr.tRou.CA
                       &a-,~CA
                                                                                   .1.83,871
                                                                                   3-t7,$11
                                                                                                          C83,87f
                                                                                                          ~7.621               ,....
                                                                                                                               -46,l,IOl            liA,OS,
                                                                                                                                                    ,ss,au
                                                                                                                                                                    ,g,ez
                                                                                                                                                                   36'1.i41
                       Scrlftlcn-WO:H>Bw,...tt,,.tJ..on.. PA                                              583,63Q              :.G3,~1            '83,"3$          !>83.ffl
.,...,
'"'°                   S.aaJ,t.Tacom.>-0.S.W.. w;.
                                                                                   5"63,531
                                                                                 3.4'38.809             ).'39009             3,08,$11$1        3 ,.191,819        ),5$2..1$7




      -n.
4.."560 41'544          S.11!".le-e.&ovu.&t1'MLWA                                2.644.W                Z&U,6&4              2.~3$1            2,6$-1273          2.740.47E
                                                                                   mm
                                                                                   ,,.,.,.
.,...,
C5m CSlOC               1 ~WA                                                                             795,22!              7"$28                OOJ.$<e         811,Gllii


42700
                       ~VfllO~A.
                                                                                    ......                1!4~
                                                                                                           . .7 ..
                                                                                                                               1)11)7
                                                                                                                                00727
                                                                                                                                                    tll.91
                                                                                                                                                     oo.m              ,,.
                                                                                                                                                                       1.-0,5$1
                                                                                                                                                                        90.12<
43100
                       _ ,x
                       ~be!;M.WI                                                   11~.~ ,                nS!,07                US-•ll6             115,2'17

                                                                                                                                                    ......
.....
...
43300                                                                              men
                                                                                   4~.,1,
                                                                                                          ,,om
                                                                                                                               "'
                                                                                                                                                    ,~..109            ,z,.m




  _..
                                                                                                          ~an                  U1, 1s.!-                            -447.1~
     ,.                $1V~-SCU.1CqLA
                       Ste11aVbt;..~Ja.AZ.                                         131,345
                                                                                                          ,...,.,
                                                                                                          1:u~                 1)1 e27              •~n                ,,z,osr
                                                                                                          ,,.,..               ,oa.020

                                                                                                                                                      ...
                                                                                                                                                    ,u.,m




- -SC
                                                                                   188,!63                                                                          168.921
.,.,.
43$00                  $11MCC«y,IA,J,jE-&J
                       SICM.otF...... SO                                           m.2e1                                       m.,n.                ~~              237,251
,i3790                 Go..cl'!Btftd.~,.,_MI
                                                                                   ,,..,..
                                                                                   J1tn•                  319221
                                                                                                          31326ll              .,,,.~,
                                                                                                                               31G,oot
                                                                                                                                                    ,,
                                                                                                                                                    3 19,23$        ,,a
                                                                                                                                                                       jtf..997
'"'°"                  -•-w•
                       _.... ....                                                  527. 7$3               s:?77~               .s196l5
                                                                                   ..,
                       -""'
4 4100                                                                             21.)1,                                      210~
"4140                                                                                                                          m,
4-1190                                                                             • 3&.71
                       . . . _,OH                                                  13&.'3.!'

...,.
44nl)
UJOO                   ~C.0-.PA                                                    1».
                       Su~~Wa'J'nHllO,o. VA.                                       11l$02

.....
"4100                  SlotllOfM..odl.CA
                       s.,n,.,, SC
                       tr~'"' flf
                                                                                   . . ..30!5
                                                                                   107,•56
                                                                                   6$2,$77
""""
'""°                   fallrNtMe:. Ft                                              307... 13

,,...
•"300                  T~ ~ ! . f ' t, ,:L
                       f-,•k&ca. N
                                                                                 2.78),.2-&3
                                                                                   m.=
.....
•!.500

..sn10
                       feio:a,t-.aN. TX·AR
                       1,-Vlbpel,.Fl.
                       l-OH
                                                                                    ....
                                                                                   1CJ19e:

                                                                                   '10,001
                                                                                                            .,_,
                                                                                                          1-0,lH

                                                                                                          6 10001
                                                                                                                                                                       , u,101
                                                                                                                                                                       101,
                                                                                                                                                                       &ce.71I




Pf!Ml00942DS_Conttdontlal                                                                       Censu, Dina                                                                       4of 11




                                                                                                                                                                 PFM-DEPO-00011515


                                                                                          FER-67
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 68 of 299




            -0
                                  tabf. , . Annual bbtl'l.a:!nof UM POfll,UDOnoCMeuopoldMl.andMlcf            Lui Stall.UIOM Al..u: Apnt t, 2010 to J    t.2011
                                                                                               A.pnl 1,:0-TO                                  PopA.,~ a tlmat" (H ol Jvt-f 11

CSSA

.,.,. °'""'°"                                                                      c.,,.....               E.l1J.m..,t.t,1M,w         2010
                                                                                                                                          ,..,..           2011                 2012

                                                                                                                      =-
 Ced•        Ced•                             Oeogt9:Phlo•t••

.....
.....
                    l ~, KS
                    Trim.er\ tLJ
                    •-AZ
                                                                                          23307

                                                                                          ...
                                                                                          RS1-3
                                                                                                                      ...:;$,
                                                                                                                      "'4.511             '67C03                  "'·"°
                                                                                                                                                                  "41,>0C
                                                                                                                                                                                      234.,..
                                                                                                                                                                                      .......
                                                                                                                                                                                      360.>03

...,.
. .1. .             •-01<
                    ,_..,_                                                                $31,41                      •».«
                                                                                                                                          "61815
                                                                                                                                          ,,.,.
                                                                                                                                          m ...                   ...,,..
                                                                                                                                                                  N,1.-$13
                                                                                                                                                                                      951,

.....               T,W. TX
                                                                                          230.162
                                                                                          209i14
                                                                                                                      230.1
                                                                                                                      2091\4               :10
                                                                                                                                                                                      233,~
                                                                                                                                                                                      ii.ae:n
.....
~


.....               ...,_,...,.,,.,
                    ~~HI

                    v.-...GA
                                                                                          95.3.207
                                                                                          2n3"1                       ....,.,
                                                                                                                      15320
                                                                                                                                           ,..
                                                                                                                                             ...                                      ,....,,.
                                                                                                                                                                                      •iun

                                                                                          ""                           13958,.:;                                                       1.&A,34!



                                                                                                                                                                                      ......
<4100               v•p,F~C>.                                                                                         41).344              4140G$                                     4~.757

·=
•mo
,mo
                    Viclom Tl(.
                    V.nof..and-8tod0tf0t\UJ
                    V,,.....   lk-1<1'-NctloJ'•~'POtl ~ VMIC
                                                                                                                        ~001
                                                                                                                      1,-....,
                                                                                                                     19,e,
                                                                                                                                             IM0-1
                                                                                                                                             1$70$3
                                                                                                                                         1690.»i                                  ,    157.7M

moo                                                                                                                                       .&.t},21t
.,,..               ~
                    Wxc TX
                                       . CA                                                                           4'2.176
                                                                                                                      :>tm                2$).7S,
c:.coo              \"..,._W.... WA                                                                                     Q,a><               e..).024
                    ,.-,...,.,._R~GA                                                                                                        18045-4'
.,,.,.
•7'00
,,,.,.              \~Oflo-AJ~Aloxv-:IRI. C,C.VA,t.10-WV                                                                                 ) ,tc6.to4
                                                                                                                                         ,,:uo.m
,,... .,...
           43$24      Slbtlf &pi:f'IQ-F'lodffltlo.•Rocl.va.. tr.t0
41900                   Wah:~Wlgli»Alenndrb, C)C.VJ,,,.MO,\W                                                                             441$.318
                    V'1:1:..-1oo-Ct>dt1f111llAi                                                                                              1&7924
                    w~~DNI\ tl'f                                                                                                             ,,un
'"'°"
.....,
41140       v......,.,..,                                                                                                                    \)'00

.....               \~VN.()H
                    ;,•~~WA
                                                                                                                                             1Z4231
                                                                                                                                             lU..27

·=
•IJGaO
• 116<0
                    \~W\1-0H
                    \~KS
                    'Mc::hlUfah. TX
                                                                                                                      147
                                                                                                                      03081t
                                                                                                                      151,JOe
                                                                                                                                             10e6'
                                                                                                                                           ~,us
                                                                                                                                             1S1428

.....
4870::,             ~l)Ol1.PA
                    \o\~tlC
                                                                                                                      11&.1oa
                                                                                                                      2$<...
                                                                                                                       12$<1'1
'""°                ~         , VJ,,,W'IJ
~eo
•9l40
,;;a:,,o
                    -Sllom.Nc.
                    ~W,\,,Cl
                    v~,,....,,.
                                                                                                                      ~un
                                                                                                                      11$
                                                                                                                      'Z4.$Zl1            ,  ..
.....
• ..:<>

•!1700
                    Vo,t,.~F>A
                    Voungsiown-W•t1en.8-rc11NI\ Oti-PA
                    Y~Cicy, CA
                                                                                                                      43"'en
                                                                                                                      !4~773
                                                                                                                      1.._m                                       187,4il!I
•!17.«>             y""'" AZ                                                                                          1..,,                                       100,37,1

                    U.C.,09Qlst.-. ~latl.tt»l;.lil e,•ai.
                                                                                                                                             ......                ....,
                                                                                                                       ,,...
10\00               ""-<dNnSO                                                                                           c"'2                                                            .u 3$1
                                                                                                                                             n
IOI . .
,om
                    ~WA
                    -OK
                                                                                                                        72.791

                                                                                                                                             .....
                                                                                                                                             Jl.$87
                                                                                                                                                                   7?)1
                                                                                                                                                                   ,,ere                ....
                                                                                                                                                                                        " ,
                                                                                                                                                                                        37.~
10>00

"''"'
10&20
                    ""'-"'
                    ALunogordQ, NM
                    ........,,., NC                                                                                    ..,..
                                                                                                                        .._,.,
                                                                                                                        . .11$2
                                                                                                                                             tJ.a.)1'1
                                                                                                                                             GO.m
                                                                                                                                                                   19, 3-tO
                                                                                                                                                                   &$$la
                                                                                                                                                                   go,-'if!
                                                                                                                                                                                        60,041
                                                                                                                                                                                        S0,$16
10W>
                    .............
                    AtlOrlluMl'I                                                                                        )1                   )1.214                l1
                                                                                                                                                                   ....,                31.0$4


                                                                                                                                             ..""
10100                                                                                                                   tl.Ott                                                          9,4,Tti
                                                                                                                                             JG«n
IOS,O               AIIQNSr\a,.MU                                                                                       lt.
                                                                                                                                                                   .,lf.2).)            111.• 1

 ....
\00(,0
,                   ...,..,..,
                    Ab. fl<                                                                                             ,01131                                                          41,7$,t


                                                                                                                             ...                                                        <2.
                                                                                                                        •Uit                                       4':,1)5,
101to               - Ml
                                                                                                                        ,.,
                                                                                                                        "'*
                                                                                                                                                                   >i>»l                >il,2><
11060
\114(1
                    Alus.. 01(
                    Amoriwl. CA                                                                                         31,821
                                                                                                                                                                   2G,3'0
                                                                                                                                                                   37,tl,4
                                                                                                                                                                                        ....,
                                                                                                                                                                                        '"'237
                                                                                                                                                                                        :,e.s.a•


                    _,.,.,
11220               An'lllltd.m,.U'f                                                                                    50.215                                     4i,917



                    -··                                                                                                                                            '~"'
                                                                                                                        14.786                                                          \6U7
11300                    -.lX
                                                                                                                                             "
                                                                                                                                                                        ..              ..
1,U~                                                                                                                    )A I                 ,.. t.<l1             lH&I                 )f 12•

11>00               .,.....,_ Fl
                    hdmcr•.Of<.
                                                                                                                        )'00,
                                                                                                                                             .,
                                                                                                                                             )A . .\
                                                                                                                                                                   .,.,,....
                                                                                                                                                                   ,.._573              34,.H:

,,...                                                                                                                                        ,.., ....
\WO                                                                                                                     47!63

11. . .             ~CC)'•w-.nt'le"KS
                                                                                                                        2>....
                                                                                                                        30.311                                     38.2>8               ...,..
111,0               -~01<                                                                                               . , 139               ~ .t81               '°'OU                ~
111eo               ............ OH                                                                                    101.-iOJ              101                  101,0(16             100.ffl

                                                                                                                                                                    ,.,..
                    .........                                                                                                                                      .....
                                                                                                                        )70351                                     37, 111              37,)01
11e20
11eeo               ""-°"     .,.                                                                                       ,e.s::,                                                         tS.lrl
moo                                                                                                                     6'7                                             ~               6':,0,
                    .._,,.
                    -.OH
                                                                                                                                                                                        ,. ...
,,, ..
11'40
11900

12UIO
                    -··
                    ~-.....TI(
                    _,,.,
                    Augus~-WONIN'ile, ME                                                   122.151
                                                                                                                        "-~

                                                                                                                        ..,.,.,.,..
                                                                                                                        18
                                                                                                                        ,nm
                                                                                                                       1n.1s1
                                                                                                                                                                   11,1$3
                                                                                                                                                                   0<$1

                                                                                                                                                                   '"·"'
                                                                                                                                                                  12,.e,2
                                                                                                                                                                                        S2.•1

                                                                                                                                                                                        ,._,.,
                                                                                                                                                                                        42.:,:,1

                                                                                                                                                                                       121.6$3
12300
12>80
,,...,
12'60
                    ~Mtl
                    -            .GA
                                                                                           3t 163
                                                                                           27,84'2
                                                                                           01.,.
                                                                                                                        278,,1"2
                                                                                                                                                                   .....
                                                                                                                                                                   3029-1
                                                                                                                                                                   '2'1,51~
                                                                                                                                                                   .... ..,
                                                                                                                                                                                        ....,
                                                                                                                                                                                        3t.3'12
                                                                                                                                                                                        27.


                                                                                           .....
                    BMilboo. Y.i                                                                                        61'7
1,...
127,0               """""""'""
                    ..... vr
                                                                                           .u.m                         ,...,,
                                                                                                                        43'17
                                                                                                                                                                   ~,w·
,,.,.
121110              e , , , -. OII
                    ._,.._LA                                                                   50.570
                                                                                           21,'¥1
                                                                                                                        GOtlt
                                                                                                                        27,. 91i
                                                                                                                                                                   SI
                                                                                                                                                                   :v....
12W)                Eht.aW'd, NV                                                           00,0                         60,074-                                    00.00l
12900               Bate-s._..., AA                                                        30.647                       36,846                                     ouoo
                    8'Y"">', TX                                                            ll,70~                       30,702                                     :,0,100
''°"'
11100               ~          . ti£                                                       22,311                       22.311                                     21,tN
1,1eo
,,,..               .........
                    ~~


                    -rx
                              .....,                                                       ...es,,,..
                                                                                           U.7$$

                                                                                           ,1
                                                                                                                        ,u
                                                                                                                        ...,,..
                                                                                                                              es,
                                                                                                                                                                   u .n,
                                                                                                                                                                   .. o
                                                                                                                                                                   :,:,>)I
,.,..
1"3ll0
                    -          .CH                                                         , s ...
                                                                                                                        31

                                                                                                                        ••                                         4 $e,b

"''°
,.,..
13$00
                    Oomld:,-w,
                    ~ •.sc
                                                                                               44,4'1
                                                                                           '28,933
                                                                                               ,1.,25-
                                                                                                                        ,....
                                                                                                                        '44.442

                                                                                                                        37,12S
                                                                                                                                                                   •52'<
                                                                                                                                                                   ,.,,..,
                                                                                                                                                                   '26,~1
                    ~on.VT

,,...
1"'20

,:r,oo
                    -N>+VT
                    BQRa?ds.,MI
                    B.q$prng..1X
                                                                                           39,361

                                                                                               ,.
                                                                                           4 2,184
                                                                                                                        ».
                                                                                                                        ,..
                                                                                                                        •?.100                                     ...,..
                                                                                                                                                                   38,914

                                                                                                                                                                    >01..
,mo
1,...               _,.,,
                    8,oS:.CMC..p,,VI\                                                      &U1
                                                                                           4$,607
                                                                                                                        6111
                                                                                                                        •~S01                                      ...
                                                                                                                                                                   61. 1




PfM-00094ZO!i_Confldtnlfal                                                                               Censu..s Oata                                                                             Sol 11




                                                                                                                                                                                 PFM-DEPO-00011516

                                                                                                    FER-68
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 69 of 299




                                     T•bl• t. AMI.I.II E.l~ma:u of lh4' P   i.tion of ill,t.tro()Oht.ln llftd MlotOOOl1bn   Slall.s·• Ata.a1: A.Pfll ,. 2010 IOJ     , . 2'012



C8SA
            .....
           O.vtloiOtl
Code        Code                               0    1.:,hioaru                                                                                  2010
14140                   8"Wd, \W--V/!i                                                               1'D7.>'1
                                                                                                      40,.&50                   ......
                                                                                                                                107,344




                        _
14 180                  ~.AA
142'20                  Bogall.h. LA                                                                  •7, ltl41                 •7, 11i
1434()                  BooN, IA                                                                      2$:>06                    20.X>ll
14JIIO                  Bootll, NC                                                                    $1,0711                   5 1.071
1.U20                   ~      . TX                                                                   ttl                        ttl,O

 ....
14.$$0
,                                 ..,.
                        8o:tfflWI..Ml
                        Brdotd.PA
                                                                                                      e,s,,
                                                                                                                                .,,,
                                                                                                                                ASU

                                                                                                                                 ,, 051
""'"
,,100
uno
                        BrffllCC\.MO
                        8te<hNdgtt, C0
                                                                                                                                n,n
                                                                                                                                ,,.
                                                                                                                                  ~
147&0                   BtOflNJ'n. l>C

                                                                                                                                    ...
                                                                                                                                3>.70&
I .....
,mo
•=
15100

,.,..
112'0

1S,,O
1'4SO
                        -so
                        -OR
                        Btewtd.NC
                        BtW~n,U$



                        81-TX
                        •-Ott
                        - ·'° .......
                        ..._,                                                                         ,._,..
                                                                                                                                ,.33.000
                                                                                                                                2''"4
                                                                                                                                 31,(16!

                                                                                                                                .,,..
                                                                                                                                 )01


                                                                                                                                "1)021

                                                                                                                                ,.
                                                                                                                                 47,~
15>81)                  &A:z•SM1Bow ••n
                                                                                                                                 ,1.w
,,...,
1'"20                   Ctdlae, Ml                                                                    <17,$84

1~700


,,_
1'740
1'7. .
                        Clkun.,GA.
                        c~.wo
                        C#l".b'dglt, OH
                        C-..AA
                                                                                                      ss.,ee
                                                                                                      »..614
                                                                                                      .&0087
                                                                                                      )14'<
                                                                                                                                ...... ,
                                                                                                                                 :1$166
                                                                                                                                 3:'IS1e

                                                                                                                                                                                 31
t~
                        "--"'
                        c-.c..,co                                                                     ......
                                                                                                      ?-451                      4• ~1~
                                                                                                                                 40,0:4
                                                                                                                                                                                 -:4.63"1
                                                                                                                                                                                 47,3-1
,,aoo
16100
                        Oanlon.lL
                        Cwtsb.»Mtllo NM                                                               ..
                                                                                                      )7~                        31,0151
                                                                                                                                 ~
                                                                                                                                                                                 36.~
                                                                                                                                                                                 s.,w.i

,.,..
16'90                   c.d11C<y,l/T
                        C.O~Cl'M\,GA
                                                                                                      ~•&:
                                                                                                      .. , 41
                                                                                                      &0114
                                                                                                                                 ..,...,,
                                                                                                                                4 .16'
                                                                                                                                 .co,,..                                          ..
                                                                                                                                                                                 40',S:SI


                                                                                                                                                                                 ,.,,......
                                                                                                                                                                                 41.2-17



....                    C:.W. 0tt
le>ee)
16'<0
,
""""
                        c..u.lJolL
                        r;.,.ma.WA
                        ~                      IL
                                                                                                      ]U:))
                                                                                                      ;s
                                                                                                      .. '21
                                                                                                                                 3t,137
                                                                                                                                 7S4$$
                                                                                                                                 6"9?.1                                          ....,
                                                                                                                                                                                  7S ...


'"""
17200
,mo
                        ~           . Ott
                        Clareir:note•L.ob¥1ctt Nl+VT
                        Cb1i..a.tug, WV
                                                                                                      :&oe,.&
                                                                                                     216
                                                                                                                                70004
                                                                                                                               2'1l.4Ce
                                                                                                                                 .. ,oe
                                                                                                                                 26,1$1
                                                                                                                                                       .. ,...
                                                                                                                                                       28,12$
                                                                                                                                                                                  11641
                                                                                                                                                                                 217.963

                                                                                                                                                                                 .....,
                                                                                                                                                                                  IA 4137




                                                                                                                                                                                  --
17260                   Cbtbdale,~




                        ·-""'
17340                   C1.ari.ko. CA                                                                                            G<t.tY~               64.7• 6                   64,,~2
17300                                                                                                                            3,t.,H1                3,;;(.iH                  33..l4.S
t1SO'J                  ~fl                                                                                                      39 ,.                 3 ,017
                                                                                                                                 ,s. 1t6
'"'°
17,00                   °""""'"'
                        ~UM-                                                                                                     4l7e
                                                                                                                                 35.,1,
                                                                                                                                                       ....
                                                                                                                                                       <ti11!                     49.0t!,6

                                                                                                                                                                                  ,.
                                                                                                                                                                                  '9.S:A.



                                                                                                                                                       ....
17700                   C.00,-KS                                                                                                                        3$,<&06

I.,..
In.IQ                   ~ «, Ml
                        ~            t.~S.
                                                                                                                                 d ,,d
                                                                                                                                 S'177t
                                                                                                                                                        4$,U)                     4).le2
                                                                                                                                                                                  S0.611       ,..,
18100                   Cobr.btA.NE                                                                                             !!J.231                 32,:i&ll                  32 '8l        32.631
181«>
10220
                        Conoold. ""
                        Connffl.Vllo-.lN
                                                                                                                                14&,"4S
                                                                                                                                 24.:m
                                                                                                                                                       t46.443
                                                                                                                                                        24.2&4
                                                                                                                                                                                 1"6.S-1•
                                                                                                                                                                                  24. 1~       ,...,.
                                                                                                                                                                                              liil0.7'51

1o,eo                   Coottwie, n ,                                                                                           1"'1..
                                                                                                                                 u ..,                 ......
                                                                                                                                                       105.2:&"                  106.301      100.


                                                                                                                                ....                                              "'-"'
                        C-0.,, 0R                                                                                                                                                              0:,$3'
ll!300
, ,...
IS)Oi)                  ~GA
                        c.r,,,,.i,s
                                                                                                                                 2>•
                                                                                                                                ,.,.oa,,
                                                                                                                                                        23.                       2>1192

                                                                                                                                                                                  "
                                                                                                                                                                                               23EQ!
                                                                                                                                                                                               37. 164
                                                                                                                                                                                               ....
10«0
,e,oo
,,..,.
                        corr.-.GA
                        Comr,o.tlY                                                                    .....,°",                  ......                ...'"".,.
                                                                                                                                                        43.00
                                                                                                                                                                                               Mi.06!
                                                                                                                                                                                               47.vt,
                        C<wliCDAt. TX
                                                                                                      ..,.~
                                                                                                      47,73$                     47,73~
                                                                                                                                 49.,x
                                                                                                                                 ,._,.I
                                                                                                                                                        47.161
                                                                                                                                                        4Sl, 27!                               ,&!),A74

'"'""
 '"''°
                        (:.odf.)l'ld, NY
                        C:..-Ott
                                                                                                      ""''°'
                                                                                                                                                        39,!97                                 38.775'



,....
,"""
lw.'O

  ....
.....
                        ~··
                        011gCO

                        er~c..,.cA
                        ~TH
                        c_,.,_
                                                                                                      1im
                                                                                                       lt,124
                                                                                                      :a.e,
                                                                                                      ,..,.
                                                                                                                                 ,~m
                                                                                                                                 ,.,.,
                                                                                                                                 38.)74

                                                                                                                                 ,.
                                                                                                                                                        U,11


                                                                                                                                                       ..,,,
                                                                                                                                                        "4.06t
                                                                                                                                                        26,
                                                                                                                                                                                               10:,oc
                                                                                                                                                                                               .......
                                                                                                                                                                                               .,
                                                                                                                                                                                               '9.290


.....                                                                                                 eo
                                                                                                                                                       .....
                                                                                                                                                       80.,'11
                                                                                                                                                                                               ...eo...
                        --KVlN
                        c ~, ~-K:                                                                      <OVI
,mo                                                                                                    ~.1N                                             53..01                                 $).11

, ,...
10260                   Oarw\k, VA                                                                   ,oo.sa,                                           10$.!4
                                                                                                                                                                                               .,...,
                                                                                                                                                                                              105.90)


,.,..
I"""

I""°
                        _ _ Ott
                        - ·"'
                        ___ ,.,.
                        0-Ro TX
                                                                                                      ,.,.,
                                                                                                       31009


                                                                                                      '"-""'
                                                                                                      ,._..,,
                                                                                                      •&1119
                                                                                                                                                       .....
                                                                                                                                                        31,&$2
                                                                                                                                                        );I
                                                                                                                                                           ,
                                                                                                                                                               ,2,                             ,._,,..
                                                                                                                                                                                               ..,.,
                                                                                                                                                                                               >ll.611

19700                   ~       . UM
                                                                                                      ,.,...                                            ...,._.,.
                                                                                                                                                        2$"                                    ~ .0A1

,....,
lffllO

,
1mo
    ....                ~~UI)

                        °""' ..
                        Ood;eCdy,KS
                                                                                                      ,._ ,n
                                                                                                       ,S,Ol1
                                                                                                       33....
                                                                                                                                                        ,..,,
                                                                                                                                                        '4.00
                                                                                                                                                                                  ,.,
                                                                                                                                                                                  ~141
                                                                                                                                                                                       ...
                                                                                                                                                                                  ......
                                                                                                                                                                                               >112111
                                                                                                                                                                                               ~n,
                                                                                                                                                                                               ,._.,,,
                                                                                                                                                                                               >475
200<0

""'°
201. .
                        C)cugln.OA
                        0.-GA
                        0.-.PA
                                                                                                       42,3SS
                                                                                                       sa,,,4
                                                                                                       11,&c?
                                                                                                                                                        .....
                                                                                                                                                        a,!
                                                                                                                                                             ,
                                                                                                                                                        42.756                    43,00'2
                                                                                                                                                                                  $1,91l6
                                                                                                                                                                                  81,5f,I

,....
20300
,.,..
                        "'-"'
                        °""'°"""
                                                                                                       ......
                                                                                                       2U04

                                                                                                      ,,.. e,e
                                                                                                                                                        21fl77
                                                                                                                                                        <S.091
                                                                                                                                                       ,,~;ss:
                                                                                                                                                                                  :z,.0,1
                                                                                                                                                                                  <$.0$7

..,.,.                  °""'""
                                                                                                                                                                                 1\i..-




-·..
,....,                  1>.n,...co
                        °'6ar1,.0K
                                                                                                       01)34
                                                                                                       4?41t
                                                                                                                                                        51,4
                                                                                                                                                        -12~.i
                                                                                                                                                                                  "'·924
                                                                                                                                                                                  U.117
                        ~ r g . TU                                                                     lf.)35                                           3&.321                    36.1
20S80                   bOJtP,is&. l X                                                                 $02>1
                                                                                                                                                        "'·'"'                    '6.00:
l0660

200>0

,....
20000
                        EM1of\.M0
                        l~tda..CO
                        E -IL
                        £JC-:,,. TX
                                                                                                       31,782
                                                                                                       S1'197

                                                                                                       .,
                                                                                                       );1%42
                                                                                                                                                        37.f.56
                                                                                                                                                        5:l.01$
                                                                                                                                                        3'212

                                                                                                                                                        .,, , 227
                                                                                                                                                                                  ...
                                                                                                                                                                                  37.974
                                                                                                                                                                                  51.138

                                                                                                                                                                                  !fL264

210l0
                        EIOoudo.AA
                        ElzabtO'! C4y. UC                                                                                                               &I     ne                 "63.
21120                   u.c.r. Ot<.                                                                                                                     22.IX»                    '/Um




PFM-0009420S_Conrodonllal                                                                                         censu-s Dat.:ii                                                                          6of 11




                                                                                                                                                                                              PFM-DEPO-00011517

                                                                                                            FER-69
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 70 of 299




                                    1 MM 1. AMUM bumala~ of tna P ~•bOft   °' ~o,,olrwl'l •.nd    M;c(ooclit»ft S t.lilu tic» Al.as• A    11 1. 2010 loJul'f 1. ~12
                                                                                             .\p,11 1, 2010                                     Pop,b1i0n G t&r.nallb (••QC.Al!), 1J




          -·
           W..tro
C8SA
C<>d•
          OM....
                                             0   raohlo   •t••                     cen,ut.                                               ,.,.                  ZOii                      Z012
                                                                                                                                                                                                ,._,..
21180
iim
                    E.,_\W
                    U :o,MI                                                                                                                     ""·'"°
                                                                                                                                                !0.821
                                                                                                                                                                      29,..26
                                                                                                                                                                      51,"30                    Sl.217
                                                                                                                                                , , 02e                                         .., rm
.,,..
21"60               Ehft!bufg,WA
                    E....,.._KS                                                                                                                 )l&I
                                                                                                                                                                      •U.$Q1
                                                                                                                                                                      »-•                       '3.7•
                                                                                                                                                eo,e.,
?\4120              ..... ()0\

                    _,.,, ...                                                                                                                                         ,,,..
                                                                                                                                                                      gos,

                                                                                                                                                                      ,. ...                    ,. ...
                                                                                                                                                                                                6t.1!~




         -""
2'1450              ~-'I.                                                                                                                                                                       S1
%1..0
,,seo
21700               E1,1.....,-.FMl,l\a,CA
                                                                                                                     .ao.."47
                                                                                                                    134.023
                                                                                                                                                                      ......
                                                                                                                                                                      13),)1$
                                                                                                                                                                                                ..,,
                                                                                                                                                                                            1:k.82'7
217.CO              E~C'C10t\Wi                                                                                      21.,1e                                           20,110                 >t,
                                                                                                                                                                                                ,.,,.,
<1&00
  ,
21900
     ... ....
,..,,..
                    Fafrtald,lA

                    ,
                    F~WV
                            ,...,
                                                                                                                      1&.&43
                                                                                                                     !&.,10
                                                                                                                     'N l77
                                                                                                                                                                      10,(»
                                                                                                                                                                      !4."'
                                                                                                                                                                      .....
                                                                                                                                                                      24611
                                                                                                                                                                                                ...,...
                                                                                                                                                                                                ~1$7
                                                                                                                                                                                                Z.4)1!

moo
                    F~taor1t\&ttd..WI
                    F ~ MO                                                                                           .....
                                                                                                                     .. 1..,


                                                                                                                                                                      ,,""°'
                                                                                                                                                                                                65917

moo
                    FwpFall. J.Nl
                    Femlity, ,N                                                                                      "'·"'
                                                                                                                     ,1.
                                                                                                                                                                      57,) \ 9
                                                                                                                                                                                                51327
                                                                                                                                                                                                1,.e1,
moo                 F#'ldtly. 01-t                                                                                   74,762                     74Ge7                 75, 1\1

=•
meo
,,.,.
                    F~•ld'. GA
                    ForestCitj,NC                                                                                    .,....
                                                                                                                     11,63,,1                   17,665
                                                                                                                                                $7,77$
                                                                                                                                                                      17,@
                                                                                                                                                                      e1,,2,
                                                                                                                                                                                                17,$3&
                                                                                                                                                                                                67 »)

moo
moo
                    Ffflinl Citt, AA
                    FonOodg,e,IA
                    fettL.~\"JoodMO
                                                                                                                     =
                                                                                                                     )10tJ
                                                                                                                     S??n
                                                                                                                                                1t, l7
                                                                                                                                                37.47Ei
                                                                                                                                                ,av
                                                                                                                                                                      7111$1
                                                                                                                                                                      31.m
                                                                                                                                                                      ~0&-:'
                                                                                                                                                                                                2785"0



moo                 ,.,,-.,.,IMl.-t.tO
mao
moo
                    F~M«pn,CO
                    FcrtPl:lltSou.."\LA
                                                                                                                     ""
                                                                                                                     2'•
                                                                                                                     »'"4
                                                                                                                                                ~(163
                                                                                                                                                l'e.1
                                                                                                                                                ~,s,
                                                                                                                                                                      tU-71

                                                                                                                                                                      ~.,,..
                                                                                                                                                                      70

23,110

'"'°
                    FratvJot\, IN
                    F f ~ KV
                                                                                           l3,22d
                                                                                           70,700
                                                                                                                     33.ru
                                                                                                                     ,. .,,
                                                                                                                     70,7CO                                           "'·*
                                                                                                                                                                      701iOJ
                                                                                                                                                                      ~o,e
232..0              Ft~f,c                                                                 24.837
                                                                                                                     .a1,1,,                                          ..., ..,
,.....
23300               F,..l,'IOtt..lL
                    ,........_NE                                                           ,..,.,
                                                                                           4.7711
                                                                                                                     ~. .1                                             ~

                                                                                                                                                                       ,.
mlO                 f101ll0ll.OH                                                           &GIit,!
                                                                                           ......                    '°""                            ..               119.0X


                    -L                                                                                                                          ,..,.,,
23>00               ~        . SC                                                                                    :..,,                      56;t1,1
                    -.,,.,,..
23000
13600
                                                                                           .,.,
                                                                                           36437                     31.4'7
                                                                                                                     !.2'11
                                                                                                                                                                       ,e,,t1
                                                                                                                                                                       $2,815'                  $2241
                                                                                                                                                                                                73,.016
2'700               ~11Lip.NM                                                                                        71.<18:?                   71,7$A                73,82:!
'3700               Gwdenety, I'\.&                                                                                  • ~1                       40,9-1!               4\,010                    41, 1~
                                                                                                                                                .s,.m
                                                                                                                                                                      .....
2=                  ~ Aantnea.. tlV                                                                                  M. 1197                                          47,015                    .. 8116




      ---co
                                                                                                                     eo ,,.                                           eo ,
,,...
?3000
                    _,,..,.,
                    ~ o . . t \ GC                                                                                   .._,,.                     ~,..,
                                                                                                                                                eo. 12!
                                                                                                                                                                      .,,
                                                                                                                                                                                                601
                                                                                                                                                                                                .,
                                                                                                                                                                                                a111,

,,...
2l9eO               -         .~Y                                                                                    !2.272
                                                                                                                     7H37
                                                                                                                                                52.251
                                                                                                                                                73'74                 ,.,.,                     7"'2~
2'100               ~               . ti'(                                                                           5S531                      247,&                  >S.240                   s.t.
                                                                                                                                                                       ,:,,es
woo
 ....
 ....
,,
"4g()
                    Gant,,Nt.A
                    Gret:Stnd K.C
                    G!-M,...,.., lN
                                                                                                                     71213
                                                                                                                     '21,$7<11

                                                                                                                      ,,,n
                                                                                                                     00.831                     ..
                                                                                                                                                21. 176
                                                                                                                                                n.1t,                  27....

                                                                                                                                                                            ..
                                                                                                                                                                       6-9,0!tl
                                                                                                                                                                                                27,33,4
                                                                                                                                                                                                21.~1
                                                                                                                                                                                                A.SHI

                                                                                                                                                                                                ,....
,,,  ..
2:,100
                    GC'~T0¥,1'1,MA
                    Gc"1UU19 ~-,

                    _,.,                                                                   .,.,.
                                                                                           51, UJ
                                                                                                                     »,7

                                                                                                                     .,
                                                                                                                     5'13
                                                                                                                                                                       ,, ,
                                                                                                                                                                       71,616


                                                                                                                                                                       .,_...
                                                                                                                                                                       ~•$1
                                                                                                                                                                                                71.!>-I


                                                                                                                                                                                                .....,
                                                                                                                                                                                                '97


                    --$(:
                    Gr•rvtlit MS
                                                                                                                                                                       ..,,..
 ...
2...:,0

, ,
ZA000

243'10
                    GrNf'lt. .. 011


                    Gc.Md11, MS
                                                                                           ..,_.,.
                                                                                           ....,.
                                                                                           21,&06
                                                                                                                                                                       94,91
                                                                                                                                                                       216$1
                                                                                                                                                                                                ....,
                                                                                                                                                                                                ,n 37,

                                                                                                                                                                                                21.
?5100               G.,._Ot<                                                               '20,640                                                                     2, 133                   21.49'
moo
2'300
2$4'0
1'600
                    -MO
                    HoOotlD
                    ....,_.,.
                    ~r..e.
                                                                                           :?7,701


                                                                                          ·~
                                                                                           39,046


                                                                                          ''*
                                                                                                                                                                       ..,.,.,,..
                                                                                                                                                                       27.303
                                                                                                                                                                       )D.032

                                                                                                                                                                       11.2,2
                                                                                                                                                                                                >:I,


                                                                                                                                                                                                ...
                                                                                                                                                                                                ...on
                                                                                                                                                                                                4$,4 1'

                                                                                                                                                                                                :,0(163
>$700
                    """""
                    _ ,.,
,mo
,s,,o
,.,
,..,.
     ..             "'""·"'
                    HtMN-Wosl Hc,l•n.t. AA
                                                                                                                      74801
                                                                                                                      21,7S7
                                                                                                                      ,1~,119
                                                                                                                                                                                                >S."7
                                                                                                                                                                                                7!J,277
                                                                                                                                                                                                20.7&!'
                                                                                                                                                                                                "'-132

                                                                                                                                                                                                .....
,S7,0               HmdttWI\NC
                    Hef•lonl. lX                                                                                       1&,372                                                                    1t
~                   ~,llllt.o!~. OR

                    .....                                                                                            ...
                                                                                                                      f7,062
                                                                                                                                                                                                ...
lMel)

,..,.
>SlOO
,....               __
                    llolldal,, 1,\1



                    """"'"" ,
                                                                                          ·,.,~,..
                                                                                          64)'27
                                                                                                                     ,.osm
                                                                                                                      &c..121
                                                                                                                                                                                                .,...,,
                                                                                                                                                                                                1n~11n


                                                                                                                                                                                                ,,_...
,.,.,.
,.,..,
                    -


                    ,_,,.,
                               Ml
                    KoodRivet, OR
                                                                                          111~


                                                                                           ......
                                                                                             '8,764                   ..,._,..,..
                                                                                                                     11140e-                                                                    112,03$

                                                                                                                                                                                                Ja.73~

.....
,..ro
.....                                                                                      ,s.t1'!
                                                                                                                      830Q6                                                                     82,49S

                                                                                                                                                                                                ,._..,
                                                                                                                                                                                                ...to~



-..
                    -PA
,...,,              _,x
                    ~cn.fH                                                                 31. 12-:


,.,                 ..,_so
                    Hlt..,._KS
                                                                                           a:t~
                                                                                           173""
                                                                                           &1,511                                                                      ..."'·
                                                                                                                                                                       ,,,..                    82.717


201eo
.-
,.....
                    ,-ti.l:Chftlol\t,m
                    IRm!\11.PA                                                             ......
                                                                                             3S.GS1
                                                                                                                                                                       ...
.....               l ~. MS
                    lottD, MI
                    !,c,,. 1,bUl'IUA MW~
                                                                                           ......
                                                                                           '29,,150

                                                                                           ,O,S91
                                                                                                                                                                       28039
                                                                                                                                                                       Sl,S"'A
                                                                                                                                                                       ,osae

                                                                                                                                                                       ....,1eo•..,.,,
270,0
27160               -OH
                    _,_.,,.,.,o                                                              :SO.%>$                                                                   »10<
,mo
moo
27.IOO
                    - .L
                    ..........,_,,!)
                    . - . . -. ll<                                                           ..
                                                                                             31.S..:
                                                                                           , :0~


                                                                                          .......
                                                                                             2l,1                                                                      :X,,"61
"""'
27'460              J.ltrlit$!owrt-~k.•F1tdonQ. r-lY                                                                                                                  13',lG<

,,...
275"0               J~s~1 lN                                                                 S,,734
                                                                                             00,400
                                                                                                                                                                       5,4,,9)3

                                                                                                                                                                       ,..,.
                                                                                                                                                                       O)~ll!-




     . ..........,.
                    JtNitrSOn.GA
moo                 -'""""'                                                                  .....,
                                                                                             30,®
,mo
,,...
,.,, .,
                    -c,-, .s
                    ,c-..,..,. ..,                                                           ......
                                                                                             >l.21
                                                                                                                      ..                                               ,.,
                                                                                                                                                                       JO

                                                                                                                                                                       111
                                                                                                                                                                                                 32
                                                                                                                                                                                                II




PfM,(JQ(J94l05_COnfldenLl31                                                                            C,ensus~t3                                                                                         7ofll




                                                                                                                                                                                          PFM-DEPO-00011 518


                                                                                                   FER-70
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 71 of 299




          --
                                  labk 1.AN'lu.-Esum~~o4'1MP   at!Of'lof Meu     ,tan .end Mic,opo1,t,nSLa1Jauca1 A1•u: A ,o 1.:20101oJ   1,201:2



CBSA
          ..... _..,                                                                       A.pm 1, 2010                       Populabtln-bm.1°..s (as cl       Jut,,,
                                                                                                                                                                        ,..,
                                                                               c--.lM,I,
,.,,.,
                                                                                                                                                                               .,,..
                                              raptiic,.,u
Cod•      Cod•                            0
                                                                                       t 1081
                                                                                                     £s\lN -~ N..l,e
                                                                                                               Dl,081                       "'"                                ...4>o
"260
moo
                 ~rr.r, NE
                 ...,,._NH
                                                                                       S2,!41
                                                                                       n,,11
                                                                                                               "2.:s.91
                                                                                                               77, 117                                                         ......
.....
29340

"500
                 Kenc1Mh,lt1
                 Kfflnt:I.I.IO
                 ..._,.,..
                 Ktnv-.... TX                                                          ..,,.
                                                                                       47,536
                                                                                       )1803
                                                                                                               .....
                                                                                                               •7.$:16
                                                                                                               )19$3
                                                                                                                                                                               .U,50,1

                                                                                                                                                                               "·
,....
2t$00
                 .., ._R.
                                                                                       n.01                     1>.•n
                                                                                                               n.
2'620
,..,.
?8790

,..,.,
                 K.IDf'Y',.._NC
                 ~-Tl(
                 -on.NC
                 Kib-a..MO
                                                                                       ...
                                                                                       J8.,J27
                                                                                       n.•n
                                                                                       ,o,o,e
                                                                                                               36.227

                                                                                                               ...
                                                                                                               ,....
                                                                                                               3:U77
                                                                                                                    ~
                                                                                                                              31421

                                                                                                                              ....,,
                                                                                                                              32,_417

                                                                                                                              ,0,0)4
                                                                                                                              m;,_.;
,....
moo
                 ..,.,,,...,.
                 t<,bM;ld'I F♦ltrr.. OR                                                te3e0
                                                                                       C<>054
                                                                                                               tel00
                                                                                                               ISOotil        !50 101
moo
moo
                 Lt Grat'ldf OR
                 LaGl~ .GA
                                                                                                               2).7"-&
                                                                                                               e:.o.u         .,
                                                                                                                              25tt,
                                                                                                                              '71!e

""""
,....
~

meo
,....,
                 W.OC.,,R.
                 ._......_ TX
                 U,.t..,...., ...'('(
                 La'V~NM
                                                                                                               .....,,
                                                                                                               &1.m
                                                                                                                1),.ffl

                                                                                                               ~.38l
                                                                                                                               11,1)1

                                                                                                                              ,.,,..
                                                                                                                              '36,427



29900

.....,
299eO
                 l.,r.;ar•L MS
                 l.awtQ#'1,J-IC
                 ~ t u g . T il

                 ,_Tl<
                                                                                                               . ..
                                                                                                               311. 157
                                                                                                                              &072
                                                                                                                              36.104



                                                                                                               ....
                 hl:lat'OI\MO                                                                                  )SS11
!0220
                 ..._...._.,.                                                                                  22.~

"""'
:sa,eo           ~11,
                 !.~PA
                                                                                                               »617
                                                                                                               ,ua,
'°""'            "--Nia                                                                                        ~ .37

                                                                                                               =
)04.ZQ

,,,...
30$00            Ubor~KS
                 ~II.                                                                                          ,0,0,
                                                                                                               :w-:.. ,
3(19:!0          LCIOi~PA
,oeeo            ' - VN                                                                                        ,S.7.t.!,
                 ~"1M,tN                                                                                       30
"''°"            ,.._KY                                                                                       126
""'°                                                                                                                          1101'
>1060
312:!0
                 l..ol~N'4

                 ~"'                                                                                            "
                                                                                                               :S.705
                                                                                                               e&m            ......
                                                                                                                              29.11
                                                                                                                                                                               ,,.~,
01260            ...... Tl(
                                                                                                                             ,,.,,,o
.....
01300            ......,.... NC                                                                                1:M,16!                                                         13$,◄

                                                                                                                                                                                  ...
                 .._.,
                                                                                                               ..,..,.,
                                                                                                                32,012                                                         3:2,537
                 Uaetlt"lb,I.                                                                                                 32.,$61
                                                                                                                                                                               ,,_
.....
moo

.,,..,
311®
                 .,_KY
                 -AA
                                                                                                               »•,a

                                                                                                               ",.,
                                                                                                                              ,..
                                                                                                                              ».•»
                                                                                                                              <elal                                            4$71t
                                                                                                                                                                               2:4 -&73

.....
»m
                 -UY
                 lb',em. AA                                                                                    ».m
                                                                                                                              5'1S.S~
                                                                                                                              33 ;21

                                                                                                                              .,,...
                                                                                                                              a•=                   a,
                                                                                                                                                                               ,,,..
                                                                                                                                                                               517~


.,.,.            ...- . W I                                                            $144                    11.Wi:                                                          eo&11

.....                                                                                                          o,
,,...
                                                                                       -~,
                 M,tl,t:.~OH                                                           61,t7B                     718
                 M.at~.. Wl-1,11                                                       a,_77                   nne            6$,

32000

=
                 MatlOfl.lf'I
                 "'"'  " NC
                                                                                       10.00,
                                                                                       44006
                                                                                                                70 081
                                                                                                               44M
                                                                                                                              ..
                                                                                                                              69,978
                                                                                                                              45,0SI




,,,....
                 ......... 01<                                                                                 eo:;o,
                                                                                       ~077                    e1on
.,,
02t00            l b ~ Ml




=
=
                 -MO
                 Mant-ol. lr,l, N

                 11..anNil. lX
                 M.IN\attCJl>\a.lA
                                                                                       >,,o)

                                                                                       ""
                                                                                       as_. .,
                                                                                       '4,0,6,48
                                                                                                               1$,01


                                                                                                               .....
                                                                                                               ""
                                                                                                               6$W

                                                                                                               3$0,1
                                                                                       3Ml21
»200             "'""-TN
.,,..
12300            MJ.mnt.vilt. VA

                 ..._i(Y
                                                                                       67,07
                                                                                       ?).370
                                                                                                               6711$
                                                                                                               n,10

                                                                                                                    .
                 Ma,y&i., MO
meo
32460
moo
32$40
                 ~-!(V
                 M.uonC&y. IA



                 - ·""
                                                                                       ~t1•'i
                                                                                       l1.t21
                                                                                       17.•
                                                                                       , ,.,$)1
                                                                                                                $17.t.9
                                                                                                                s,,z,
                                                                                                               ., ,
                                                                                                               ......                                17,SS&
                                                                                                                                                    "4$. ~

=
32600
moo
                 ....e-...s
                 ~.,,.,.,..,,,,
                 -....,s                                                                                       "''"
                                                                                                               .,.,
                                                                                                                )08)1
                                                                                                                              19, 140
                                                                                                                                                    ...
                                                                                                                                                    ~~14

                                                                                                                                                     '28.227
                                                                                                                ea.~          ea.Gee
,....,
m,o              Melld'lih. PA                                                                                                                       ea,,101

,,...
       ___..     M t ~. WI                                                                                      4l.tS7        43,897                 44,021
                                                                                                                                                    ,01.s,a
~
                 ....,.,..,
                 Mtr:diilt\.MS                                                                                               107.48-4
                                                                                                                              29.7•                  21,,.!Q


    .. -""
'°"20

.,,
33<60


""'°
                 ..._MO

                 ..........,..,,.
                                                                                                                              ,s....
                                                                                                                              31,
                                                                                                                              28.701
                                                                                                                              . .,0)4
                                                                                                                                                    "
                                                                                                                                                     ,sm
                                                                                                                                                     28,677
                                                                                                                                                     $4~3,I)
33'20            MiNOIW..... nt                                                                                               2e.oa,
                                                                                                                                                    ,,.,...
                                                                                                                                                     '28. 1

   ...
''"""            ,._NO
                 M.ttht1 SO
                                                                                                                              69.9lS
                                                                                                                              22.MO
                                                                                                                              2$.4,,
                                                                                                                                                    ,,_..,
                                                                                                                                                    =•
.,....
33620
,,,...
                 Mobort/, MO
                 Motlt!CH, C0                                                                                                                       co.an
                                                                                                                                                    ~,..
                                                                                                                                                    ,..,,..
                                                                                                               ..,. ,
                 ~ ~ C l'/ NC
>=               ...,_cr,u
""'°             -~ W.in
                      . -, WA
                                                                                                                37_:44                               >7,..,
                                                                                                                                                     90,11!
'4100

.....
"220

'4300
                 ~It.GA
                 Mounuin Hotrw, AA
                 MounlM\Horrw. 10                                                      2r,OJ«i
                                                                                                                454,e
                                                                                                                41,$13
                                                                                                                J.f OJi
                                                                                                                                                     "'·""'
                                                                                                                                                     41.2&1
                                                                                                                                                     ~ -27"

..,..
....o
...,,.
.....            --i(Y
                 MourllJJr,. tfC

                 .....,.,.,._Tl(
                 Mow\!Pll-2'M'lt,.MJ
                                                                                       7367


                                                                                       ..=
                                                                                       70.Sn

                                                                                                               ......
                                                                                                                nm
                                                                                                                .,,.,.
                                                                                                                701'11


                                                                                                                   ..,
                                                                                                                                                         ..
                                                                                                                                                     73601

                                                                                                                                                    ,, ,
                                                                                                                                                     100)5


                                                                                                                                                     ,.
                                                                                                                                                     4'.82-t
"4500            UouN:VIMOtl,.IL                                                       ,un
.....
'4540

'4700
                 ~Vwnon OM

                 ..__...
                 Ui.•n,. tcY
                                                                                       !50021
                                                                                       37191
                                                                                       4 2.74
                                                                                                                00.

                                                                                                                .,,1,
                                                                                                                37, 111
                                                                                                                                                     612•
                                                                                                                                                     37,411
                                                                                                                                                     42,744.




PfM--00094 20S_Confiden-ti.al                                                                      Censu1,0a1:a                                                                           Sof 11




                                                                                                                                                                         PFM-DEPO-0001 15 19


                                                                                              FER-71
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 72 of 299




                                 labl• I. AMualE.tUffl.ta>.) Ot'th•P   11onofMtuopo"1.1iJ \• nd~O       IIUl'ISI.Mlll1ct,j "'. .~. Aprd 1, '2010toJ u    , . 2012

       .....
CBSA Oiv,..a.,
                                                                                          APfLI 1, 201D


Code  Code                                                                                                                         2010

                 - ·""                                                                                                                    n<s!
                 to~TX
                 UatcM:.. MS-LA
                 tbttht«tl,e$, LA
                 , _, SC
                                                                                                                                          ........,.,.
                                                                                                                                          64.611


                                                                                                                                          )7,534
                 N.wc:asis..lN
                                                                                                                                          .......
                                                                                                                                          49.4$1



                                                                                                                                          ...,_....,,
                 t#WC.0., PA
                 ,,__,OH
                 ,......,_OR
                 _,,._       ..
                 t,,...,'P(ll'I. TN'
                                                                                                                                          36,Sli
                 ,~.-.vl.Jln\ t.,1.11
                                                                                                                                          .,,..
                                                                                                                                          2'&67
                 NogMS.AZ.
                 t~NE                                                                                                                     ......                     ..7,'-18
                                                                                                                                                                    4.11$
                 t40!1hf'mt.. UE
                 Nonh Vernon. JN
                                                                                        ..,.                                              ..,.,.,
                                                                                                                                          37 S7e
                                                                                                                                          :za.are
                                                                                                                                          .....
                                                                                                                                                                    !17,.CV
                                                                                                                                                                    28, \95



                 ·-""                                                                                                                                                ,.,..
                 llOr"JI WJi..esboto.. tiC,                                                                                                                         §


                 Ou: Hwbor. W4
                                                                                         UC<
                                                                                         1&506                                                                       ,.
                 ~ 1 > -M•n•na.WV
                 0,ICty, PA
                 0'.MChotiN. fl
                                                                                         ......
                                                                                        \118-U

                                                                                         ...  ~
                                                                                                                                                                     ...,..
                                                                                                                                                                    H?.b1

                                                                                                                                                                     3-9,MI
                 Ot...11\.WY                                                            .0,3'1                                                                       111.~


                                                                                                                                                                    .,......
                 Onoont,,11'/                                                            ~m                                                                         1 1,""2

                 .,........_IA
                 0nurio OR•IO

                 -.sc
                                                                                         •1ox
                                                                                         013&<                                                                      ......
                 -
                 ~ WA
                        . ..                                                             ,.
                                                                                         92,lOI
                                                                                         :7.311
                                                                                                                                                                     ,"'-""'
                 Ota.......,,.s
                 0n1W>Peru. IL
                                                                                        ,,.
                                                                                         ~~                                                                          2S.t)1
                                                                                                                                                                    154,011
                 ~ " >.IA                                                                ,U.37                                                                      "'4,14S
                 Ow21i!,)NQ,.Mt,l
                 c,_,. 1,11
                                                                                         ,u,e
                                                                                         T~<At                                                                      ....,..
                                                                                                                                                                     36,s.11

                 C>d<lti$. U.S



                 ._,,.,
                 """"'Ht
                 0'.:.,1t'-AL
                 PaO:.atl,.,<:'t-11..
                                                                                         ..~,
                                                                                         •1»1
                                                                                         SU>

                                                                                         •n>
                                                                                         •J..tce.
                 Pal,cu, Ft.                                                             74~~
                 PoOiK:.nt, TX                                                           51,1151

                 ..,.....,,,.,.
                 . ._TX

                      n,
                                                                                         22..,.
                                                                                         •2.<)04)



                 .·-"'                                                                   :n.
                 p.,..
                 P-.TX                                                                                           ••                                                                   "ifH
                 p.......,1($
                     .,_,.,,                                                                                      ...,,.,
                                                                                                                  2-tfi07                                                             ?129'
                                                                                                                                                                                      $3.,14'

                                                                                                                  .....,
                                                                                                                  13-?ll
                                                                                                                                                                                      "
                                                                                                                                                                                      36.A&e


                                                                                                                  ..
                 P.u, W
                 -,_, I.ls                                                               !-5.134                  55,&)A                                                              SS.295
                 ...... so
                                                                                        ..,...,,
                                                                                         71,31U
                                                                                                                     ..,
                                                                                                                  21,'81
                                                                                                                                                                                      .....,
                                                                                                                                                                                      21,84!



                 ·-""                                                                        ,,.                 .,.,,,.
                 ~•$o,f,M,efflPIMtl. t .lC                                               6'Z47

                 ..,._TX

                 -"'                                                                    .,                        362
                                                                                                                  5t200                   S,t, 171
                                                                                                                                                                                      ,._,.
                                                                                                                                                                                      ~361

                                                                                                                                                                                      $1011

                                                                                                                 ..02.,.
                                                                                                                    ,~,                   e:2..U                                      116$,t

                                                                                         .....
                 Pll~~fl'(                                                               '2,120
                 ~IN
                 Poird~VN-~
                                                                                        •1os,
                                                                                                                  ......
                                                                                                                  ...,.,.,                ..,..,.,..,
                                                                                                                                          47.017                                      4701◄
                                                                                                                                                                                      $1e&1
                 ,,_.C"f.01<
                 ,,_ll                                                                   Aes561
                                                                                         ,u~c                     ....,.,..               311.163
                                                                                                                                                                                      •S.8.lt
                                                                                                                                                                                      .,
                                                                                                                                                                                      ,._647
                 POf,lbrBktr, MO                                                         42,7&4
                                                                                                                  ,..                     <2.&20


                                                                                                                  ..,..
                 Polukt..m•                                                              1Gll44                                           20013                                       20411
                                                                                                                                          n.m.                                        , , &el
                 Pon,&.~WI\
                 Pon 0irton. OH                                                          '"'"
                                                                                         •ten
                                                                                                                  71.40-'
                                                                                                                                          -&'t ,?97                                   ..,.m
                 !>on L.a-tx, lX
                                                                                         ,.
                                                                                         21.381                   21.x,                   ,..,.
                                                                                                                                          ?1
                                                                                                                                                                     ,.,,.
                                                                                                                                                                     213i
                                                                                                                                                                                      ,..,,
                                                                                                                                                                                      ?1

                 """""""'""
                 P'COVlll, PA                                                           141,.2$9                 11.a.:?ti                US t91                    t.-7,            147M!
                 Pflc:e,UT
                 .,.,....,OR
                 P~WA
                 Ol.lwlcl,1.-MO
                                                                                         21,"°3

                                                                                         ...
                                                                                         20,979

                                                                                         77,3 1"
                                                                                                                  2\.40-3
                                                                                                                  20878
                                                                                                                  A47T6
                                                                                                                  n:,1•
                                                                                                                  .,,,  ..
                                                                                                                                          ?1,
                                                                                                                                          20....
                                                                                                                                                                     21,3.$1
                                                                                                                                                                     20.662
                                                                                                                                                                     -4.S.oo-ti
                                                                                                                                                                     77.417
                                                                                                                                                                                      ....,.
                                                                                                                                                                                      2 t.2"'6
                                                                                                                                                                                      20,72$

                                                                                                                                                                                      17,)71
                 -
                 Red~ CA
                                       . TX
                                                                                         .........
                                                                                         22,llA
                                                                                                                  ., ....
                                                                                                                  ......                                             .,,,.,
                                                                                                                                                                     22.007
                                                                                                                                                                     .._,.,
                                                                                                                                                                                      ..__
                                                                                                                                                                                      22,o,e

                 R.l!d~MJI

                 ,._.,
                 R«ota.r;. I)                                                            ,.,,.
                                                                                         ~

                                                                                         659'7
                                                                                                                  ,.,,
                                                                                                                  A t t7                                             ..,,..,
                                                                                                                                                                     S0.'36,1
                                                                                                                                                                                      "5 SX

                                                                                                                                                                                      .....
                                                                                                                                                                                      $041!

                 R.<M'IQ!'ld-Befitl l(.Y
                 R.oGf~C'Cy, u.
                                                                                         ..,,..
                                                                                         "'·'72                   wen
                                                                                                                  60'6&
                                                                                                                                                                    101,2-19
                                                                                                                                                                     151,458
                 RLY♦tton.W"f                                                            ..o 123                  40123                                              M>,575
                 R~R,pctt, nc                                                            7l                       767111



                                                                                                                  ....,....                                          ........,.,.,
                                                                                                                                                                     7&313




                 __                                                                                               ...
                 Rod'lde, I.                                                             U4Q1                     S.)C97
                                                                                         ....
                                                                                         ·~·
                 R~NC



                 ·-"°
                 RCQS~\'M                                                                A1

                 ........ OR,,.,
                 '°""wta,UM

                 RUli~t.A
                                                                                        101M7
                                                                                         •,64.
                                                                                         111139
                                                                                         46..7)S
                                                                                                                 ,01,.os1

                                                                                                                  &>,Im
                                                                                                                  46,m
                                                                                                                                                                     .........
                                                                                                                                                                     45,,107
                                                                                                                                                                    1074:


                                                                                                                                                                     '6,065
                                                                                                                                                                     (11,?SO
                 ""'-VT                                                                  61.(1,42                 ll,642
                 S.tf.o«S, ,.Z..                                                         ll>:O                    37                                                 37,1.SC
                 Q.M2irft,.GA                                                            !0513                    SO.SU
                                                                                                                                                                     "'·
                 -OH
                 .......
                 ._,.,   ""
                                                                                        \01,9"1
                                                                                         e,1•1
                                                                                                                 107..$41
                                                                                                                  Sl e:17
                                                                                                                  _.D..ln
                                                                                                                                                                     ,,....,,
                                                                                                                                                                    107.N"
                                                                                                                                                                          ...
                                                                                         ◄0.171




PFM-ooo94205_Confidenu,1                                                                             Cenlus Data                                                                                 90111




                                                                                                                                                                                     PFM-DEPO-00011520

                                                                                                FER-72
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 73 of 299




           --
                                  T ~ l , AftnWII Es~.s of U\41Po,,u!.ltaon of M4itrOJ'O'l &M Md MJCfOpofrtMSi..ba:tioaiAJ.u:    N ,. 201osoJ     1, 20,2


CBS4
           .....                                                                             A.p,,lt. 2010


                                                    ,aoNc,,,e:a
.,.,. """• - ·""
Cod•                                            0                                                                               2010
41180
                   5-bct. r.ac
•2300
42'00
42420
4:!@

·=
'1740
                   -NI!
                   sa.4$1it, M~fl•, Mt
                   s.oy,•.
                   ~

                   ......
                   ~cy. AA
                             p"
                               . AL

                             ..,,
""""
•=                 ...........
                   ~              . PA
                                                                                                                 .,
•:iw>                                                                                                            7.&...?75'
                   -      .. sc                                                                                  ,s.Na
moo                SentaFolt.J.IV'
4?9,10             ~      . TN                                                                                   IIUll1

.,.,,,
4 28el)

4300)
.C)140
                   ...._,.,
                   $,tyfflOIM. IN



                   -""
                   5-tlC
                                                                                                                 ....,
                                                                                                                 .t.2.376
                                                                                                                 "81$1

                                                                                                                 11.01,
0 180              ~Ttl                                                                                          4$05<
•mo                Sh&bn.WA                                                                                      60~

.....
·=                 Sherido,,, WY                                                                                 29..116




                                                                                                                 ...
                   Showl.crw-, .\Z                                                                              101 44,

.,..,,
43300

.,.,.,
                   ....... OH
                   Si:~MO
                                                                                                                 ;\~.42J
                                                                                                                 Jt 197
                                                                                                                                                            ,..
                                                                                                                 , .,,                                      ,.,.,
                   -KY
                   S....0:1:1. UM                                                                                21.SIC
•lW>
•noo               - ·"'                                                                                         . . (80
                                                                                                                 n ,1..a
                                                                                                                                                            . . OIi
4.)1,&0
4)j6()
                   s«Naott.PA
                   Scncn , CA                                                                                         ,..                                   'T1
                                                                                                                                                            ><.on
.....
.,..0
....,.
                   Socarfllh. SO
                   Sp:ricet, "'
                                                                                                                 24 091
                                                                                                                 1tt.67
                                                                                                                                                            :!4
                                                                                                                                                            ,s.e,,
......             Spn~1A,                                                                                       1$681                                       16.ffl'

......
       _"'
                   Su- MS                                                                                        ,47871                                     •7.71
                                                                                                                                                            72.7.,
....,,.,           ~-CA
                   ~ Sor't9 co
                                                                                                                 702-lt
                                                                                                                 n                     :,.er
                                                                                                                                                            ,.           ,.,,,
... ....
..500
                   ...
                   -.co                                                                                          "·
                                                                                                                 227W
                                                                                                                                       :111,0,

                                                                                                                                       .....
                                                                                                                                       '12.11               22,
                                                                                                                                                                         .,2'2.831
.  ~


 ....,
•«.ro
                   -         IL
                   Siown, P°""' WI
                   ~ t o t. OK
                                                                                                                                       ...rm
                                                                                                                                       71,,Mll
                                                                                                                                                             ~ .24
                                                                                                                                                            70,1~
                                                                                                                                                            77.9 1
                                                                                                                                                                         ,._..,
                                                                                                                                                                         704 ):1

                                                                                                                                                                         i.o.m
                                                                                                                                                                         ..
-.. --"'           .........,
                   :stc.mu~ tA                                                                                                         20.))1               20-204
'''"°
 .....
'"'""
                                                                                                                                       $1
                                                                                                                                       :1$2'1
                                                                                                                                                            cuo,
                                                                                                                                                            ».300
                                                                                                                                                                         60,1M




  ,..
"'20
                   _,..,._.,,
                   -""
                   _,,.                                                                                                                .....
                                                                                                                                       ,.,.,
                                                                                                                                       :,$00,               ~ .1$1

                                                                                                                                                            "P-1.467
                                                                                                                                                                 ""
                                                                                                                                                                         2$,
                                                                                                                                                                         3800
                                                                                                                                                                         M ,'2!
, 5000
,soa,
                   S.US.:.rrrilt. CA
                   ~          ttf, TX                                                                                                  "·"°
                                                                                                                                       1S2'3                "·""
                                                                                                                                                             1~ 14S
                                                                                                                                                                         33.6511
                                                                                                                                                                         14.924
~$ 1-tO

,....,
0180
                   T- O K
                   ,_.,.
                   T~Syllct.uga.AL
                                                                                                                                       41, IC-4
                                                                                                                                       ,,.,.
                                                                                                                                       93,572
                                                                                                                                                             ◄1,804
                                                                                                                                                            $2,aal       "''
                                                                                                                                                                         02.rn
                                                                                                                                                                         ,..,.
 S300
·=
                   1 -. L
                   ,_.,..
                                                                                                                                       ,.
                                                                                                                                       ,,,,.                ,..I
                                                                                                                                                            '2.ffl

                                                                                                                                                                  ..     ....
                                                                                                                                                                         32.

                                                                                                                                                                         ,., ,
·.....-                                                                                                                                                     ,. ,
                   ,~~OR                                                                                                                                    .:,:::o

""""
,,...,             lhomn,..._GA
                   ,.,._OH                                                                   ...                                       270'7
                                                                                                                                       .. . 1               .....r.•     44,72:4


45700              Uion,GA
                                                                                             !4,74
                                                                                             ..0, 119                                  "'·"'"
                                                                                                                                       • 0.210              .,"6 •03     55.0,e
                                                                                                                                                                         41.()6,C
~$140              l~    CA                                                                  :S,17                                     29191                 2'-.ess     ,.,. .1


                                                                                                                                                            .....,
                   r~ct                                                                     1.e,927                                    1~ 741               1oa.m       1117,531:l


.....
'5;C)O


....0
                   ,~c.c-,.~
                   Tro,, AL
                   f ~ V d t y, CA.
                                                                                            14l3n

                                                                                             ...,..
                                                                                             '2.                                       ......
                                                                                                                                       i,aue,
                                                                                                                                       .....,
                                                                                                                                                            1'45M

                                                                                                                                                            te.n1
                                                                                                                                                                        1'5

                                                                                                                                                                         ...
                                                                                                                                                                         33,1

..,00              T~~-m                                                                    1002,                                      100. \44             100,251     100.ffl
                                                                                            1)ll't\lJ                                  ,,e.;»7              137,494     13117
,.,..
c.SHIO             T~.MS
                                                                                                                                       1WU71                \00,S7(1    10 1.~
,.,.,
,,....
                   T¥M f dli.,t0
                   U - CA
                                                                                             $$,""
                                                                                                                                       e1,n6                 87,449      17.-t2:8


...,.
'"""'
..,,o
                   Utllc,rtC(y, Tt._t<Y
                   ........ 0H
                   lml<!,T)t
                                                                                                                                            ..
                                                                                                                                       30.621

                                                                                                                                       ,., ,
                                                                                                                                       ◄O,OOl
                                                                                                                                                             38,4 10     37.16!
                                                                                                                                                                         l t,!6!
                                                                                                                                                                         1'6.~

,.,..              """11'.                                                                                                             34,1                              340&<




      __
                                                                                                                                       :a.in



·- -""
...,,.             V#t\','ffl. OH
                                                                                                                                       ,.                                ,.._,.,,
                                                                                                                                                                         28,74'


.....              ,....,_ur                                                                                                            32....,                          34.~,
.....
470$1
                   YOftlOI\ TX
                   V~g:. M:J
                   V'dM>GA               ..,.
                                                                                                                                        13,.,96

                                                                                                                                       ,.,.....
                                                                                                                                        $8,))1

                                                                                                                                                             ,..~
                                                                                                                                                                         13,250
                                                                                                                                                                         57,433
                                                                                                                                                                         3&221!




·-...
                                                                                                                                                                         3112'
"'"'
,n40
                   Vl'U'MN, IN

                   ._.,' >:.sl\.Ol
                                                                                                                                        \6.S74
                                                                                                                                        l2.                  ......
                                                                                                                                                             18787


.,,mo
4 7.120            W~NO-MN
                   Wapo);ont".a, OM
                   Ww11n,PA
                                                                                                                                        '2.!02
                                                                                                                                        45-,121
                                                                                                                                        41,756
                                                                                                                                                             '2.
                                                                                                                                                             • ~1$1
                                                                                                                                                             ,41,480
•TU<>              W~tttMbutg. MO                                                                                                       >2,101               s,.,e2
"1100              V'hn:JH.ltl                                                                                                          n ,323               77.~

.,.,.
41780              W~ M . I N
                   -on.He
                                                                                                                                       lt, 711
                                                                                                                                       ,.
                                                                                                                                        ,47,16C              .,.
                                                                                                                                                             3 1,eM

                                                                                                                                                             ,...,
, mo               l ~eo.nHo.6tOH

'""'
4!020
                         ..-..so
                   ~on.A:~"""
                                                                                                                                       .,.,.
                                                                                                                                        21m
                                                                                                                                        17,:t.6
                                                                                                                                                             21,.Ct
                                                                                                                                                             . . . .1
                                                                                                                                                             26m
                    ~.Fl

                                                                                                                                        ..,,..
ca100
                                                                                                                                                             !i4 .,,




·.-
46190              Yh'fUOU.GA                                                                                                           . .,20,
◄8220

  ....,
                   W.Otheffotd. Ott
                   WftlPl.>N.. MO
                                                                                                                                        27,$1C

                                                                                                                                       ,~.,                  "'·"'
                                                                                                                                                             40.0 10
                   "'~ •·£~'A,                                                                                                          21. ~1
                                                                                                                                                            1ou>0
                                                                                                                                                             <'4 416:
                   ~on.HO
'°'""

PFM-0009420S_Conf.dentlol                                                                                                                                                            lOof II




                                                                                                                                                                        PFM-DEPO-00011521


                                                                                                  FER-73
        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 74 of 299




                            fa.b&e l . NVJWrfbtll'M!Al.sOICl\tlPOlkU.bonof~      iu11 a/Id M,jcjooob ~    s ~ - , luus: ADnl t .Z010to.Juh, 1. 201:Z

         ......                                                                         Apnl 1, 2010                              POINJ:•.!Son niffl.l!n f aa ~ Jut, 1J

                                                                                                                             ,.,. .,,.,          ,.,,                     ,.,,
...,. ""'"°"
(08$A

       "- """"'·""'
 c.o.
.....
.....             -on.OH
                                     o.oa,~aru                                 Cen1u1

                                                                                      ....,..,,,,
                                                                                      •2.~~
                                                                                                     £aUINIWI tt.u•

                                                                                                              ...a,.234..,
                                                                                                               .Q,239
                                                                                                                                 41,890
                                                                                                                                                        •z.m
                                                                                                                                                        ..,,'6,S                 •2.:m;
                                                                                                                                                                                 ,,,eee
..... •-HC        \~nn.mucullV
                                                                                      a,.234
                                                                                                               IU2!               ......
                                                                                                                                 8 1,300
                                                                                                                                                         ......
                                                                                                                                                        .,...,9                  IS1,DG7

                                                                                                                                                                                 ....,.
                                                                                                                                                                                  '7,o,.&e
"'100

·=
,.,..
                  \Yil'leftl_. MN
                  ' l ~ A : a p d l , ~ 'M
                  A"Ocd-Natd, OK
                                                                                      51•.461
                                                                                      N1•~
                                                                                      !'0051
                                                                                                              51~1
                                                                                                              14,1~
                                                                                                               2000,
                                                                                                                                  ,.,..
                                                                                                                                 .. :,oc


                                                                                                                                   ....
                                                                                                                                  11971
                                                                                                                                 ,,
                                                                                                                                                           ..
                                                                                                                                                         5UO&

                                                                                                                                                         ,. ,
                                                                                                                                                         14611

                                                                                                                                                        ,,......
                                                                                                                                                                                    ...
                                                                                                                                                                                 7A4N
                                                                                                                                                                                 ,._
.....
•Ol00

.....
                  Vlcc:a:tt OH                                                       11.a~                    Ui&,$15                                                        1t4&ie




'""°
,,e,o
                  \"loft~Wol
                  Yan~on. SO
                  Zone:t'Vllt.OH
                  Zl oa!:a. TX
                                                                                      ......
                                                                                      2 1,3'78

                                                                                      u ,0·1o1
                                                                                       14 01t
                                                                                                               21.378
                                                                                                               22,◄33
                                                                                                              e6,0N
                                                                                                               1;10, e
                                                                                                                                 ..,..
                                                                                                                                  21 ~7
                                                                                                                                 2'2,4S1

                                                                                                                                  1406~
                                                                                                                                                         '2'1.~
                                                                                                                                                         22,$10
                                                                                                                                                         eG, l16
                                                                                                                                                         \II ttl
                                                                                                                                                                                 21.487

                                                                                                                                                                                 ......
                                                                                                                                                                                 22,00(

                                                                                                                                                                                 1''100
»olt ltie~«•    OKed onu,,t 2010C..-.us. ~ ree.::t c ~ t,r.. Aol' l 2010 ~ o i . lO v»COC.IN ~ A:ftOL!tll)n P"1'9'Mlrd o-o,;i~ vog,.-n~ Tr'llt
0 P k 9 a f t h ~ • ~ ~ ' l t ~ a ...... ~ t o , , , , _ . ~ a n d ~ ~ ~ .,_..,....n~~.,.l"IOMMUtdC,,-INCIOtf'C'YlnFt-blwq
2013cte,IN#Wv.~~I'.-- ~
11r• rnttroPOl,l.anlnd ~ ~ . w c a l « H ~ « l i f t nunatnate btMOUPOI' IM<Ol.t'lf) ~ t s lht COIJf"SY 91oUNCtl ~ aava!iXM at
 <fflOI,.,__,~                        .,n()12-N~41~     pdt>
~~Cl.l&ion..
Tllblt I Mnuai[t;:ii,rro!,ttOl'OWPop,lillltionclJ,WJ09dMner'ICI MICfopc)IWse.iwcMAtHl. Ar:fW 1. 20,010~ l, 2012(CBSA-EST'20t2-0I)
S0utot US c.mut.6'.WUU, ~ ~ k X I
R. . .• Otc.- Mttch 201'                                                                                                                                        --- -




PFM-ooo942.0S_Confide:ntlal                                                                         ceruus Data                                                                              II of 11




                                                                                                                                                                           PFM-DEPO-00011522


                                                                                             FER-74
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 75 of 299




Table 1. Annual Estimotes of the Pooulotion of Metrooolit:ln and Mlcrooolibn St.>tisti cal Areas: Acril 1. 201 0 to July 1, 2012

                  Metro                          Geograp hi c area
    CBSA         Division
    Code          Code                                                                           2012
                           Metropolittn st.>tistlcol areas
35620                    1 New Yor1<-Newark.Jersey c,Iy, NY-NJ-PA                                   19.831 ,858
31080                    2 Los Angeles-Long Beach-Anaheim, CA                                       13,052,921
16980                    3 Chicago-Naperville-Elgin, IL-IN-WI                                        9.522,434
19100                    4 Dallas-Fort Worth-Artinglon, TX                                           6,700,991
26420                    5 Houston-The Woodlands-Sugar Land, TX                                      6,177,035
37980                    6 Phlladelphla-Camden-\Mlmington, PA-NJ.DE-MD                               6,018,800
47900                    7 Washmgton-Arlington-Alexandna, DC.VA-MD,'M/                               5.860,342
33100                    8 Miami-Fort Lauderdale-West Palm Beach, FL                                 5,762,717
12060                    9 AUanla-Sandy Springs-Roswell, GA                                          5,457,831
14460                   10 Boston-Cambridge-Newlon, MA-NH                                            4,640,802
41860                   11 San Franosco-Oakland-Hayward, CA                                          4,455,560
40140                   12 Rivers,de-San Bernardmo-OnIario, CA                                       4.350,096
38060                   13 Phoenix-Mesa-ScottSdale, AZ                                               4,329,534
19820                   14 Detro,t-Warren-Dearbom, Ml                                                4,292,060
42660                   15 Sealtle-Tacoma-Bellevue. WA                                               3,552,157
33460                   16 MinneapoUs-SL Paul-Bloorrunglon, MN-WI                                    3,422.264
41740                   17 San D,ego-Cartsbad. CA                                                    3, 177,063
45300                   18 Tampa-SI PeIersburg,ClearwaIer, FL                                        2,842,878
41180                   19 St Louis, MO-IL                                                           2,795,794
12580                   20 BalUmore-COlumbia-Towson, MD                                              2,753,149
19740                   21 Denver-Aurora-Lakewood, CO                                                2,645,209
38300                   22 Pittsburgh, PA                                                            2. 360,733
16740                   23 Chartone-Concord-Gastonia, NC-SC                                          2,296,569
38900                   24 Portland-Vancouver-Hillsboro, OR-WA                                       2,269,800
41700                   25 San Antonio-New Braunfels, TX                                             2,234,003
36740                   26 Ortando-Klssimmee-Sanlord, FL                                             2,223,674
40900                   27 SacramenI0-Rose11ille-Arden-Arcade, CA                                    2,196,462
17140                   28 Clnc:innatl, DH-KY-IN                                                     2,128,603
17460                   29 Cleveland-Elyria, OH                                                      2,063,535         -0.4%       -02%
26140                   30 Kansas City, MO-KS                                                        2,038,724
29820                   31 Las Vegas-Henderson-Paradi se, NV                                         2,000,759
16140                   32 Columbus. OH                                                              1,944,002
26900                   33 tndianap011s-Carmel-Anderson. IN                                          1,928,982
41940                   34 San Jose-Sunnyvale-SanIa Clara, CA                                        1,894,366
12420                   35 Austin-Round Rock, TX                                                     1,834,303
34980                   36 Nashllflle•Davidson-Murfreesboro-Franklln, TN                             1,726,693
47260                   37 Virginia Beach-Norfolk-Newport News. VA•NC                                1,699,925
39300                   38 Providence-Warwick, RI-MA                                                 1,601 ,374
33340                   39 Milwaukee-Waukesha-Wes! Ams , WI                                          1,566.981
27260                   40 Jacksonville, FL                                                          1,377,650
32820                   41 Memphis, TN-MS-AR                                                         1,341,690
36420                   42 Oklahoma City, OK                                                         1,296.565
31140                   43 Looi s111lle/Jetferson County, KY-IN                                      1.251,351
40060                   44 Richmond, VA                                                              1,231 ,980
35380                   45 New Orleans-Metairie, tA                                                  1,227,096
25540                   46 Hartford-West Hartlord-Eost Hartford, CT                                  1,214,400
39580                   4 7 Raleigh, NC                                                              1,168,564
13820                   48 Birmingham-Hoover, AL                                                     1, 136,650
15380                   49 Buffalo-CMektowaga-N,agara Falls, NY                                      1, 134,210
41620                   50 Salt Lake Ctly, UT                                                        1. 123,712
40380                   51 RochesIer, NY                                                             1,082,284
24340                   52 Grand Rapids-Wyoming, Ml                                                  1,005,648
46060                   53 Tucson, AZ                                                                  992,394
46520                   54 Urban Hooolulu, HI                                                          976,372
46140                   55 Tulsa, OK                                                                   951,880
23420                   56 Fresno, CA                                                                  947,895
14660                   57 Bridgeport.Stamrord-NorwalK, CT                                             933,835
49340                   58 Worcesl er. MA-CT                                                           923,762
10740                   59 Albuquerque, NM                                                             901,700
36540                   60 Omaha-Counol Bluffs, NE-IA                                                   885,624
10580                   61 Albany,Sc/lenectady-Troy, NY                                                 874,646
35300                   62 New Haven-MMord, CT                                                          862,813
12540                   63 Bakersfield, CA                                                              856. 158




PFM ·00094205_Confidential                                           Census Data (2)                                                      l of 15




                                                                                                                               PFM-DEPO-00011523

                                                                      FER-75
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 76 of 299




Table 1. A nnual Estimates of the Po0ulotion of Metro001iton and MlcroPOliton Statistical Areas: Aorll 1, 201 0 to July 1, 2012

                  Motto                             Geographic area
    CBSA         Division
    Code          Code                                                                          2012
28940                    64 Knoxville. TN                                                              848,350
24860                    65 Greenville-Anderson-Mauldin, SC                                            842,853
37100                    66 Oxnard-Thousand Oaks-Ventura, CA                                           835,981
21340                    67 El Paso, TX                                                                830,735
10900                    68 Allentown-Belh1ehem-Easton, PA-NJ                                          827, 171
12940                    69 Baton Rouge, LA                                                            8 15,298
32580                    70 McAllen-Edinburg-Mi ssion, TX                                              806,552         1.9%       1.6%
19380                    71 Dayton, OH                                                                 800,972
17900                    72 Columbia, SC                                                               784 ,745
24660                    73 Greensboro-High P01nt, NC                                                  736,065
35840                    74 Nonh Port-Sarasota-Bradenton, FL                                           720.042
30780                    75 U tile Rock-North Lolile Rock-Conway, AR                                   717.666
44700                    76 S1ock1on-Lodi, CA                                                          702.612
10420                    77 Akron, OH                                                                  702,262
16700                    78 Charleslon-North Charleston, SC                                            697,439
17820                    79 Colorado Spnngs, CO                                                        668,353
45060                    80 Syracuse, NY                                                               660,934
49180                    81 Winston-Salem, NC                                                          647,697
15980                    82 Cape Coral-Fort Myers. FL                                                  645,293
14260                    83 Boi se Ci1y. ID                                                            637,896
48620                    84 Wichita, KS                                                                636,105
44140                    85 Springfield, MA                                                            625.718
31540                    86 Madison, WI                                                                620,778
29460                    87 Lakeland-Winter Haven, FL                                                  616, 158
36260                    88 Ogden-Clearfield, UT                                                       612,441
45780                    89 Toledo, OH                                                                 608,71 1
19660                    90 Det1ona-Day1ona Beach-Ormond Beach, FL                                     595,309
19780                    91 Des Moines-West Des Moines, IA                                             588,999
27140                    92 Jackson, MS                                                                576,800
12260                    93 Augusta-Richmond County, GA-SC                                             575,898
42540                    94 Scranton-W1lkes-Barre-Hazleton, PA                                         563,629
49660                    95 Youngslown-Warren-Boardman, OH-PA                                          558,206
25420                    96 Harrisburg-Carlisle. PA                                                    553,980
39340                    97 Provo-Orem, UT                                                             550,845
37340                    98 Palm Bay-Melbourne-Titusville. FL                                          547,307
16860                    99 Chattanooga, TN-GA                                                         537,889
44060                  100 Spokane-Spokane Valley, WA                                                  532.253
29540                  101 Lancaster, PA                                                               526.823
20500                  102 Durham-Chapel HIii, NC                                                      522,826
33700                  103 Modes1o, CA                                                                 521 ,726
38860                  104 Penland-South Portlalld, ME                                                 518, 117
42220                  105 Santa Rosa. CA                                                              49 1,829
30460                  106 Le,"ngton-Fayette, KY                                                       485,023
22220                   107 Fayetteville-SprlngdaJe,Rogers, AR-MO                                      482,200
29180                  108 Lafayette, LA                                                               474,4 15
29620                  109 Lansing-East Lansing, Ml                                                    465,732
37860                  110 Pensacola-Ferry Pass-Brent, FL                                              461 ,227
47300                  111 Visalia-Porterville, CA                                                     451 ,977
43340                  112 Shreveport-Boss,er City, LA                                                 447, 193
44180                  113 Spnngfield, MO                                                              444,617
49620                   114 York-Hanover, PA                                                           437,846
18580                  115 Corpus Chris1i, TX                                                          437,109
39900                  116 Reno. NV                                                                    433,843
38940                  117 Por1 St. Lucie, FL                                                          432,683
11700                  118 Asheville, NC                                                               432,406
42200                   119 Santa Maria-Santa 8arba1a. CA                                              431 ,249
26620                   120 Hunts,.;ue. AL                                                             430,734
41500                   121 Salinas. CA                                                                426,762
14460                  122      Rockingham County-Strafford County, NH                                 421,939
23060                   123 Fort Wayne. IN                                                             421,406
46700                  124 Vallep,Fair1ield, CA                                                        420.757
28660                  125 Klileer.Temple, TX                                                          420,375
22420                  126 Flint, Ml                                                                   418.408
15180                  127 Brownsvdl e-Harllngen, TX                                                   415,557




PFM -0009420S_Confidential                                        Census Data (2)                                                        2 of 15




                                                                                                                              PFM-DEPO-00011524


                                                                    FER-76
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 77 of 299




T•blo 1. Annu• I Estimates o f the Pooul•tion of MotJooolibn •nd Micropolitan St.itisticol Areas: April 1. 2010 lo July 1, 2012

                  Metro                          Geographic area
    CBSA         Division
    Code          Code                                                                          2012
33660                  128 Mobile. AL                                                                  413,936
39740                  129 Reading, PA                                                                 413,491
13140                  130 Beaumont-Pon Arthur, TX                                                     404,180
15940                  131 Canton-Massillon, OH                                                        403,455
31700                  132 Manchester-Nashua, NH                                                       402,922
35620                  133 Dutchess County-Putnam County, NY                                           396,929
41420                  134 Salem. OR                                                                   396,338
34820                  135 Myrtle Beach-Conway-Nonh Mynle Beach, SC-NC                                 394,542
11260                  136 Anchorage, AK                                                               392,535
19340                  137 Davenport-Moline-Rock Island, IA-IL                                         382,630
41540                  138 Salisbury, MO-OE                                                            381 ,868
37900                  139 Peona, IL                                                                   380,447
25060                  140 Guttport-Biloxl-Pascagoula, MS                                              379,582
33860                  141 Montgomery, AL                                                              377,149
45220                  142 Tallahassea, FL                                                             375,371
22180                  143 FayeUellille, NC                                                            374,585
45940                  144 Trenton, NJ                                                                 368,303
26580                  145 Huntington-Ashland, WV-KY-OH                                                364,665
25860                  146 Hickory-Len01r-Morgan1on, NC                                                363,627
42340                  147 Savannah, GA                                                                361 .941
21660                  148 Eugene, OR                                                                  354.542
11460                  149 Ann Arbor, Ml                                                               350,946
40420                  150 Roc:J<f0<d, IL                                                              346,009
35100                  151 Ocala, FL                                                                   335,125
34940                  152 Naples-lmmokalee-Marco Island, FL                                           332,427
28020                  153 Kalamazoo-Portage, Ml                                                       330,034
43780                  154 South Bend-Mlshawa~a, IN-Ml                                                 3'18,586
43900                  155 Spananburg, SC                                                              316,997
21780                  156 EvanSV!Ue, IN-KY                                                            313,433
24580                  157 Green Bay, W1                                                               311 ,098
17980                  158 Columbus, GA-AL                                                             310,531
22660                  159 Fort Collins, co                                                            310,487
30700                  160 Lincoln, NE                                                                 310,342
40220                  161 Roanoke, VA                                                                 310,118
28700                  162 Klngsporl•Bristol-Bristol, TN-VA                                            309,006
14500                  163 Boulder, CO                                                                 305,318
46540                  164 Utica-Rome, NY                                                              298,064
31180                  165 Lubbock, TX                                                                 297,669
21500                  166 Erie.PA                                                                     280,646
22900                  167 Fort Smith, AR-OK                                                           280,521
20260                  168 Duluth, MN-WI                                                               279.452
12100                  169 AUantic City-Hammonton, NJ                                                  275,422
42020                  170 San Luis Obispo-Paso Robles-Arroyo Grande, CA                               274,804
17300                  171 Clarl<sv,lle, TN-KY                                                         274,342
35980                   172 Norwlcn-New London, CT                                                     274.170
28420                  173 Kennewick-Richland. WA                                                      268,243
23540                  174 Gainesvdle, FL                                                              268,232
42100                  175 Santa Cruz-Watsonville, CA                                                  266,776
24540                       Greeley, CO                                                                263,691
48900                       IMtrri'ogton, NC                                                           263,429
32900                       Merced. CA                                                                 262,305
16300                       Cedar Rap,ds, IA                                                           261,761
29700                       Laredo, TX                                                                 259,172
36500                       Olympia-Tumwater, WA                                                       258.332
11100                       Amarillo, TX                                                               257,578
47380                       Waco, TX                                                                   256.317
25180                       Hagerstown-Martinsburg, MD•IIW                                             256,278
31340                       Lynchburg, VA                                                              255,342
14740                       Bremerton-Silverdale, WA                                                   254,991
13780                       Binghamton, NY                                                             248,538
 18880                      Crest11tew-Fort Walton Beach-Destin, FL                                     247.665
49420                       Yakima, WA                                                                  246,977
43620                       Sioui Falls. SO                                                             237,251
45820                       Topeka, KS                                                                  234,566



PFM -00094205_Confidential                                         Census Dat a (2)                                                 3 of 15




                                                                                                                            PFM-DEPO-00011525


                                                                    FER-77
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 78 of 299




Tobie 1. Annual Estimates of the Population of Metropolitan and Micropoliton Statistical Arcos: Acril 1. 20-1 Oto July 1, 2012

                  Metro                           Geographi c area
     CBSA        Division
     Code         Code                                                                          2012
17780                       College Station-Bryan. TX                                                  234.501
16580                       Champaign-Urbana, IL                                                       233,788
46220                       Tuscaloosa. AL                                                             233,389
31 420                      Macon, GA                                                                  232,723
11540                       Appleton, WI                                                               228,450
16620                       Charteston, WV                                                             225,954
16820                       Charto11esville, VA                                                        222,860
17020                       Chico, CA                                                                  221.539
30980                       Longview, TX                                                               216,679
2.2 020                     Fargo, ND-MN                                                               216,312
12700                       Barnstable Town. MA                                                        215,423
46340                       Tyler, TX                                                                  214,821
29740                       Las Cf\lces. NM                                                            214,445
15540                       B urt1ng1on-South Burtington, VT                                           213,701
39140                       P'r escoll, AZ.                                                            212,637
44100                       Springfield, IL                                                            211 ,993
40340                       Rocllester, MN                                                             209,607
26380                       Houma-Thibodaux, LA                                                        208,922
29200                       Lafayene-West Lafayette, IN                                                206.412
32780                       Medfo,d, OR                                                                206,412
22500                       Fl orence, SC                                                              206,087
13380                       B<!llingham. WA                                                            205,262
29420                       Lake Havasu City-Kingman. AZ                                               203,334
29340                       La.kc Chartes. LA                                                          201 ,195
27740                       Johnson City, TN                                                           200,684
49740                       Yuma. AZ                                                                   200,022
21140                       Elkhan-Goshen, IN                                                          199,619
40980                       Saginaw. Ml                                                                198.353
12020                       A thens-Clarke County, GA                                                  196,425
39540                       Racine, WI                                                                 194,797
25940                       Hollon Head lsland-Bluffloo-Beaufort, SC                                   193,882
19300                       Daphne-Fairhope-Foley, AL                                                  190,790
41060                       St. Cloud, MN                                                              190,471
14010                       Bloon"inglon, IL                                                           188,715
37460                       Panama City, FL                                                            187.621
47580                       Warner Robins, G A                                                         185,478
23580                       Gainesville. GA                                                            185,416
27340                       Jacksonville, NC                                                           183,263
28740                       Kingston, NY                                                               181,791
13980                       BlaekSllurg-Chtistiansburg,Radlonl , VA                                    178,933
39820                       Redding, CA                                                                178,586
33740                       Monroe, LA                                                                 177,782
20940                       E.1Ceniro, CA                                                              176,948
27900                       Joplin. MO                                                                 174,327
24780                       Greenville. NC                                                             172,554
45460                       Terre Haute, IN                                                            172,493       0.1%        0.0%
34740                       Muskegon, Ml                                                               170,182
43580                       S ioux City, IA•NE-SD                                                      168,921
20700                       Easl Stroudsburg, PA                                                       168,798
36780                       Oshkosh-Neenah, WI                                                         168,794
47940                       Watertoo-Cedar Falls, IA                                                   168,747
17860                       C olumbia, MO                                                              168,535
49700                       Yuba C,ty, CA                                                              167,948
20100                       Dover, DE                                                                  167,626
10180                       Abilene, TX                                                                166,963
20740                       Eau Claire, WI                                                             163,599
13740                       B,lllngs, MT                                                               162,848
39460                       Punta Gorda. FL                                                            162,449
14020                       Bloomington. IN                                                            162,399
13460                       Bend-Redmond, OR                                                           162,277
14540                       Bowling Green, KY                                                          162,231
39380                       Pueblo, CO                                                                 160,852
27500                       Janes111lle-Be1oit, WI                                                     160,418
27100                       Jackson. M l                                                               160,309



PFM-00094205_Confident ial                                         Census Data (2)                                                      4 o f 15




                                                                                                                            PFM-DEPO-00011526


                                                                       FER-78
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 79 of 299




Table 1. Annual Estimates of the Pooulation of Metrooolitan and Micropolitan St.otistical Areas: Aoril 1, 201 0 to July 1, 2012

                  Metro                          Geographic area
    CBSA         Division
    Code          Code                                                                          201 2
27980                       Kahului-Wailuku-Lahoina, HI                                                 158.316
26980                       Iowa City, IA                                                               158,231
47220                       Vineland-Bridgeton, NJ                                                      157,785
10500                       Albany, GA                                                                   157,399
35660                       Niles-Benton Harbol, Ml                                                     156,067
44300                       Stale College, PA                                                           155, 171
10780                       Alexandna, LA                                                               154,441
19460                       Decatur, AL                                                                 154,233
15500                       Burt1ng1on, NC                                                              153,920
12620                       Bangor, ME                                                                   153,746
31460                       Madera. CA                                                                   15.2 ,218
33260                       Midland, TX                                                                 151,662
40580                       Roci<y Mount, NC                                                            151,662
25260                       Hanrord-Corcoranl, CA                                                       151,364
16540                       Chambersburg-Waynesboro, PA                                                 151,275
33780                       Monroe, Ml                                                                  '151,048
48660                       'Mchlla Falls, TX                                                           150,829
21060                       Et,zabelhlown,Fort Knox, KY                                                 150,413
27620                       Jefferson City, MO                                                           150,151
45500                       Texarkana, TX-AR                                                            149,701
24300                       Grand Jundion, CO                                                           147,848
20020                       Dothan. AL                                                                  147,620
12220                       Aubum-Opelika, AL                                                           147,257
22520                       Florence-Muscle Shoals, AL                                                  146,988
25620                       Halbesburg, MS                                                              146,766
48540                       Wheeling, WV-OH                                                             146,420
42140                       Santa Fe, NM                                                                146,375
41100                       SI, George, UT                                                              144,809
46660                       Valdosta, GA                                                                144,343
36220                       Odessa, TX                                                                  144,325
19140                       Dallon, GA                                                                  142,751
17660                       Coeur d"Atene, ID                                                           142,357
27780                       Johnstown, PA                                                               141.584
42680                       Sebastian-Vero Beach, FL                                                    140.567
26140                       Homosassa Springs. FL                                                       139,360
34900                       Napa. CA                                                                    139.045
39660                       Rapid City, SD                                                              138,738
44220                       Springfield, OH                                                             137,206
26820                       Idaho Falls, ID                                                             136, 108
22380                       f l agstaff. AZ                                                             136,011
29100                       La Crosse-Onalaska, WI-MN                                                   135,296
30140                       Lebanon, PA                                                                 135,251
12980                       Baule Creek, Ml                                                             135,099
46140                       Wausau, WI                                                                  134,735
34060                       Morgantown, VoN                                                             134,164
30020                       Lawlon,OK                                                                   132,545
43420                       Sierra Vista-Douglas, AZ.                                                   132,086
49020                       'Mnchester, VA-WV                                                           130,907
27180                       Jackson, TN                                                                 130,450
38340                       Pittsfield, MA                                                              130.016
22140                       Farmington. NM                                                              128,529
24020                       Glens Falls, NY                                                             128,472
25500                       Harrisonburg, VA                                                            128,372
30860                       Logan, UT-ID                                                                126,306
35100                       New Bern, NC                                                                128, 119
41140                       SL Joseph, MO-KS                                                            127,927
11020                       Alloona, PA                                                                 127, 121
16060                       Carbondale-Marion, IL                                                       126,745
13220                       Beckley, WV                                                                 124,690
24140                       Goldsboro, NC                                                               124,246
27660                       Jooesboro, AR                                                               124,042
25220                       Hammond. LA                                                                 123,44 1
31900                       Mansfield, OH                                                               122,673
48260                       Wcirton-S1eubenv1lle, WV,OH                                                 122,547




PFM -00094205_Confidential                                         Census Data (2)                                                  5 of 15




                                                                                                                            PFM-DEPO-00011527

                                                                    FER-79
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 80 of 299




Table 1. Annual Estimotes of tho Pooulotion of Mctrooolitan and Mieropolitan Stallstleol Arcos: April 1, 2010 to July 1, 2012

                  Metro                          Geographic are•
    CBSA         Division
    Code          Code                                                                         2012
43300                       Sherman-Denisen, TX                                                       121.935
48060                       Watenown•Fort Drum, NY                                                    120,262
13900                       Bismarck, ND                                                              120,060
44420                       Slaunlon-Waynesboro, VA                                                   118,686
10540                       Albany. OR                                                                118,360
34580                       Mount Vemon-Anacones. WA                                                  118,222
17420                       Cleveland, TN                                                             117,820
34620                       Muncie, IN                                                                117,364
11500                       Anniston-Oxford.Jaeksenville, AL                                          117,296
48700                       'Mlliamsport, PA                                                          117,168
36980                       Owensboro. KY                                                             116,030
43100                       Sheboygan, WI                                                             115.009
34100                       Momsiown, TN                                                              114,937
41660                       S:in Angelo. TX                                                           114.854
15260                       Brunswiek, GA                                                             113,448
28100                       Kankakee, IL                                                              113,040
48300                       Wenatchee, WA                                                             113,037
29940                       Lawrence. KS                                                              112,864
33140                       Mlehlgan City-La Pone, IN                                                 111,246
33540                        Missoula, MT                                                             110.977
19500                       Decatur, IL                                                               110,122
15680                        Calirornla-Lexington Park, MD                                            108.987
44940                        Sumter, SC                                                               108,052
30340                        Lewiston-Auburn, ME                                                      107,609
13020                        BayCny, Ml                                                               106.935
30620                        L,ma, OH                                                                 105,141
23460                        GadSden, AL                                                              104,392
27060                        Ithaca, NY                                                               102,554
31020                        Longview, WA                                                             101,996
19060                        Cumberland, MO-WV                                                        101 ,968
22540                        Fond du Lac, WI                                                          101,843
45540                        The Vulages. FL                                                          101,620
23900                        Gettysburg, PA                                                           101,482
21820                        FalrbankS, AK                                                            100,272
24220                        Grand Forks, NO-MN                                                        98,888
42700                        Sebring, FL                                                               98,128
31860                        Mankalo-Nonh Mankato, MN                                                  98,020
31740                        Manhetlan, KS                                                             97,810
38220                        Pine Bluff, AR                                                            97.451
16020                        Cape Girardeau, MO-IL                                                     97,080
26300                        Hot Springs, AR                                                           96,903
47020                        Victoria, TX                                                              96,620
36140                        Ocean City, NJ                                                            96,304
40660                        Rome. GA                                                                  96,177
20220                        DuDuque, IA                                                               95,097
16940                        Cheyenne, WY                                                              94.483
37620                        Parkersburg-Vienna, WV                                                    92.548
11180                        Ames, IA                                                                  91,140
21300                        Elmira, NY                                                                88.911
18700                        Corvallis, OR                                                             86.430
14100                        Bloomsburg-Berwick, PA                                                    85,243
33220                        Mtdland, Ml                                                               83.822
38540                        Pocatello, ID                                                             83,800
24260                        Grand Island, NE                                                          83.472
24420                        Grants Pass. OR                                                           82,930
29020                        Kokomo, IN                                                                82.849
24500                        Great Falls, MT                                                           St.723
25980                        Hinesville.GA                                                             8 1,519
19180                        OanVll:e, IL                                                              80,727
18020                         Columbus. IN                                                             79,129
16220                         Casper, WY                                                               78,621
47460                         Walla Walla, WA                                                          63,399
30300                         Lewiston, ID-WA                                                          61,419
16180                         Carson City, NV                                                          54,838




PFM-00094205_Confidential                                          Census Data (2)                                                6 of 1 5




                                                                                                                          PFM-DEPO-00011528


                                                                    FER-80
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 81 of 299




Table 1. Annual Estimotes of the Pooulation of Metrooolit:ln and Micropolit:ln Statistical Areas: April 1, 2010 to July 1, 2012

                  Met ro                         Geographic area
    CBSA         Division
     Code         Code                                                                           2012
                            (Titles of metropolitan divisions are Indented.)

                            Micropolitan statistlcol oreas
10100                       Aberdeen. SD                                                                41.357
10140                       Aberdeen, WA                                                                71 .692
10220                       Ada. OK                                                                     37,958
10300                       Adrian. Ml                                                                  98.967
10460                       Alamogordo, NM                                                              66,041
10620                       Albemarte, NC                                                               60,576
10660                       Alben Lea, MN                                                               31 ,054
10700                       Albertville. AL                                                             94,nG
10820                       Alexandria, MN                                                              36,415
10860                       Allee, TX                                                                   41,754
10940                       Alma. Ml                                                                     42,063
10980                       Alpena, Ml                                                                   29,234
11060                       Altus, OK                                                                    26,237
11140                       Arnencus, GA                                                                 36,544
11220                       Amsterdam, NY                                                                49,941
11380                       Andrews, TX                                                                  16,117
11420                       Angola, IN                                                                   34,124
11580                       Arcadia, FL                                                                  34,712
11620                       Ardmore, OK                                                                  48,085
11660                       Arkadelphia, AR                                                              22,936
11680                       Arf<ansas C~y-W\nfield, KS                                                   36,288
11740                       Ashland, OH                                                                  52,962
11780                       Ashtabula, OH                                                               100,389
11820                       Astoria, OR                                                                  37,301
11860                       Atchi son, KS                                                                16,813
11900                       Athens, OH                                                                   64,304
11940                       Athens, TN                                                                   52,416
11980                       Athens, TX                                                                   79,094
12140                       Aubum, IN                                                                    42,321
12180                       Aubum, NY                                                                    79,552
12300                       Augusta-Waterville, ME                                                      121,853
12380                       Austln. MN                                                                   39,372
12460                       Bainbridge, GA                                                               27.509
12660                       Baraboo, WI                                                                  62,597
12680                       Bardslown, KV                                                                44,319
12740                       Barre. VT                                                                    59,465
12780                       Bartlesville, OK                                                             51,633
12820                       Bastrop, LA                                                                  27,559
12860                       Batavia, NV                                                                  59,977
12900                       Batesville, AR                                                               37,025
13060                       Bay c ,Iy. TX                                                                36,547
13100                       Bealrice, NE                                                                 21.606
13180                       Beaver Dam, WI                                                               88,415
13260                       Bedford. IN                                                                  46,078
13300                       Bee\/lfie. TX                                                                32,527
13340                       Bellefontaine, OH                                                            45.474
13420                       BemidF, MN                                                                   45,375
13500                       Bennettsville, SC                                                            28,145
13540                       Bennington, VT                                                               36,697
13620                       Bertin. NH-VT                                                                38,322
13650                       Big Rapids. Ml                                                               43,318
13700                       819 Spnng. TX                                                                36,667
13720                       Big Stone Gap, VA                                                            60,676
13940                       Blacl<foot. 10                                                               45.474
14140                       Bluefield, WI-VA                                                            106,791
14180                       Blytheville, AR                                                              45,562
14220                       Bogalusa, LA                                                                 46,670
14340                       Boone, IA                                                                    26, \ 95
14380                       Boone. NC                                                                    51,871
14420                       Borger, TX                                                                   21,922
14580                       Bozeman. MT                                                                  92,614




PFM-00094205_Confidential                                          Censu s Data (2)                                                7 of 15




                                                                                                                           PFM-DEPO-00011529


                                                                    FER-81
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 82 of 299




Table 1. Annual Estimates of the Pooulallon of Mctrooolitan and Ml crooolitan Statistical Areas: Aorll 1, 201 0 to July 1, 2012

                  Metro                          Geographic aro:a
    CBSA         Division
    Code          Code                                                                           2012
14620                       Bradford. PA                                                                 43,127
14660                       Brainerd, MN                                                                 91,239
14700                       Branson, MO                                                                  84,524
14720                       Breckenridge. CO                                                             28,044
14780                       Brenham. TX                                                                  34,093
14820                       Brevard, NC                                                                  32,849
15020                       Brookhaven, MS                                                               34,900
15060                       Brookings. OR                                                                22,248
15100                       Brookings. SD                                                                32.629
15220                       Brownwood, TX                                                                37,825
15340                       Bucyrus, OH                                                                  42,849
15420                       Burtey, ID                                                                   43,286
15460                       Burtinglon. IA-IL                                                            47,383
15580                       Butte-Silver Bow, MT                                                         34,403
15620                       Cadillac. Ml                                                                 47,639
15660                       Calhoun, GA                                                                  55,766
15700                       Cambridge, MD                                                                32,551
1S740                       Cambridge. OH                                                                39,817
15780                       Camden. AR                                                                   30,703
15820                       Campbellsville, KY                                                           24,691
15860                       Canon City, CO                                                               46.788
15900                       Canton, IL                                                                   36,651
16100                       Cartsbad•Artesla, NM                                                         54,419
16260                       Cedar c ,ty, UT                                                              46,750
16340                       Cedartown, GA                                                                41,188
16380                       Celina, OH                                                                   40,875
16460                       Centralia, IL                                                                38,894
16500                       Centralia, WA                                                                75,621
16660                       Cha!leston-Malloon. IL                                                       64.623
17060                       Chillicothe, OH                                                              77,429
17200                       Claremont-Lebanon, NH.VT                                                    217,390
17220                       Clarl<sburg, WV                                                              94,310
17260                       Clarl<sdale. MS                                                              25.709
17340                       Clearlake, CA                                                                63,983
17380                       Cleveland, MS                                                                33,904
17500                       Clewiston, FL                                                                37,447
17540                       Clinton, IA                                                                  48,717
17580                       Clovis, NM                                                                   49,938
17700                       Coffeyville, KS                                                              34,459
17740                       Coldwater. Ml                                                                43,868
18060                       Columbus. MS                                                                 59,670
18100                       Columbus, NE                                                                 32,681
18180                       Conco<d, NH                                                                 146.761
18220                       Connersville, IN                                                             24,029
18260                       Cookeville. TN                                                              106.860
18300                       Coos Bay. OR                                                                 62,534
18380                       Cordele. GA                                                                  23.606
18420                       Corinth, MS                                                                  37,164
18460                       Cornelia. GA                                                                 43,520
18500                       Corning, NY                                                                  99,063
18620                       Corsicana. TX                                                                47,979
18660                       Cortland, NY                                                                 49,474
18740                       Coshocton, OH                                                                36,779
18780                       Craig, CO                                                                    13,200
18820                       Crawfords111lle. IN                                                          38,254
18860                       Crescent City. CA                                                            28,290
18900                       Crossville, TN                                                               57,029
18980                       Cullman. AL                                                                  80,440
19000                       Cullowhee. NC                                                                40,44a
19220                       Dan111l le, KY                                                               53,119
19260                       Danville, VA                                                                105,803
19420                       Dayton. TN                                                                   32,247
19540                       Decatur, IN                                                                  34.365
19580                       Defiance, OH                                                                 38,677



PFM-00094205_Confidential                                           Census Dat a (2)                                                8 of 15




                                                                                                                            PFM-DEPO-00011530


                                                                     FER-82
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 83 of 299




Table 1. Annuot Estimotes of the Population of Metropolit.on and Microoolillln Stlltistical Arcos: Aoril 1 , 2010 to July 1, 2012

                  Metro                           Geographic area
    CBSA         Division
    Codo          Code                                                                            2012
19620                       Del Rio, TX                                                                   48,705
19700                       Deming, NM                                                                    25,041
19760                       DeRidder. LA                                                                  36,281
19860                       D1ckmson, ND                                                                  26,771
19940                       Di>con, IL                                                                    35,037
19980                       Dodge Cily, KS                                                                34,752
20060                       Douglas, GA                                                                   43,170
20140                       Dublin, GA                                                                    57.938
20180                       OuBo<s. PA                                                                    81 ,184
20300                       Dumas, TX                                                                     22,313
20340                       Duncan, OK                                                                    44.779
20380                       Dunn.NC                                                                      122,135
20420                       Durango. CO                                                                   52,401
20460                       Durant, OK                                                                    43,399
20540                       Oyersl>urg, TN                                                                38,255
20580                       Eagle Pass, T)(                                                               55,365
20660                       Easton. MO                                                                    38,098
20780                       Edwaids. CO                                                                   51 ,874
20820                       Effingham, IL                                                                 34,353
20900                       El Campo, TX                                                                  41,285
20980                       El Dorado, AR                                                                 40 .867
21020                       Elizabeth Coty, NC                                                            64,244
21120                       ElkCily. OK                                                                   23.081
21180                       Elkins. WV                                                                    29,384
21220                       Elko, NV                                                                      53,217
21260                       Ellensburg, WA                                                                41 ,672
21380                       Empona, KS                                                                    33.748
21420                       E.nld, OK                                                                     61 ,189
21460                       Enterprise, AL                                                                51 ,252
21540                       Eocaoaba, Ml                                                                  36,884
21580                       Espanola, NM                                                                  40,318
21700                       Eurel<a-Arcata-Fonuna, CA                                                    134,827
21740                       EvanSlon. WY                                                                  21 ,025
21840                       Fairfield. IA                                                                 16,867
21900                       Fairmont. WV                                                                  56,678
21980                       Fallon, NV                                                                    24,375
22060                       Faribault-Northfield, MN                                                      64,854
22100                       Farmington, MO                                                                65,917
22260                       Fe,gus Falls, MN                                                              57,288
22280                       Femley, NV                                                                    51.327
22300                       Findlay, OH                                                                   75,671
22340                       Fitzgerald, GA                                                                17,538
22580                       ForeSl City, NC                                                               67,323
22620                       Forrest Cijy, AR                                                              27,858
22700                       Fon Dodge. IA                                                                 37,273
22780                       Fon Leonard 'll'ood, MO                                                       53.259
22800                       Fort Madison-Keokuk, IA-IL-MO                                                 61,477
22820                       Fort Morgan, CO                                                                28,472
22860                       Fort Polk South, LA                                                           53,869
23140                       Frankfort. IN                                                                 33,022
23180                       Frankfort. KY                                                                 71 ,532
23240                       Fredericksburg, TX                                                            25,153
23300                       Freeport. IL                                                                   46,959
23340                       Fremont, NE                                                                   36,427
23380                       Fremont.OH                                                                    60,510
23500                       Gaffney, SC                                                                   55,662
23620                       Gainesville, TX                                                               38,688
23660                       Galesburg, IL                                                                  52,247
23700                       Gallup, NM                                                                    73,016
23780                       Garden City, KS                                                                41,168
23820                       Gardnerville Ranchos, NV                                                       46,996
23860                       Georgetown, SC                                                                60,189
23940                       Gillette. WY                                                                   47,874
23980                       Glasgow, KY                                                                   ~z.ooo


PFM-0009420S_Confldential                                           Censu s Data (2)                                                  9 of 15




                                                                                                                              PFM-DEPO-00011531

                                                                      FER-83
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 84 of 299




Table 1 . Annual Estimates of the Pooulotlon o r Motrooolibn and Mlcropolitan S~tls tlcol Areas: April 1, 2010 to July 1, 2012

                  Metro                            Geographic area
    CBSA         Division
    Code          Co~e                                                                          2012
24060                       Glenwood Springs, CO                                                        74.216
24100                       Gloversville, NY                                                            54,925
24380                       Granls, NM                                                                  27,334
24460                       Great Bend, KS                                                              27,557
24620                       Greenev,1te. TN                                                             68,819
24640                       Greenfield To-,m, MA                                                        71 ,540
24700                       Greensburg. IN                                                              26,042
24740                       Greenville, MS                                                              49,750
24820                       Greenv,lle. OH                                                              52.507
24900                       Greenwood, MS                                                               41 ,371
24940                       Greenwood, SC                                                               94,857
24980                       Grenada. MS                                                                 21 ,682
25100                       Guymon, OK                                                                  21 ,498
25200                       Hailey, ID                                                                  27,500
25300                       Hannibal, MO                                                                39.022
25460                       Homson. AR                                                                  45,413
25580                       Hastings, NE                                                                31 ,459
25700                       Hays. KS                                                                    29.053
25720                       Heber. UT                                                                   25.273
25740                       Helena, MT                                                                  76,277
25760                       Helena-West Helena. AR                                                      20,784
25780                       Henderson, NC                                                               45, 132
25820                       Heref01d, TX                                                                19,360
25840                       Hermiston-Pendl eton, OR                                                    88.064
25880                       Hillsdale, Ml                                                               46,229
25900                       Hilo, HI                                                                   189,191
26020                       Hobbs, NM                                                                   66,338
26090                       Holland. Ml                                                                112,039
26220                       Hood River, OR                                                              22,584
26340                       Houghlon, Ml                                                                38.735
26460                       Hudsoo, NY                                                                  62.499
26500                       Hunlingdon, PA                                                              45.943
26540                       Hunllngton, IN                                                              36,987
26660                       Hunisville, TX                                                              82,717
26700                       Huron, SD                                                                   17.753
26740                       Hutchinson. KS                                                              6-1,438
26780                       Hutcllinson, MN                                                             36,053
26860                       lndl ana, PA                                                                88,218
26940                       Indianola, MS                                                               28,431
26960                       Ionia, Ml                                                                   63,941
27020                       Iron Mountain, Ml•WI                                                        30.702
27160                       Jackson, OH                                                                 32,954
27220                       Jackson. WY-ID                                                              3t ,727
27300                       Jacl<sonv,l le, IL                                                          40,552
27380                       Jacksonville, TX                                                            51 ,206
27420                       Jamestown, ND                                                               20,934
27460                       Jamestown-Dunlcirk•Fredonia, NY                                            133,539
27540                       Jasper, IN                                                                  54,837
27600                       Jefferson, GA                                                               60,571
2TTOO                       Jesup. GA                                                                   30,305
27920                       Junction C ity, KS                                                          38,013
27940                       Juneau, AK                                                                  32.556
28060                       Kalispell, MT                                                               9 1,633
28180                       Kapaa, HI                                                                   68,434
28260                       Keamey, NE                                                                  53,948
28300                       Keene. NH                                                                   76,851
28340                       Kendallv,lle. IN                                                            47.582
28380                       Kenneu. MO                                                                  31 .826
28500                       Kerrville, TX                                                               49,786
28540                       Ketchikan, AK                                                               13,779
28580                       Key West, FL                                                                74,809
28620                       Kill Devil H1lls, NC                                                        38,911
28780                       Kings..,,lle. TX                                                            32.456
28820                       Kinston, NC                                                                 59,227



PFM-0009420S_Confid ential                                           Census Data (2)                                              10 of 15




                                                                                                                           PFM-DEPO-00011532

                                                                      FER-84
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 85 of 299




T•ble 1. Annu•I Estimates of the Pooul•lion of Mettooolibn and Micropcl~an Statistical Areas: April 1. 2010 to J uly 1. 2012

                  Metro                         Geographic area
    CBSA        Division
    Code          Code                                                                        2012
28860                      Kirksville. MO                                                             29.951
28900                      Klamath Falls. OR                                                          65.912
29060                      Laconia, NH                                                                60,327
29260                      La Grande, OR                                                              25.759
29300                      LaGrange, GA                                                               68,468
29380                      Lake City, FL                                                              67.966
29500                      Lamesa, TX                                                                 13,640
29660                      Laramie. WY                                                                37.276
29780                      Las Vegas. NM                                                              28,891
29860                      Laurel, MS                                                                 85, 164
29900                      Laurinburg, NC                                                             38,094
29980                      Lawrenceburg, TN                                                           42,086
30060                      Lebanon. MO                                                                35,417
30220                      Levelland, TX                                                              23,072
30260                      Le,Asburg, PA                                                              44,952
30280                      Lew,sburg. TN                                                              30,883
30380                      Lewistown, PA                                                              46,773
30420                      Lexington. NE                                                              26,249
30580                      liberal, KS                                                                23,547
30660                      Lincoln, IL                                                                30.013
30820                      Lock Haven, PA                                                             39.517
30880                      Logan, Wv                                                                  36,168
30900                      Logansport. IN                                                             38.581
30940                      London, KY                                                                126,696
31060                      Los Alamos, NM                                                             18.159
31220                      Ludington, Ml                                                              28,680
31260                      Lulkm, TX                                                                  87,597
31300                      Lumberton, NC                                                             135.496
31380                      Macomb, IL                                                                 32,537
31500                      Madison. IN                                                                32,554
31580                      Madisonville, KY                                                           46,718
31620                      Magnolia, AR                                                               24 .473
31660                      Malone.NY                                                                  51 ,795
31680                      Malvem.AR                                                                  33.394
31820                      Manitowoc, WI                                                              80,671
31930                      Marietta.OH                                                                61 .475
31940                      Mannette, WI-Ml                                                            65.378
31980                      Marion, IN                                                                 69,330
32000                      Marion, NC                                                                 44 ,998
32020                      Marion, OH                                                                 66.238
32100                      Marquette, Mt                                                              67,906
32140                      Marshall, MN                                                               25.543
32180                      Marshall. MO                                                               23,339
32220                      Marshall, TX                                                               67,450
32260                      Marshalltown, IA                                                           40.857
32280                      Martin, TN                                                                 34,793
32300                      Maninsville, VA                                                            66,702
32340                      Maryl/Ille.MO                                                              23,419
32380                      Mason Ci ty, IA                                                            51 ,307
32460                      Mayfield, KY                                                               37.544
32500                      Maysville, KY                                                              17,512
32540                      McAlester, OK                                                              45.048
32620                      McComb, MS                                                                 53,057
32660                      McMinnville. TN                                                            39,839
32700                      McPherson. KS                                                              29.356
32740                      Meadville, PA                                                              87,598
32860                      Menomonie, WI                                                              '-4,072
32940                      Meridian, MS                                                              107,111
32980                      Merrill,WI                                                                 28,392
33020                      Mexico. MO                                                                 25,621
33060                      Miam,, OK                                                                  32,238
33180                      Middlesborough, KY                                                         28.183
33300                      Milledgeville, GA                                                          55,363
33420                      Mineral Wells, TX                                                          27,856




PFM-0009420S_Confidential                                         Census Data (2)                                               11 of 15




                                                                                                                         PFM-DEPO-00011533


                                                                   FER-85
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 86 of 299




Table 1. Annual Estimates of the Pooulation ofMetrooolit.an and MicroPol~•n Statistical Areas: Ac>ril 1,201 Oto July 1, 2012

                  Mello                         Geogr•phic ore•
    CBSA         Division
    Code          Code                                                                        2012
33500                       Minot, NO                                                                 73,146
33580                       Mitchell. SO                                                              23,146
33620                       Moberty, MO                                                               25.330
33940                       Montrose, CO                                                              40,725
33980                       Morehead City, NC                                                         67,632
34020                       Morgan City, LA                                                           53,697
34140                       Moscow, ID                                                                38,184
34160                       Moses Lake, WA                                                            91 ,723
34220                       Moultrie, GA                                                              46,137
34260                       Mountain Home, AR                                                         41 ,048
34300                       Mountain Home, ID                                                         26,223
34340                       Mount Airy, NC                                                            73,561
34360                       Mount Pleasant, Ml                                                        70,617
34420                       Mount Pleasant, TX                                                        32,663
34460                       Mount Sterling, KY                                                        44.924
34500                       Mount Vemon. IL                                                           38.720
34540                       Mount Vemon, OH                                                           60,705
34660                       Murray, KY                                                                37,655
34700                       Muscatine. IA                                                             42,879
34780                       Muskogee. OK                                                              70,596
34860                       Nacogdoches, TX                                                           66.034
35020                       Natchez, MS-LA                                                            52.487
35060                       Natchttoches, LA                                                          39,436
35140                       Newberry, SC                                                              37.576
35220                       New Castle, IN                                                            49,345
35260                       New Castle, PA                                                            89,871
35420                       New Philadelphia-Dover, OH                                                92,392
35440                       Newport, OR                                                               46,151
35460                       Newport, TN                                                               35,571
35500                       Newton. IA                                                                36,602
35580                       New Ulm . MN                                                              25,425
35700                       Nogales, AZ                                                               47,303
35740                       Norfolk. NE                                                               48,286
35820                       North Plalte, NE                                                          37,373
35860                       North Vernon, IN                                                          28,161
35900                       North Wilkesboro. NC                                                      69,306
35940                       Norwalk, OH                                                               59,280
36020                       Oak Harbor, WA                                                            79,177
36300                       Ogdensburg-Massena. NY                                                   112,232
36340                       Oil City, PA                                                              54,272
36360                       Okeechobee, FL                                                            39.467
36460                       Olean, NY                                                                 79,458
36580                       Oneonta, NY                                                               61 ,709
36620                       Ontario. OR,ID                                                            53,269
36660                       Opelousas, LA                                                             83,662
36700                       Orangeburg, SC                                                            91,476
36820                       Oskaloosa, IA                                                             22,443
36830                       Othello, WA                                                               19,005
36840                       Ottawa. KS                                                                25,906
36880                       Ottawa-Peru, IL                                                          153.182
36900                       Onumwa. IA                                                                44.055
36940                       Owatonna, MN                                                              36,322
37020                       Owosso, Ml                                                                69.232
37060                       Oxford, MS                                                                49,495
37080                       Oxford, NC                                                                60.436
37120                       Ozark, AL                                                                 50,444
37140                       Paducah, KY •IL                                                           98,539
37220                       Pahrump. NV                                                               42.963
37260                       Palatka. FL                                                               73,263
37300                       Palestine, TX                                                             58, 190
37420                       Pampa, TX                                                                 22,978
37500                       Paragould, AR                                                             43,163
37540                       Paris, TN                                                                 32,341
37580                       Paris. TX                                                                 49,811



PFM-00094205_Confidential                                         Census Data (2)                                                12 of 15




                                                                                                                         PFM-DEPO-00011 534


                                                                   FER-86
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 87 of 299




Table 1. Annual Estimates of the Ponulatlon ofMetronolibn and Microoolitan S1atistical Areas: Aoril 1. 2010 to July 1, 2012

                  MetTo                          Geographic area
    CBSA        Division
    Code          Code                                                                        2012
37660                      Parsons, KS                                                                2 1,284
37740                      Payson. AZ                                                                 53,144
37780                      Pecos. TX                                                                  13.798
37940                      Peru. IN                                                                   36,486
38100                      Picayune. MS                                                               55,295
38180                      Pierre, SD                                                                 21,846
38240                      Pinehurst-Southern P,nes, NC                                               90,302
38260                      Pittsburg, KS                                                              39,361
38380                      Plainview, TX                                                              36.385
38420                      Plaueville. WI                                                             5 1.087
38460                      Plattsburgh, NY                                                            81.654
38500                      Plymouth. IN                                                               47,024
38580                      Point Pleasant, WV-OH                                                      57,887
38620                      Ponca City, OK                                                             45.831
38700                      Pontiac, IL                                                                38,647
38740                      Poplar Bluff, MO                                                           43.053
38780                      Portales, NM                                                               20,419
38820                      Port Angeles, WA                                                           71,863
38840                      Port Clinton, OH                                                           41 ,339
38920                      Port Lavaca, TX                                                            2 1,609
39020                      Portsmouth, OH                                                             78.477
39060                      Pottsv,lle, PA                                                            147,063
39220                      Price, UT                                                                  21,246
39260                      Prineville, OR                                                             20,729
39420                      Pullman, WA                                                                46,606
39500                      Quincy, IL-MO                                                              77.371
39700                      Raymondville, TX                                                           22.058
39780                      Red Bluff, CA                                                              63,406
39860                      Red Wing, MN                                                               46,336
39940                      Rexburg. ID                                                                50,413
39980                      Riehmond, IN                                                               68,346
40080                      Riehmond•Berea, KY                                                        101,792
40100                      Rio Grande City. TX                                                        61 ,615
40180                      Riverton, WY                                                               41 ,110
40260                      Roanoke Rapids, NC                                                         75,434
40300                      Rochelle, IL                                                               52,848
40460                      Rockingham. NC                                                             46,627
40540                      Rock Springs, WY                                                           45,267
40620                      Rolla, MO                                                                  44,987
40700                      Roseburg. OR                                                              107.164
40740                      Roswell, NM                                                                65,784
40780                      Russellville. AR                                                           84.697
40820                      Ruston. LA                                                                 46.953
40860                      Rutland, VT                                                                60.869
40940                      Safford.AZ                                                                 37,416
41220                      SL Marys, GA                                                               51 ,402
41400                      Salem. OH                                                                 106,507
41460                      Salina, KS                                                                 62,060
41760                      Sandpoint, ID                                                              40.476
41780                      Sandusky, OH                                                               76,398
41820                      Sanford, NC                                                                59.715
42300                      Sault Ste. Mane, Ml                                                        38,917
42380                      Sayre, PA                                                                  62.792
42420                      Scottsbluff. NE                                                            39,039
42460                      Scottsbo<o. AL                                                             53.019
42620                      Searcy. AR                                                                 78.493
42740                      Sedalia, MO                                                                42,319
42780                      Selinsgrove. PA                                                            39,672
42820                      Selma, AL                                                                  42.864
42860                      Seneca, SC                                                                 74,627
42900                      Seneca Falls, NY                                                           35,305
42940                      Sevierville, TN                                                            92,512
42980                      Seymour, IN                                                                43.083
43020                      Shawano. WI                                                                45,947




PFM-0009420S_Confidential                                          Census Data (2)                                             13 of 15




                                                                                                                        PFM-DEPO-00011535


                                                                    FER-87
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 88 of 299




Tobie 1. Annuol Estim•tes oftho Pooulotion of Motroooliton ond Microooliton S13tistic•I Areas: Aoril 1, 201 0 to July 1, 2012

                  Metro                         Geogrophic orea
    CBSA         Division
    Code          Code                                                                         2012
43060                       Shawnee. OK                                                                70,760
43140                       Shelby, NC                                                                 97,474
43180                       Shelbyvllle, TN                                                            45,573
43220                       Shelton, WA                                                                60,832
43260                       Sheridan, W'f                                                              29,596
43320                       Show Low. AZ.                                                             107,094
43380                       Sidney, OH                                                                 49,167
43460                       Sikeston, MO                                                               39,139
43500                       Sliver Cily, NM                                                            29,388
43660                       Snyder, TX                                                                 17, 126
43700                       Somerset, KY                                                               63,593
43740                       Somerset, PA                                                               76,957
43760                       Sonora, CA                                                                 54,008
43940                       SpeaifiSh, SO                                                              24,397
43980                       Spencer, IA                                                                16.599
44020                       Spirit Lake, IA                                                            16,972
44260                       Starkville, MS                                                             48,192
44340                       Slalesboro, GA                                                             72,694
44460                       Steamboai Springs. CO                                                      23,334
44500                       Stephenville, TX                                                           39.321
44540                       Sterling, CO                                                               22,631
44580                       Sterling, IL                                                               57,846
44620                       Stevens Point, WI                                                          70,433
44660                       Sbllwaler, OK                                                              78.399
44740                       Storm Lake. IA                                                             20,592
44780                       Sturgis, Ml                                                                60,796
44860                       Sulphur Springs, TX                                                        35,469
44900                       Summerville, GA                                                            25,725
44920                       Summit Park, UT                                                            38,003
44980                       Sunbury, PA                                                                94,428
45000                       SusanV111e. CA                                                             33,658
45020                       Sweetwater, TX                                                             14,924
45140                       Tahlequah, OK                                                              48,150
45180                       Talladega-Sylacauga, AL                                                    9.2,728
45340                       Taos, NM                                                                   32,779
45380                       Taylorville. IL                                                            34.638
45520                       The Dalles, OR                                                             25.487
45580                       Thomaston. GA                                                              26,630
45620                       Thomasville, GA                                                            44,724
45660                       1rtlin. OH                                                                 56.018
45700                       Tilton, GA                                                                 41 ,064
45740                       Toccoa.GA                                                                  25,891
45860                       Torrington. CT                                                            187,530
45900                       Traverse City, Ml                                                         145,283
45980                       Troy, AL                                                                   33, 182
46020                       Trucl<ee-Grass Valley. CA                                                  98,292
46100                       Tullahoma-Manchester, TN                                                  100,333
46180                       Tupelo, MS                                                                138,976
46300                       Twin Falls, 10                                                            101 ,094
46380                       Ul<lah, CA                                                                 87.428
46460                       Union City, TN-KY                                                          37.865
46500                       Urbana. OH                                                                 39,565
46620                       Uvalde, TX                                                                 26,752
46740                       Valley. AL                                                                 34 ,064
46780                       Van Wert.OH                                                                28,744
46820                       Vermillion, SO                                                             14, 131
46860                       Vernal, UT                                                                 34,524
46900                       Vernon, TX                                                                 13,258
46980                       Vlci<sburg, MS                                                             57,433
47080                       V1dal1a. GA                                                                36,228
47180                       Vincennes. IN                                                              38,122
47240                       Vineya1d Haven, MA                                                         17,041
47340                       WabaSh, IN                                                                 32,361
47420                       Wahpeton, NO-MN                                                            22,802




PFM-00094205_Confidential                                        Census Data (2)                                                 14 of 15




                                                                                                                          PFM-DEPO-00011536


                                                                   FER-88
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 89 of 299




Tablo 1. Annual Estim otcs of the Pooulation of MetroooliUn •nd Mi crooolltan Sbtistieal Areas: April 1, 2010 to July 1, 2012

                   Metro                           Geogr•phi e area
     CBSA         Division
     Code          Code                                                                              2012
475-40                       Wapakoneta, OH                                                                  45,831
47620                        Warren, PA                                                                      4 1. 146
47660                        Warrensburg, MO                                                                 54,397
47700                        Warsaw, IN                                                                      77.609
47780                        Washington, IN                                                                  32,064
47820                        Washington, NC                                                                  47,507
47920                        Washington Court House. OH                                                      28,880
47980                        Watertown, SO                                                                   27,606
48020                        Watertown-Fon Atkinson, WI                                                      84 ,498
48 100                       Wauchula, FL                                                                    27,514
48180                        Waycross. GA                                                                    5-4,665
48220                        Weatherford, OK                                                                 28,536
48460                        West Plans. MO                                                                  40,629
48580                        Whitewater-81<horn, W1                                                         102,851
48780                        IMlliston, NO                                                                   26,697
48820                        \Mllmar, MN                                                                     42,379
48940                        w,tmington, OH                                                                  41,886
48980                        IMlson, NC                                                                      8 1,867
49080                        IMnnemucca, NV                                                                  17.048
49100                        IMnona. MN                                                                      51 .629
49220                        Wisconsin Rapids-Marshfield, WI                                                 74,424
49260                        Wo<Xt,,ard, OK                                                                  20,548
49300                        Wooster. OH                                                                    114,848
49380                        Worthington, MN                                                                 21 ,487
49460                        Yankton, SO                                                                     22,603
49780                        Zanesville.OH                                                                   85,950
49820                        Zapata, TX                                                                      14,290

Count Question Resolu tion program and geographic program revisions. The Office of Management and Budget's
sIatisIlcal area delinea~ons ror metropolnan and micropo11Ian staUstical areas. as well as metropolitan divisions,
are those Issued bv that aoency in Feb<uary 2013 <http I/Www.whrtehouse.cov.'o mblinfmeo slatpolicy#mS>.
county estimates methodology is available at <ht1p://www.census.govl popest/methodology/2012•nat-st-co-
melh.pdl>.
Suggested Citation:
Table 1. Annual Esti mates of the Population or Mel ropohtan and Micropclltan Statistical Areas. Apnl 1, 2010 to
Source; U.S. Census Bureau, Population Olvision
Release Date: Marcil 2013




PFM-00094205_Confidential                                             Census Data (2)                                            15 of 15




                                                                                                                          PFM-DEPO-00011537


                                                                       FER-89
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 90 of 299

8£S ~ ~000-Od30-I/\J.::ld




                                                                                      ,;,
                                                                                      f;
                                                                                      ..
                                                                                      I!'

                                                                                      i
                                                                                      ~
                                                                                      f
                                                                                      ~
                                                                                      i
                                                                                      f
                                                                                      ~


                                                                                      ig
                                                                                      "~
                                                                                      I
                                                                                      §
                                                                                      "
                                            ,:                                        §
                                            'll                                       •
                                                                                      ..f
                                            ~




                                            i                                         ~
                                            t.                                    ~l
                                                                                  g•
                                                                                 ;1..
                                            =
                                            .
                                            f                                     ~,
                                                                                  ;


                                                                                   #
                                            i                                   "i
                                                                                g~!:
                                                                                N.N


                                            1
                                            :
                                                                                ~ ".!
                                                                                p!
                                                                                 a,
                                                                                §a:
                                                                                I;;
                                                                                  ~~
                                                                                      J
                                                                                --~E
                     -                      8 s .r
                                            .. i;;:             UlH             1u-s                .!
                                                                -(      r:·     ~§ -
                         !! - ..
                                            ~~

                                                                ~                 ~             1
                         Hl
                u
                t~
                                                   ..:;:                                            ~!
                                                                                                    i!
                                                   :                                                _..,

                                             f:
                                                  ~';

                                                  ~.
                                                  2t
                                                                    ii
                                                                 ....
                                                                                  dv -              u
                                                                                                    g
                                        ~
                                        r i -"
                                        0   ~.:-
                                                                 Hs
                                                                    ~i!
                                                                    J   D«
                                                                                  ► Q

                                                                                  g;~
                                                                                            ~


                                                                                                    ,,."",.~-~
                                        re. . ri ;t
                                        t iij
                                            ~}i
                                        .. i"':,:           3
                                                                -:~ =
                                                                   j:~
                                                                                  -• t
                                                                                  !i~i
                                                                                d~ tj
                                                                                ~fl; Ko
                                                                                                    "'~
                                                                                                    ~?'.
                                                                                                    I: Q
                                                                                                    ~   ..
                                        i:H..
                                        .-: ~ ~
                                                           1•
                                                                > ►f ~
                                                                :;ffi::;;;      § § §; §            ~i
                                                                                                    ?;  ?
                                                                0 'g 'o ~
                                        i: f 'i            %
                                                                .. ., ... :i_
                                                                                '6 0 'B DO
                                                                                • • I • •           gj




         ~
         C:
         ~
         <I>
        -;:    _ __
                __,_               _,




                                                                                FER-90
                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 91 of 299

6£S ~ ~000-Od30-V\l.::ld




             JI =p                     !j. u
                                           "l: i! ·t
                                               H
        i                                  ·~ :                    ~   !!        tH!       ir

                                       !!? !lat jj~ :< !!
             !II =?~                                      !§

        i                                                                        !!I!      ii



        1
             !it =•        . !1, •;        -!
                                                 !§ ai:
                                                               !   ! H           HH        '! =
                                                                                              !


             !'! •u,.                      u
                                       !I; ·s?
                                                          !~
        ,i                                     "t                      u    ~    HH n
        . !!~·•!l.
               . !f. H ~!          ;             "!<
                                                          !~
                                                                       u                   H
        i                                   !        !

             HI        =w Jt~ ~1.
                              u !II
        i                       ! !~                                   !~                  ii

             UI •-                     11c u~; !~~!
                                   '                                   !!              !   H
        '    !'! • II
                           •·          ?I
                                            !

                                                 nl= !§
        •
        z
                                           !•
                                            !      ? =!                !!              ?
                                                                                           ~

                                                                                           i i
                                                                                               :



                       • !!                         vg
                                           !! 't
             @l!                       l~
                                               .. i =,                 u         e
                                                                                 •         ii

             !~I       t   !I          !I     ~{ .!
                                           !! =! ·=!                   u                   ii
                                                                                                            J
                                                                                                            l
             r · • !f '

             u             !
                                       ~~


                                       ., -~
                                           •i
                                                 H        ~§
                                                           ;~          H               t   ii               .f
                                            !
                                                 ''-:' ·t              H                   Ei

             q    t 21 i               9Q        ,,
                                                  ii:;:
                                                          •i
                                           '·~       :'    '@          H         ~         d
             ;:    : 2!                          •i
                                       "!         ~:.
                                           ..!       !                 !!                  !!

             ;: ;;     ~, - "!
                                                                       !!                  ii
             :: ::                     =§

                                                                       H     !         !   !t

             JL ! Il IU
                                                 wHI 111
                                                                            ·l
                                                                                 HU H
                   I •it u ·1 J'I II                                                ii
             •I'                   I
                                                                                 ! j
                  i
                                                                                      ' 1t
                  !,           l

                   '
                                       ij L                                                J·
                                          I
                                                  b

                                                                   I
                           i                                                          a
                           .i Ii i.J 1'l'                          f                 31
                                                                                     et
                           !
                           ~
                                       j                           J                  •;
             sn            ~




                                                                                                   FER-91
                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 92 of 299

0vS ~ ~000-Od30-l/\l.::ld




                          i
                          j

            !l!""~;'               u !i_ !t ~§
                                   ~f
        i                           ~! ~! .! !i                                  ~   HH         !
                                                                        n
            ~l!~.~                                    !§
                                   !~.,
                                       ..!   't..: •=  ·?                     !      ? !
        =
                     .                                          . H                             '
            H I -•U
                  f::;                  n ~§ !!
                                   !!;; "(,
        j                            ·! ·: a! ~, H                               !   Ht~        ii


        t
            !ti:ii!                !!•: !~ n !I_
                                     ""!
                                         §! !    !!
                                                       ,:       ♦i            ~      HH         i!


        .• . .••H !t SI: !,.
            { I!!       ij;
                                       •!         !        !
                                                               !~
                                                               !,
                                                                ;       !!    ~      HH         ''
                                                                                                H


            .,UI.-~ ;-
                    If             !I~r !I  !! !5_
                                        ..~f :c ·t gt
        i
        I                                                  :                         !H!        ir


        j
            -,~1
               .•• l!              M !f. !t '!.. !
                                   !¥ : ·~                              H        ~
                                                                                     -: a.,:-
                                                                                     !Hi        ii


                  ,, .
            !f! ~01
                                   !l=·! ~1.i t~ ~
                                                      ~,
                                                 .. - !!
                                                               t§
                                                                                     i'H
        i                                                           ~                . I..      ii
                  ,.
            Jfl ~•H                !t ..u,i !~;i¥ 'I            -,
        1                              =-!                              !!       t   mt         ii

            !'!~'"       ~:.       St:!! ,;t! ?~:; ~1.~ u
                                             f§

        i                                                                        ?   HH         !i


            m/!,nw m     If1!1J 1                                        !   •. !I
                                                                                     mi •JII
             II
            il       . hii 11i
                     !1
                     l JI
                               I

                                                                             '
                                                                                     ! J
            11 ! •t tt
             ! '
                     A


                          I I                                                         ' !1
                  • - -I -
                    !                                           1

            I !' .~ I I3 l i
               !  i                                             i
                                   £                                                   al
                                                                                       ;t
              ~
                                                                r                        ;
            sn      tfii;          i          f




                                                                                                     FER-92
         theran~s
         Pl"oif-cted SO\tfflffll of I JIC!ome

                                                                                     Pftiod E.ndt.g        l                                                         ,.               zo1n          ,C/>,.l,/J:010             .Jv(.t.Dl l!i        1¥ ~f.n,l v                (.zulO
                                                                                                                                        •       ..                                  ,_
                       U,."tt £n>:tftG ~ b exea:itecf~e~                WJt.n           ~us                                                    .
         llevt.tllfif . (US COHHCRCIAl ONLY)
                       u• SHIIICU from us ~ PNrmKits                                                            25,000.000                   115,500             ' 4 ].,000          .:~1.000               a<0.000 •          1,260.00C,      S      2,alS-,.000    S       4.515,000
                       Utll S t-MltH ll«t ~ ftom Ftl)'SClllt:$ Offt<t:S. (<Ourttf)
                                                                                                                                                                                •    6-16,000    •          92:, .000          1.540,CCO              l,oeo,cco              4,620. 0CO
                                                                                                                                                                                                                                               $
                       u:, Stft11Cts ~venue from KoSPC1ls (cour~•,
                                                                                                      ••
                                                                                                                         -
                                                                                                                                  ••                     ••                                                 62S.OOO       S
                                                                                                                                                                                                                          •    1 ,250,000       •     3,125,000      •
                                                                                                                                                                                                                                                                     S       4~37S,000
                       OnSd.e StN)c.c·s Rcvt:nw fl"'Ol'n tlO'SPittb                                                      -                                                    •••               •••                                                                  s
                       Ptiltmx~~rviees                                                                ••                                                                                                                                                                             --
                       000
                                                                                                      ••
                                                                                                                                  •••            r&O
                                                                                                                                                        •••          111D     •          Tl5D    •             '1&0       ••            TBD
                                                                                                                                                                                                                                               ••            TIID    •               TBO


                       Toi.al Revenue.                                                                s        2S,OOO,OOO                    JIS.500             C-41,000           1.057,000                                                         9,.040.000     S-     1 l. 51.0, 000
                       CoA o t Rcvem.R~
                                                                                                                                  •                      •                    •                 • 2,3&9,000 • 4,0S0,000 •
                                                                                     /ttt,t,I Pnama«y $.                                      57,7S0             2 20, 500           220,500                420,000                 6JQ.OOO            1, 4 17,500   S       2,251, 500
                                                                       ~ Off#« (CXIOIJ«)              S
                                                                                                                                  ••                                          ••     1.... -
                                                                                                                                                                                                  •                •
                                                                                                                                                                                                            2n.200 "                C6l.000
                                                                                                                                                                                                                                               ••         924.000    S       1,306.000
                                                                                                                                                                      -                                     187,,00                 31.5,000              937, 500   S       l , lll.500
                                                                                   1-, S                                                                                                                            •                          •
                                                                                -ul                                                                      •••
                                                                                 -1«-•I •                                -                                            -                   -
                                                                                                                                   ••                    •                     ••               •••
                                                                         ~ , . ; , t , u l Sf.rvlCU $                                                                                     -                     Te:,
                                                                                                000 •                               •            11'D                 TBD       •        TBO      •             -- ••                   TBO    ••            T80
                                                                            tcut c.osiot ~c:,a,,c ..                     -                              .•                    <                                      00   <     l                      3 ../19 000   'S
                                                                                                                                                                                                                                                                     •• . mo
                                                                                                                                    •                                                             •                                            •
                       c.,o~s; P ra 1,                                                                $        2.5.000.000        s                     s                            6!il.,     s       I                 <    ,.              s            1,       s       •.
                                                                                                                                              "·                              •
         Opcw~t lfto   ...........
                       ~su,ch & Ocv-elop'""~ ( ~ K6 u to0fltwut itPCtl a .sunc,rtl                              (SS, 000,000)S          CS.S00.000) s          (S, IOO, CCOJ S (6,100.000) S (6,400,000)                  S    (6,700.000)     > (7,000.000) •              (7. 4lll.OOOJ
                       a.IA Ub- Oi,tt• tions                                                          •s          (Z..50<>,000J
                                                                                                                             S               (400,QQO) I          (440,000J S    (480,000J S     ()l0,000)                S         , ~.0001 S          (640,000) S.          (lW,OOOJ
                       ~ta c.ttlttr                                                                               ( 1.500, 000)
                                                                                                                             S             (300.000)    S         (-0001 S       (300,000) S     (300, 000)               S        (300.000) •   (300, 000) S      (580,000}
                       s.,e,- H .a,ttungi &. Brandlno                                                •$           C7 .ooo.000)
                                                                                                                             s          l l .200.000)   S      (l,JZ0,000) S Cl,• so,oooJ s (l.600,000)                   S    ( I . 760,.000) $
                                                                                                                                                                                                                                              (1.940.000) •      (2. 130,000)
                       G&A                                                                                      ( 18,000,000)S          Cl.500,000)     s      ( 1.650.CCOI s Cl.8~.CCOl s (2,000, 000)                   S   (2,200,000) S (2,420.000) > (l.660.000)
                                                                     Tol.t.l Op,it,at.lft9 C,cpcnses '$        (14,000.00<>) S          ll,W0,000)      S      C9,510,000J $ ( 10,150,000) S ( 10,830,000)                $ , 11,540,-000) S 11 2. 300,000) 1, ( 13. 470,000)

                                                                                                               S9.DOO GOO                          so    ~     9 289500        ~    9A9S300                   57          .t. r• 9.5? 000                3'9 00:0     11:   4 9 1•   ooa
                       EBlTOA                                                                        •                             .                                                             •                                             .
         DIIJW4:ldarlon a T.axn




FER-93
                       Otp,-~bOI' ol ca,pbl A$SIHS                                                    s          12. cco. 0001 s             cu1.• sa• s        (lU •.t.51) $        ( lU,458) S.           (Zl!U9ZJ S              1282.2921 s         (282,292) S            ("11~750}
                       T..a:1..u                                                                      s
                       f.ct i'ICOl'DC                                                                  s (61.000, 0001 $-                   ti ,HJ:i&f ~ j9 400.4SSl s •9.@ .JSs1 s. tii60'&!if s. 19,H4~29'f s. •6.i h .Hif s                                              j56lJ.i119Sj
                                                                                                                                                                                                                                                                                                                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 93 of 299




         PfM..Ql:IQt.alOS_to-ir'-oc:r.u                                                                                                                        P~l,mmeStJ'l3&
                                                                                                                                                                                                                                                                                                         ,.,,


                                                                                                                                                                                                                                                                                             PFM-DEPO-00011541
         therani s
         PN!JK.lff St111ement o f IJK.ome

                                                                                        Paiod f nding                   lO                                 I         10           II     ,,no                                                    ..            l               OlS

                                                                                           n
                                                                                                                                                                                                                   "'"
                                                                     .ments-.m
                                                                                                                                                                                                                                     ' ,,.,...
                      """ r..,~ mroach t:ncut----.:.f

                    (US COH.HCIICLA.L ONLY )
                                                                                                                 7, l-'0.000    S    12, J90,000       S 21.000,000 S M,250,000                     S       Jl,500,000         S.          lO!MXJ0,.000                 750,000,-000
         •--a~ Ut> Stntcn         from US R t : ~ ~
                     u.1>~es a.tw.nut rrom ~oei.cts.(ClOIJIM'"fl                                            •    6.t~.000             9.240,000         1- 12.120.000 S lS,400.000                  S       11.-.000
                                                                                                                                                                                                                                •          72.000,000 S   •             3'2.000,000
                     U,I> Stn!U'S k~nue from ttosp;«bi$ (<0Yrtt1)                                                5,625,000 S    '     6.11S,OOO        S    1,125,000 S. 9,315,000                  S       10.625,000         S           $0.000,000     •             2:u.000.000
                     OnStte ~·nsf:te~                '"°"'   HQ19l."Jil.                                                                               I                                                                                                  $             2•~.000.000
                     ftt.lrffl.lOtl,)bQJI $tl"IJUS
                                                                                                           •••
                                                                                                            $                                          s       10,000,000 1- '     10,000,000 S     •       10.000,000                     ll>,000,000                  120,000,000
                                                                                                                                                                                                                                                  TBO
                                                                                                                        Tl!O    ••             roo                   Tl!O                   TIIO                        TIIO
                                                                                                                                                                                                                               ••                         •                          reo
                     000


                     Total Revenue                                                                               ll,9?S.OOO S        28,>05,000 S              Sl ,44S,000 $       61,025,000 S             70,605.000         $      Z61,000,000         $        1,680,000,000
                     Cose of Rt\l"t-nue:                                                                    •                                                                                               15,750,000                     S4,000,000                   JlS,000.000
                                                                                           R«afPfJJmucy S        3, 570,000 S         6,195,000        S       101500,000 1,       ll,125,000       S                                                     s
                                                                            f'Pt)'StOo'l'IS Of(,u (CXJUtjtfJ s   1,848,,.000 'S       2,11zooo 1                3,6'6,000 S.           4,620,000    S           S,544,000
                                                                                                                                                                                                                                •s         22,000,000 s                 103,000,000
                                                                                        ifosp,,tM(~rJ S           t.687,$00 S         2,062,$00 S               2,4 )7,SOO 'S          2,au,soo s               3,181,SOO                  IS.000,000 S                  68,000,000
                                                                              _ _. , _ s                                                                                                        s                       -                          -      s              72,000,000
                                                                                      """"'" (ons..:t) •                        •                                                                                              ••
                                                                                                                                                                1,500.000              t.500,000    t           1,500,000                    5,000.000                   1-.,000,000
                                                                                                    00D                 Tl!<)   '              TOO
                                                                                                                                                       ••            TOO
                                                                                                                                                                             ••
                                                                                                                                                                                            TIIO                     1·e:o     •                  TIIO
                                                                                                                                                                                                                                                          •
                                                                                 Tot.el Coil cl Rn-taut S        7. 1                11                . ...,                s     U.057 500        •       2       1          .                                                     '"°
                                                                                                                                '                                                                                                                         •
                      c,osi.P,o it                                                                               l.Lo19.             1 •• • ..._       s           ll,       S     bi.Slb-1.                                           1                            1 .0111.
                                                                                                            •                   •                                                                   • ...                      •                  .... •
         Opc,111'n9 tspe.ns-t:t
                      Rttc•rtft • DNtiO;,me:nt (indudng l(i9e~ IGlft\tt,,~ f:rP1 a R.~)                                              {8, lOO.OOOJ S(1,600,000) S (11,700,000) S (l).600,000) S                                             (9.S.000,000) S             (270.000,000)
                      QJA UbOPtr.acaons                                                                     • r1.800.ooo> ,
                                                                                                        11,000.000)
                                                                                                            s                   S  Cl, COO,OOOJ J (l.100.000) S («,000~000} S (4.,100,0001 S                                               (17,000,000) S               (80,000,000)
                      o.UiC~t11e-r                                                                        (860,000)             S  (1,180,000) S (t.. 750.000) S (3,330,000) I (],900,0001 $                                               (13,000,000) S               ,~.000,000)
                      SaJu. H.,li:C'bnt a &ra"ldn;                                                      (2,600.000)
                                                                                                            •s                  S  13,500,000) • (5,200,000) S ( 10,000,000) S (11,700,000) $                                              ,,...000.000, S             (160,000,000)
                      c;.,.                                                                          S (2,90Q.000)              S  (3,.200,000)    13,5oo,OOOJ I (3,900.000) 1, (4 ,)00,000) S                                             (32,000,000) •              (100,000,000)
                                                                           Tool Ope,ratir,,g ExPCMCS S (15,160,000)                                    •
                                                                                                                                > (17,480,000) S. (21,150,000J S (32,910,000} S (18,200,000) •                                        (lOl,000,0 0 0 )    S,         (6 70,00-0,000)

                      ~•n o.t.                                                                               S l l 3 40300      ~          , .. 5001   "u.1&1 soo             $    &.0 3?                            .500       •          3.-..nooaoo                •11 CIOOOnn
                                                                                                                                                                                                        •                                                 •
         oe,,·. ciattMI &; Ta>16




FER-94
                      Otp,ecuoon ol Cllplt-.1 A!Rts                                                                (418,750) S            ( 4-ll,750, 'J         (635,411, S            (6lS, 4l7) I             (635,411) S                1•.000.0001 I               (21.000,0001
                      Tuts                                                                                  •                                                                                                                                                          TSO
                                                                                                                                                                                                                               •i                                      fib
                      l~ttl~                                                                                                                                   11 5'1 liil
                                                                                                                                                                 1   1
                                                                                                                                                                             s         5 iolliilJ                                      1..;s,1S11.1a~1
                                                                                                            • s1:,s~.2m, 1 1•u,,~I"                                                                 • !;l ,iJifilJ
                                                                                                                                                                                                                                                                                                               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 94 of 299




         PILl,(009..l1QS_(Oftro!Mf'U.1                                                                                                                           ProJCll"IM b:D:N St.,_                                                                                                                ,..,


                                                                                                                                                                                                                                                                                           PFM-DEPO-00011542
         theran@s
         Prolorma Qua1er1y Statement or <:ash flow

                                                          Period Endi ng       12/30/ 2013             J/30/ 2010         I       / 2010          I       /lO IU         I       4 •o/LOIU         I       ~/JO/Z010             I

               Beo1nrunn Balance for PerJOd                                s       53 500 ODO    s      105 ODO 000    s          96 000 000    s         87 000 000    s         101000000      s           89 000000
               uet Income rr-om lnC:Ome Statement                          s       (61,000,000) S         (8,842,250) $            (9,289,500) $           (9,498,30Q) S            (9,325,700) S              (8,957,000)
               (dep=tlaion exi,ense)                                       s         2,000,000     s         111,458 s                111,458 s               ll 1, 458 s              282,292 s                  282,292
               Sale or Stock - Optaons enroseo
               Se,v,ces NBL by l'lalgrttns                                 s        75,000,000     s                                                  s                      s                 . s
               Se<VJces rlBL by Sare...ay                                  s                       s                  . s                     .       s    25,000,000        s                 . $
               Services rlSl by Other Retailers                                           TBO                       TBO                    T80                     TBO                       TSO                       TBO
               Adjustments to prepayment of "'"""""                        s       (18,500,000) S                     . s                     . s                            s                 .
               Proceeds from Equity T1ansact110RS                          s        59,000,000 s                      . s                     . s                            s                 . ss
               C:iRil'ill i;!nH~ShlSJrci"
                                                       Lines of Produalon s         (2,000,000 )   s                          s               . s          (1,000,000) S             (2,000,000)
                                                                                                                      .       ~                               (700 000} S                                        1700 000}
                                                                 Mlnilabs s         fJ ,000 000    s                                          . s                                      1700 000} S
               Total capital Expenchtures                                  s        (5,000,000)    s                  .       s               . s          ( l,70u,OOO) S            (~,700,0uO) s               (700,000)

               TOTAL CASHFlOW IN (OUT]                                     s       51, 500,000     s       (8 ,730,7921 S          ('>. 178,()47 ) S       13,913, 158       s      I 11.743,~081 s            (9,]]'4.   IIKI



                                                    Endina ca.sh Balance s        105 000 000      s       96.000000          s    87 000000          s   JOI 000 000        s       89 000 000        s      80 000 000




FER-95
                                                                                                                                                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 95 of 299




         PFM-00094ZOS_ConflC!ent.i al                                                                       -....ry CF Stmt                                                                                                          l ol 3




                                                                                                                                                                                              PFM-DEPO-00011543
         theran@s
         Pn>forma Qualerly Siate=nt of Cash flow

                                                         Period Ending!         i:;2912010         I       11Jo, ~ii1ii         I       lo loo         I        l ii         I       lil l   il         I       /29
                            Ba&ance tor ~noo                                       80 000,000    s             72000000       s         65 000 000    $        58 000 000             55 000 000                 61 000 000
              llet Income from Income Statement                            s        (6,539,000) s               (4 ,916,000) S           (3,340,500) S              (4 ,500) S         12,161, 00           s         6,037, 00
              (deprechaion expe-)                                          s           282,292 s                    418,750 s               4 18,750 $             418,750 $              635,417           s           635,417
              Sale o l Stock • Op110ns exerc-
              Services IIBL by Walgrttns                                   s                           s                            $                      s                     s
              Serviees IIBL by Safeway                                                                 s                            s                      s             . s
              Services NBL by Other Retailers                                                TBO                          TBD                    TBO                   TBO                        TSO                      TBD
              Adjustmenu to prepayment of revenut                          s                           s                            s                      s                     s                          s
               Proceeds from Equity Transactions                           s                           s                            s                      s                     s                          s
              Ca12il,1I fl!i'2td1lut:ts;·
                                                      l.Jnes or Product 10n $                                                       s     (J,000,000)                            s     (3,000,000)
                                                                 Hindabs S           2 100 000         $         2 100,000 s               I 500 000       s     J 500 000 s            4 000 000 s
              Tolal capital Expend,tures                                    $       ( , 100,000        s        ( ,100,000) S             (4 , 00,000)     $    (3,500,000) S          (7,000,000) S

              1TOTAL CASHFLOW JN (OUT)                                      s       lii.~~6.70li, s             !i;,5§7,ho! s             !',4H,l)Uj $          (J,OIIS.1501 s           3,19"',911         s         :t1n,911

                                                   Ending caSh Balance s            72,000,000         s        bS,000,000          s    58,000,000        i    55,000,000       s     61,000,000           s     1>4,000,000




FER-96
                                                                                                                                                                                                                                          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 96 of 299




         PFM-0009420$_ eo,,r.dent,ol                                                                             Summ.aryCFStmt                                                                                                   2ol 3




                                                                                                                                                                                                   PFM-DEPO-00011544
         theran®s
         Proforma Quaterly Statemem of castl flow

                                                        Period End.lngl       1:U30l 2010              12/ 30/ 2014           12/30/2015

               ,_.,,1nnlAo Balance for Penoct                             s      64 000 000       s   10S 000 000 s            68000000
               Ne-t Jncome rrom Income Statement                          s        6,423, 500     $    (3 6,000,000) S         411,000,000
               (deprectiaion expense)                                     s          635,417      s       4 ,000,000 s          21,000,000
               Sale of Stock - Options e•emsed
               Services NSL by Walg<eens                                  s                   -   s            -      $                 -
               Services NBL bv Safe-.ay                                   $                   -   $     25,000,000    s                 -
               Services NBL by Ot h<!r Retailers                                            TBO                TBO                     TBO
               Adjustments to prepayment or revenue                       s                   -                       s                 -
               Proceeds from Equity Transachons                           $                   -   s            -      $                 -
               Cil12ll:i1l Exm:dlU.tc~·
                                                     Lines of Production s                    -   $      (9 ,000,000} S         ( 30,000,000)
                                                                Mlnllabs S         13 000 00 0 1 s     ' 2 1 800 000\ S       1104 1so oooi
              Total capital Expendi tures                                 $        (3,000,000} S       (30,800 ,000) S        ( 134,750,000)

               TOTAL CASHFLOW IN (OUT)                                    $         4 , 058,917   s   (37,800,000)    s       297,250,000

                                                  Endl no C-ash B-alance s        68 000 000      $    68 000 000     $       365 000 000




FER-97
                                                                                                                                                                      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 97 of 299




         PFM-Cl009420S_ c.onr,dential                                                                       Summary CF Stml                                  3 of 3




                                                                                                                                                PFM -D EPO-00011545
                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                  
                        ʫȰȆʌǟёɲʙĮ‫ق‬ơǰĤ‫ق‬ǚؕ¯Ȃ‫ق‬ʛˢɌȱȪȄϹ‫ؖ‬ʊ˟‫ق‬
                            ʇҀР˕ū̼‫ق‬ȤȽŗҁ̙‫ق‬ʝδ˿‫ق‬
                                                                                                                                                                                                                                                                          
                                                          Ϻ΋ƌɋЬŝϻƶ‫ق‬
                                                                                                                                                                                                                                                                          
                                                           
                                                                                                                                                                                                                                                                          
         Ǥֹ~QԘĥ˂ȉÂȗ‫ق‬                                                                                                                                                                                                                                                   
          ǥĦ‫׏‬Z‫ך˧ق¦ق‬ĂԗĪǏҜɊɩϼ‫ق‬                      ʍ‫ق‬        ƑŦÀÕʞЭǃ‫ق‬                                                                                                                                                                                                    
          ǛՉ̚Ņ"ՊŬ‫ق̜̀˩כֲ̛;ق‬                                   ƪʎǴ˘‫ق‬                                                                                                                                                                                                    
          7҂ćĩϓǐՋӠΐ˚‫ق‬                                           Ǆ֑mϽɳ‫ق‬
          ɴ ֡ŭ֤֎ĺԭ͠Ռ‫ץ‬ōֺ‫ق‬                                       ƳƷŮ‫ق‬
                                                                                                                                                                                                                                                                          
          ũǓՍ̝,Ö|̸ů‫ق‬Șʰ֜ʱ‫ق‬                                      ʲŞ×ǅ‫ؗ‬ǈ‫ق‬                                                                                                                                                                                                    
          ɼгдĐ§‫ق‬ÈԀ‫ו‬Ձϭ΁ș‫ق‬                                       ƫŰØűƍƴ‫ق‬
          ?‫ؘ‬әϘ˺‫ق‬əш˪̒‫ق‬                                           Ͼ®ˠƜ‫ق‬

                                                       Ͽ«¬ː‫ق‬


         ʆő҃ƽƤ˗҄ѕ‫ق‬
          ј̴ֻ̾‫ؙق‬ÙĴҹ̓‫ق‬                                            Ō҆‫ق‬
          ɻ!Q}‫} ּ̞ق‬Վц‫قؚق‬                                         ʏÚȚʐț‫ق‬
         ЀӪ˶ ֣҅֟ՏfŖ̐Ё֪ͺ(‫ق‬                                      ŲşǁƠÛ‫ق‬

          3ƻ֒й͉ԂՐտOԃ͈҇+͡‫ق‬                                      
          ɝӓԯ‫ق‬4ͻÜn‫͛ق‬IՑ‫ق‬
          ɬҺ؇˫Ý‫ق‬ԥ˷‫נ‬φHϮ‫ق‬
          ;̹ӭՒՓ Ȋ<¹ϥHųƘŴ[ļ ͢‫ق‬                                 Ք̂ǊŸ‫ق‬
          ɵ!ΛŵѦŶŷͣѾЯŔαaСЂͤՂ                                ŹŜÞƬƭ‫ق‬
          ӥ2 Т˳́ րϪ‫ق‬                                         ЃȾȿֽ â‫ق‬

          Ǧһą ɰāźՕ̀‫ق‬                                           ЄĞƵ‫ق‬




FER-98
          ßàͥá̻҈̟J‫ق‬Նt͚щ‫ق‬                                       ƲŠƥȥɀ¨‫ق‬
          Ś,̃ O‫͝ق‬ɉ‫ق‬                                         ˝ƮƛãAУǆÐ‫ق‬
         ΂ӫ‫ق؛‬Ė͘Eς°‫ق‬ʂʳϸ‫ق‬                                        ȜɭğA­ЅІ‫ق‬

          Ȁ˼‫̔̄ق‬iäȋ‫ق‬Ř΍ЇK‫҉ق‬Өχ±‫ق‬Ϡϲ‫ق׾‬                             Ј˃ħˋ˜‫ق‬




                      ʄSĨȑ֝‫ق‬%Ӗ4ͦ‫ق‬dZЉՖ‫ق‬՗μΔyћՈ‫ ق‬ѥĊҲc̑ƙ‫ق‬ʴÒЊ‫ق‬؈؉‫ق‬Ηɺȭ‫ق‬ȴүǑıъPK‫ق‬Ȳ‫ق‬՘ՙ‫̅ق‬ќыΤǵ‫ق‬԰ΩΞİ‫ق‬ɓ̗Ġ‫ق‬ʡ\ͧȌ‫ق‬؊ʵɂŏʶ‫\ق‬ȍǽ‫؀̌ق‬#‫לق‬ĻΪ‫قױ‬Ķ‫ق‬å‫ق‬ѰƣЋɏěЌɖҊ‫͌ق‬ҼՀ æ‫עق‬ĳФХ‫־‬2օѧ‫ق‬g"‫ق‬dο‫ق‬Îʷɚ‫ق‬

                                     ՞ ՟ԆѓǱ˄‫]ق‬þ‫قא‬ɶ‫ ق‬zͨ‫ق‬ՠա֯‫ق‬ɔΚ|Ϩ)ɐȝǧ‫ق‬ɾȞȎְͩԳ^ӱ‫ق؝‬ˑņь֖֗oÿè‫ق‬DƦ˹ΙҎȷ‫ق‬ɠ=‫ق‬oķǨÑբգL‫ق‬+r͕'ͽԴ‫ق‬sV‫ق‬ѱѲЎsԻ‫ق΃̡ق‬
                                                  ͍tf‫؞‬éê‫ق‬$‫͵ ق‬ĀĽɡԵ‫ق‬ЏАҾդˈËʸċͪ‫ق‬Ňч‫צق‬ψ‫ ق‬Iͼ‫ق‬БĸեВpϗ‫ق‬άֿҝP'̺-‫ق‬ҿW‫ق‬ѳʹэ¾Զ‫ق‬ʅ‫ق‬Ƣ͎ϴҪ :‫؟̢ق‬ӲզF‫ق‬ȟ‫ق‬ƱţƸ‫ق˭ق‬Ưšƿġ‫ق‬ʣָ‫˒ق‬ľčлÊɃ$bă‫ق‬ԇӀҏէëɟ͋‫ق‬ƒƓgӁ‫ק‬.ì‫ق‬Г] íĹu9‫ق‬u‫ ق‬ѼFωըϊ‫ق‬ϔԷ‫̖ق‬ҰϋΧ‫ق‬Ȧɦ͙Ӕ̲‫̣ם͂ق‬Ԟ‫ق‬،hΨ~ϤթY½Ґ‫(ق‬ցѴժ‫ق‬
                                                  ˮ͏‫˽ق(֕ق‬ДϟǼիǺԡ։‫͐̇ق‬5ȸ·ЪÃ‫̏؍ؠق‬ƎѵŃ‫آءق‬Ȭ͜‫ق‬G̽ӂЦЧ‫ق‬γ‫ق‬Í‫ق‬լ`Ҭ‫ʺ ق‬Ҵ‫֭أ‬M‫ؤق‬žɛȒխȹ‫ق‬ўʻɷʼ‫ق‬Ȯ‫ق‬ȧ‫ͫق‬Е‫ق‬aւ ‫ق‬ǉ‫ق‬ӳ^ҞԈфӞEǩȠǪʑ‫إق‬їʈґ‫ף‬ό͑ծĢ‫ق‬
                      ʢΫԱԄėҽç؄‫©ق‬՚Բҋ‫ق׳‬ȁҌ՛ԅđ͊‫ق‬      ʟVҦ‫ס‬ƨ‫ ق׵‬έ˵b‫ق‬ſԉĒƀ͒‫̈قמ‬Ϗկ‫ق‬Ӄ‫ق)׀‬ʤυΓϛӄԸ‫ͬ˓ق‬Жҳ‫ق‬ǫͭҒ)ͮ ‫ق‬Ɲ‫ق‬ǳɯͯ‫ق‬ǂŨÓ‫ق‬ʜ˴̤‫ר‬ϫ‫ق‬ɿĎ'уǢ̯ϐмʒ‫ق‬r֢ƁӅp‫ש‬ď‫`תق‬հ‫ق‬/îғ‫ق‬jҠˤ̥Լփѿձ‫̍˯ق?̓ق‬zղ‫ق‬ʓĚŤťɢ‫ق‬
                                                  Ҕ‫˰ق‬NԊϯѻï‫قق‬ͶՇ D̈́hk֘ʽ‫ق‬Ǭ̦ҕ‫ײق‬ճ‫̉ق‬R‫ق‬ʥνӛw6‫ق‬ʔ¸ЫL;‫ق‬ѣՅƾ‫قئق‬N‫ق‬vׁϑǔύͅ‫ ق‬Җ‫ق‬ʘęW֍Ĳ‫ق׶ا׫‬ř*̧ԋǷ‫ق͓˱ق‬ňѶ‫ق‬ӧ*UM‫ ق‬µƐǀƖJǙ‫ق‬ʕӢ΄̨‫׬‬ք‫ق׺‬ʖƂwԤƏ0‫ق‬
                                                  Зմнյ‫˔ق‬ӆj‫ׂب‬ǭӇǜ˅ɜԜԿ‫ق‬ī0Ĭĭ‫ق‬Ɣƕ78Ͱƃ‫֙ق‬Ʃ{vðͱ‫ق‬x‫ق΅&قׄ׃ق‬ѷk&ԝ‫&قה‬Ά‫ق‬р‫̩قח‬.ȺƄӈѸͲñò‫ق‬ԣ‫װ‬ǒ؅ԟ‫׭ق׽‬Ӊĕю‫ق׷̊ق‬ђώңͷ‫ق‬ҷ̰Ϟֆ‫ةق‬y‫@ق‬θɍԌԬӦ‫ق‬еϝ͗ն‫ق‬
                                                  ֧¿ƼΑ˛‫ׅق‬óSŀ‫قן‬Ԩ֠Ɵ5ѹɘ‫׸‬ģ‫ق‬
                      ǋŻ‫ق‬ʋϩ̆՜њҍ֫Ӯ‫ق‬               ֞ĈƚƅƧ‫ق‬ИпɧɹɁ²‫ق‬ʀϬ֨иήӴ‫׮ق‬Ϧ‫ق‬ŉѭTTҫ/‫ق‬ʬ̱аǇҡʉƗ‫ق‬ζ‫ق׆ت̪˻ق‬Ţ‫ق‬Ѩ֏=‫ق‬ȻʾôֳЙ‫ث֬ق‬+8βxɎ‫ق‬ȅ֓іӗĜ‫ق‬Łʿ>‫ق‬շͳ‫ق‬ǣӜ֌ ‫ق‬ʁ‫ج‬ѠÌ‫ق׹‬ҧ‫؂‬Көˡ‫ ق‬ΣӤֱ‫ق‬ǮȫɆ ַѮ‫ق‬Ǹӿ¢Ύ¡Ǘ֊֛‫>ق‬ˣԍ‫ق‬Ɔƺŧ3‫ق‬ӵη‫ق‬ȯȈɅȃˇ‫˞ق‬,õӊӶʹ‫ق‬
                      ȕmӯѝ΢‫׿‬؋Ѝ̠Ï‫ق‬                 ʯԎ˲ҭ‫حقׇ‬ĵ‫ق‬җ‫׈‬ԏ̫є‫ق‬ӷČԮɪś :т‫قخ‬$‫ق‬Ӹ̎ ‫ׯ‬ϕ֋ ‫ق‬ĔӒnR‫ق‬Ӌ·‫ق‬Л *σո‫ق‬i‫׉‬ԫö-‫ق‬%‫ق‬Ԑɣ‫ق‬ˀBΌɨ ‫͖ב‬Шԩª‫ق‬МкΒΦӝ‫ז‬ֈ¤Ѥ‫ق‬Ôϳ‫̷֐د‬ξԑ͆‫ق̋ق˖ق‬ŋӌ‫قذق‬չ‫ر‬ɈǖԒӡև‫ق‬%‫ق‬ʦλƇо‫ق‬ʧх‫ق‬ӾҤ"͸‫قز‬ʚɫº‫ق‬ʨΕ‫׊‬Ҷƈ‫״ق‬Ԡē9‫ق֩ق‬з‫ד‬ӹҘ‫ق‬ǝǯɸ÷‫ق‬ѡU͟‫̬ق‬Έ‫ق‬ρԹ{ϰ‫ג‬Ծ‫؎ق‬ԧ‫ق‬яÆԺ‫ق‬ӍΉ‫ق‬ՃĘˌѐǞ‫ق‬ӎXΥӬȼ‫ق‬
                                                                                                                                                                                   
                      lΝże‫ق‬ɽŽӰʃ‫ق‬                 ʩι‫!قس‬Ϛӕ‫ق‬τ؏ӏ³‫ق‬ӼĆǌ؆ԓҩ‫ق͇׋‬ΡÁؐұѽGq‫׼‬ǲɄXYˊ‫ق˙´شق‬ӽН‫׌‬вϖˁ‫ֵق‬Ąń֥‫ق‬џѪ֦ŊÇ‫̘ق‬ЮÄ‫ق‬cҟ‫قי‬ȇԁ˸eж‫׻‬Ѣѯø‫قصق‬ǻΊб[̳‫׍‬Å Ӻ‫ض‬պؑ¶Щ˨ϒɮˍÉ Ŏϙ#‫ط‬#ջͿ‫֮́΀ق؃‬
                                                ռɗҥҸ‫ظق‬ù‫ق‬ǹˏlϜ<ˆ‫قعق‬ɞ‫غ‬Ѭ‫ق‬ѫ‫ט‬ӣǶ‫قؼ̿قػ‬ȳ‫»ˎق‬B‫ؒق‬ɱ‫פ ق‬Θ‫ق‬¥սОĝ‫ق‬ʭԦ‫̭ق‬£վˉɒį‫ق‬ʪπҙ̵ɑ‫_ق‬ȏɕǾ ‫ؓق‬ƉԖȓΟ‫ق‬љ‫ق‬Ԫ‫ق_ֶق؁‬CȔǘ‫قؔق‬κ‫̕ق‬сΖǍ‫ق‬ӻԙԚԛŕִ‫ق‬ϣú‫׎‬ҚǎԔ‫ق‬ϡ‫ق‬ȩ Ő‫ق‬Cʗ‫ق‬
                      Π՝ȵҵȶłǡϷ‫ق‬                   ʮ˾û‫ق‬εԽ‫ؽق‬Үϧ͔ίƊǿқ‫ق‬Ȗ1ȐՄΜ‫ؿؾ‬ü‫ق‬Ԣ‫ق‬ԕӐ‫قـ‬ȡȢɤ‫ق‬Ϣɇœ˥‫ق‬ĿƋ‫͞ق‬ƞ6ϵ϶̮ӚҨ1‫ق‬
                      ǠӟΏ¼Ә͹ˬ֔ѩ‫ق؜ق‬
                                                                                                                                                                                                                                                                                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 98 of 299




         @ýɥĉƹưŪ˦‫ف‬ΰϱqǕȨ‫ق‬                                                                                                                         ŒҢ̶֚ʠѺ‫ق‬                                                                                                    Пӑ‫ق‬ȣ‫ق‬
  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 99 of 299




             Trial Exhibit 5473B2



Audio recording produced in native format




                                 FER-99
  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 100 of 299




             Trial Exhibit 5478A2



Audio recording produced in native format




                                 FER-100
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 101 of 299

                                                                                                  DX 07250


Message

From:         El izabeth Holmes [/O=THERANOS ORGANIZATION/OU=FIRST ADMINISTRATIVE
              GROUP/CN=RECIPIENTS/CN=EHOLMES]
Sent:         9/12/2012 1:03:03 AM
To:           Steve Burd [steve.burd3@safeway.com]
Subject:      RE: Poor Lab Service



I think that's fantastic as you know. I'll send you what we're currently working with - the dinosaur lab
does not do 100% of all tests yet. of course with our systems it's a whole different game on time - we'll
have data out within 30 minutes of the sample being processed as you also know ...
-----original Message-----
From: Steve Burd [mailto:steve.burd3@safeway.com]
Sent: Tuesday, September 11, 2012 5:58 PM
To: Elizabeth Holmes
subject: Re: Poor Lab Service
I have not seen any information on expectations. I was assuming with your new dinosaur lab that we would
always be as fast as Quest, and with Theranos technology, much faster on 90% of the tests. Because we
both want flawless execution, I have let my organization know that I want to know about any issues ASAP.
Steve Burd
on Sep 11, 2012, at 5:50 PM, "Elizabeth Holmes" <eholmes@theranos.com> wrote:
> We apparently had a call with SWY's Benefits VP about this.
>
> Here is what I have been told:
>
> The SWY check - in employee at the store told the patient that her doctor would receive results in ~15
hours but did not get this information from the lab or call the lab to confirm. The patient then showed
up to her doctor, who didn't have the results.
>
> We have a process in place for communication of timing expectations but it was not followed in this
case; we have apparently had issues with this in the past as well. I know that our team discussed this
again with the SWY team following this incident.
>
> The phlebotomist who drew the patient's blood was also a temp phlebotomist who was brought on only for
a day in case of volume increases due to the notification that went out to employees. Apparently this
SWY patient also did not like the way the phlebotomist drew her blood - the benefits team mentioned to
our team that this employee is very vocal about things she is displeased with.
>
> As you know, the results are not 24 hours when samples are sent out - I can send you our guidelines for
results turnaround communication. First thing we should do is make sure that our teams are completely in
sync on that.
>
> Flawless execution is our game.
>
>
>
> -----original Message-----
> From: Steve Burd [mailto:steve.burd3@safeway.com]
> Sent: Tuesday, September 11, 2012 11:46 AM
> To: Elizabeth Holmes
> subject: Poor Lab Service
>
> It was just brought to my attention, that one of our employees had a very bad experience with the on
campus lab. The results were supposed to be delivered to her physician within 24 hours and it took
several days. I believe these tests were processed in Palo Alto. Granted we are not using an onsite
Theranos platform, but are instead using a traditional lab process, but we cannot have this experience in
any of our stores. It would negatively impact both the Theranos and the Safeway brand. You should know
that this was a fairly recent experience.
>
> I have just informed my organization that I want to hear about every problem and I want to know every
time we fail to deliver the results in less than 24 hours. our dashboard should let each of us know
immediately about these kind of issues.
>
> I believe this was a case of not being thoroughly patient sensitive. You may or you may not know of
this incident. or you may have information and insight that I do not have. In either case, I believe we
both want the same flawless execution.
>




                                                                                             HOLMES0015175


                                                   FER-101
        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 102 of 299



> Steve Burd
> "Email Firewall" made the following annotations.
> ------------------------------------------------------------------------------
>
> Warning:
> All e-mail sent to this address will be received by the corporate e-mail system,  and is subject to
archival and review by someone other than the recipient. This e - mail may contain proprietary information
and is intended only for the use of the intended recipient(s). If the reader of this message is not the
intended recipient(s), you are notified that you have received this message in error and that any review,
dissemination, distribution or copying of this message is strictly prohibited. If you have received this
message in error, please notify the sender immediately.
>
> ------------------------------------------------------------------------------
>
>

"Email Firewall" made the following annotations.

Warning:
All e-mail sent to this address will be received by the corporate e-mail system, and is subject to
archival and review by someone other than the recipient. This e-mail may contain proprietary information
and is intended only for the use of the intended recipient(s). If the reader of this message is not the
intended recipient(s), you are notified that you have received this message in error and that any review,
dissemination, distribution or copying of this message is strictly prohibited. If you have received this
message in error, please notify the sender immediately.




                                                                                             HOLMES0015176


                                               FER-102
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 103 of 299

                                                                                                                     DX 07653




          From: Elizabeth Holmes [eholmes@theranos.com]
          Sent: Tuesday, March 1, 2016 11: 19 PM
          To: xboies@- rile b                        'immattis@
          Susan. Schendel              bfri              groug
          snunnoffice@            wjperry c.             rine Matthews
          CC: Sunny Balwani; Heather King; Bill.Foege@
          Subject: FW: Friday meeting
          Attachments: Theranos review notes.docx

           FYI from Bill, who we were privileged to have there for the review sess ion last Friday.

           Elizabeth

           From: Bill Foege (Independent Contractor) [mailto:Bill.Foege@
           Sent: Tuesday, March 01, 2016 6:28 AM
           To: Elizabeth Holmes <eholmes@theranos.com>
           Subject: Friday meeting

          Elizabeth, I appreciate the report David has done. Here are the notes I made of the meeting. If they are
          accurate and you want to share them with Board members, feel free to do that. I didn't want to do that
          on my own, but thought it might give them confidence that the science is being questioned, examined,
          and reaffirmed ..

           I thought it was a great day!! Thanks, Bill



          This electronic transmission, and any files transmitted with it, may contain information that is
          privileged, proprietary, trade secret or confidential or otherwise protected. If you are not the
          intended recipient, any use, disclosure, copying, or distribution of the contents of this e-mail or
          its attachments, in whole or in part, is prohibited. If you have received this email in error, please
          notify the sender by return e-mail and delete all copies from your system. Unless explicitly and
          conspicuously designated as "E-Contract Intended," this e-mail does not constitute a contract
          offer, a contract amendment, an acceptance of a contract offer, or a memorialization of an
          existing or prospective contract, and no party is entitled to rely thereon. Please note that any
          views or opinions contained in this email are solely those of the author and do not necessarily
          represent those of Theranos, Inc. Finally, before opening or using attachments, the recipient
          should check for the presence of viruses; Theranos, Inc. accepts no liability for any damage
          caused by any virus transmitted by this email.
          Theranos, Inc., 1701 Page Mill Rd. , Palo Alto, CA, 94304
          650-838-9292 www.theranos.com




FOIA Confidential Treatment Requested by Henry Kissinger                                                        HAK00002444


                                                          FER-103
            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 104 of 299




                                                  Thcranos notes
                                                    Feb.26,2016


          The meeting provided an opportunity for Elizabeth to explain the Theranos
          program to outside scientists with an interest and expertise in the clinical lab
          testing field. The group included Dr. David Helfet, Director of Orthopedic
          Trauma surgery at Cornell, Dr. Stanley Hamilton, Head of the Division of
          Pathology and Laboratory Medicine at MD Anderson Cancer Center, Dr.
          Steven Spitalnik, bead of laboratory services at Columbia University, and Dr.
          Andy Miller, Infectious Disease specialist at Cornell. Dr. Thomas Kickier,
          Director of Hematology and Coagulation labs at Johns Hopkins was on by
          WebEx. Some expressed their skepticism of the Theranos approach, at the
          beginning of the meeting, and most seemed to have detailed information on
          the newspaper reports of Theranos.


          Elizabeth reviewed the studies on the nanotainer, what is known about
          ca)lillary versus venous determinations, the analytic methods used and their
          results, representative studies comparing different items measured by both
          approaches etc. She took many questions and there was a robust discussion of
          the procedures, test results and the meaning of those results. Elizabeth made
          the point that Theranos is not a finger stick company but rather a small
          sample company. Many of the 300 plus tests involve samples other than
          blood.


          By means of slides and video she showed the equipment and how it worked
          and later the group inspected the actual machines and some had finger-stick
          tests done.


          The attitude of the group changed perceptibly during the day. Soon they said
          they had seen enough of the analytical methods and capillary versus venous
          results so that we could go to other things. They were amazed at the closeness
          of fit for results from capillary versus venous sources.




FOIA Confidential Treatment Requested by Henry Kissinger                                HAK00002445


                                                      FER-104
            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 105 of 299




           Soon the tenor of the conversation turned towards what more they would like
           to see (whole system models rather than what can be done with each test), how
           and where to convey the results and what they could do to be helpful. I spent
           time in the car with Steven Spitalnik before and after the meeting and the
           contrast was significant. From a true skeptic to excitement over this being a
           possible game changing approach.


           The conclusions 1 drew from the meeting included:
              1. The amazing detail of the presentations, the high quality of the studies
                 and the assays. The professionalism and quality of the staff and the fact
                 that the Theranos team has identified and perfected so many parts of
                 the program over the years. These were basically academics
                 accustomed to working in an academic environment and they clearly
                 had great respect for the Theranos staff.
              2. They suggested an important consideration that would not have entered
                 my thinking. Usually with science, a finding is not accepted until
                 confirmed by an independent group. That is part of the protection in
                 science. It becomes self-correcting. Theranos is developing protocols
                 that hopefully aren't copied soon by others. They suggest the equivalent
                 of a "chain of custody" approach where an independent person or
                 persons verifies each step. This could be similar to a notarized system
                 where the person does not have to have access to the proprietary aspects
                 but verifies the steps that were taken.
              3. The group felt that publication was essential. The papers would
                 indicate what was done but would not contain proprietary information.
                 Again they made a suggestion that I would not have entertained but
                 became convinced was useful. I would have approached this with a
                 paper in the New England Journal or JAMA, plus an article in Science.
                 They suggested publishing in Clinical Cltemistry. This is not a journal I
                 read but they said the people that need to be convinced are the
                 laboratory directors and they all read that journal. It is likely that
                 publication could be facilitated within months. That would be a good
                 start with other publications in other journals to follow.
              4. They suggested ignoring the newspaper response entirely. Let the
                 science community handle the disputes. And they suggested articles on




FOIA Confidential Treatment Requested by Henry Kissinger                               HAK00002446


                                                      FER-105
            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 106 of 299




                 what the full menu would look like. What needs to be done to change
                 the system?
              5. They confirmed the most important targets as pediatric medicine,
                 cancer care and situations where repeat blood samples are required.
              6. The group suggested some areas for consideration, such as routine
                 sam1>lcs in surgical situations.
          It is clear what can happen in a small group presentation to change minds and
          attitudes. But it is a retail approach and the wholesale approach now involves
          publications, presentations at meetings and the incorporation of more
          laboratory leaders into providing advice, which in turn requires that they
          become familiar with what Theranos is doing.
           Bill Focgc 2/28/2016




FOIA Confidential Treatment Requested by Henry Kissinger                               HAK00002447


                                                      FER-106
                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 107 of 299

                                                                                                                                           10512
   Message

   From:           Jim Mattis Uimmattis@-
   Sent:           3/1/2016 10:25:02 AM
   To:             Elizabeth Holmes [eholmes@theranos.com]; 'DB' I                       · 'Bechtel, Riley' [rileyb~                  ;
                                                  'Bi ll Foege (Independent Contractor)' [Bil l.Foege@         ■■■-; 'Bill Frist'
                                      ; 'gary roughead ' [groughead@I           ; kovacedm@                     ; snunn
                   'Wi lliam J. Perry' [wjperrv@■■I; kmatthews@I
   CC:             Sunny Balwan i (sbalwani@theranos.com ); Heather King [hking@theranos.com)
   Subject:        RE: Theranos Scientific Meeting 2/28



   Thanks, Elizabeth. I'm heartened but unsurprised at the findings. How soon wi ll t he reviews find thei r way int o trade
   journals and mo re broadly into the business world news media to reverse the current story?



   This is the bend in the knee, I think, where we begin recasting the na rrati ve in scientific terms. Well Done on getting us
   this fa r.   Best, Jim



   From: Elizabeth Holmes [mailto:eholmes@theranos.com]
   Sent: Monday, February 29, 2016 7:31 PM
   To: DB<■■■■■■•; Bechtel, Riley <rileyb@-                             ; Jim Mattis <jimmattis@
                                     Bil l Foege (Independent Contractor) <Bill.Foege@,                                ; Bill Frist
                        I <bfrist@■■■•; gary roughead <groughead@.-                           ; kovacedm@ -
   snunn[                     William J. Perry <wjperry~                ; kmatthews@i-
   Cc: Sunny Balwani <sbalwani@theranos.com>; Heather King <hking@theranos.com>
   Subject: RE: Th eranos Scientific Meeting 2/28



   We wanted to share the below and attached in follow up to our discussions, and completion of two scientific
   review sessions last week in which leading clinical and laboratory experts spent a day plus at Theranos
   reviewing our data and technologies in depth .


   The email chain below and attached are from three of the attendees at Friday' s session:


   •   Dr. Helfet is Director of the Orthopaedic Trauma Service at both Hospital for Special Surgery and                              ew
   York-Presbyterian Hospital (https://www .hss.edu/physicians helfet-david.asp).


   •    Dr. Kickier is Director of the Hematology and Coagulation Laboratory for Johns Hopkins
   (http://www.hopkinsmedicine.org/profiles/results/directory/profile/0001436/thomas-
   kickler?pagecount= 1O&clearpagecache=false&modalpref=false&currpage= I).


   •    Dr. Spi!alnik is Vice-Chairman for Laboratory Medicine and Director of Clinical Laboratories, Columbia
   University Medical Center Campus of the New York Presbyterian Hospital
   (http://sk1ad .cumc.columbia.edu/pharm/cumc/profi1e new.ohp?id= 37).




Confidential                                                                                                              THPFM0004700531

                                                              FER-107
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 108 of 299



   We also completed an in depth, day plus scientific review Monday with top experts in laboratory medicine,
   including editors of the top laboratory medicine scientific journal, who chair labs at Harvard and other centers
   of excellence.


   They described our work as "nothing short of remarkable" and used the same words we've heard in other
   sessions, describing our systems as "miniaturized automated laboratorie in a box."


   Elizabeth



   -----Original Message-----
   From : Thomas Kicl<ler [mailto:tkickler@jhmi .edu]
   Sent: Sunday, February 28, 2016 4:10 PM
   To: Helfet, David MD <HelfetD@HSS.EDU>
   Cc: Elizabeth Holmes <eholmes@theranos.com>; Daniel Edlin <dedlin@theranos.com>
   Subject: Re: Theranos Scientific Meeting 2/28


   Dear Dr Helfet:


   I agree. Thank you for your nice summary of the experience that We participated in.


   I was not only impressed with the excellent work done but also with the team that has been assembled. The
   scientist presentations were scholarly, reflected a broad knowledge oflaboratory analytical science and clearly
   presented. I had the im pression of a lot of collective expertise and experience at Theranos.


   With regards


   Tom Kickier



   > On Feb 28, 20 16, at 3:57 PM, Helfet, David MD <HelfetD@HSS .EDU> wrote:


   Gentlemen,
   On behalf of Elizabeth and my elf many thanks for not only giving u of your time Friday,
   but also of your remarkable collective expertise and experience.
   Elizabeth and her team told us they would show us what they had and their data.
   True to their promise they did provide us unfettered access and answered all our questions. Despite some ini tial
   skepticism I do believe ultimately we were all convinced;
   --the vacutainer works
   --if done correctly reliable small amounts of blood via fingerstick can be obtained for testing



Confidential                                                                                          THPFM0004 700532


                                                      FER-108
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 109 of 299



   --Theranos has the technology to test nano amounts of bold with the same tests and accuracy as routinely done
   today with traditional venopuncture
   --the "lab in a box" is a reality and will be a "game changer"
   As we move forward we need your continued involvement and help.
   We are structuring a Scientific/Medical Advisory Board and will send details and hope you will join!!!!
   Again many thanks for all your help,
   Best,
   David



   Sent from my iPad

   This electronic transmission, and any files transmitted with it, may contain information that is privileged,
   proprietary, trade secret or confidential or othe,wise protected. If you are not the intended recipient, any use,
   disclosure, copying, or distribution of the contents of this e-mail or its attachments, in whole or in part, is
   prohibited. If you have received this email in error, please notify the sender by return e-mail and delete all
   copies from your system . Unless explicitly and conspicuously designated as "E-Contract Intended," this e-mail
   does not constitute a contract offer, a contract amendment, an acceptance of a contract offer, or a
   memorialization of an existing or prospective contract, and no party is entitled to rely thereon. Please note that
   any views or opinions contained in this email are solely those of the author and do not necessarily represent
   those ofTheranos, Inc. Finally, before opening or using attachments, the recipient should check for the presence
   of viruses; Theranos, Inc. accepts no liability for any damage caused by any virus transmitted by this email.
   Theranos, Inc., 1701 P age Mill Rd., Palo AJto, CA, 94304
   650-838-9292 www.theranos.com




Confidential                                                                                         THPFM0004700533


                                                       FER-109
                      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 110 of 299

                                                                                                                                                              10570
To:        constance .cullen@spcorp.com[constance.cullen@spcorp.com)
Cc:        Carolyn Balkenhol[cbalkenhol@theranos.com]; Gary Frenzel[gfrenzel@theranos.com]
From:      Elizabeth Holmesl/O=THERANOS ORGANIZATION/OU=FIRST ADMINISTRATIVE
GROUP/CN=RECIPIENTS/CN=EHOLMES]
Sent:      Wed 11/12/2008 9:53:15 PM (UTC)
Subject: Follow up to our call
Theranos Novartis Bone Study Inflammation Report.pelf
Theranos Eyaluation Summary GSK Biomarker Lab.pelf
Excerpts from Theranos TNONC Angiogenesis System Validation Final Study Report.odf
Theranos Methodology Confidential AML Sepsis Paper Excerpts.pelf

 Connie,

 Great to connect. We have attached several reports from programs we have done with other pharmaceutical companies .

 We are looking forward to hearing your thoughts on which assays will be most relevant for the inflammatory agents' upcoming trials.

 Elizabeth.

 Eliz.abeth Holmes
 President and CEO
 Theranos Inc.

 650.470.6lll
 650.838.9804



 PRIVILEGED AND CONFIDENTIAL COMMUNICATION

 IMPORTANT - This electronic transmission, and any files transmitted with it are confidential and/or legally privileged information. This information is intended solely
 for the use of the individual or entity to which they are addressed. Any disclosure, retransmission, reproduction , dissemination or other use of the contents of this
 information by persons or entities other than the intended recipient is strictly prohibited. If you have received this email in error, please contact us immediately and
 delete all copies. Please note that any views or opinions presented in this email are solely those of the author and do not necessarily represent those of Theranos, Inc.
 Finally, before opening or using attachments the recipient should check this email and any attachments for the presence of viruses. Theranos, Inc. accepts no liability
 for any damage caused by any virus transmitted by this email. Our sole responsibility is limited to resupplying any affected attachments.
 Theranos, Inc., 3200 HIiiview Ave nue , Palo Alto, CA, 94304
 650-838-9292      www.theranos.com




                                                                                                                                             HOLMES0018533


                                                                              FER-110
    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 111 of 299



              theranos
           redefining healthcare              Confidential: Results for Novartis Bone Study                07/03/08



                                  Summary Report: Novartis Bone Study


Summary of Study:

•    Small amounts of a statistically significant number of blinded archived plasma
     samples from a Reclast study were sent to Theranos and run on Theranos Systems.
•    Information provided to Theranos:
            o sample ID
            o patient initials
            o time points (0, 24 and 72 hours).
•    Each sample was run on a multiplexed cartridge customized to run IL-6, CRP,
     hsCRP, and TNF-a simultaneously across a broad dynamic range.
•    Results were summarized in excel and sent back; Novartis shared their results from
     PSI (a current 'gold standard').

Background on the Theranos System:

•    Theranos is a fully integrated point-of-care system designed to work remotely and
     wirelessly transmit results from a finger-stick of fresh whole blood or assays run on
     plasma or serum.
•    Up to 6 assays are run simultaneously in a multiplex on a single cartridge with on-
     board controls (the gold standard used by Novartis in this study is not a multiplex
     and requires considerable amount of sample for each assay).
•    Theranos IL-6, TNF-a and CRP assays cover the entire range for high sensitivity
     and regular sensitivity in one assay system , no need for multiple kits or dilutions.
•    Theranos limit of detection is lower than comparable methods.
            o IL-6 average LOO = 0.2 pg/ml, range= 0.2 pg/m l to 1500 pg/ml
            o TNF-a average LOO= 0.65 pg/ml , range= 0.65 pg/ml to 15,000 pg/ml
            o CRP average LOO= 0.06 ug/ml, range= 0.06 ug/ml to 250 ug/ml
•    Theranos systems are factory calibrated, no standard curves or in-house
     calculations are required.
•    Theranos systems can be calibrated to Novartis' gold-standard and predicate results
     using the present data if desirable (the system was calibrated to different standards
     than Novartis used for this study).




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these   Page 1 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                           HOLMES0018534


                                                         FER-111
   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 112 of 299



              theranos
           redefining healthcare              Confidential : Results f or Novartis Bone Study                   07/03/08



Summary of Results from Theranos Systems and PBI

                                                           Theranos                                   PBI
                                               pg/ml        pg/ml         ug/ml            pg/ml     pg/ml          ug/ml
                                Visit
 Barcode#         Initials      (HR)            [I L-61     [TNFal        [CRPl            [I L-61   [TNFa]         [CRPl
A5673052-6         DMC           72               1.0          1.8          45.8             1.5      3.1           39.1
A567320!H>         NLL             0              0.8          0.8           0.1             1.3      1.9            0.4
A5673050-6         DMC             0              0.8          1.1          4.3              1.1      2.2            3.1
A5673051-6         DMC           24              14.3          5.3          41.0            22.6      8.7           40.2
A5673207-6         NLL           24               1.8          1.2           0.1             2.6      '1.7           0.4
A5673208-6         NLL           72               0.5          0.8           0.1             3.3      1.8            0.4
A5803961-6        00011            0              1.5          0.9          11.6             2.1      2.8           13.2
A5803962-6        00011          24              67.7          5.1          56.9            116.6     7.6           80.8
A5851956-6        00011          72               1.9          3.0          70.2             3.7     NES"           89.0
A5851956-6         JCB           24              14.7          2.8          28.8            28.1      4.3           24.7
A5851957-6         JCB           72               1.4          1.1          23.1             2.8      2.3           32.6
A5851955-6         JCB             0              1.1       OOR**           .0.8             2.1      1.3            0.8
A5980440-6         NLS             0             2.7           0.9          4.7              6.3      1.6            3.4
A5980441-6         NLS           24              26.7          2.5          18.8            51.5      5.1           17.6
A5980442-6         NLS           72               3.4          1.9          83.6             7.5      3.6           82.7
A5673154-6          SJS            0              0.8          0.8           0.7             2.0      1.5            0.9
A5673155-6          SJS          24               1.5          0.6          1.3              2.4      1.9            0.9
A5673156-6          SJS          72              2.1           2.4           8.3             4.8      1.7            6.9
A5803964-6          SSP            0              1.1          2.6           9.9             2.1      1.8           11.0
A5803965-6          SSP          24              53.5          8.9          49.9            70.0      9.0           76.8
A5803966-6          SSP          72               1.5          2.8          59.8             2.8      4.2           69.5
A5673232-6         GAB             0              3.8          1.9          1.0              2.8      2.8            0.9
A5673233-6         GAB           24              68.3          7.1          25.5            79.4      10.3          24.7
A5673234-6         GAB           72               3.4          3.9          34.7             2.1      4.4           26.8
A5673462-6         GAS             0              0.7          1.9          1.6              1.0      1.3            1.3
A5673463-6         GAS           24              11.5          3.1          16.4            18.6      2.9           20.0
A5673464-6         GAS           72              4.0           2.0          60.7             7.2      2.9            56.2
A5673091-6         MAD             0              1.1          7.9           5.2             1.7      2.1            4.6
A5673092-6         MAD           24              23.1         14.9          33.3            37.3      9.1           45.9
A5673093-6         MAD           72              4.3          12.9         102.2             5.3      4.7           75.4

* NES = Not Enough Sample
** OOR = Out of Range (Low)




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these        Page 2 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                                HOLMES0018535


                                                          FER-112
    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 113 of 299



                     theranos
                   redefining healthcare             Confidential: Results for Novartis Bone Study         07/03/08



Analysis of Data

Correlation of IL-6 data from Theranos Systems and PBI

•       Correlation between Theranos and PBI results was high (Fig. 1)
•       Since the samples spanned a wide range, a log-log plot was used to analyze the
        correlation across the range of the assay - correlation on the log-log plot was also
        high {Fig. 2).

                     Fig. 1: Correlation of Theranos with PSI Data
                                           IL-6
            900 , - - - - - - - - - - - - - - - - - - - - - - ,

            ao.o               y = 0.667x - 0.2488
            70.0                   R2 =0.9547             ♦                ♦


    i 60.0
    C>
    0.
    lo' 50.0
    _j
    c:,
    ~       40.0
    C

    ~ 30.0
    £:
    1-
            20.0

            10.0

             no _ ::___~--~--~--~--~--~-----l
               o.o   20.0 40.0 60.0 80.0 100.0 120.0 140,0
                                            PBI [JL-6) pg/ml




                         Fig. 2: Corre lation of Theranos with PBI Data
                                     IL-6 on a Log-Log scale
             2.0

                           y = 0.9983x - 0.2208
             1.5               R2 = 0.9244
    ..I
    ..e
    ~
    ii?' 1.0
    ..I
    .,0
    ;:::.

    C
                           ♦   ♦
    .,~ 0.5
    f:.
    "'
    0
    ..I
             0.0
                               0.5          1.0               1.5       2 ,0     25
                                   •
            -0.5
                                           Log PBI [IL-6) pg/ m L




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these   Page 3 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                           HOLMES0018536


                                                                    FER-113
    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 114 of 299



                     theranos
                  redefining healthcare               Confidential: Results for Novartis Bone Study         07/03/08



Correlation of T NF-a data from Theranos Systems and PBI

•       Correlation between Theranos and PBI results was high (Fig. 3).
•       TNF-a values for 90% of samples were less than 5 pg/ml.

                          Fig. 3: Correlation of Theranos with PBI Data
                                               TNF-a
                                       Omit patient "MAD"
           10.0

            9.0
                                                                          •
           8.0
    _,                  y = 0.7384x- 0.1264
    -E      7.0
                            R2 = 0.8294
    "' 6,0
    C.

    'z"' 5,0
    IL

    t:.
     ,,,
    0       4.0
    C
    .,~     3.0                   •
    F                                            •
            2.0

            1.0

            0.0
               0.0          2.0           4.0          6.0          8.0       10.0   12.0
                                                PBl (Tl'Fa] pg/ml




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these    Page 4 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                            HOLMES0018537


                                                                    FER-114
    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 115 of 299



                         theranos
                     redefining healthcare              Confidential: Results for Novartis Bone Study         07/03/08



Correlation of CRP data from Theranos Systems and PBI

•        Correlation between Theranos and PBI results was high (Fig. 4).
•        Since the samples spanned a wide range, a log-log plot was used to analyze the
         correlation across the range of the assay - correlation on the log-log plot was also
         high (Fig. 5).

                             Fig. 4: Correlation of Theranos with PBI Data
                                                  CRP

             120.0


             100.0                                                            •
    ...J
    .€
    C)
              80.0               y = 0.8889x + 1.4928                                  •
    :,
                                      R2 = 0.8929
    l'L
    ~ 60.0                                                                        •
    .."'a;
    0
    C:                                                                        •
              40.0
    f:.
              20.0


               0.0
                     0            20            40                60              BO         100
                                                 PBI ICRPI ughn L



                           Fig. 5: Correlation of Theranos with PBI Data
                                      CRP on a Log- Log scale

                                              y= 1.1166x-0.1838
                                  2.0              2
                                                 R = 0.9445
    ..J                           1.5
    t
    :,
    ~                             1.0
    a:
    ~
                                  0.5
    ~
    .,
    C

    ;;;
    (:.
    0) • •     0          -0.5                 0.5         1 .0         1.5            2.0   25
    ...
    0




                                             Log PBI [CRP] ug/ mL




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these      Page 5 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                              HOLMES0018538


                                                                       FER-115
   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 116 of 299



              theranos
           redefining healthcare                                Confidential: Results for Novartis Bone Study                                       07/03/08


         Table 1: IL-6 results from Theranos S stems and PBI for 10 atients at 3 time oints
                                Patlenl "DMC" (ll-6) pg/ml                                       Pattant " Oll" (ll-6! pg/ml


                   200

              i     15.0

              ~ ,0.0

                     ...                                                                ...
                                                                                       o.0 + - - - - - ~ - - - - - ;
                                                                                                                               72
                                          2A                    12                                       "'
                                                                                                     1ltn,tPolffl
                                      TIM• Point




                                Patient "0011" (IL-6) pg/ml                                     Patlent"JCB" [ll-6} pg/ml.

                    140,0                                                           3M , - - - - - - - - - - - - ,
                    1200                                                            1M
              ::;- fOO,O
              i. 80,0                                                           i :io.o
                                                                                a. 15..0
              ;      50,0
                                                                                ~
              i '°-0                                                            E. tO.O
                     20.0                                                            5.0
                      0,0-----+------'t
                                          ..
                                      TIIM Point
                                                                n
                                                                                     0.0
                                                                                            0             ..
                                                                                            +-------+------<
                                                                                                     Time Point
                                                                                                                                    72




                                 P11ienl "NLS" (ll-6! 1>11/ml                                    Pali.,t "SJS" (IL'"6) pgJmL




                                          ,.                    72
                                       tlm•Polnl




                                Potlcnt • SSP' (IL-6J pg/ml

                                                                                    80.0 ~ - - - - - - - - - - ~
                     00.0
                                                                                    80.0
                     70.0
                                                                                    70.0
                     00.0
                                                                                __, eo.o
               i     50.0
                  ~ ...0
                                                                                '&50.0
               ! 30,0                                                           ;,o.o
                  =- 20.0                                                       ~ 30.0
                     10.0                                                           :io.o
                     0.0 ------+-------'f
                         0              72..
                                      TiTJ'lePolnl
                                                                                    10,0

                                                                                            0              ..
                                                                                     0.0 +-- - - - - > - - - - - - <
                                                                                                                                     72
                                                                                                      Trmt Potn1


                                Pallenl "GAS" (11.-6) pg/ml                                     Patianl • MAD" [IL-6! pg/ml

                    20.0

                    ,...
                    10.0

              ...., 14.0

              t!~
               ~ e.o
                     C.0
                     20

                         0                ..
                     0.0 + - - - - - - + - - - - - - - - <

                                      nme Pcxnt
                                                          12
                                                                                                          ..
                                                                                                      nme Pcint
                                                                                                                               72




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these                                            Page 6 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                                                                    HOLMES0018539


                                                                       FER-116
   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 117 of 299



              theranos
           redefining healthcare                           Confidential: Results for Novartis Bone Study                                               07/03/08



         Table 2: TNF-o results from Theranos s terns and PBI for 10 atients at 3 time oints
                                   Patient ·oMC" jTNFa] pglnl                                          Polient • Ol l " ]TNFaJ pglml
                          1$_.0
                                                                                         18.0
                         14.0
                                                                                         14.0


                    t    10,0
                    :. 8.0
                                                                                   J ao
                                                                                         12.0
                                                                                         10.0

                    i      1.0
                                                                                   7
                                                                                   ~ ~o
                           4.0
                                                                                          4 .0
                           2.0
                                                                                          2.0

                                                                 12
                                                                                          o.ot=====:::====~n
                                                                                                   0




                                   Patient ·0011· fTNFaJ pg/ml                                         Patient. JOB" I TNFa) pg/ml

                    te.o ~ - - - - - - - - - - ~                                       1s.o ~ - - - - - - - - - - -
                    14.0                                                               1, .o
                    12.0                                                               12.0
               { 10.0                                                          l 10.0
               ,! 8.0
               feo                                                     ~       t 8.0
                                                                               i        0.0
                                                                                                                                             E;:]
                     4.0                                                                4.0
                        2.0                                                             2.0
                     0.0 + - - - - - - > - - - - - - <                                  0.0-~----------1
                                       2'                                                      0                2'                     72
                                         TlfflePolnt                                                         llm• Polnt



                                   Patient "NlS" [TNFa) pglml                                          Patient "SJS" fTNFa) pg/ml

                                                                                     te.o~ - - - - - - - - - - - ,
                                                                                       14.0
                    12,Al                                                              12.0

               i 10.0
               T 8,0
                                                                               1 10.0
                                                                               ~        e.o
               i        0 .0
                        4 ,0
                                                                               i        8.0
                                                                                       4 ,0
                        2.0                                                             2.0                                _--,
                        0.0 - - - - - - , - - - - - - - <
                                                                  72
                                                                                        o.o    t=====~====---1
                                                                                               0                 2'                     72
                                                                                                             TTme Point



                                   Polie,,t •ssp• [TNFa) pglmL                                         Pafient"GAB" (TNFaJ pgtmL
                                                                                       16.0~- - - - - - - - - - ~
                                                                                       f4,0
                                                                                       120

                     :::~                                         I
                f;:
                                                                               !_ 10.0


                        ~o
                                             ~~                                g 8.0
                                                                               ;r:
                                                                               ~0.0

                         2.0                                                            2.0
                         o.o +--------------1n
                                            2'
                                                                                        0.0 + - - - - - - > - - - - - - - <
                                                                                                                 2'                     72
                                         Time Point                                                           Time Point


                                   P8.tl"'t"GAS" (TNFo]pglmL                                           Pa1Jen1 • MAO" )TNFaj pglmL
                     18.0
                                                                                     18.0
                     t4.0
                                                                                       t.1.0
                     12.0

                l    10.0                                                      i ,o.o
                                                                                     12.0


                -
               {e.o
                        8.0
                                                                       E;::J   ; 8.0
                                                                               ~       ...
                        4,0                                                    =- 4.0
                        2.0
                                                                                        2.0
                        0.0+-- - - - - - - - - --1                                      0.0+ - - - - - - t - - - - - - <
                               0             24                   72
                                                                                           0             24             12
                                         Tim♦ Point
                                                                                                             Tim• Point




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these                                               Page 7 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                                                                       HOLMES0018540


                                                                         FER-117
   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 118 of 299



              theranos
           redefining healthcare                                   Confidential: Results for Novartis Bone Study                                 07/03/08



         Table 3: CRP results from Theranos S stems and PBI for 10 atients at 3 time oints
                                         Patient • DMC" ICRPJ u g/ml                              Patient "DLL" (CRPJ ug/ml

                        e;o.o ~ - - - - - - - - - - - ~                              0.5 -
                                                                                     (U  ,._r
                                                                                            _-_-_
                                                                                                -_-_
                                                                                                   --_-_-_
                                                                                                         -_-_
                                                                                                            --_~
                                                                                                               __
                        '5.0
                        40.0                                                         (U
              j35.0
              l :io.o                                                              e 0.3
               :1       25.0
                                                                                   l o.3
              i° 20.0                                                              CL 0.2
                                                                                   [0.2
              2. 1~.o
                        10.0                                                          0.1 - - -
                         s.o                                                          0.1   - - - -- -- - - - - ,
                                                                                      0.0 + - - - - - --+-- - - - -- ,
                                                    2A                   72                             2A           n
                                               Tlme Point                                              Time Polf'II


                                         Patient·oo11· (CRPJ uglml                                 Patient"JCB" (CRP] uglml

                        100.0 ..--- - - - - - - - - - - ,                             3$.0 -.--- - - - - - - - - - - ~
                         90.0
                                                                                      30.0
                                                                                   _, 2S.O


                                                                              ~
                                                                                   } 20.0


                                                                                   ~ :·::
                         40,0
                         30.0
                         20.0
                         10,0                                                          s.o
                          0.0 .....    -------------1
                                             2,1     72
                                                                                       0, 0 ___ _ _ _ _..,..._ _ _ _ __.

                                                                                                                                  72
                                                Tirr,e Point



                                          Patient. NLS" (CRP) ug,ml                                Patient" SJS" (CRP) uglmL

                          90.0                                                          9.0
                          ,0.0                                                          8.0
                          70.0                                                          7.0
                    j     eo.0                                                       'e 8.0
                i ...
                ~
                ~ 30.0
                          .... 0                                                     'o.6.0
                                                                                     ~ ...o
                                                                                     ~~o
                          20.0                                                          ~0

                          ·:~~=::=_______
                                   0..   _j
                                                                        72
                                                                                        1.0
                                                                                        0.0
                                                                                              0            ..               '12
                                                llm•Pcint                                              Thl'le Polnl



                                          Patient "SSP" (CRP) ug,t,,L                              Patient •GA,e• fCRPJ ughnL

                          ...,
                          '00.0
                                                                                        .....
                                                                                        ...
                          ·10.0                                                         311.0
                        ""'C0.0

                        t "·'
                        [:::
                          20.0                                                          10.0

                                                                                            •-•
                                                    ..
                           10,0
                            ~,- - - - - - + - - - - -...                                    •-• + - - - - --+---------<
                                                                        72                                                        n


                                         Patient"GAS" (CRP] ug/mL                                  Patient. MAD" {CRP] ug,mL

                         70.0
                         00.0


                ,.,,0    50.0



                                                                                                                                       E;:J
               [::       to.o

                                                    ..
                                                Time Point




Theranos Confidential: Any retransmissions, reproductions, dissemination or other use of these                                         Page 8 of 8
materials    rsons or entities other than the intended reci ient is ohibited.


                                                                                                                                                 HOLMES0018541


                                                                              FER-118
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 119 of 299



                                      THERANOSCONFIDENTIAL


                 Claxosm,th>CI M!                                               theranos
                                                                             redefrn1ng healthcare

                             Exca-ptsfrom GSK Metabolic Study REport

Nelror, Rhodes, Dira::tor GSK Meta:>olic Bioma-ke- La:>oraory
Sura<ha Ga1ga<11ooka-, The-aios A5Saf SystEms Lee::!

Background information:
The The-a'lOs systEm was e.tal uaoo a GSK to profile a::ti ve GL P-1 aid C-peptide values aid these daa
we-ecompaeto " gold staidad' ELISAsusingfroza, huma, plasrnafrom study XXXXXXX. Thekef
proja::t obja::tives (found in theata:::he::l staEmalt of work) we-e:

   •    To asses.5thepaiormaiceof the The-a'lOs SystEm in measuring a multiple< for GLP-1 aid c-
        pepti devalues (the u Ca-tri dge Anal ytes") as compa-es to the curra,t gold standad ELI SAs
        (which a-e not multiple<oo).
           o Spa::ifically, the study wi II asses.5 The-a'lOs' capa:::>ilities to deta:::t points tha the
                refe-a,ce assaysfaloo to a:x::uraely deta::t by running Sc111pleswith C-peptidevalues in a
                standa-d ra,ge (ngtmL) aid GLP-1 values between 0-3.2 pM
   •    To asses.5thefunctionality, spa::ifidty, rEproducibility, a:::curacy, aid procision of theThe-aios
        SystEm.
   •    Asseas the The-a'lOs daa rEporting aid trai&e- functions

Thirty plasmaSc111ples (assayoo in duplicae) we-echosen basex::l on historical GSK daafor total GLP-1
le.tels from rubja::tsgiva, amixoo mea aid two finge- prick blood dravswe-epeformoo. Five
The-a'lOsma:nineswe-eusedwith a::tiveGLP-1 aid C-peptideca-tridgestha ra:iuiroo 20µL of plasma
Mes::>Scale Discove-i s (MSD) a::tive aid total GLP-1, Linro (Millipore) a::tive GLP-1, aid Linro
(Millipore) C-peptideELISAswe-erun ascompa-aor assays.

GSK MetabolicBiomarke- Lab comma,ts:

   •    Daasho.v good correlaion
            o r2 = 0.90 for GLP-1 (MSD vs. The-a'lOs)
            o r2 = 0.96 for C-peptide (Linro vs. The-a'lOs)
   •    lnte--instruma,t procision (RLU ave-cge%CV = 11)
   •    Ma:ni nes workoo wel I
   •    Touch-s::reen interfc:O:!waseasy to use
   •    Ca-tridgeswe-e pretty straght forwa-d (easy to handle aid load)
   •    A5Safs took c.l)Pfoximaely 1 hour aid 15 minutes pa- ca-tridge

Ova-all condusions:
  • The The-a'lOs systEm el i mi naes the nee::i for a Ia::> aid provi doo quality daa
  • The Meta:>olic Bioma-ke- La::> has afavora:::>le impression of thete:::hnology/systEm aid
      recommalds GSK di nical goups to work with The-aios




                                                                                               HOLMES0018542


                                               FER-119
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 120 of 299



                                              T HERANOSCONFIDENTIAL
 Data:



                                    Study design
     • Human subjects
     • Food "challenge"
     • Measure GLP-1 and C-Peptide multiplex
       over 5 time points
         - Linco Assay
         - MSDAssay
         - Theranos Assay


                                              Theran0$ Confidential




                              C-Peptide Assay
                                         Averaged results

                                C-Peptide Assay Correlation
                                         Human Plasma Samples
                             People fed and samples taken over several hours

                8 .0 ~ - - - - - - - - - - - - - - - - - ,
                7.0
                             y = 0.9328x -t 0.2137
          :, 6 .0
          ::,                    R2 =Q.0029
          ~ 5 .0
          ~ 4 .0
          ~ 3 .0
          Q)
          f:. 2 .0
                1.0                                             N = 29
                0 .0   +-----~---~--~-------!
                       0.0              2.0               4.0            6 .0   8.0
                                       C-peptide, ng/mL Reference Assay



                                              Theran0$ ConfldentJat




                                                                                      HOLMES0018543


                                                           FER-120
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 121 of 299



                                                  T HERANOSCONFI DENTIAL


           Calibration to GSK matrix
                       Correlation ofTheranos Signal (RLU) with MSO result

          4,0

          3.5

          3.0

        ! 2.5
        ~ 20
        " 1.5
          1.0
                                  •                                  y; 3.9917E-04x . 5.350re-01
          0.5

          0.0
                                       ...                                 R2; a 1402E-01


                0            2000                 4000              0000          8000             10000
                                                           Signal

                                                  Theranos Confidential




        Lack of correlation of predicate
                   methods
                    Comparison of tVIII:) commercially available
                                    methods
                20.0 , - - - - - - - - - - - - - - - - - - - - - ,
                18.0                              •
                                                                    y = 1.391 2x + 5.3732
                16.0
                                             •                           R 2 = 0.0682
                14.0
          ~ 12.0 • •
          2 10.0
          ~     8.0
          C!>   6.0
                4.0                    ••             •
                2.0     •• • ••       ••

                    0.00    0.50           1.00       1.50     2.00        2.50   3.00      3.50     4.00
                                                          GLP-1, pM. MSD

                                                  Theranos ConfidentJal




                                                                                                            HOLMES0018544


                                                                    FER-121
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 122 of 299



                                               T HERANOSCONFI DENTIAL



                             Assay correlation
                                              GLP-1 Assay Correlation

                3.50

                3.00

       .,, 250                                   ♦
       0                                                                         ♦
       C
       ~ 2.00
       F.,: 1.50
       d.
       cJ 1.00
             0.50

             0.00 •       --=-;---,----,-----,--~--.-----.---~
                   0.00     0.50   1.00       1.50     2.00    250     3.00   3.50   4.00
                                                 Gl.P-1, pM MSD


                                               Theranos Confidential




                                    Subject 232
                                                     Subject 232

            ,.,.
            ,..                                                                 ~"
            ,.,.

       i u,o
       i
       e,!b

            ""'
            o.<o


            ... •                         ,             ,_
                                                      ...
                                               Theranos ConfidentJal




                                                                                            HOLMES0018545


                                                              FER-122
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 123 of 299



                        T HERANOSCONFIDENTIAL



                    Subject 236
                            Subj ect 236
         ,,.,,
         ,..                                        ~r
         ...
         ,..

       ~ ""
         ,...
         1.00



         ....
         ...
                             Th~•polnt


                        Theranos Confidential




                    Subject 249
                            Subject249

          ....
             l,40



             uo

             WO


       I·...~                                            ~
                                                         T




          .,,
          0.20


          ... •
                            TlrlH poln)



                        Theranos ConfidentJal




                                                                 HOLMES0018546


                                          FER-123
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 124 of 299



                             T HERANOSCONFIDENTIA L



                           Subject 264
                                Subject 264
          ....
          ....                                          ~
                                                        T


          ,~,

      ti u o
      ~



          ·~·
          ....
          0.00

                 '                        '
                                     ...........
                             Theranos Confidential




                     Summary Statistics GLP-1
                          Comparison

    • Theranos LOO = 0.17 pM
    • Dynamic range measured: 0-3.2 pM
    • Mean = 0.9 pM (Th), 1.0 (MSD)




                             Theranos Confidential




                                                                 HOLMES0018547


                                              FER-124
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 125 of 299




            theranos
         redefining healthcare                                                            CONFIDENTIAL


                            Excerpts from Theranos Anqiogenesis Study Report

 Document Outline:

     •   Angiogenesis Study design
     •   Theranos System Overview
            o Specifications
            o Theranos System Performance
     •   Theranos Field Study
            o Field Performance Overview
            o Trial Data
            o Evaluation of time course results from individual patients run through Theranos
                model
            o Review of generated data, in aggregate by patient ID, sex, cancer type,
                treatment, etc.
            o Integrated patient information, including date and time of monitoring, medication
                received, self evaluation of overall health status of each patient and other clinical
                data in a comprehensive format
            o Assessment of the technical performance of the Theranos System
                    ■    Data transmiss.ion % success and mode of transmission used
                    ■    General performance information as logged via the Customer Care line
                    • Assessment of patient compliance with protocol
            o Summary of patient assessment of the Theranos System and the Client
                Solutions team via end-of-study surveys
     •   Conclusions
            o General
            o Technical
            o Economic

 Angiogenesis Study Design:

 In July of 2007, the first patient was enrolled in the trial. This trial consisted of very ill late-stage
 (4m line) cancer patients with various tumor types receiving a variety of therapies at the Sarah
 Cannon Research Center at Tennessee Oncology (TNONC) In Nashville, Tennessee. The
 patients in the study typically resided in very remote locations across the eastern US. Almost all
 patients were not computer literate, and most were from low income families, unable to afford
 private telephone service.

 The Theranos angiogenesis monitoring system was evaluated for clinical efficacy and as a
 means of more accurately and effectively monitoring cancer therapy and the progression of solid
 tumor cancers from a mechanism-of-action perspective. 32 patients were enrolled. Various
 cycles of therapies were monitored as well as physical changes in tumor size.

 Patient installations and shipments for this study were done on-demand. As part of the
 installation procedure, Theranos' client solutions team has performed at-home installations and
 pick-ups for many weak patients.

 For each patient, a total of up to 14 time points were collected during the month-long analysis
 period, 3-4 time points taken at the clinic and the other 10-11 time points taken in-home. Both
 finger-stick and venous samples were taken during each clinic visit, while only finger-stick
 samples were run in-home. The venous draw samples were run on the Theranos System in the
 clinic at the time of the draw; these samples were also processed so that the plasma and/or
 serum was analyzed using a reference method.


                                          3200 HillvieN Palo Alto, CA ~                                      1
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                     HOLMES0018548


                                                    FER-125
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 126 of 299




           theranos
         redefining healthcare                                                            CONFIDENTIAL


 Venous samples were processed using reference methods and provide an archive of 41 anti-
 coagulated plasma and serum samples which were frozen and have subsequently been analyzed
 at Theranos.

 Theranos System Overview:

 The Theranos System is comprised of consumer-oriented readers, single-use cartridges
 containing assay chemlstry and controls, and a data collection system that communicates
 through cellular networks with the instrument to provide assay protocols and to compute and
 display results.

 The steps required of a new patient are to 1) take the machine out of the box and 2) plug it into a
 power source. The touch-screen then walks each patient through the process of poking his/her
 finger, depositing blood into the cartridge, and placing the cartridge in the reader drawer. The
 instrument then processes the assays and sends the data through the cellular network in real-
 time to a secure web-portal.

 Theranos Systems allow for quantitative, multiplexed longitudinal time-series measurements to
 map correlations between the rate of change of blood-borne markers over time to surrogate and
 clinical end-points.

 Specifications:

     ❖   Designed for at home use. Can also be used in physician's offices, ICU, and laboratories.
     ❖   Multiplexed measurement of biomarkers.
     ❖   Customizable for different/new assays on demand.
     ❖   Average 6 measurements per cartridge
     ❖   Serial measurements to comprehensively profile pharmacodynamic response through
         trends
     ❖   Runs fresh whole blood, plasma or serum samples
     ❖   Finger-stick - small sample size
     ❖   Mix and match selection of analytes on demand.
     ❖   Wide measurement range
             o pg/ml - mg/ml (1 billion fold)
     ❖   High sensitivity
             o 0.2 pg/ml (2 parts per 1 a-billion)
     ❖   Analyte Recovery: ~100 %
     ❖   System CV post-calibration (inter-intra reader, cartridge, and assay): < 1O %
     ❖   On-board chemistry controls
     ❖   Factory calibration (no user calibration)
     ❖   Wireless communication of results to appropriate user through cellular network
     ❖   Proprietary algorithms to interpret time trend results

     The existence of a technology infrastructure for home, real-time blood monitoring allows
     collection of information which cannot be obtained using conventional blood testing
     scenarios:
     ❖ Small sample (finger-stick)+ more frequent sampling of a small subset of analytes
          enables:
              o Identification of appropriate analytes (greatly helped by more frequent sampling)
              o Earlier detection of efficacy and safety and acute problems so intervention (for
                  example, dose modification or change in drug type) can be more effective
              o Convenience of monitoring through-out a time-course before an event
     ❖ Higher sample integrity; real-time sample analysis on fresh whole blood on a
          standardized platform which can be deployed at any location (world-wide) eliminates


                                          3200 HillvieN Palo Alto, CA ~                             2
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                 HOLMES0018549


                                                    FER-126
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 127 of 299




               theranos
            redefining healthcare                                                                   CONFIDENTIAL


             assay inaccuracy associated with commercially available tests performed on samples
             which are "old" by the time they are analyzed.
                 o Elimination of erroneous results (caused by analyte instability) and inherent
                     errors in data and patient correlations (caused by processing data at various
                     contract locations)




 For thls study, an instrument was deployed in the home of each patient; four others were installed
 at the Cancer Center.

 Three assays were performed simultaneously in multiplex by the system on a finger-stick sample
 of fresh whole blood. The analytes were Vascular Endothelial Growth Factor (VEGF), soluble
 VEGF receptor R2 (sVEGFR2, usually referred to as VEGFR2) and Placental Growth Factor
 (PLGF). Each assay was controlled using within-cartridge control measurements.

 The system was calibrated at Theranos. Multiple cartridge lots were produced each with
 successively more clinically relevant specifications once samples were received from patients in
 the trial, as samples were not available during assay validation. Each lot was independently
 calibrated.

 Traceability of calibration: Calibration was traced to authentic analytes dissolved at known
 concentrations in a plasma-like matrix. Calibration materials are prepared as mixed solutions of
 the three analytes. Assignment of calibrator concentrations is then made to values found for
 measurements of calibrators using reference assays.

S
,vstem Prf
        e ormance GI
                  oa s.:
     Assav                Reportable low oa/ml                Reportable hioh oa/ml             Precision CV,%
     VEGF                          20                                10,000                            10
     VEGFR2                       150                                15,000                            10
     PLGF                          5                                  1,000                            10

 Assay ranges achieved:
 The client goals for each assay's dynamic range were achieved. Due to the inability to receive
 samples for calibration before the beginning ofthe studies, the upper limit of cal.ibration for VEGF
 was restricted to 3,000 pg/ml in the first cartridge lots, but then extended1 to 10;000 pg/ml. For


 1
     Al I three cH?filfS have a Ii nea- dose-responses e<tendi ng far above the hi.ghest cali brctor used.

                                             3200 Hil lvieN Palo Alto, CA ~                                      3
                                    phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                             HOLMES0018550


                                                       FER-127
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 128 of 299




           theranos
        redefining healthcare                                                            CONFIDENTIAL


 early cartridge lots the PLGF assay lower limit of sensitivity was set for 50 pg/ml. When the
 client realized the need to measure below 20 pg/ml, new lots produced which have reportable
 ranges below 20 pg/ml.

 Specificity:
 The specificity of the assays depends on the pairs of antibodies chosen for each assay. In the
 first instance, Theranos relies on the antibody vendor information. Selected pairs are known to
 have good specificity in ELISA assays. Key issues for these analytes are (1) the structural
 relationship of VEGF and (2) the fact that VEGF binds to sVEGFR2. We have shown that the
 Theranos assay system is not affected by the presence of VEGF and VEGFR2 and PLGF in the
 same samples. In many patients in this study, the drug Avastin is used. This drug is an antibody
 that binds to VEGF. It is obvious that ELISA assays for VEGF (and perhaps VEGFR2) using
 antibody pairs are likely to be interfered with by Avastin.

 As documented below, Theranos developed and validated assays for VEGF and VEGFR2 for this
 client which function with minimal interference from Avastin. In contrast, the gold-standard
 reference assay for VEGF is strongly interfered by Avastin.

 Theranos System Performance:

 Assay accuracy:
 Accuracy has been evaluated by analysis of clinical samples. Two sets of samples have been
 used: (1) A set of 12 serum samples from cancer patients (obtained from a commercial vendor),
 (2) 41 archived serum and plasma samples from this study. Because Avastin was used to treat
 many of the patients in the TNONC study and this antibody strongly interferes with the reference
 method, we used the commercially available samples for VEGF assay evaluation.

 Twelve serum samples were assayed (singlicate) in the Theranos system and in duplicate for the
 reference method with the following results:

 VEGF: y (Theranos) = 0.785 x (reference)+ 95.2; R"2 =0.99. Range 96 - 1985 pg/ml. One
 sample was rejected from the analysis giving very high results in the Theranos system and low
 results in the reference assay. As detailed in the study data, this patient was being treated with
 the drug Avastin. which interferes with the reference assay.




                                         3200 Hil lvieN Palo Alto, CA ~                             4
                                phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                HOLMES0018551


                                                   FER-128
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 129 of 299




                    theranos
                redefining healthcare                                                                    CONFIDENTIAL



                                               Single cartr idge clinical results

        ~00 , - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,

                            y = 0.785x + 95.182
                               R2 = 0.9875
        2000




   E 1500
   Q)
  ui
   ~
  u:
  (!) 1000
  ~


          500




           0+----------------------------1
                0                500              1000            1500            2000           2500          3000

                                                         VEGF, R&D, pg/ml
 For VEGFR2, 39 TNONC samples were assayed in triplicate in the Theranos system and
 duplicate for the reference method. The results were: y (Theranos) = 1.29 x (reference) + 1004;
 R =0.83. Range 1015-9285 pg/ml.

                                       VEGF-R2 - TNONC sample correlation


           10000
            9000                                                                                           ♦
                                   y = 1.2945x - 1004.4
            8000                           R=0.83
            7000                                                                    ♦
   _J

    E
   -..                                                                     ♦                        ♦
    C)      6000                                            ♦
    0..
    .,,     5000
    0
    C       4000
    n,
    L.
    Cl)
   .c       3000
   I-
            2000
            1000
                    0
                        0        1000        2000        3000       4000       5000       6000          7000   8000
                                                VEGFR2 Reference assay , pg/m L




                                                 3200 Hil lvieN Palo Alto, CA ~                                       5
                                        phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                                  HOLMES0018552


                                                           FER-129
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 130 of 299




               theranos
             redefining healthcare                                                              CONFIDENTIAL




 For the initial PLGF samples analyzed by Theranos in the field and with the reference method
 some results in the undetectable range of the reference methods and Theranos' first lots. Once
 the Theranos calibration was extended to allow for a lower limit of detection in new cartridge lots,
 values became detectable from 5-17 pg/ml in the samples.

 A significant correlation was achieved during validation on normal serum samples from twenty
 pregnant women assayed in quadruplicate. They were analyzed on both the Theranos system
 and the reference R&D Systems kit. The following results were obtained: y (Theranos) = 1.26*x
 (R&D Systems); R = 0.96. The average within sample CV for the Theranos results was 9% . One
 sample (shown in pink) below gave discrepant results.


                                               PLGF Assay Correlation

             1000
             900
                                         y = 1.2598x
             800
                                           2
                                                                           ♦
    ::;-                                 R = 0.9337
     E       700

    -°',,,
    .9: 600
    :i
     Q)      500
    a::
     ,,,            •                               ♦
     0       400
     C
     ~
     Q)
    .c
             300
    t-
             200
              100
                0
                    0         100         200         300       400        500        600     700   800
                                                        R&D Result (pg/ml)




 When the results for patients were segregated by trimester and averaged, the concordance
 shown below was found.




                                               3200 Hil lvieN Palo Alto, CA ~                                6
                                     phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                          HOLMES0018553


                                                         FER-130
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 131 of 299




                theranos
           redefining healthcare                                                                CONFIDENTIAL




          600

          500                                                                     o R&D Systems
  ...J                                                                            ■ Toeranos Systems
   E
  .._
   g 400
  l:i:'
    I


  g
  a..
      300
   Q)

   g> 200
   ....
   Q)
   >
  <(
          100

            0
                            First                        Second                         Third
                                                        Trimester



 Effect of Avastin on the reference VEGF assay:
 Comparison of reference and Theranos VEGF assay results for venous samples were not
 correlated. Many Theranos results were in the thousands of pg/ml where reference assay gave
 a low value. Since it was noted that many of the patients had been treated with Avastin which
 binds to VEGF, Theranos did a study of spike recovery for the reference method. VEGF (400
 pg/ml) was added to each sample and the assay repeated. Results are shown below:


                  Avastin            VEGF average, pg/ml                 VEGF average, pg/ml
                  Present                   Ref                              Theranos
                     N                      149                                  588
                      y                         136                             8359

                                    VEGF spike recovery, %
                      N                     66.5
                      Y                         -1.3


 It is evident that Avastin completely blocks the reference assay response. Presumably, Avastin
 binds at a site on VEGF close to or identical with that recognized by one of the antibodies used in
 the reference method. The reference assay thus responds only to free VEGF whereas the
 Theranos assay is not blocked and measures both Avastin-bound and free VEGF.




                                            3200 HillvieN Palo Alto, CA ~                                 7
                                   phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                       HOLMES0018554


                                                       FER-131
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 132 of 299




             theranos
           redefining healthcare                                                                 CONFIDENTIAL


 Assay precision:

 Inter-Instrument Precision:
 Venous samples from patients were run across four instruments.

 Assav                    Reportable low oa/mL               Reportable hiah oo/ml             Precision CV %
 VEGF                              20                               10,000                            8.0
 VEGFR2                           150                               15,000                            7.3
 PLGF                               5                                1,000                            9.2

 Precision in comparison to available reference methods was evaluated during calibration.
 Singlicate measurements from six instruments were used next to commercially available 'gold-
 standards'. Theranos adjusted the target range after obtaining clinical samples. Due to the
 superio.r performance characteristics of Theranos' assay next to commercial standards, obvious
 variances are seen where the reference methods report OORL.

 s·mgIe Iot cal'b
               I rarI0n d ata:
              Analvte                                Ranae too/ml)                          Averaae CV, %
            VEGF (lot 3)                              30-10,000                                  12.0
            VEGF (lot 1)                               30- 3,000                                 10.0
           VEGFR2 (lot 3)                            1,000 -10,000                               4.8
           VEGFR2 (lot 1)                               50- 800                                 17.6
            PLGF (lot 3)                                 5-780                                  26.9
            PLGF (lot 1)                                50- 800                                  9.1

 Precision was also measured by analysis of the 41 archived clinical samples in assays and for
 VEGF 12 commercial samples.

              Analvte                                Ranae (oo/mL)                          Averaae CV, %
               VEGF                                    30-10,000                                 16.7
               VEGF'                                    96-1985                                   5.7
              VEGFR2                                 1,000 - 10,000                              20.4
               PLGF                                      5-780                                   28.7

 Dilution linearity:

 Data gathered during lot calibration.

                                           VEGF, pg/ml           Recovery,%
                                             10000                  (100)
                                              2970                   102
                                               990                   95
                                               297                   105
                                               100                   109
                                                30                   105
                                                10                   101




 2
     Commercial sa-nples

                                            3200 Hil lvieN Palo Alto, CA ~                                      8
                                   phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                            HOLMES0018555


                                                      FER-132
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 133 of 299




               theranos
            redefining healthcare                                                            CONFIDENTIAL



                                           VEGFR2, pg/ml           Recovery, %
                                              10560                   (100)
                                               7920                    92.9
                                               5280                   100.9
                                               3960                   104.8
                                               2640                    97.7
                                               1320                   100.8


                                              PLGF, pg/ml          Recovery, %
                                                 780                  100.0
                                                 312                  87.6
                                                 156                  102.8
                                                  47                  106.3
                                                  16                  92.4
                                                  5                   99.4


 For all assays, recovery was close to 100 % in the reportable range.


 Limit of detection (LOD):
 Data gathered during calibration. The LOD is defined at a 95 % confidence level.

                                                 Analvte              LOD, oo/mL
                                                 VEGF                   < 20
                                                VEGFR2                  <200
                                                 PLGFJ                  < 20


 Theranos Field Study:

 The system was deployed to patients' homes and the TNONC study clinic. All units downloaded
 protocols and uploaded data wirelessly. Some patients used direct telephonic communications
 (POTs modems) if they were worried about cell reception. Data for every patient was profiled on a
 secure, client-specific server.

 Field Performance Overview:

 In this report we document results from:

                      •      27 patients (41 % female and 59% male)
                      •      13 cancer types
                      •      38 Instruments
                            o 27 instruments deployed to patients' homes
                            o 4 instruments deployed to the clinical site in Nashville, TN
                      •      445 cartridges (approximately 1300 assay results)
                            o This number includes cartridges run in-house on archived plasma as well
                               as results gathered in-field


 3
     Lcter stcge cartridge lots

                                             3200 Hil lvieN Palo Alto, CA ~                            9
                                    phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                    HOLMES0018556


                                                       FER-133
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 134 of 299




           theranos
         redefining healthcare                                                                 CONFIDENTIAL


 Data acquisition has proven feasible in the home setting. There were instruments in the field
 operating in extreme temperature conditions (from very hot, no A/C to A/C turned to the
 maximum) as well as in very diverse locations (from RV's to log cabins in the middle of forests), in
 remote, difficult to reach areas where poor cellular reception is prevalent.

 The instruments were deployed across three states: Kentucky, Pennsylvania and Tennessee. As
 mentioned, turnaround time for installation and patient at-home test was generally less than 24
 hours without notice.

 In monitoring this multiplex of analytes at far greater frequency than ever before, considerable
 patient-response variation can be seen across different sub-patient populations, therapies, and
 cancer types.

 When we look at the average results from each patient and the variation seen for each patient, it
 is evident that the patients vary drastically:

                                         VEGF               VEGFR2             PLGF
                                         Avg., pg/ml        Avg., pg/ml        Avg., pg/ml
                        Maximum                 13,584              6,317               410
                        Minimum                   47.5                368               37.3

 By evaluating sample statisti cs such as these, one can identify patients who are
 anomalous and who may benefit from therapy modification.

 For example, of the 13 patients with colon cancer we see one subject with an average VEGF of
 13,600 pg/ml and another with an average of 255 pg/ml whereas most of the patients had VEGF
 values quite closely clustered at 1000 - 5000 pg/ml. Similarly, we see some subjects who show
 very little variation in analyte values and others with wide variations presumably related to
 response (high or low) to therapy.

 Trial Data:

 The following raw trial data was detailed for the client on the server and summarized in the
 sections below.

     1. Clinic visit diagnostics (Patient characteristics and Clinical assay results)
     2. Clinic visit pivot table (clinical results presented as a customizable pivot table)
     3. Patient aggregate data (Compliance data, Result averages and CVs by patient and
        averages by cancer type)
     4. All field analyte data results (from the Theranos system presented by patient in a filtered
        table format (sort-ableJ)
     5. Treatment data (drugs used and dosage)
     6. Individual end-of-study results (patient evaluation of system)
     7. Compilation and summary of end-of-study survey results
     8. Data transmission statistics


 Evaluation of time course results from individual patients run through Theranos model:

 The study data demonstrates that in a statistically controlled study where the endpoint is directly
 proportional with patient outcome, e.g., a RECIST Score, a correlation between analyte dynamics
 and patient response to treatment is generated through Theranos models.




                                          3200 HillvieN Palo Alto, CA ~                                  10
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                      HOLMES0018557


                                                    FER-134
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 135 of 299




             theranos
           redefining healthcare                                                            CONFIDENTIAL


 Clinical endpoint measurements were accessible to correlate analyte vectors and their rates of
 change with time to the patient's progression and response to treatment.

 To showcase the ability to profile such predictive correlations between treatment and response
 profiles, we selected data from two patients --14 and 12. Due to patient 14's clinic schedule (first
 figure below), we were able to collect data following multiple infusion dates, allowing limited
 statistical analysis to be performed that correlates analyte levels with treatment administration.
 The data was run through a cross-correlation function in the Theranos model (second figure
 below) looking at VEGF and VEGFR2 blood levels for patient 14 shows a positive correlation at a
 cadence of 3 data points. This coincides with the patient's weekly clinic visits during which the
 patient receives the Avastin infusions.



                                                        SCP014
                                            Analytes and Treatment data
   4000

   3500

   3000

   2500                                                                                     -+- VEGF
                                                                                            - -VEGFR2
   2000
                                                                                            __._Avastin
   1500                                                                                     --Erbitux

   1000

     500            <>             <>           <>           <>           <>           <>
       0 + - -........-------.-----,-----,- ..------,-----,-- - - , - -- -. . - - - -
       6/1/20 6/6/20 6/11/2 6/16/2 6/21/2 6/26/2 7/1/20 7/6/20 7/11/2 7/16/2
         08       08       008     008     008    008     08     08      008       0d8
        0:00    0:00       0:00    0:00    0:00 0:00     0:00 0:00      0:00      0:00
                                              Date



 The change in rate of the parameters can be correlated to progress, seen again below in a
 correlation plot:




                                            3200 HillvieN Palo Alto, CA ~
                                   phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com
                                                                                                          11

                                                                                                    HOLMES0018558


                                                      FER-135
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 136 of 299




          theranos
        redefining healthcare                                                                CONFIDENTIAL




                                            tnonc14.vegf & tnonc14.vegfr2




                        C       N
                       .g       ci -
                        (I)


                       1
                       ~
                                0
                                0
                                               II      , I ....__,.--,
                                     -+-'--r-1~~~~-,----'-   I
                                                                     1-,---.---.-1
                        2
                       u        ~-



                                                   I             I              I

                                                   .5           0               5
                                                               lag


 For patient 12 (first figure below), we observe an inverse correlation between VEGF and VEGFR2
 blood levels. This suggests that the blood analytes behave differently with different drug
 treatments, pointing at distinct pathways of drug activity (second figure below).



                                                          SCP012
                                       Analytes inversely correlated ; daily Sorafenib




                                                                                              -+- VEGF
                                                                                              - - VEGFR2




       0 -J-_,!:::;::...__~-=!:=~=-----.---=---.;..._--=-___:;.....::::_---1
     6/1 /2008 6/6/2008 6/11/200 6/16/200 6/21 /200 6/26/200 7/1/2008 7/6/2008
        0:00     0:00    8 0:00   8 0:00    8 0:00   8 0:00    0:00     0:00
                                        Date



                                             3200 HillvieN Palo Alto, CA ~                               12
                                    phone: 650.838.9292 fax: 650.838.9165 WWW.thera10S.com


                                                                                                    HOLMES0018559


                                                        FER-136
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 137 of 299




           theranos
         redefining healthcare                                                                CONFIDENTIAL




                                      tnonc12.vegf & tnonc12.vegfr2

                         ~
                         0
                                 ---------------------------------------------

                         '-1:
                         0

                   C
                   0     ("!
                  •. p   0
                   (ll
                  o5
                   t:    0
                   0
                         ci
                  l?
                   (/)
                   (/)
                         (',I
                   2     ciI
                  u
                         '-1:
                         0
                             1



                         ~
                         0
                             I




                                 -6       -4       -2        0         2        4         6

                                                            lag


 Using Theranos technology makes it possible to generate predictive models for each individual
 patient to fully characterize the specific disease model, physiology and environmental factors
 correlating to a clinical outcome or surrogate thereof. The model has the ability to learn,
 becoming increasingly predictive as more data feeds into it from multiple patients with similar
 profiles. The model for this program is now powering follow-on studies for rapid label expansion
 into new indications, where new patient data is being indexed against these stored profiles to get
 early reads on efficacy in new tumor types.

 The T heranos Systems have the capability to generate individual physiological models by
 allowing frequent and carefully selected critical analyte sampling found in a small amount of a
 patient's blood.

 The integration of such data with clinical history and environmental data yields a model that will
 then be able to characterize the bio-physiotogical profile of patients as they converge on one of
 the model's possible states of responder, non-responder or adverse drug reaction.

 The rate with which a particular profile changes and the state towards which it progresses will be
 early indications of a patient's health and response to treatment. As was shown through data from
 patients 12 and 14, different treatments may result in very different responses (based on the
 drugs MOA), which in turn correlates to different surrogate clinical outcomes - for patient 14, the
 average are increasing, while for the other they remain fairly stable aside from daily variations.

 The other data sets that were incorporated into the models are included in aggregate after the
 actual models to protect client confidentiality and the proprietary nature of their model.




                                          3200 HillvieN Palo Alto, CA ~                                 13
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                     HOLMES0018560


                                                    FER-137
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 138 of 299




          theranos
        redefining healthcare                                                                 CONFIDENTIAL




           theranos
         rede/1ncng nealthcare


 Model enables characterization of responder profiles
         and prediction of clinical outcomes
                                                      Non-Responder                   All available
                                                                                      information is
   Adverse drug reaction #3
                                                                                        mapped to
                                                                                       characterize
                                                                   Responder         each responder
                                                                                           state
                                                                                 • Genetic information
    Adverse drug reaction #2                                                     • Clinical information
                                               Adverse drug reaction #1          • Patient history
                                                                                 • Blood information

      x = characteristic data (blood levels, historical data, behavioral information, etc.)

              Theranos Confidential




           theranos
         11dcJ1mng h1atthcare

    New Patient Data Indexed Against Stored Data to
                  predict new patient response profile.
                                                      Non-Responder


                                                                                • Identify who will
                                                                                  be a non-
                                                                                  responder, when,
                                                                  Responder
                                                                                  and what can be
                                                                                  done to change
                                                                                  that person's
                                                                                  'trajectory' to
                                                                                  become a
                                             Adverse drug reaction #1
                                                                                  responder.

                                 o = new patient



              Theranos Confidential                                                              16



                                           3200 HillvieN Palo Alto, CA ~                                    14
                                  phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                          HOLMES0018561


                                                     FER-138
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 139 of 299




             theranos
        redefining healthcare                                                                CONFIDENTIAL


 Patient average VEGF and VEGFR2 data by cancer type:

                                                                                                 Aver age
                                                             Main             Average VEGF       VEGFR2
Patient ID               cancer type                       Treatment          (pg/ml)            (pg/ml)
 SCP001               Adenocarcinoma                         Sutent                     47.5                 2592
 SCP006                 Breast Cancer                       Avastin                      2082                2662
 SCP010                 Breast Cancer                       Avastin                      2055                3040
 SCP008                 Breast Cancer                      Sorafenib                        98               1863
 SCP021               Colorectal Cancer                     Avastin                      4677                3646
 SCP027               Colorectal Cancer                    Sorafenib                     1093                4863
 SCP029               Colorectal Cancer                    Sorafenib                     3612                5658
 SCP003               Colorectal Cancer                      Sutent                        72                2798
 SCP007               Colorectal Cancer                     Avastin                      3860                2350
 SCP009               Colorectal Cancer                     Avastin                       1840                368
 SCP022               Colorectal Cancer                     Avastin           Patient droooed         N/A
 SCP014               Colorectal Cancer                     Avastin                      1826                1634
 SCP019               Colorectal Cancer                         N/A           Patient droooed          N/A
 SCP016               Colorectal Cancer                      Avastin                     3006                2143
 SCP031               Colorectal Cancer                      Avastin                     13584               5463
 SCP024               Colorectal Cancer                     Sorafenib                      255               1540
 SCP028               Colorectal Cancer                     Sorafenib                     1274               6317
 SCP023              EsoohaaealCancer                        Avastin                     3145                2260
                   Gastrointestinal Stromal
 SCP030                     Tumor                            Sutent                       889                2424
 SCP012                 Liver Cancer                        Sorafenib                       96               1253
 SCP017                 Luna Cancer                          Avastin                     3947                2111
 SCP025                   Melanoma                           Avastin                     5399                3294
 SCP002           Neuroendocrine carcinoma                    N/A             Patient droooed         N/A
 SCP026                Ovarian Cancer                       Sorafenib         Patient droooed         N/A
 SCP020             Renal Cell Carcinoma                     Sutent                       368                 883
 SCP004             Renal Cell Carcinoma                     Avastin                     2316                1057
 SCP011             Renal Cell Carcinoma                     Avastin                     3159                1911
 SCP013             Renal Cell Carcinoma                     Avastin                     3908                 770
 SCP015             Renal Cell Carcinoma                     Avastin                     3031                1068
 SCP018                Tonaue Cancer                         Avastin                     1457                3074
 SCP005               Unknown Primarv                        Avastin                     3099                2980




                                         3200 Hil lvieN Palo Alto, CA ~                                      15
                                phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                       HOLMES0018562


                                                   FER-139
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 140 of 299




                 theranos
            redefining healthcare                                                            CONFIDENTIAL


 Selected PIGF time-series plots are shown below.



                                                SCP017 (gender-f) PLGF

          700

          600

   1500
   C)

   .!::
   C      400.
   0


   ~ 300
   C
   <I)
   0
   C
   0
   (.)
          200

          100

            0
           6/6/2008 6/11/200 6/16/200 6/21/200 6/26/200 7/1/2008 7/6/2008 7/11/200 7/16/200 7/21/20Q 7/26/200
             0:00    8 0:00 8 0:00 8 0:00 8 0:00          0:00     0:00    8 0:00 8 0:00 8 0:00 8 0:00
                                              Date & time testing was performed




                                             SCP020 (gender-f) PLGF

          1000

           900

           800

   ~
   C)
           700 -

   .!::    600 -
   C
   0
   .:;     500
   _g
   C
   <I)     400 -
   0
   C
    0
   (.)
           300

           200

           100

                 0
                6/11/20 6/16/20 6/21/20 6/26/20 7/1/200 7161200 7/11/20 7/16/2.0 7/21/20 7(2.6120 7/31/20
                08 0:00 08 0:00 08 0:00 08 0:00 8 0:00 8 0:00 08 0:00 08 0:00 08 0:00 08 0:00 08 0:00
                                              Date & t ime testing was performed




                                             3200 Hil lvieN Palo Alto, CA ~                                     16
                                    phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                         HOLMES0018563


                                                       FER-140
   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 141 of 299




                theranos
             redefining healthcare                                                               CONFIDENTIAL



     Patient monitorina times and aualitv of life bv aender:
                                                                               Time of day
                                                                               when home        Quality of life (as
                                                                               monitoring       measured by on-
                                                                               was oerformed    screen survev)
   Patient ID                    Cancer type                    Gender         (on average)*    (on average)*
                                                                                                NIA (Survey was not yet
    SCP001                    Adenocarcinoma                    f              Morning          deployed)
    SCP006                     Breast Cancer                    f              Afternoon                   7
    SCP010                     Breast Cancer                    f              Evenina                     8
    SCP008                     Breast Cancer                    f              Late Evening                7
    SCP021                    Colorectal Cancer                 f              Noon-afternoon              8
    SCP027                    Colorectal Cancer                 f              Afternoon                  10
                                                                               Afternoon-
    SCP029                    Colorectal Cancer                 f              Evenina              not vet available
                                                                                                NIA (Survey was not yet
    SCP003                  Colorectal Cancer            f             Morning                  deployed)
    SCP017                    Luna Cancer                f             Evenina                              9
    SCP026                   Ovarian Cancer              f             NIA                           NIA
    SCP020               Renal Cell Carcinoma            f             Afternoon                       6
    SCP005                  Unknown Primarv              f             Afternoon                       9
    SCP007                  Colorectal Cancer            m             Evenina                         7
    SCP009                  Colorectal Cancer            m             Late Evenina                    7
    SCP022                  Colorectal Cancer            m             NIA                             8
    SCP014                  Colorectal Cancer            m             Mornina                         7
    SCP019                  Colorectal Cancer            m             NIA                           NIA
    SCP016                  Colorectal Cancer            m             Evening                         8
    SCP031                  Colorectal Cancer            m             Afternoon               not vet available
    SCP024                  Colorectal Cancer            m             Afternoon                       9
    SCP028                  Colorectal Cancer            m             Evenino                 not vet available
    SCP023                Esoohaaeal cancer              m             Mornino                         8
    SCP030           Gastrointestinal Stromal Tumor m                  Morning                 not vet available
    SCP012                    Liver Cancer               m             Afternoon                      10
    SCP025                     Melanoma                  m             Mornina                         9
    SCP002             Neuroendocrine carcinoma          m             NIA                           NIA
    SCP004               Renal Cell Carcinoma            m             Noon-afternoon                 10
    SCP011               Renal Cell Carcinoma            m             Morning                         9
    SCP013               Renal Cell Carcinoma            m             Evenino                        10
    SCP015               Renal Cell Carcinoma            m             Evenino                         7
    SCP018                   Tonoue Cancer               m             Afternoon                       5
• Actual time for each test ooint and diurnal variations of aualitv of life can be found online

     Patient compliance with optional on-screen questionnaire was approximately 90%.




                                              3200 Hil lvieN Palo Alto, CA ~                                   17
                                     phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                            HOLMES0018564


                                                        FER-141
    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 142 of 299




               theranos
             redefining healthcare                                                                CONFIDENTIAL




     Patient clinical visit data bv aae:



Patient                                                                                Alcohol                   Weig ht
ID        Race                  Smokina Status                                         Consumption       Aae     (po unds)
SCP029    Caucasian             does not smoke now, positive history                   None                36            179
SCP010    Caucasian             never smoked                                           monthly or less     45            165
SCP018    Caucasian             Smoke dailv                                            None                45            181
SCP007    Caucasian             never smoked                                           None                46            213
SCP008    Caucasian             smoke occasionallv                                     None                46            180
SCP002    Caucasian             never smoked                                           monthlv or less     49            194
SCP016    Caucasian             smoke occasionallv                                     monthlv or less     49            167
SCP012    Caucasian             does not smoke now, positive history                   None                53            190
SCP015    Caucasian             does not smoke now, positive history                   None                53            174
SCP028    Caucasian             smoke occasionally                                     None                57            262
SCP001    Caucasian             does not smoke now, positive history                   None                61            172
          African
SCP027    American              never smoked                                           None                62            167
SCP009    Caucasian             never smoked                                           None                63            221
SCP011    Caucasian             does not smoke now, positive historv                   monthlv or less     63            305
                                infrequent attempts (never developed a
SCP024    Caucasian             habit)                                                 Every day           64            200
SCP023    Caucasian             never smoked                                           Every day           65            252
SCP005    Caucasian             does not smoke now, positive history                   monthly or less     66             160
SCP021    Caucasian             smoke occasionally                                     monthly or less     66             198
SCP006    Caucasian             never smoked                                           monthly or less     68             163
SCP0 17   Caucasian             does not s moke now, positive history                  Every day           69             112
SCP0 13   Caucasian             never smoked                                           monthlv or less     71            230
SCP020    Caucasian             never smoked                                           None                72             101
SCP026    Caucasian             never smoked                                           None                73             132
SCP031    Caucasian             does not s moke now, positive history                  None                73          134.5
SCP025    Caucasian             does not smoke now, positive history                   None                77             184
SCP0 14   Caucasian             does not s moke now , positive history                 monthly or less     78          2 17.5
          African
SCP022    American               never smoked                                          None                82            178
SCP030    Caucasian              never smoked                                          None                83            182




                                              3200 Hil lvieN Palo Alto, CA ~                                    18
                                     phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                          HOLMES0018565


                                                        FER-142
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 143 of 299




           theranos
         redefining healthcare                                                                    CONFIDENTIAL


 Sample of patient clinical b lood work by patient ID:
                                            Avg .                                  Avg .
                      Avg.%                 Heart                Avg. Total        Systolic       Avg.
  Patient ID          Lvmphocvtes           Rate                 Bilirubin         BP             RBC
  SCP001                             33.4         67.7                     0.7           129.3       3.2
  SCP002                             34.1         55.0                     0.3           161.0       4.3
  SCP004                             27.8         64.7                     0.5           144.7       3.2
  SCP005                             36.4         75.0                     0.2           127.5       3.9
  SCP006                             29.5       100.7                      0.3           112.7       4.3
  SCP007                             24.0         73.0                     0.3           131.3       4.4
  SCP008                             23.7         84.0                     0.4           124.0       5.1
  SCP009                             25.0         71.5                     0.7           133.0       4.5
  SCP010                             45.3         74.3                     0.9           137.8       4.5
  SCP011                             28.6         82.0                     0.6           135.0       4.8
  SCP012                             28.3         75.5                     0.7           122.0       4.0
  SCP013                             31.1         72.0                     0.7           137.0       4.2
  SCP014                             40.2         81.5                     0.4           125.3       4.0
  SCP015                             35.4         78.3                     0.3           147.0       5.0
  SCP016                             18.0         75.3                     0.3           131..3      4.9
  SCP017                             20.7         89.3                     0.4           114.0       4.2
  SCP018                             23.4         70.0                     0.3           133.0       4.8
  SCP020                             17.9         60.7                     0.4           146.0       3.7
  SCP021                             36.5         91.0                     0.4           130.0       4.8
  SCP022                             23.5         93.5                     0.7           123.0       4.0
  SCP023                             26.3       107.7                      0.7           119.7       4.7
  SCP024                             18.8         83.0                     0.7           139.0       3.7
  SCP025                             33.5         94.0                     0.3           143.0       5.2
  SCP026                             34.6       110.0                      0.4           125.0       3.7
  SCP027                              9.5         70.0                     0.7           119.0       3.7
  SCP028                             21.2         98.0                     0.8           125.7       5.2
  SCP029                             32.6         90.5                     0.6           122.8       5.1
  SCP030                             42.3         72.0                     0.4           137.0       3.7
  SCP031                             16.7         70.0                     0.4           145.0       4.3

 All individual patient data was profiled as it was generated on the client-specific secure portal at
 www.theranos.com; raw data can also be found in the attached excel spreadsheet.


 Server and Data Transmission

 Approximately 361 cartridge results and 203 optional home surveys from the field were
 successfully transmitted to the Theranos servers. There were less than 5% transmission errors
 that required the readers to either retry sending the data or wait until they had a better connection
 to send the data. All data gathered in the field was transmitted to the Theranos servers. For the
 first two patients, on-screen surveys were not available. The number of surveys received is
 smaller than the number of cartridge runs due to the above as well as patients filling only one
 survey for each of their clinic visits (even though they ran two cartridges per visit). Once surveys
 became available, each cartridge run also asked the user to complete an optional quality of life
 survey and compliance was very good.


                                          3200 HillvieN Palo Alto, CA ~                                      19
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                           HOLMES0018566


                                                    FER-143
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 144 of 299




           theranos
         redefining healthcare                                                            CONFIDENTIAL




                            Data distribution bv transmission oathwav to date
                 Direct Internet Connection Wireless-GSM I Traditional Phone line
                            5.6%                     90.7%      I        3.7%


 The only problem encountered with using GSM wireless phone technology was poor signal. The
 main reasons for poor cellular reception were: dense foliage, metal roofs and poor signal quality
 due to remote location. In one location (Stewart, TN), there was no cellular coverage at all;
 therefore the reader used the standard telephone line in order to connect to our servers and
 report data as it was gathered. All of this patient's logs were received by Theranos servers. In
 future studies, multiple network providers would be contracted for these areas.

 Overall performance of the Theranos System based on Customer Care log:

 The customer care line was available to patients 24 hours a day 7 days a week over the course of
 the entire study (July 07 to October 08). All calls were addressed professionally and all issues
 were resolved quickly, taking care to minimize the impact on patients and clinical staff.

 The types of calls for which patients used the Customer Care line:

     o   Patient running low on supplies - the solution was to simply ship more of the needed
         supplies with overnight delivery to make sure patient had enough for the upcoming home
         tests.
     o   Patient not knowing how to turn machine on - the solution was to advise the patient over
         the phone on the procedures outlined in the setup sheet they received and to make sure
         they have the instrument up and running.
     o   Patient calJing about scheduling an instrument pickup- solution was to schedule one of
         our representatives to pick up the machine or alternatively to have FedEx pick up the
         reader if patient was able to place it in the shipping container themselves.
     o   Patient called about blood transfer question - the solution was to advise the patient to
         leave the blood transfer device on a flat surface. If this solution was not sufficient, a new
         batch was shipped to make sure no capillary manufacturer defects were at fault.
     o   Patient called about instrument not recognizing ·cartridge - the solution was to ask patient
         to re-try and call back if problem persisted. The suspicion was that due to poor cellular
         signal the reader was unable to communicate, and by re-trying it would perform
         appropriately. There were no subsequent calls from patient.
     o   Patient called about instrument not being ready due to temperature - the solution was to
         ask patient to move reader away from A/C units and possible air currents. Patients had
         moved readers from initial installation location (one moved it to his RV, another into a
         really hot room) and the temperature extremes affected the readers' ability to maintain
         desired temperature. The Theranos readers are engineered to control temperature to
         eliminate variability associated with conventional assays.

 The majority of systems deployed in the field performed their duties throughout the entire length
 of the patient monitoring schedule. One instrument had mechanical issues due to being misused;
 this happened during new personnel training at TNONC. The instrument was promptly replaced
 with a new instrument. The other issue was related to the cellular carrier not identifying the
 instrument. To expedite the process and assure that the clinic was adequately supplied it was
 decided to replace that instrument with one that was known to work. The problem was later
 resolved off-line.



                                          3200 HillvieN Palo Alto, CA ~                            20
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                 HOLMES0018567


                                                    FER-144
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 145 of 299




           theranos
         redefining healthcare                                                                CONFIDENTIAL


 Patient Compliance with protocol:

 It is hard to estimate the patient compliance with the exact protocol due to the factors out of
 Theranos' control. In many instances patients re-scheduled their clinic visits and the new
 c1ppointments were not communicated to us. At the onset of each patient's home monitoring they
 were provided with a tentative schedule which in many cases changed due to patient's need to
 travel or inability to keep scheduled appointments. With this in mind, we estimate that patient
 compliance with protocol was still very good, at approximately 96 % (measured as 80-120% of
 expected testing completed and received). Given the missing information, a much more accurate
 derivation would be possible.

 Theranos System Assessment by Patients:

 Patient end of study surveys were sent out to all participants.

 Summary of patients' assessment of the Theranos system:

         88% of patients surveyed found the Theranos System easy to use; no patients found it
         "very hard" to use.
         76% of patients found the written instructions to be very informative, with clear directions;
         12% did not read instructions
         91 % of patients scored the training given by their Theranos representative either a 9 or
         10 (10 being very good training)
         76% of patients found the Th~ranos System takes little lime to use
                                                                =                         =
         (scores between 1 and 4 were tallied, with 1 very little time and 10 a lot of time)
         100% of patients found the optional touch screen survey on the Theranos System easy to
         use, giving scores of either 8, 9 or 10 (10 = easy to use, 1 = hard to use).
                                          =                   =
         On a scale of 10 to 1 (10 least painful, 1 most painfu0, only one patient gave the
         blood drawing experience a score of less than 6. 59% felt almost no pain, scoring either a
         9 or 10.
         100% of the patients that responded to the survey gave Theranos Customer Support an
         excellent or very good rating
         For the majority of patients, the Theranos System worked very wen. The major ways of
         solving the questions patients had were figuring it out on their own or calling the
         Theranos Customer Care line.
         In the follow-up survey, 100% of patients that responded said they received excellent or
         very good technical support over the duration of the study.
         Most patients said they prefer monitoring from home (scored 8 through 10) using the
         Theranos System; 25% were indecisive (scored 4 to 6) when asked whether they prefer
         going to the clinic or using the Theranos System; only two patients would rather monitor
         at the clinic.

 From the interactions, the system was:
 1. well received and
 2. the client solutions team made a very positive impact on the patients through promptitude and
 professionalism.




                                          3200 HillvieN Palo Alto, CA ~                                21
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                     HOLMES0018568


                                                    FER-145
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 146 of 299




           theranos
         redefining healthcare                                                            CONFIDENTIAL


 Conclusions:

 General:
    1. The Theranos System performed with superior performance to reference assays while
        running in a complex ambulatory environment.
    2. Theranos built a support infrastructure that enables on-demand home installation and
        patient training in extremely rural areas.
    3. Patients preferred ambulatory monitoring to clinic visits and liked using the Theranos
        System.
    4. Non-computer literate patients liked the interactive reader touch-screen and were able to
        successfully use it.
    5. Data can be run through the Theranos model to extract predictive correlations to end-
        points or patient response profiles.

 Technical:
    6. Inter-system accuracy is excellent and was demonstrated on a platform with superior
        performance specifications to reference methods.
    7. Calibrations were updated with access to samples from the trial.
    8. Good correlations were seen to various commercially available gold-standards.
    9. Avastin does not block the Theranos assay.
    10. The Theranos System can measure VEGF both free and bound to VEGFR2 and Avastin
        to better quantify dose-response.

 Economic:
    11. With this validation data, the technology will now be applied to significantly cut costs and
        bring compounds to market faster:

     12. More frequent sampling enabled better characterization of longitudinal time-series
         profiles of angiogenesis protein panels. More accurate insight of the change in rate of
         those panels over time enables significantly faster and earlier reads on efficacy
         dynamics.
              a. See efficacy dynamics trends and correlation to end-points in patient time-course
                   profiles run through the Theranos model.
     13. Response profiles were seen in this study over 30 day intervals. Historically, these types
         of correlations have taken up to a couple years to demonstrate, or in some cases, were
         previously not demonstrable. This time gained facilitates rapid data generation for
         additions to a compendia and rapid label expansion of existing drugs. Equally, this
         approach can be used to fast-track approvals of key compounds and at the same time
         better optimize those compounds with better visibility to achieve the target product
         profiles.
              a. One ofTheranos' pharma partners is publishing a report which estimates the
                   increased time to market is valued at $1 M per day - making every month quite
                   substantial.
     14. Through Theranos Systems. a client will be able to reduce the number of sites, eliminate
         shipping costs for samples, processing costs, and analytical costs. Based on data from
         this program, implementation of these systems enabled ~50% cost savings over current
         study spending, demonstrated to be $15M of a $30M study budget. Equally, through
         better insight into pathway dynamics, Theranos is demonstrating the ability to reduce the
         number of patients required to show statistical significance in future studies by 30-50%.




                                          3200 HillvieN Palo Alto, CA ~                            22
                                 phone: 650.838.9292 fax: 650.838.9165 WWW.lhera10S.com


                                                                                                 HOLMES0018569


                                                    FER-146
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 147 of 299




                           Confidential excerpts from Tha-anosstudies
 Excerpts From a Study Using a Novel Monitoring System to Evaluate Biomarker Levels
 During Neutropenic Fever/Infection or Sepsis in Patients with Acute or Chronic Leukemias
 Undergoing Chemotherapy

 John Chadwick,1 , Kwesi Mercurius2 , MS Timothy M. Kemp2 , Michael Chapman2 , BS, Ian
 Gibbons2 , MA, PhD, Seth Michelson2 , MA, MS, PhD, and Jason Gotlib3 , MS, MD
 June 18, 2008


 Document Summary

 This report documents select findings from clinical studies of febrile neutropenic patients
 conducted in collaboration with the Cancer Center at Stanford University. It describes the
 analytical performance of the Theranos System and the clinical data derived from the study. In
 addition, the report highlights how Theranos Systems and their integr~ted mathematical
 algorithms enable: (a) earlier and more accurate reads on pathway dynamics than pb ssible using
 the conventional infrastructure which, in this setting, translates to predicting th'e· onset of sepsis
 and the optimal time for intervention; and (b) select appropriate analytes for predicting the
 efficacy dynamics of a therapy or the progression of other diseases.

 Leukemia and Neutropenic Fever

 Leukemia is a malignancy of the bone marrow involving clonal expansion of early white blood
 cells. Leukemias are grouped into lymphoid and myeloid subtypes. In treating leukemias, a
 course of myelosupressive induction chemotherapy is given, and patients are rendered
 neutropenic (low white blood cell count). These patients thus become susceptible to neutropenic
 fever/infection compounded by other risks such as the presence of a central venous catheter and
 chemotherapy induced mucositis.

 Neutropenia (low white blood cell count) is a typical complication of chemotherapy during the
 treatment of leukemias.

     o   Neutropenia renders patients more susceptible to neutropenic fever/infection, which can
         compound other risks such as the presence of a central venous catheter and
         chemotherapy-induced mucositis.
     o   Neutropenia is the most prominent serious side effect of induction chemotherapy causing
         increased morbidity, mortality, decreased dose intensity and results in large costs
         (in,_creased length of stay, therapy etc).
     9   Neutropenic infection often leads to sepsis.

 Treatment strategies involve empirical antibiotics, antifungals and other supportive measures.
 These strategies are now well established and effective, with empirical therapy taking into
 account the character of major pathogens, and in-place, evidence-based guidance. Febrile
 neutropenics, however, are not a homogenous population and although the current empirical
 approach is effective some issues regarding both the diagnosis and treatment of sequelae
 remain.

 Some patients develop fever due to local infection, medications, allergies and unknown causes.
 Treatment with antibiotics in these cases can result in increased antibiotic resistance, resulting in

 1
   University of NEM-castle, UK
 2
   Thera,os, I nc.
 3
   Assstant Professor of Medicine, Stanford University Medical School Cancer Center


 Theranos Confidential                          Page 1

                                                                                                HOLMES0018570


                                              FER-147
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 148 of 299




 increased overall costs. Patients who develop fungal infections may initially receive antibiotic
 therapy, and may not be prescribed antifungal therapy until later in the course of infection. Certain
 infections remain refractory to initial antibiotic spectra, and thus there is a delay in treating these
 particular patients.

 More completely determining the diagnosis and risk for neutropenic patients presenting with a
 fever would allow us to triage the patients more effectively, implement earlier customized
 therapeutic strategies, and improve outcomes in these patients.

     o   Lower risk patients could receive outpatient therapy.
     o   Septic patients could be transferred earlier to the ICU
     o   Antifungal therapies could be introduced earlier.
     o   Therapeutic strategies using growth factors to ameliorate the inflammatory response may
         be identified and tested.

 The working hypothesis of the present study was that the Theranos System would enable
 correlation of the rates of change of cytokines and other biomarkers along with other
 relevant physiological factors to the time to onset of fever and clinical manifestation of
 sepsis. In doing so, Theranos Systems would elucidate the optimal time for early
 intervention to substantially improve patient outcomes.
                                                                                ,
 Study design

 This pilot study was planned to enrol leukemic patients and to perform repeated sampling (every
 eight hours) throughout the treatment course, with increased frequency (every 6 hours) during the
 febrile episodes. The long inpatient stay (approximately thirty days) and the presence of an
 indwelling catheter line in these patients facilitated the design of the study.

 This observational pi lot study enrolled 18 patients over a 4 to 6 month recruitment cycle.
 Thousands of samples were analyzed, showcasing the ability to extract high-powered
 correlations from fewer patients using the Theranos methodology.

 Upon admittance into the hospital, patients were appropriately consented for participation in the
 study. Standard of care measures were pursued according to the treating physician/health care
 team, which included compete blood counts, chemistries, liver function tests, blood cultures,
 urinalysis and culture, chest x-ray, and/or other imaging modalities.

 Below is an example protocol for obtaining biomarker analytes in the setting of AML induction
 therapy, where chemothera,Py is administered over the first 4 to 7 days of treatment. Count nadir
 is typically expected to commence approximately 10 days post initiation of treatment:

 1. From day 1 of admission until the time of the first fever, biomarker analysis were obtained q8
 hours (3x daily) from the patient's IV or central venous catheter (1 cc each sample).

 2. At the onset of first fever, biomarker analysis were obtained up to a maximum frequency of q6
 hours (or 4x daily) from the patient's IV or central venous catheter (1 cc each sample), for a total
 of up to 4 cc daily. This frequency of blood central venous catheter blood draws continued for 2
 days after the last fever of :::_38.0C (and during the period when the ANC remains< 1000/mm\
                                                                 3
 3. When both the ANC was greater than or equal to1 000/mm and fever has been less than
 38.0C for more than_24 hours, biomarker analysis frequency was reduced to q8 hours until the
 time of hospital discharge.

 4. Regardless of ongoing fever or clinical circumstances, biomarker analysis was continued for a
 maximum of 30 days after initiation of inpatient chemotherapy, or for a maximum of 30 days after
 admission to the hospital..


 Theranos Confidential                          Page 2

                                                                                                 HOLMES0018571


                                              FER-148
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 149 of 299




 5. Under this sampling scheme, a patient who had biomarker analysis performed for a maximum
 of 30 days in which 15 days were characterized by fever, the estimated volume of blood drawn for
 the study was 15 days x 4cc (q6 hours) = 60 cc, + 15 days x 3 cc (q8 hours) = 45 cc, for a total of
 105 cc over a 1 month period, or an average of 3.1 cc/day. It should be noted that in this
 observational study, some patients were be enrolled just for neutropenic fever after having
 received therapy on an outpatient basis. For such patients, the hospital stay lasted anywhere
 from approximately 2 days to 10 days, and therefore the total volume of blood drawn was less
 (e.g. up to approximately 30 cc).

 6. Whole blood was collected in EDTA tubes and stored at 4C. Twenty microliters of whole blood
 were used in the Theranos System.

 7. The samples were then centrifuged, the plasma aliquoted and then frozen.

 8. Batch processing of the frozen plasma samples were performed at Theranos and via an
 external reference lab.

 9. In addition to the longitudinal measures of the proteins, the database element of the T heranos
 System was customized to automatically integrate all relevant clinical data with the blood
 measurements, facilitating complete contextual analysis of the protein marker trajectories. The
 'back-end' of Theranos Systems is an anonymized, HI PAA-compliant database that contains
 each patient's clinical and laboratory data along with the cytokine measures. This data is stored
 in a model which dynamically evolves as new fielq__ data is collected. This learning engine then
 powers subsequent studies where the integrated model enables predictive information to be
 characterized.

 10. Data collected includes patient age, gender, diagnosis, history of prior disease-specific
 therapies, current use of antibiotics and antifungals, use of hematopoietic growth factors (e.g. G-
 CSF), duration of antibiotic/antifungal use, and source of blood draw. Laboratory data which
 were collected includes vital signs (temperature, blood pressure, heart rate), white blood cell
 count, absolute neutrophil count, hemoglobin, platelet count, microbiology (e.g. blood, urine
 culture results), and radiology results (e.g . presence of infection such as pneumonia or fungal
 nodules).

 The Theranos system was designed to measure multiplexed high and low sensitivity assays. Due
 to the proprietary nature of the study findings and the status of currently intellectual property
 filings, this report' primarily details analytical results for only Protein-C and CRP.


 Reduction in analytical testing noise and ability to extract predictive i nformation from
 biomark ers is enabled by Theranos Systems:

 The ability to ex ract more accurate information on biomarker and drug levels from a point of care
 device fhan possible from a central lab further strengthens Theranos' ability to extract predictive
 correlations from blood data.
     • Fully integrated blood analysis and data modeling allows for better insight into pathway
          dynamics (early reads on efficacy, safety and disease progression)
     ♦    Small sample size (~1 0uL) enables far more frequent sampling
     • No need to ship or export samples
     • No risk of losing samples
     • No analytes decay from fresh whole blood to plasma
     • Reduction in kit-kit CV
     • No kit-kit variability
     • No site-site variability



 Theranos Confidential                         Page 3

                                                                                               HOLMES0018572


                                            FER-149
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 150 of 299




     •   Better dynamic range
     •   Better sensitivity
     •   Instant data access - no wait in receiving data back from labs
     •   Capability to characterize change in rate of analytes through more comprehensive and
         accurate longitudinal trends characterizing time to efficacy or adverse events
     •   Ability to measure PK simultaneously with PD parameters in real-time
     •   Graphical touch-screens on the readers allow for collection of other environmental
         parameters to profile blood data in context when the data is sent wirelessly to Theranos'
         web portal (where the relevant models reside)

 Theranos Reader and Cartridge Specifications




     •   Superior performance over current 'gold-standards' successfully validated externally
     •   Designed for at home use and can also be used in clinics (will be CUA waived)
     •   Multiplexed measurement of biomarkers
             o Max 6-8 per cartridge
     •   Serial measurements to detect trends
     •   Fresh whole blood, plasma or serum samples
     •   Finger-stick: Small sample size (10-20 ul )
     •   Mix and match selection of analytes
     •   Wide measurement range
             o pg/ml - mg/ml (1 billion fold) simultaneously
     ♦   High sensitivity
             o 0.2 pg/ml (2 parts per 10-billion)
     •   Analyte Recovery: ~100 %
     ♦   System CV (inter-intra assay, inter-intra cartridge, inter-intra reader): <10%
     •   On-board chemistry controls
     ♦   Factory calibration (no user calibration)
     •   Wireless communication of results to appropriate user
     •   Proprietary algorithms to interpret time trend results

 Predictive and dynamic modeling

 Theranos' proprietary modeling system marries the feedback of the sampling to the inductive
 logic of the modeling.

 Unlike any other models, Theranos Systems are deductive models which 'close the loop' by
 automatically and dynamically feeding back a measure and retuning the model. Moreover,
 Theranos Systems tune models to given sets of target populations specific to a company's
 compound. Theranos gives exclusive access to these models to its partners to drive future.
 studies.

A model is a mathematical representation of a biological phenomenon that begins with the
general dynamics of the system. That general form is then fit to the observed dynamics by
assigning values to a number of parameters. Each group of parameters traces out a different


 Theranos Confidential                        Page4

                                                                                             HOLMES0018573


                                            FER-150
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 151 of 299




 trajectory, and could be thought of as accounting for one possible individual in a population of
 individuals. The ''typical" parameter set fits the average behavior of the population. The strategy
 fol lowed by other modeling companies is to begin an in silico study by establishing distributions of
 possible parameters sets, and from them inductively establishing a family of "could be's".
 Theranos Systems start with the general mathematical model, and using its proprietary sampling
 technique, establish patient-specific constraints that narrow the world of "could be's" to a much
 smaller (hopefully 1) set of "must be's". That longitudinal sampling and its incumbent feedback
 continuously retunes the model for the specific patient after beginning with the general patient.

 Operating characteristics:
    • The instrument remained powered and available for use at any time.
    • The System required 10-20 uL of sample (fresh fingerstick blood, EDTA-blood, EDTA
         plasma, or serum).
                            4
    • Reportable ranges :
             o Protein-C         0 .1 -6.0 ug/mL5
             o CRP               0 .1 - 300 ug/mL
    • Specificity:
             o No known significant cross-reactants 6. Activated Protein-C (Drotrecogin alpha)
                showed less than 5 % assay response comparea with the same concentration of
                Protein-C. Thus a level of 1 ug/mL of ActJvated Protein-C would be reported as
                out of range low.
    • Interfering substances
             o Non found
    • Total System precision:< 10 % CV across-the clinically relevant ranges
    • Calibration stability2: > 2 months from shipping
 Calibration

 Calibration is traceable to authentic analytes dissolved in a proprietary matrix designed to
 emulate human plasma. A set of five calibrators was made and stored frozen. Each was
 assayed in triplicate over three days on two Theranos instruments. The instruments measure the
 rate of photon production (expressed as "Relative Luminescence Units" or "Counts/unit time").
 Each assay has two replicate measurements and each cartridge has two on-board chemistry
 controls for each assay. These data are transmitted to a Theranos Sever wirelessly or though a
 modem or Ethernet connection. The data are interpreted by a calibration algorithm on the
 Theranos server. Calibration for plasma samples traces directly to the calibration scheme
 described above. Results for paired blood and plasma samples were used to create a calibration
 for blood and, results are reported as "in plasma" equivalent values.

 Assay protocol:
    • Remove cartridge from pouch
    • Obtain a drop of blood by fingerstick or use an EDTA-venous blood or plasma sample.
    • Use TD or pipette to acquire a 20 uL sample
    • Inject sample into marked well in the cartridge
    • Using GUI screen buttons
            o Open door of instrument
            o Slide cartridge into the instrument
            o Close door of instrument
            o Assay begins automatically
            o Screen prompts user when test is complete


 4
   Results are reporta:l in as" in plasma" values for blood and plasma
 5
   Protan-C: 100% normal activity is taken as a:iuivalent to 4.0 ug/mL
 6
   Work sti II in progress


 Theranos Confidential                            Page 5

                                                                                               HOLMES0018574


                                               FER-151
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 152 of 299




 Clinical studies

 Under institutional review board approval and informed patient consent, eighteen Acute Myeloid
 Leukemia (AML) patients undergoing in-patient chemotherapy were enrolled and monitored over
 about four weeks.

 Markers were selected based on previous research in the literature and published clinical studies,
 but this selection had never been monitored at the frequency facilitated by Theranos Systems or
 in such an integrated (via modeling), systematic fashion.

 Blood samples (2 ml) were taken by hospital nurses up to four times per day from a central line
 and immediately taken to a satellite laboratory and run in the Theranos System by a Stanford
 University visiting medical student or Theranos staff. Plasma from remaining blood was
 separated by centrifugation and either analyzed in the System and/or flash-frozen. Approximately
 twenty instruments and 2000 cartridges were used in the study. Plasma samples were also
 subjected to analysis by commercially available ELISA kits (both at Theranos at by a reference
 laboratory\

 Performance validation tests:

 Protein-C

 Accuracy: Blood samples (84) from the AML study were measured (singlicate) in the Theranos
 System and the corresponding plasmas assayed in a Helena ELISA kit in duplicate with the
 following result: Theranos (y) =0.94*Helena (x) + 0.06; R = 0.95. The range of concentration
 was: 0.3 - 5.6 ug/ml.


 Precision: Control materials were run in triplicate over three days on two instruments with the
 following results:
                   Protein C  Inter-day Between
                   ug/ml      Precision Instrument
                                   CV,%         CV, %
                      6.0         3.2           1'
                      4.0         5.4           3.9
                      2.0         4.7           -.l,
                      1.0         12.8
                      Average     6.5           3.9

 Dilution linearity: Control materials were diluted then measured in triplicate in two instruments
 over three days; results were averaged.

                       Protein-C    Protein-C          Recovery
                       ug/ml        ug/mL              %
                       Target       Observed
                       Instrument 1
                       6.0          5.93               98.9
                       4.0          4.15               103.9
                       2.0          2.04               102.1
                       1.0          1.01               100.8
                       Instrument 2

 7
     Work sti II in progress


 Theranos Confidential                                 Page 6

                                                                                            HOLMES0018575


                                                FER-152
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 153 of 299




                  4.0             3.93          98.3


 Calibration stability and performance of controls: Stability of System calibration was evaluated
 over one month using within cartridge controls with the following results.

                 N             351         Count
                 Average       5.45        ug/mL
                 SD            0.58        ug/mL
                 CV            12.2        %

 The control value plotted against time did not change significantly over the study.

 Sensitivity: The limit of detection (LOO) was determined by measuring signals for the zero
 analyte and lowest concentration calibrator. LOO of 0.07 ug/mL was calculated as 2~Signal SD
 [Averaged over the two values)/Slope of (signal vs. cone.).

 Clinical Study Analytical Results

 Range of analyte values: See above
                                                            +

 Accuracy: See above

 Precision:   Ten blood samples were anal¥Zed in duplicate.               The range of Protein-C
 concentrations was 0.6 - 1.8 ug/ml. Average CV was 8.4 %.

 Plasma and blood results compared: Paired blood and plasma samples (N = 72) from four
 patients collected over a one month period were measured with the following results:
 Blood (y) = 0.95*Plasma (x) + 0.12; R = 0.93.

 CRP:

 Sensitivity: The limit of detection (LOO) was determined by measuring signals for the zero
 analyte and lowest concentration calibrator. LOO of 0.56 ug/ml was calculated as 2*Signal SD
 (Averaged over the two values]/Slope of (signal vs. cone.).

 Performance was calculated next to reference methods with inferior sensitivity and dynamic
 range - note page 12.

 Precision and calibration accuracy in whole-blood clinical samples:

                          CRP            Inter-day
                          ug/mL          Precision
                                         CV, %
                          224.9          12.3
                          58.4           4.4
                          23.7           18.1
                          Average        11.6




 Theranos Confidential                          Page 7

                                                                                           HOLMES0018576


                                               FER-153
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 154 of 299




 Dilution linearity in calibrator materials:

                   CRP         Target      Diln.        Within inst.
                   ug/mL       ug/mL       Ratio        Recovery
                                                        %
                   224.9       (224.9)    1.00          (100)
                   118.4       112.4      0.50          112.4
                   58.4        45.0       0.20          129.8
                   23.7        22.5       0.10          105.3
                                          Average       110.1


 C linical Studies

 Since CRP values ranged very widely during the clinical study (from 0.1 - >400 ug/mL, a 4,000-
 fold range) both between patients and over time within each patient, it was decided that the Log
 of the CRP concentration (ug/mL) is the most useful parameter to report. In the summary data
 below, we present both linear and log scale results.

 Accuracy:
 Results obtained in the Theranos system for blood samples were compared with results for
 paired plasma samples. For 109 samples with CRP c0ncenttations ranging from 0.1 - 371 ug/mL
                                                                =
 there as a good correlation of log values y (Theranos) 0.98* x (Reference method) + 0.02, R        =
 0.98.

 Precision: Ten blood samples were analyzed in duplicate. The range of CRP concentrations was
 0.7 - 268 ug/mL. The mean value was 62.5 ug/ml. The standard error of the estimate
 (SEE)/Mean was 13.9 % . When these data were computed for Log CRP values, the SEE/Mean
 was 7.1 %.

 Blood versus plasma: Four patients were evaluated over about one month with the following
 results from regression analysis of Log values (Log (blood value) (y) = b*Log(plasma value) (x) +
 a).


 Patient ID     Samples tested          Ranoe (uo/mL)        Slope (b)   Intercept (a)   R
 001            15                      0.1 -224             0.951       0.027           0.997
 004            29       t              3.8-239              0.947       0.052           0.965
 005            13       1-'            14.8-218             0.934       0.224           0.870
 006            14   ..I                18- 210              0.951       0.0271          0.997


 Results of the Stanford AML/Sepsis Clinical Study

 Patients: Sampling and Clin ical Course
 Patients were enrolled on admission and most were enrolled and sampling started before their
 first febrile episode. The enrolled patients experienced varied clinical courses, from florid sepsis
 to isolate fever for only a short period.




 Theranos Confidential                             Page 8

                                                                                                 HOLMES0018577


                                               FER-154
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 155 of 299




 Patient   Sex   Age    Diagnosis       Closest draws Pre     Infection /Sepsis       Analysis
                                        and Post Fever                                issues?
                                        (hrs)
 001       M     39     Pre TALL        -50:00, +1 :28        Positive       Blood Pre        fever
                                                              cultures. Clinically draw.
                                                              looked septic fo r a
                                                              few hours.
 002       M     22     AMLM4           -13:34, +4 days       Line infection      -  Line
                                                              cellulitis       and removal.
                                                              thrombophlebitis.
                                                              Deeper tissues not
                                                              involved
 003       F     37     AML             +4:00                 Respiratory            No pre-fever
                                                              infection              draws
 004       M     59     Pre BALL        -8:25, +5:25          Septic         shock Missed draw
                                                              admitted to ITU.      "bre -fever
 005       F     56     AML M5a         -6:39, +1:31          Pseudomonas
                                                              cultured but no
                                                              clinical sepsis
 006       M     60     AMUAPU          -5:00, +1 :00         ATRA svndrome
 007       M     31     AML             -12:00                Possibly        early Line
                                                         :1  .sepsis?                Removal.
 008       M     44     ALL    (from    -2:33, +3:42                                 Refused
                        CML)                                                         draws.
 009       F     39     AML       MS                          Pharyngitis      and
                        (consoO                               Pneumonia
 010       M     70     AML(CMML)       -0:00, -6:22, +5:25   ?
 011       M     57     AML M4Eo        -1 :32, +0:33         ?
 012       M     49     AML       M7    -0:18, +4:47          Suspected Septic
                        from(CML)                             Shock ITU (prior to
                                                              neutropenia).
                                                              From Pneumonia?
 013       F     38     AMLM5           -7:28, +0:40          Positive cultures
 014       M     60     AMLMO           +6:40                 ?                      Fever prior
                                                                                     to samplinQ
 015       M     52     AML      with   -5:30, +1 :51         Clinically     septic
                        multilineage                          day. Enteritis on
                        dvsolasia                             CT.
 016       F     62     AML             No       neutropenic Minor fever spikes, Missed non
                        (bilineage)     spike yet.            no              other neutropenic
                                                              symptoms.              spike
 017       M     52     Pre BALL        -2:54, +1 :36         ??                     Possible
                                                                                     prior spike??


 CRP Data
 Since CRP values ranged very widely during the clinical study (from 0.1 - 268 ug/mL, a 2500-fold
 range) both between patients and over time within each patient, they were log-transformed. In
 the summary data below, we present both linear and log scale results.

 Precision: Ten blood samples were analyzed in duplicate. The range of CRP concentrations was
 0.7 - 268 ug/ml. The mean value was 62.5 ug/ml. The standard error of the estimate
 (SEE)/Mean was 13.9 %. When these data were computed for Log CRP values, the SEE/Mean
 was 7.1 % .



 Theranos Confidential                        Page 9

                                                                                                 HOLMES0018578


                                            FER-155
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 156 of 299




 Blood versus plasma: Four patients were evaluated over about one month with the following
 results from regression analysis of Log values (Log (blood value) (y) = b*Log(plasma value) [x] +
 a).

 Patient ID      Samples tested         Range (ug/mL)             Slope (b)   Intercept (a)   R
 001             15                     0.1 - 224                 0.951       0.027           0.997
 004             29                     3.8-239                   0.947       0.052           0.965
 005             13                     14.8-218                  0.934       0.224           0.870
 006             14                     18-210                    0.951       0.0271          0.997


 Representative samples from two patients comparing whole blood to plasma:



                       Protein-C Results: Patient 4 Time Course

        ,.00- . - - - - - - - - - - - - - - - - - - - ~
                                                          I:::::::. 1
        3.00


  ..J 2.50

  i
  ::,
  (.) 2.00
  C
  "oi
  £     t.50


        1.00


        0.50


        0.0 0 + - - - - - - - - ~ - ~ - ~ - ~ - - - - - - - 1
           0   10   20   30    40   50       70   80    80   100
                                    Time point




 Theranos Confidential                              Page 10

                                                                                                      HOLMES0018579


                                                  FER-156
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 157 of 299




                                 Patient 1

          3.00


          uo
          u,o


   _, 1.50
   .§
    "'1.00
    :,
   a:
   5 0.50
    ii'
   _, 0.00


          -<I.SO
                                                                 ~    Blood

          .1.00


                        10      10

                                Time point
                                             20        ..        ..           ..
 Protein-C Data - Representative time courses for two analytes in one patient:

 The system was used to monitor patients over a course of chemotherapy. Time courses for a
 selected patient is shown below. Other clinical data were gathered as part of this study, and will
 be include in other publications.

 The data for the two Theranos specific analytes are shown below were from a subject who
 became septic during the study and was moved to the ICU at time point 20. After briefly leaving
 (time point 50) he was returned to the ICU at 1ime point 65. Protein-C values were initially
 somewhat low then fell dramatically to less than 0.5 ug/ml as sepsis occurred. In the ICU, levels
 climbed to 1 - 2 ug/ml. CRP was initially elevated but fell into the normal range until sepsis
 occurred after which levels spiked to extremely high values only falling after some time in the
 ICU.

                                     Time course: Patient 4

          1.00


          0.00



  ...     O.&:l

  ] 0.70
   Cl>
  :a
   ., 0.60
  1:
   0
   Q.

  ...~ 0.50
   Cl>
   g: 0.40
  :::)
  ]l
  >. 0.30
  ~
   C
  <( 0,20


          o.,o

          0.00
                   0                  40          50        60         70          &:)   100

                                             Time point




 Theranos Confidential                             Page 11

                                                                                               HOLMES0018580


                                                  FER-157
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 158 of 299




 Discussion of the difficulties of multiplexed assays encountered by some methodologies but
 obviated by the Theranos system.

 The reference laboratory used a multiplexed assay method in which all the analytes are
 measured in a single well. Such methods have intrinsic limitations which caused problems in
 their assays for CRP and Protein-C. The other biomarkers measured in the multiplex were at low
 concentrations (pg/ml) so the sample cannot be diluted to any great extent. The multiplexed
 assays worked well for these low concentration analytes but very poorly for Protein-C and CRP.
 The Protein-C results correlated poorly with Theranos results and those of a commercial assay
 (Theranos and the commercial ELISA agreed very well). CRP results were not reportable
 because they were largely out of range high. It is evident that low and high concentration
 analytes cannot be combined in the reference method. It is likely that the CRP assay had never
 been set up for samples with such high concentrations and that the Protein-C assay was at the
 upper reportable range of the reference assay where precision is poor.

 The Theranos System is designed to eliminate such problems. Specificallf it can measure
 analytes at very low and very high concentrations with good precision in the same cartridge. This
 is achieved by (a) choice of a very sensitive assay method which has a very high dynamic range
 (10A4 fold) and (b) the abi lity to use more than one sample dilution level in the same multiplexed
 assay cartridge (2-fold to 10,000-fold). To illustrate this we show results of a Theranos
 Multiplexed Assay currently in clinical evaluation. The limit of detection for the high sensitivity
 assays is less than one pg/ml and the upper reportable concentration of the low sensitivity assay
 is 250,000,000 pg/ml (7.5*10A6-fold higher).

                          Analyte      LOO     Hig!,lest reportable
                                            Range (pg/ml)
                           IL-6       0.4              1500
                          TNFLJ        0.3             7500
                          CRP        70,000       250,000,000
                                            Range ug/ml
                           CRP        0.07             250


 Full Data - Representative time courses

 One goal of this observational study was to identify the potential most informative biomarkers for
 predicting thx onset of fever and sepsis. Subsequent mathematical and statistical modeling were
 undertaken to establish novel algorithms for identifying and characterizing the optimal
 combinations of biomal-kers for monitoring such patients. The initial candidate marker set
 included: CRP, Protein-C, IL-6, IL-8, TNF-a, IL1-13, IL-10, MCP-1 and ICAM-1. These markers
 were chosen on the basis of previous research in both neutropenic fever and sepsis. They
 represent both pro- and anti-inflammatory sides of the cytokine response, the acute phase
 reaction, the Protein C system and adhesion molecule expression patterns. This provides an
 immunophysiologically broad range of molecule subtypes which are grounded in literature but
 have not before been tested as a single panel.

 Results of the initial analyses for these biomarkers in a subset of samples from all ten evaluable
 patients are presented below. Representative time course for all analytes are presented below:
 Patients 1 and 4 became septic at time points 16 and 19 respectively, Patients 5 and 6 did not.




 Theranos Confidential                       Page 12

                                                                                             HOLMES0018581


                                             FER-158
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 159 of 299




                                    Pati ent 001

           100000000
            10000000
              1000000                                                - - 11-6
                                                                     - - IL-8
                100000
                                                                         11-1 beta
                 10000                                                   IL-10
   --Ea.
    0)
                   1000                                              - - TNF-alpha
                                                                     - - MCP-1
                    100
                                                                     -+- Protein C
                      10                                             - ICAM-1
                          1
                     0.1                   20           30     40

                                     Time point




                                    Patient 004

           1OOCX)()()()
                              ~~~                                    - - IL-6
            1000000
                                V                                    - - IL-8

    E
              100000
               10000
                                                       ----.             ll-1beta
                                                                         IL-10
   --
    0)
    0.          1000                                                 - - TN=-alpha
                                                                     - - MCP-1
                  100
                                                                     -+- ProteinC
                    10        --
                                                                     - ICAM-1
                     1                     - - - -,-
                          0    20   40           60      80    100
                                    Time point




 Theranos Confidential                   Page 13

                                                                                 HOLMES0018582


                                     FER-159
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 160 of 299




                                     Patient 005

         10000000
          1000000
                                                  _.....___   ___   ......



                                                                                   -+- IL-6
           100000                                                                  - - IL-8
            10000                                                                      IL-1beta
    E
   ._                                                                                  11-10
    0)       1000
    a.                                                                             - - Tt-.F-alpha
              100                                                                  - - MCP-1
               10                                                                  -+- Protein C

                1 -+---   -   - --                                                 -   ICAM-1

              0.1
                                     Time Point




                                     Patient 006

         10000000
         1000000                                                                   -+- IL-6
           100000                                                                  -e- l L-8
           10000                                                                       IL-1beta
   E
   ._
             1000
                                                                                       IL-10
   Ol
   C.                                                                              - - TNF-alpha
             100                                                                   - - MCP-1
               10                                                                  -+- Protein C

               1                                                                   - ICA~1
              0.1                            60               80             1I0
                                     Time Point




 Theranos Confidential                 Page 14

                                                                                              HOLMES0018583


                                      FER-160
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 161 of 299




 Time Series Analyses and Comparison of Individual Protein Markers

 Marker to Marker Correlation

 Methods

 The time course for each protein marker was plotted and the time series of measures was
 analyzed. The relationships between pairs of markers were studied using a cross correlation
 function. This statistical function measures the correlations between protein levels across a
 spectrum of lag times, essentially, shifting one curve forward or backward in time and testing the
 translated time series against each other for correlation. The correlation between two series with
 a lag of o (zero), measures how much two protein track each other directly. When one applies a
 lag time of 1 (one) unit, a significant correlation suggests that one of the proteins precedes the
 other by one sampling unit, etc.

 The output of the analysis is typically presented as histogram of correlation levels (y-axis) versus
 lag times (x-axis), and is termed a correlogram.

 Results

 Initial results for only one patient and particular pairs of protein markers are presented below.
 The patient presented herein is 001 , and the relationships studied thus far are:

     1.    Protein C and ICAM-1
     2.    Protein C and MCP-1
     3.    IL-10 and MCP-1                                   l

     4.    IL-6 and MCP-1

 These particular protein pairs were chosen because upon visual inspection it was vey apparent
 that Protein C and ICAM-1 tracked very closely with each other as did IL-10 and MCP-1 and IL-6
 and MCP-1 . As noted above, if any of these pairs yield a highly significant correlation (> 0.8),
 then when constructing the final biomarker one should only choose one of the pair and the
 choice should be based on criteria such as accessibility, chemical tractability, etc

 Further inspection suggested that spikes in MCP-1 , IL-10, and IL-6 precede a drop in Protein C,
 as experienced at a fever spike.

 The correlogram for Protein C versus ICAM-1 is given below.
                            ,




 Theranos Confidential                        Page 15

                                                                                              HOLMES0018584


                                            FER-161
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 162 of 299




                               AML.Protein.C & AML.ICAM1




        lD
        0       -
  C
  0
  tu
  (D
  '-
  '-
  0
 u I
  (/)
  (/)
  0
        0                                                            I
 u'-    0
                                          I
                     I

        I,()
        6 - 1
                    ---------- --------------------------------------~--~----
                                 I                    I                  I

                                -5                   0                   5

                                                    lag
                                     Figure 1 Protein C and ICAM-1


 The zero lag correlation between the two marker proteins is 0.89 with significant correlations
 observed at one and two sampling unit lags (range 0.588 to 0.630). These results suggest that
 these two protein markers track quite consistently.


 Similarly, the correlogram for IL-1 0 and MCP-1 suggests that the two proteins track quite well
 (See Figure 2, zero lag correlation = 0.867)




 Theranos Confidential                         Page 16

                                                                                          HOLMES0018585


                                              FER-162
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 163 of 299




                                      AML.IL 10 & AML.MCP1


        cq -
        0


        (0
        0       -

  C
  0
        "1:
        0       -
  tu
  (D
  '-    N
  '-
  0     0
                -
  uI
  (/)
  (/)
  0
  '-
  u
        q
        0                    I
                                                                                              I
                     I

                                 I            I                I   I                      I
        ~
        0
            I
                -

        "1:
        0
            I
                -
                                 I                    I                    I

                                 -5                   0                    5

                                                    lag
                                     Figure2 IL-10 and MCP-1



 Similar results ti.old for IL-6 and MCP-1 (See Figure 3, zero lag correlation= 0.91 1)




 Theranos Confidential                         Page 17

                                                                                                  HOLMES0018586


                                             FER-163
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 164 of 299




                                     AML.IL6 & AML.MCP1



        00
        0       -

        (D
        0       -

 ~
  C
  0     "'" -
        0

  ~
  ,._
        ('l
  0             -
 u I
        0
  (f)
  (f)



 u
  0
  ,__   .0                                                                            I
        0           I   I   I   I            I                I   I               I
        ('l
        0
            I
                -

        '-1:
        0
            I
                -
                                I                    I                I

                                -5                  0                 5

                                                   lag
                                    Figure 3 IL-6 and MCP-1


 To test whether the Protein C and MCP-1 are temporally related in a "look forward" way, the
 cross correlation for this pair was also analyzed. The results are presented below in Figure 4.




 Theranos Confidential                        Page 18

                                                                                          HOLMES0018587


                                             FER-164
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 165 of 299




                                         AML.Proteln.c & AML.MCP1




      ~-


      "!
      0




 u.
 ~
      q
      0
            I                          l I
                I
      ('I
      q


      '>:
      9


                                                      I

                             -5                      0                       5

                                                    l ag
                                  Figure 4 MCP1 and Protein C

 In this case a more interesting pattern emerges. The correlations, though significant, are fairly
 modest (magnitudes ~0.45-0.50), and show two interesting dynamics: a· rag of 1 to 3 sampling
 units between the two protein markers yields marked positive correlations (lag one correlation
 =0.495, lag 2 correlation = 0.453, lag 3 correlation = 0.467), suggesting that the two markers
 roughly track each other with a 1 to 3 sample interval offset. More interesting though is that a 7
 sampling unit lag yielded a comparable negative correlation (-0.491) suggesting that as one
 marker goes up (MCP) the other falls about a 56 hours later (Protein C).

 Predicting Fever

 Fever, as a defense mechanism, results from the effects exerted on the hypothalamus by
 circulating cytokines, called pyrogens. These cytokines emerge from the immune system during
 an inflammatory response. The best known of these are IL-6, 11-1 beta, and TNF-alpha. The
 primary goal of this initial effort was to use the time courses for these pyrogens to build a
 statistical model for the onset of fever.

 Methods

 A Partial Least Squares (PLS) model was constructed based on a pre-fever spike window of 36
 hours. Measures for IL-6, IL1-beta, and TNF-alpha and their sample-to-sample fold changes
 were included in the saturated model. Concentrations were measured in pg/ml, and sample-to-
 sample fold changes in concentration were recorded and analyzed as follows:




 Theranos Confidential                       Page 19

                                                                                             HOLMES0018588


                                           FER-165
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 166 of 299




           •   The concentration data were first visually inspected for Gaussian normality, and a log
               transform was applied to correct for log-normality.
           •   Based on these measures, an initial PLS regression model was built that included all
               three pyrogens and their fold changes from sample to sample. The dependent
               variable in the model was time-to-spike (tts) based on when each sample was taken.
           •   This type of model characterizes the amount of variation accounted for i n the
               covariance structures of the dependent vectors (times-to-spike) and the independent
               vectors (pyrogen levels).
           •   In this data set there were more independent variables than degrees of freedom
               which is termed the overfitting problem. To address the problem standard statistical
               model building tools like top-down elimination and bottom-up addition were
               employed. This process is termed feature selection.

 Results

 Using a bottoms up approach to feature selection, seven submodels were develof;!ed. The best
 model included all three pyrogens (log(IL-6), log(IL-1 beta), and log (TNF-alpha)) and accounted
 for 975% of the total model covariance and 52% correlation with the dependent variable (tts).

 In this small observation set, formal confidence intervals are meaningless. However, fully 80% of
 the predicted tts fell within a ten hour window of the observed tts. Significant patient to patient
 variation was observed and given a larger, appropriately powered study, a more complete
 modeling exercise will be undertaken. However, as a proof of principle, these data suggest that it
 is possible to model the onset of fever as a function of rate of change in the circulating pyrogen
 levels.

 Classifying Sepsis

 Methods

 Clinical outcomes for the patients were efined as "Fever only", "Fever plus infection", and
 "Sepsis/SIRS".      The underlying hypothesis driving this initial analysis is that the way one
 progresses to fever (as represented by the candidate pyrogen set) in conjunction with how one
 reacts after the fever has b~ n will predict with some statistical integrity the onset of sepsis.

 A classifying multivariate analysis was performed using a standard validated technique
 (Discriminant Function Analysis) on the derived patterns for pre-spike IL-6, 111-beta, TNF-alpha ,
 and post-spike Protein C and CRP. The data were analyzed as follows:
         • At the point of fever spike, the previous 36 hour trajectories for the three candidate
             pyrogens were analyzed for intra-vector correlations
         • Based on these studies an extremely high degree of correlation was observed
             between the three (Greater than 0.8), and it was decided that the final model building
             exercise would concentrate on IL-6 and 111-beta.
         • Upon advent of the "fever spike", the trajectories for the two remaining pyrogen
             concentration curves were fit to a linear regression starting at time zero (time of
             spike) and ending at time -36 (36 hours prior to the spike).
         • Two derived parameters, slope and intercept, were recorded for each pyrogen for
             each patient.
         • The CRP and Protein C levels for each of the 8 hour intervals following the spike
             were also recorded, and added to the analysis.
         • A Discriminant Function Analysis was performed on the set of 10 evaluable patients
             from which, a mean vector centroid for each clinical outcome set was determined.
         • The Mahalanobis Distance from each patient to each centroid was then calculated,



 Theranos Confidential                         Page 20

                                                                                              HOLMES0018589


                                             FER-166
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 167 of 299




             and a Bayesian probability of class membership was calculated.

 Results

 10 of the 17 enrolled patients were considered evaluable. Two were determined by the clinical
 team to have experienced Sepsis/SIRS, three had infection with fever, and 5 had fever alone.
 The final model included the slope of the 11-6, the slope of the IL-1 beta, and the CRP and protein
 C observed in a window between 8 and 16 hours post-spike. This modeled yielded 100%
 sensitivity and 100% specificity for assignment to the Sepsis/Sirs group.

 Conclusions

 This pilot study in acutely ill leukemic patients suggests that repeated measurements of blood
 markers can detect dynamic alterations and trends which forecast the occurrence of serious
 events like sepsis. As a result of the integration and modeling of the data, information which
 previously could not be characterized can be released promptly to medical teams who can
 implement individualized therapeutic interventions in a more time efficient manner. These findings
 are being further validated by adequately powered randomized clinfcal trials.




                                       h




 Theranos Confidential                       Page 21

                                                                                             HOLMES0018590


                                            FER-167
                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 168 of 299

To:       Sunny Balwani[sbalwani@theranos.com]; Brooke Buchanan[bbuchanan@theranos.com]; Heather                                10628
King[hking@theranos.com]; Elizabeth Holmes[eholmes@theranos.com]; Donald Tschirhart[dtschirhart@theranos.com]
From:     Kingshuk Das[/O=THERANOS ORGANIZATION/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=KINGSHUK DASE2B]
Sent:     Thur 3/31/2016 10:38:48 PM (UTC)
Subject: Re: statement


That works for me--it's accurate, in my opinion



 From: Sunny Balwani
Sent: Thursday, March 31, 2016 3:36 PM
To: Brooke Buchanan; Heather King; Elizabeth Holmes; Kingshuk Das; Donald Tschirhart
Subject: statement

 King. WSJ has asked if they can use the following statement we provided to them. can you please let me know if this seems
 reasonable? thanks.


 “CMS surveys evaluate lab practices. The deficiencies cited refer to how certain Theranos technologies were used and not to the
 fundamental integrity of the technologies themselves. The company’s proprietary technologies have already been cleared for testing HSV-
 1 by the FDA. Separately, the majority of the CMS deficiencies were not related to Theranos proprietary technologies.”




                                                                                                                HOLMES0018731


                                                              FER-168
                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 169 of 299

012 3456789 ÿ499 49 97                                                                                 15039
2 ÿ747587475 97
1!2 " 557ÿ49#$%& 3'()$ÿ$'*()+,(&+$)#$-%3." ()*3ÿ(/0+)+&'(&+13ÿ*'$-2ÿ
345/+$ 4672/8&9#")%'3"+2+3)&#")%" '+&+()ÿ$803
:;<=2 &9ÿ>#67#6?@Aÿ6B?CBD?ÿ(0ÿ3-&"9
:EFG;=2 '3Bÿ5Hÿ879IÿJJ559
KLMMÿOPQÿÿSÿTUVWTMMXÿYZ[\P]OZOÿVPÿT]ÿZ^TLMÿ_Zÿ̀YPVZÿ^ZÿTaPWVÿV_Zÿ[T^ZÿVP\LUÿUMP[ZÿVPÿTÿ^P]V_ÿTbPcÿaWVÿ_Zÿ]ZdZYÿYZ[\P]OZOÿVPÿV_TVÿ
]PVZQÿÿSÿUT]ÿUTMMÿ_L^ÿ\ZYÿXPWYÿUP^^Z]V[ÿaZMP`ÿT]OÿTM[PÿYZeZ]bTbZÿP]ÿ_L[ÿUP^^W]LUTVLP]ÿVPÿ^Z
ÿ
fghijÿkMLlTaZV_ÿmPM^Z[ÿ
nopqjÿrP]OTXcÿsW]Zÿttcÿtuvwÿxyuuÿzr
{hjÿ|_YL[VLT]ÿmPM^Z[
}~jÿW]]XÿTM̀T]L
no~qjÿkyÿVPWU_L]bÿaT[ZÿP\\PYVW]LVLZ[
ÿ
zMZT[ZÿUP]]ZUVÿL]ÿ̀LV_ÿ_L^ÿP]ÿV_L[ÿÿUTMMÿ_L^ÿeÿT]OÿVZMMÿ_L^ÿSÿ_TOÿT\\YZULTVZOÿ_L[ÿ]PVZ
ÿ
fghijÿL\[ZVcÿ|YTLb
nopqjÿYLOTXcÿZaYWTYXÿtucÿtuvwÿytÿzr
{hjÿkMLlTaZV_ÿmPM^Z[
no~qjÿVPWU_L]bÿaT[ZÿP\\PYVW]LVLZ[
ÿ
mLcÿkMLlTaZV_QÿÿSVÿ_T[ÿaZZ]ÿkÿ[L]UZÿ̀ZÿMT[VÿVPWU_ZOÿaT[ZcÿaWVÿXPWÿ_TdZÿUMZTYMXÿaZZ]ÿaW[XQ
ÿ
Sÿ[LVÿW[VÿOP`]ÿV_Zÿ_TMMÿYP^ÿrPYVZ]ÿPbTTYOcÿT]Oÿ̀ZÿZU_T]bZÿ]PVZ[ÿP]ÿTÿYZbWMTYÿaT[L[QÿÿZUZ]VMXÿV`PÿP\\PYVW]LVLZ[ÿ_TdZÿ[WYTUZOÿ
`LV_ÿL]VZYZ[VÿL]ÿZ\MPYL]bÿ̀PYL]bÿ̀LV_ÿ_ZYT]P[Q
ÿ
Sÿ_TdZÿaZZ]ÿ̀PYL]bÿ̀LV_ÿ[P^ZÿPÿPWYÿÿVZT^[ÿP]ÿ[VWOLZ[ÿVPÿMZdZYTbZÿKTMbYZZ][ÿL]e[VPYZÿL]YT[VYWUVWYZÿT[ÿTÿUML]LUTMÿVYLTMÿ[LVZQÿÿ
PYÿP]ZÿW\UP^L]bÿ\YPZUVÿ̀Zÿ̀ZYZÿVTYbZVL]bÿ[VPYZ[ÿL]ÿV_Zÿz_PZ]LÿTYZTÿ_P\L]bÿVPÿL]UPY\PYTVZÿV_ZÿUWYYZ]Vÿ_ZYT]P[ÿL][VTMMTVLP][Qÿÿ
_TVÿ\YPZUVÿVZT^ÿL[ÿUWYYZ]VMXÿ̀PYL]bÿW\ÿV_Zÿ[VWOXÿ\YPVPUPMcÿT]OÿSÿT^ÿdZYXÿP\VL^L[VLUÿLVÿUT]ÿaZÿTÿMP]bÿPdZYOWZÿP\\PYVW]LVXÿVPÿ
L]UMWOZÿ_ZYT]P[ÿL]ÿV_ZLYÿVZ[VL]bÿPYÿ[VWOXÿ\TYVLUL\T]V[Q
ÿ
kM[Z`_ZYZcÿ[P^ZÿPÿPWYÿVZT^[ÿL]ÿzLlZYÿ|P][W^ZYÿmZTMV_ÿ_TdZÿaZZ]ÿL]dZ[VL]bÿL]ÿ̀PYÿVPÿZ][WYZÿV_TVÿ\TVLZ]V[ÿ]P`]ÿV_ZLYÿ
]W^aZYÿ̀LV_ÿYZbTYOÿVPÿML\LO[ÿT]OÿU_PMZ[VZYPMQÿÿ_TVÿVZT^ÿTM[Pÿ_TOÿL]VZYZ[VÿL]ÿMZTY]L]bÿ^PYZÿTaPWVÿ_ZYT]P[Q
ÿ
Sÿ̀T]VZOÿVPÿ^TZÿ[WYZÿV_Z[ZÿP\\PYVW]LVLZ[ÿ̀ZYZÿ]P`]ÿT]OÿUP]]ZUVZOÿaTUÿVPÿXPWÿT]OÿXPWYÿVZT^QÿÿzMZT[ZÿMZVÿ^Zÿ]P`ÿLÿXPWÿ_TdZÿ
[P^ZP]ZÿZM[ZÿL]ÿ_ZYT]P[ÿ̀_PÿSÿ[_PWMOÿ^TZÿT`TYZQ
ÿ
MMÿV_ZÿaZ[V
|YTLb
ÿ
ÿ

}gÿÿ¡¢oq
mZTOÿPÿ|ML]LUTMÿS]]PdTVLP]
zLlZY

ÿ
  T"HERAPEUTIC INNOVATION
  & REGULATORY SCIENCE
                    - - Dor, CDl10f1W.IIQWI




TransCelera
                  ~
                  lJlueprint
                ÿÿÿÿ
                                      ---
                                   ÿÿÿÿ
                               M d t·1r H a]th
                        h@al1h Research Institur      ÿÿÿÿÿ
ÿ
  liMHA.t A_.



ÿ                                                                                                         HOLMES0019232


                                                              FER-169
                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 170 of 299

012 34567ÿ9 7   4ÿ96 ÿ46                                                                                      15041
 2 !6"64ÿ#                                       $ ÿ%6 6   4
&'1(2 )64* ÿ+ ,-./+)#01-$ÿ-#201340/3-1,-!.53#$/ÿ03%313$/#0/36)ÿ
2#-!7,1.#)373)1/$,1.)+-9%)$
89:;2 < 7ÿ=,>?,>@@Aÿ?BCABC=ÿ7%ÿD!/E
8FGH9;2 #)Bÿ IÿJJÿ39J?
 34567
 /4"ÿÿ6
 3ÿK6ÿ ÿK6ÿ$ ÿ74L
 9 Mÿ4"ÿÿ#4ÿ4*IÿIÿ4ÿ6ÿ5674Lÿ47ÿK Mÿ6ÿ*4"ÿÿ 
 )64* 
 ÿ
 OPQRSÿUVWXYÿZ[\][^ÿ
 _`abSÿc[Yd[\YVefÿghih\]ÿjkfÿjllmÿnonkÿgp
 qQSÿrZXs\[]fÿt^VXir
 uvSÿwddXx^X\ydVdfÿz{{sV|ÿ}[]yÿpX~y[\{d|ÿXV[]yÿ{[\
 _ `vbSÿzoÿ{[d]hÿÿZk
 ÿ
 +6ÿ46
 3ÿ45ÿM7ÿ$ ÿ%6 ÿÿKÿIÿK6ÿLI
 $ ÿ4ÿLI 
 )64* ÿ4L6ÿI  
 9 ÿ ÿ"KÿKÿ3ÿ4ÿ 
 # 47
 34567
 ÿ
 OPQRSÿZXs\[]fÿt^VXi
 _`abSÿh[\YVefÿghih\]ÿjnfÿjllmÿkoÿgp
 qQSÿUVWXYÿZ[\][^
 uvSÿwddXx^X\ydVdfÿz{{sV
 _ `vbSÿ{[d]hÿÿZk
 ÿ
 
 ÿ
 ÿÿ¡¢£ÿ¡¤ÿ¥¦¢¦¤ÿ¢££§¢¦ÿ¡ÿÿ¡¤¦ÿ¥¨ÿ¦©ÿª¢¦ÿ§¦¢£ÿ¦¥£¦©«ÿÿ¬¢ÿ¦ª¤ÿ¥¥¦¢¦­ÿ©¡ÿ§¥§¢¦§ÿ
 ©¥®ÿ¢ÿ¡¥ÿ̄ÿ®¥¤ÿ¤°ÿ¦¥ÿ¡££¡¦ÿ¡¥§ÿ±ª°ÿ̈¥¤¤¥®²ÿ¢ÿ¢££§¢¦ÿ®¦©ÿ¦©ÿ¥ª¦ÿ¦§«
 ÿ
 ³ÿ¦§ÿ¤¥¢£ÿÿ́³µÿ̈¥ÿ̄¶²·ÿ©¡ÿ§¥¤¢£ÿ¢¡«ÿÿ̧©ÿ̈¡¦²¢²©§¢ÿ¦¤ÿ©¡ÿ¹¡¦ÿµ£¢ÿºÿ¦©ÿ®¥¤ÿ¢¥¦ÿµÿ¢­ÿ¢¤­¦ª¤ÿ
 ¢¡ÿ̈¥ÿ¦©¡ÿ¥£§ÿ»¤¦©¥£©ÿ¡§¤¡ÿ§­ÿµª¥§ÿ¤µ¤¼«ÿÿ½¥®ÿ¦©¡ÿª¥¤ÿ¥ÿÿ£¥¥ÿ¦§ª­ª¤ÿ¦¥ÿ¢££ÿ¦©ÿ¦§ÿ
 ¤¥ÿÿ§¥¤ÿ¢ÿ¢¦¨­ÿ¢¤­¦ª¤ÿ¥¦¢¦¤«ÿÿ³¡ÿ¡ª¡¡ÿ¢ÿ¦©ÿ§¦¢£ÿ¦©¡ÿ¥¡ÿ¢ÿ¥¥¦¢¦­ÿ̈¥ÿ¢££§¢¦ÿ¥¢ÿ¤­ÿ
 ¤¥§¢¦ÿ¢ÿ¦ª¤ÿ¥¢ÿ¢¨¤§§¦¥¢«
 ÿ
 ¾¥¤ÿ­¥ÿ¡££¡¦ÿÿ¦ª©¢ª¤ÿ¡¥ªÿ®©¥ÿª¢ÿ¡ª¡¡ÿ̄¶²·ÿ§¥¤¢£ÿªµ¤¦¡ÿ®¦©ÿ¦©¡ÿ¦§¿
 ÿ
 À¡¦
 ¾£
 ÿ
 Á¾ÁÁ£Áÿ¶ÁÁÁ¡Á¦ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
 Â¨Ãÿ̄¢ª«ÿ
 ·ÄÅÿ̧©ÿ³ÿÆÇÿÆÇÿÈÉÉÈÊÿ
 ÿ


                                                                                                               HOLMES0019235


                                                             FER-170
                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 171 of 299

To:       'sdigiaimo@hotmail.com'[sdigiaimo@hotmail.com]
From:     Susan DiGiaimo[/O=THERANOS ORGANIZATION/OU=FIRST ADMINISTRATIVE
GROUP/CN=RECIPIENTS/CN=SDIGIAIMO]
Sent:     Mon 11/24/2008 3:15:05 PM (UTC)
Subject: FW: Next Steps/Action Items
Next Steps Action Items_SD Week of November 23 2008.doc




 From: Susan DiGiaimo
 Sent: Saturday, November 22, 2008 6:12 PM
 To: Elizabeth Holmes
 Subject: Next Steps/Action Items

 Hi there I have updated our next steps/action items document and will continue to work on it over the weekend. I believe I have
 included most of the projects we are working on and proposed next steps and follow up.

 I believe for all we need to start thinking about our modeling capabilities and how we can customize for a specific compound
 specifically for example, Cytofab a compound that is already in Phase II of where we could make a huge impact also a bigger
 push looking at research hospitals/institutions this is a completely different business model but can be very lucrative for us.

 I hope to meet with you and Marc or at least have a TC on specific strategies for next year and beyond. I have not been to CA since
 February 2008 and I believe it would be advantageous for me to come out early next year. It would also be good to know what we
 are all working on going forward.

 Also, can you confirm with Kelley my business cards as I still do not have them.

 Best Regards,
 Susan



 6XVDQ


 Susan DiGiaimo
 Corporate Account Manager
 Theranos
 Phone: (609) 978-0763
 Fax: (609) 978-0764
 Mobile: (609) 713-4553
 E-mail: sdigiaimo@theranos.com

 Learn more about the world's first biomonitoring and informatics system at http://www.theranos.com




                                                                                                             HOLMES0019259

                                                             FER-171
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 172 of 299

Next Steps/Action Items Week of November 23rd, 2008

Tier I - Key Accounts


  1. PICR Angiogenesis Validation (VEGF, VEGFR2, PLGF)
        o Alastair is re-running sloppy samples as the CV was high for the
          Theranos system as per our conversation with Andrew Hughes.
        o Scheduling TC with Caroline in regards to upcoming studies, grant
          approval process and opportunities for 2009.
        o live validation is still ongoing

  2. PICR-Apoptosis
        o Study to be completed by end of December 2008, on target to complete.
        o Schedule TC with Alastair once study is completed to review feedback
          and discuss future opportunities

  3. BMS GLP-1 Validation
       o Final revisions of SOW, Terms of Services, and Invoice Document sent to
         BMS week of November 11th, 2008.
       o Andrea to finalize, internal process for signature may take a week.
       o Follow up with Andrea via VM and e-mail on November 20th and 21st
         regarding finalizing documents so we can finalize a study start time
         ideal 1st week of December.
       o Left Paul Rhyne e-mail and VM regarding MB116 project, follow up
         again week of November 24th, draft invoice.
       o Follow up with Donna on Phase IV, Pharmacovigilance contacts.

  4. Novartis- ACZ885 Pediatric Validation Study
        o Study ongoing
        o Phase III follow on study to start early next year adding more sites and
           Italy site to add an additional 100 patients
        o Working with Stefan to compile data we already have to present to John
           Varaklis and Emmanuele send out week of November 24th
        o Follow up with sites and feedback on technology has been positive thus
           far

  5. Novartis-Reclast
        o Trial has been delayed until end of 2nd quarter 2009.
        o Next meeting planned for 1st week of December.
        o Christina having meeting with the cardiovascular team
        o Schedule larger presentation and draft SOW to present to Christine prior
           to meeting in December.




                                                                              HOLMES0019260

                                        FER-172
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 173 of 299

6. Pfizer
       o Elizabeth following up with Dr. Aidan Power
       o Susan following up with Dr. Scott Fountain Senior Director
          Translational Science Pfizer located in CA

7. Centocor
      o Contract signed and assay development has been initiated


8. Eli-Lilly Protein C Validation
       o Need more data to move discussions forward specifically wanting 510 (k)
           approval on sepsis cartridge, already have contract with Biosite
       o There is a need for a POC system as stated by their head of clinical
           research
       o Potential to work with key medical institution that works with Lilly as a
           way to showcase our systems

9. AstraZeneca CytoFab
      o Awaiting Phase II results from latest study, should come in by end of this
         year.
      o Scheduling meeting for late January with key decision makers for the
         Cytofab team including Dr. Paul Newell.
      o Interested in data from the Recentin as well as apoptosis studies.

10. AstraZeneca AZD2171
       o Study is ongoing enrollment is slow but we expect to enroll enough
          patients (6) by end of year to provide the data Andrew Hughes is looking
          for.
       o Schedule follow up meeting with Dr. DeBono investigator for study and
          well known though leader in oncology about additional
          studies/opportunities, new cost structure target early 2009
       o Scheduling larger meeting for end of January discussing our modeling
          capabilities around Recentin, make sure to include Glen Clack and Nick
          Botwood Medical Director for Recentin..

11. AstraZeneca Respiratory/Inflammation
       o Left VM and e-mail for Harsukh in regards to upcoming study in China
          500-600 subjects, Asthma/COPD markers, drafting SOW
       o Sent on November 20th potential assays of interest discussed with Seth,
          looked at a similar disease map
       o Elizabeth to send additional information around modeling
       o Scheduling meeting early in January 2009 to discuss our modeling
          capabilities




                                                                              HOLMES0019261


                                         FER-173
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 174 of 299

       o Following up with Harsukh on initial evaluation in-house on non-GLP
         samples to be performed early next year.

12. AstraZeneca Obesity/Diabetes
       o Scheduling TC with Dr. Bjorn Carlsson for week of December 8th, 2008 to
          discuss a path forward




13. GSK Metabolic-Follow up Study for AXOR
      o Corresponded with Becky on current AXOR study, they will have data by
         early February and will then make a decision on next steps, they are still
         working on the protocol for the follow on study and once the synopsis is
         complete she will send.

14. GSK Oncology UK/US
      o Elizabeth to follow up directly with Walter in regards to our modeling
         capabilities
      o Walter works with Pazopanib design program around
      o Discuss potential evaluation at GSK
      o Susan following up with Dr. Richard Wooster Senior Director,
         biomarker development, cancer metabolism in Collegeville works for
         VP Dr. Barbara Weber

15. Celgene
       o Elizabeth finalizing agreement with Randall
       o Left VM and sent e-mail to Garret Hampton head of biomarker group in
          San Diego- interested in meeting in 1st quarter of 2009
          Pharmacodynamics key area

16. Eisai
       o Interested in a PAR assay timelines needed study start September 2009
       o Evaluation with current apoptosis panel and potential inflammatory panel
          to be performed at MD Anderson January/February 2009 will need to
          amend protocol/IRB approval
       o Elizabeth to confirm budget and timeframe
       o Andrew to contact Susan week of November 24th about upper
          managements comments and feedback on his suggested project
       o Cartridge would be used in combination with other PD assays most
          probably apoptosis and/or inflammation in future studies
       o Development would need to start ASAP

17. Mayo Clinic




                                                                              HOLMES0019262

                                         FER-174
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 175 of 299

       o Evaluation of the Theranos System performed in the endocrinology and
         metabolism unit by Dr. Vella (key investigator for Daiichi-Sankyo he also
         worked with Suku)
               i. GLP-1 Active and c-peptide analyzed
                     1. 1 patient 6 time-points,
                             a. 7:30am (2 samples run in duplicate) Result: 2.0pM,
                                 2.1pM
                             b. 8:00am: 1.8pM
                             c. 8:30am: .7pM
                             d. 9:00am: (GLP-1 infused) .2pM
                             e. 9:30am: 113
                             f. 10:00am: 103
       o Results need to be confirmed and compiled by Stefan including Raw data
         and sent to Dr. Vella will send to Susan first
       o Dr. Vella was impressed with the results and was what he wanted to see
         and more based on the wide dynamic range and sensitivity of the assay
       o Interested in performing study and publishing data on GLP-1 total and
         active starting February 2009
       o Preparing Invoice for 2600 cartridges and 6 readers over 2 weeks
               i. Send to Jeanette Larson study lead nurse, will send to
                  administration for review with Terms of services document
       o Development of GLP-1 total assay upcoming Daiichi-Sankyo study will
         involve this analyte- need to recoup costs here Dr. Vella stated that if all
         goes well in his study he will publish data and share with others at the
         Mayo Clinic, technology has potential to replace current assay systems.
       o Dr. Vella is on his honeymoon for 3 weeks returning 2nd week in
         December, will discuss Daiichi-Sankyo study then doesn t have
         specifics he needs to speak to Suku, will start end of 1st quarter next year

18. Daiichi-Sankyo Metabolism/Sepsis
       o Working with Dr. Vella to identify specifics around upcoming study 1st
           Quarter 2009
       o Call Suku to discuss development costs around GLP-1 total
       o Follow up with Abdel week of November 24th
       o Confirm if we have supplied them the information they have requested as
           far as technical information from vendors

19. Sanofi-Aventis
       o Elizabeth to review Apidra proposal and send to Susan week ending
           November 28th
       o Schedule TC with Michelle and Dr. Noah Rosenberg to discuss potential
           project December 2008
                i. Identify key thought leader of whom he regards as the best in his
                   field
       o Susan scheduling TC with Dr. Andre DeGenio as well as head of
           oncology programs Dr. Nabbibou




                                                                                HOLMES0019263

                                          FER-175
      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 176 of 299

Tier II Accounts

  1. Novartis Oncology
        o Working with Michael Shi- head of biomarker oncology group to identify
           project, interested in angiogenesis and apoptosis markers how to get into
           his heads ASAP
        o Left VM and e-mail to RAD001 lead to identify potential synergies
           prepare proposal around modeling for RAD001 and provide to John
           Hohneker as well as Dr. Rashan Hasad.

  2. Novartis Institute for Biomedical Sciences Cambridge, MA
        o Scheduling meeting Humphrey head of biomarker group oncology for 1st
           week of December goal is to schedule an initial evaluation they pay
           for cartridge/reader costs.

  3. Millennium
        o Send to Hadi Apoptosis comparison data (Theranos vs. ELISA ) week of
           November 24th Elizabeth to review data from Ian
        o Schedule follow up TC with Hadi in December 2008 to discuss a path
           forward and project specifics
        o Susan to identify with Julie other teams within different areas as well as
           those additional individuals in our meeting to have follow up calls with

  4. BMS Antibody development/Phase IV Ixebepilone/Dasatinib
       o Elizabeth finalizing agreement with Andrea

  5. UCB Pharma Inflammation
       o Re-organization has occurred, Richard to contact me beginning of January
          2009 to discuss potential synergies.

  6. Amgen-Inflammation
       o Elizabeth following up with Scott Patterson      Medical Sciences Director
          and head of their biomarker initiative

  7. Merck/Serono - Bone
       o Elizabeth following up to move project forward or identify other
           opportunities.

  8. Merck/Serono Fertility
       o Elizabeth following up.


Tier III Accounts




                                                                                HOLMES0019264



                                         FER-176
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 177 of 299

   9. Wyeth
        o Call scheduled for week of December 1st with Dr. Ole Vesterquist VP
            translational medicine, biomarker development
        o Key oncology research director, Dr. Allen Lee in Cambridge, contact to
            set up meeting, left VM Friday, November 21st, 2008.



   10. Solvay Pharmaceuticals
          o Interest from John Brennan head of clinical development, met with back
              in the Summer of 2007, Medical Director for obesity is also interested in
              meeting
          o Interested in metabolic, neuroscience, experience with vaccines (titer
              levels, influenza vaccine) as well as hormone replacement men and
              women
          o Scheduling meeting for early to mid January 2009.

   11. Schering-Plough
          o Elizabeth connecting with Jim Mcleod and moving specific project
              forward

Interest and follow up from the following companies:

Gilead Sciences
BayerHealthcare
Takeda
Schering-AG
Genzyme
HGSI
Medimmune




                                                                                   HOLMES0019265


                                           FER-177
                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 178 of 299

To:      Elizabeth Holmes[eholmes@theranos.com]
From:    Carolyn Balkenhol[/O=THERANOS ORGANIZATION/OU=FIRST ADMINISTRATIVE
GROUP/CN=RECIPIENTS/CN=CBALKENHOL]
Sent:    Wed 3/3/2010 5:51:24 PM (UTC)
Subject: Please call me before your Merck call - just had a great call with Connie Cullen

 Here are the notes I took, but I m worried that I won t be able to say it right in writing:

 She s super swamped, because she will be running the combined Merck/Schering-Plough bioanalytic groups.

 She said someone in her group reviewed the draft validation from a long time ago and thinks it would be helpful to have the scientists
 talk one on one. Then she started talking about running the combined groups and said that they ve done a high level analysis within
 the new organization and that the Merck folks are intrigued by it at which point I said that (this is where I was a little nervous,
 because I wasn t sure if I should say except that I was trying to sell, so I figured I needed to) now that they re deal s closed I could
 say that we have been working with Merck, as well, and that, in fact, you have a conversation with them today. She asked who your
 contacts were, and I said there are a bunch of them but mentioned Tom Fare (and gave her his title she said she wished she had
 that job) and Frank Sistare, whose title I didn t have. We talked about acquisitions (my mentioning Oracle as a segue) and how hard
 it is to sort out the workers from the fakers and trying to connect the two companies doing work with the same entity and that often
 it s easier to connect the dots from the outside. She said you should feel free to mention her name to the Merck folks and that it s
 known that she ll be running that group.

 She then started asking about the state of the contract (and I REALLY felt like a salesperson!) and that she d need to check in with
 Jim McLeod, who was the person who was handling it but that she thought it was actually ready to go! I said that I wasn t sure
 about all of that but that I d check into it while she figures out who should talk to Gary and our scientists.

 All in all, it was awesome, I think.

 Calling her every single morning for the last 3 weeks finally paid off      




                                                                                                                HOLMES0019266

                                                                  FER-178
                     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 179 of 299

To:          Elizabeth Holmes[eholmes@theranos.com]
From:        Sakul, Hakan[hakan.sakul@pfizer.com]
Sent:        Tue 10/29/2013 10:42:57 PM (UTC)
Subject:     FW: Following up on your technology

>ŽŽŬƐůŝŬĞ/ŵŝƐƐƉĞůůĞĚǇŽƵƌĐŽŵƉĂŶǇŶĂŵĞŝŶŵǇƉƌĞǀŝŽƵƐĞŵĂŝů͊
/ƚǁĂƐǀĞƌǇŶŝĐĞƚŽƐĞĞǇŽƵǇĞƐƚĞƌĚĂǇ͘

Hakan Sakul, PhD
| ǆĞĐŝƌĂŶĚ,ĞĂĚŽĨŝĂŐŶŽƐƚŝĐƐ͕tŽƌůĚǁŝĚĞZΘͮ
| >Ă:ŽůůĂ^ŝƚĞ,ĞĂĚ͕ĞǀĞůŽƉŵĞŶƚKƉĞƌĂƚŝŽŶƐͮ
ͮŝŽƚĞĐŚĞǀĞůŽƉŵĞŶƚ'ƌŽƵƉ͕ĞǀĞůŽƉŵĞŶƚKƉĞƌĂƚŝŽŶƐͮ
| WĨŝǌĞƌ/ŶĐͮϭϬϱϱϱ^ĐŝĞŶĐĞĞŶƚĞƌƌŝǀĞ͕ϭϬͬϮϮϮϱͮ^ĂŶŝĞŐŽ͕ϵϮϭϮϭ
|                 ;KͿͮ            ;ͿͮŚĂŬĂŶ͘ƐĂŬƵůΛƉĨŝǌĞƌ͘ĐŽŵ
ĚŵŝŶŝƐƚƌĂƚŝǀĞƐƐŝƐƚĂŶƚ͗^ĂůůǇ^ŬĞƌƌŝƚƚ;WŚŽŶĞ͗               ŵĂŝů͗^ĂůůǇ͘^ŬĞƌƌŝƚƚΛƉĨŝǌĞƌ͘ĐŽŵͿ



_____________________________________________
From: Sakul, Hakan
Sent: Tuesday, October 29, 2013 3:40 PM
To: eholmes@theanos.com; Christian Holmes; dyoung@theranos.com
Cc: Naeve, Gregory; Sogaard, Morten
Subject: RE: Following up on your technology


ĞĂƌůŝǌĂďĞƚŚ͕ŚƌŝƐƚŝĂŶ͕ĂŶĚĂŶŝĞů͕

/ǁĂŶƚĞĚƚŽĂĚĚŵǇƚŚĂŶŬƐĂƐǁĞůů͘/ƚǁĂƐǀĞƌǇŶŝĐĞƚŽŵĞĞƚǁŝƚŚǇŽƵ;ĂŶĚƐĞĞŝŶŐǇŽƵĂŐĂŝŶ͕ůŝǌĂďĞƚŚͿĂŶĚůĞĂƌŶĂďŽƵƚƚŚĞŐƌĞĂƚ
ƉƌŽŐƌĞƐƐdŚĞƌĂŶŽƐŚĂƐŵĂĚĞŽǀĞƌƚŚĞǇĞĂƌƐ͘/ĚŽŚŽƉĞƚŚĂƚǁĞǁŝůůĨŝŶĚǁĂǇƐƚŽǁŽƌŬƚŽŐĞƚŚĞƌ͘ďŽǀĞĂůů͕ŝƚŝƐƌĞĂůůǇĞŶĐŽƵƌĂŐŝŶŐƚŽ
ƐĞĞƚŚĂƚƉĞƌƐŽŶĂůŝǌĞĚĂƚƚĞŶƚŝŽŶĂŶĚƚŚĞƉƌĂĐƚŝĐĞŽĨƉƌĞĐŝƐŝŽŶŵĞĚŝĐŝŶĞŝƐŝŶĚĞĞĚǁŝƚŚŝŶĂƉĂƚŝĞŶƚ͛ƐƌĞĂĐŚŶŽǁ͕ƚŚĂŶŬƐƚŽǇŽƵƌ
ƚĞĐŚŶŽůŽŐǇĂŶĚǇŽƵƌĐŽůůĂďŽƌĂƚŝŽŶǁŝƚŚƉŚĂƌŵĂĐŝĞƐ͘/ůŽŽŬĨŽƌǁĂƌĚƚŽĨƵƌƚŚĞƌĐŽŶǀĞƌƐĂƚŝŽŶƐǁŝƚŚǇŽƵ͘

ZĞŐĂƌĚƐ͕
,ĂŬĂŶ




Hakan Sakul, PhD
| ǆĞĐŝƌĂŶĚ,ĞĂĚŽĨŝĂŐŶŽƐƚŝĐƐ͕tŽƌůĚǁŝĚĞZΘͮ
| >Ă:ŽůůĂ^ŝƚĞ,ĞĂĚ͕ĞǀĞůŽƉŵĞŶƚKƉĞƌĂƚŝŽŶƐͮ

ͮŝŽƚĞĐŚĞǀĞůŽƉŵĞŶƚ'ƌŽƵƉ͕ĞǀKƉƐͲtŽƌůĚǁŝĚĞZΘͮ

|                 ;KͿͮ


                                            -------
| WĨŝǌĞƌ/ŶĐͮϭϬϱϱϱ^ĐŝĞŶĐĞĞŶƚĞƌƌŝǀĞ͕ϭϬͬϮϮϮϱͮ^ĂŶŝĞŐŽ͕ϵϮϭϮϭ
                                       ;ͿͮŚĂŬĂŶ͘ƐĂŬƵůΛƉĨŝǌĞƌ͘ĐŽŵ
ĚŵŝŶŝƐƚƌĂƚŝǀĞƐƐŝƐƚĂŶƚ͗^ĂůůǇ^ŬĞƌƌŝƚƚ;WŚŽŶĞ͗



_____________________________________________
From: Sogaard, Morten
                                                                ŵĂŝů͗^ĂůůǇ͘^ŬĞƌƌŝƚƚΛƉĨŝǌĞƌ͘ĐŽŵͿ




Sent: Tuesday, October 29, 2013 4:31 AM
To: eholmes@theanos.com; Christian Holmes; dyoung@theranos.com
Cc: Sakul, Hakan; Naeve, Gregory; Sogaard, Morten
Subject: RE: Following up on your technology


řř

 Ŝ  Ŝ

  ɩŞŜ
                                                                                                               HOLMES0019267


                                                                             FER-179
                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 180 of 299


ř


           nd




                                               ---
Morten Sogaard | Executive Director, Head Biotechnology & Precision Medicine, External R&D Innovation, Worldwide R&D | Pfizer Inc
235 East 42 Street, Office 235/6/21 | New York, NY 10017 | Phone:
Assistant: rosetta.giurdanella@pfizer.com | Phone:
                                                                                  | Mobile              | morten.sogaard@pfizer.com
                                                                                                        ---




                                                                                                                                      HOLMES0019268

                                                                                                      FER-180
                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 181 of 299

To:       'Sogaard, Morten'[Morten.Sogaard@pfizer.com]; Giurdanella, Rosetta[Rosetta.Giurdanella@pfizer.com]
Cc:       Elizabeth Holmes[eholmes@theranos.com]; Sakul, Hakan[hakan.sakul@pfizer.com]
From:     Christian Holmes
Sent:     Thur 1/9/2014 6:12:12 AM
Importance:          Normal
Subject: RE: Meeting at JPM - Theranos/Pfizer
Received:            Thur 1/9/2014 6:12:18 AM
Pfizer Theranos System Final Report.pdf
Theranos Pfizer external vF.pdf



 Morten,

 Thanks for the note, and we look forward to seein g you next week .

 Attached to this emai l is the slide deck you requested, wh ich was also presented during our most recent meeting here in Pa lo
 Alto. Please note that due to the confi dential nature of this document, the fo llowing credentia ls are requ ired for access w ithin
 Pfizer:

             LOGIN: pfi zer

             PASSWORD: t heranosconfi dential

 Also attached is t he report for our program w ith Pfizer that we ran in the past, for your reference.

 Please let me know if there are an y questions.

 Best regards

 Christian



 From: Sogaard, Mort en [mailto:Mort en.Sogaard@pfi zer.com]
 Sent: Wednesday, January 08, 2014 5:59 AM
 To: Christian Holmes; Giurdanella, Rosetta
 Cc: Eli zabeth Hol mes; Sakul, Haka n; Sogaa rd, Morten
 Subject: RE: M eet ing at JPM - Thera nos/Pfi zer

 Hi Christian,

 Sorry for the late rep ly I was incapacitated due to a bad co ld but ba ck aga in - this time of year ....

 Very sorry again for the inconven ience caused by changes at our end. We look forward to seeing you at the reception and w ill
 introd uce you t o some of our key leaders. it is usua lly a very good event. We also look forward ot seeing you and Elizabeth at ou r
 Face to F ace meeting.

 If you get a chance to share a slide deck w ith us ahead of t ime that wou ld be idea l so that we can entice a few senior co lleagues
 ahead of the reception and our meeting.

 Rosetta,

 Please make every effort to accommodate th e t ime request form Christian and Elizabeth (I can help you move other meetings as
 needed.

 Best regards,

 M orten



  Confidential                                                                                                      THPFM0004782254



                                                                  FER-181
                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 182 of 299


From:Christian Holmes [mailto:cholmes@theranos.com]
Sent: Monday, January 06, 2014 2:40 PM
To: Giurdanella, Rosetta
Cc: Sogaard, Morten; Elizabeth Holmes
Subject: RE: Meeting at JPM - Theranos/Pfizer

Hi Rosetta -

 Per the tim ing options provided, the best t ime for our CEO is January 14 t h from 1 130 PM. We are also happy to host a meeting
for the individua ls trave ling t o JPM at our offices in Pa lo A lto, in add it ion to this meeting in San Francisco . If this is of interest, I can
he lp coordinate.

Unfort unately Elizabeth wi ll not be ab le to make the reception on the 14th due to previous ly schedu led commitments, however I
w ill be in attendance w ith one of our Senior Product Managers as we ll.

Please let me know if you have any questions.

Best regards

Christian

 (I am following up with the slide deck requested, and intended to provide feedback on the timing options as well at that time in a
single email - the deck will be sent over later today)


From: Gi urda nella, Rosetta (mailt o:Rosetta. Giu rdane ll a@pfizer.com1
Sent: M onday, Ja nuary 06, 20 14 11 :29 AM
To: Christian Holmes; Elizabeth Holmes
Cc: Sogaa rd, Mo rte n
Subject: RE: Meeting at JPM - Therano s/Pfizer

Dear Christian,

 I was just fo llowing up to see if we can firm up a meeting at JP Morgan. Morten had suggested that we maybe
keep the origina l timing - ie Tuesday at 4pm PST. Can you let us know if that will work on your end?

Thank you and regards,

Rosetta


From:Christian Holmes [mailto:cholmes@theranos.com]
Sent: Friday, January 03, 2014 12:02 AM
To: Sogaard, Morten; Elizabeth Holmes
Cc: Giurdanella, Rosetta; Sakul, Hakan
Subject: RE: Meeting at JPM - Theranos/Pfizer

Morten,

 Happy New Year to you as well. Thanks for the note and exp lanat ion - I've shared the t iming options that Rosetta sent me t his
morning w ith El izabet h's office, and w ill get ba ck to Rosetta on that shortly. I' ll also fo llow up w ith info rmat ion per your request
for the overview deck.

Best regards,

Christian

  Confidential                                                                                                               THPFM0004 782255



                                                                   FER-182
                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 183 of 299



From: Sogaard, Morten fmailt o:Mort en.Sogaard@pfizer.com1
Sent: Thu rsday, Ja nuary 02, 2014 12:25 PM
To: Elizabeth Holmes; Ch ristian Holmes
Cc: Giu rda nella, Rosetta; Sakul, Hakan; Sogaard, Morten
Subject: RE: Meeting at JPM - Theranos/Pfi zer

 Dear Elizabet h and Christ ian,

Happy New Yea r !

I just want ed to make sure t o make the poin t th at we are st ill ve ry excit ed about The ranos and in meet ing up at JP Morgan, and
explain what happened to the meeting w ith M ikael Do lsten.

 Mikael had o rigina lly p lanned to spend two days at JP Mo rgan but now w ill be the re on ly fo r a few hours, which w il l p rima rily be
focused on companies in later stage negotiations.

Hakan and I w ill make sure to introduce you to Mikae l and othe r key leaders du ring the partne ring reception if you can still make it.



Now th at we have a CDA in p lace would you be ab le to share a con fi dentia l slide deck with us - e.g. the one you showed to us in
Pa lo Alto o r someth ing simila r ?

This wou ld be ve ry he lpfu l fo r ra ising awa reness and enthusiasm interna lly about The ranos. We wou ld share on ly w ith a few sen io r
leade rs .

Kind rega rds,

M o rten and Ha kan



.--ii..\?11-,11 ;,,·.:.~1i,·-··-- Holmes Lffiia!lt!Q.;£t1Qlms;fil£Qtru;rn~mmJ
Sent: Monday, December 30, 2013 2:55 PM
To: Halston, Susannah
Cc: Sogaard, Morten; Giurdanella, Rosetta
Subject: RE: Meeting at JPM - Theranos/Pfizer

Susannah --

Thanks fo r letting me know. I w ill fo rwa rd t his to Elizabeth's office as we ll. If you have alternate dates/times in mind, please let
me know.

Rega rds

Ch ristian



From: Halston, Susa nna h fmailt o:Su sannah.Ha lston@pfizer.com1
Sent: Monday, December 30, 2013 11:02 AM
To: Ch ristia n Holmes
Cc: Sogaa rd, Morten; Giurdanella, Rosetta
Subject: RE: Meeting at JPM - Thera nos/Pfi zer

 Dear Christian: Unfortunately, Mikael Dolsten's schedule has changed and we will need to cancel
the meeting schedule at JPM but will try and find another time when Morten Sogaard and key
colleagues can meet with your group. My teammate Rosetta will work with you to schedule the
  Confidential                                                                                                         THPFM0004 782256



                                                                                FER-183
                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 184 of 299

replacement meeting. Sorry for the inconvenience and best wishes for the New Year. Regards,
Susannah


Susannah Halston

212.733.6259

.---i1..\?11-,11;,,'..".~ii,·-~---- Holmes [mailto:cholmes(rntheranos.com]
Sent: Saturday, December 07, 2013 5:00 PM
To: Halston, Susannah
Cc: Sogaard, Morten
Subject: RE: Meeting at JPM - Theranos/Pfizer

Susannah -

 Thanks for providing these t iming options. Tuesday the 14th at 330 PM PT works we ll for our CEO. Please send the meeting invite
to me, as we ll as to our CEO's ass istant (lgarriott@theranos.com ), and she can put it directly on Elizabeth's ca lendar.

Please let me know if you need any other informatio n from our end.

Best regards

Christian

 Christian R. Holmes
Director I Product Management
Theranos, Inc.

Office: 650.470.6145
Mobile: 650.561.2151


cholmes«i.theranos.com



From: Halston, Susannah (mailto :Susannah.Ha lston@pfizer.com)
Sent: Wed nesday, December 04, 2013 1:25 PM
To: Christian Holmes
Cc: Sogaard, Morten
Subject: Meeting at JPM - Theranos/Pfi zer

Dear Christian: I am contacting you to schedule a meeting during the JPM conference next month
with Pfizer's R&D President Mikael Dolsten and key members of our team at the request of Morten
Sogaard. Please let me know if I should work with you directly or if there is a member of your team
with whom I can interface on scheduling.

 We could offer Tue Jan 14 at 3:30 pm PST.                                   Another option is Mon Jan 13 at 3 pm.

 Once we have an agreed time, I will forward an invitation from Uwe's calendar with attendees and
location in San Francisco. Many thanks. Regards, Susannah

 Susannah Halston

Administrative Lead to Uwe Schoenbeck

Chief Scientific Officer & Senior Vice President

External Research & Development Innovation (ERDI)
  Confidential                                                                                                   THPFM0004 782257



                                                                             FER-184
                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 185 of 299


Pfizer Worldwide Research & Development

235 E 42 Street, NY, NY 10017

212. 733. 62 59 direct phone

susannah.halston(cDpfizer. com




 Confidential                                                                    THPFM0004 782258



                                               FER-185
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 186 of 299




                                                           CONFIDENTIAL


                                               Theranos Angiogenesis Study Report

                                                              Pfizer , Inc.
               Document Outline:

                   oo   Introduction to Theranos
                   m    Background on Theranos Studies
                   oo   Economic Impact of Theranos Systems to Pharma
                   m    Angiogenesis Program Overview
                             o Study design
                   m    Theranos System Overview
                             o  Specifications
                             o  Theranos System Performance
                   oo   Theranos Field Study
                             o  Field Performance Overview
                             o  Trial Data
                             o  Evaluation of time course results from individual patients
                             o  Review of generated data, in aggregate by patient ID, sex, cancer type,
                                treatment, etc.
                             o  Integrated patient information, including date and time of mon itoring, medication
                                received, self evaluation of overall health status of each patient and other clinical
                                data in a comprehensive format
                             o Assessment of the technical performance of the Theranos System
                                         Data transmission % success and mode of transmission used
                                         General performance information as logged via the Customer Care line
                                         Assessment of patient compliance with protocol
                             o  Summary of patient and clinical staff assessment of the Theranos System and
                                the Client Solutions team via end-of-study surveys
                   oo   Conclusions
                             o  General
                             o  Technical
                             o  Economic

               Introduction to Theranos:

               Accurately, rapidly, and effectively profiling the efficacy dynamics of a therapy in clin ical studies is
               an unmet need that has long challenged the conventional blood testing infrastructure.

               Theranos has demonstrated in cl inical studies that more frequent longitudinal time-series
               measurements on fresh who le blood samples with a multiplexed platform that eliminates the
               noise (and inability to accurately characterize very broad dynamic ranges) of conventiona l tests is
               imperative to effectively characterizing physiological changes and the efficacy of any intervention.

               Theranos' wirelessly integrated data analytical system allows for 'baseline' profiles of pathway
               dynamics to be created and updated automatical ly as data is generated in the field. If needed,
               analyte selection or frequency of samp ling can be adjusted at any time during the study based on
               the data coming in .

               In future studies within a given indication, the data analytical infrastructure can be used for
               predictive modeling where in new patient data can be indexed against the stored baseline profiles
               for earlier reads on efficacy dynamics and dose-response.


                                                   3200 Hillview Palo Alto. CA 94304
                                          phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                      THPFM0004782259




                                                            FER-186
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 187 of 299




                                                           CONFIDENTIAL




               Background on Theranos Studies:

               Every day gained in getting a new brand to market can be measured in millions of dollars.

               Time is a major factor of cost of development of a new drug. For years the pharmaceutical
               industry has worked to drive every day possible out of the development process, and has
               reached a point where the physical limitations around the timelines for statistically sign ificant data
               acquisition primarily determine the time to market.

               Theranos Systems revolution ize those timeline constraints by enabling instant access to higher
               quality data and exponentially faster reads on efficacy and safety dynamics from the initiation of
               clinical trials. In doing so, Theranos is laying the foundation of a new growth model for pharma.

               Theranos Systems radically impact revenues and growth on new and existing drugs in ways that
               were previously not possible:
                   ♦   Faster approvals and studies - Immediate access to results enables immediate decision
                       making and planning; early reads on efficacy dynamics and dose optimization for sub-
                      populations through more comprehensive longitudinal PK/PD profiling
                   ♦   Reimbursement and differentiation - Concrete reads on efficacy dynamics and visibility
                       into mechanisms of action to optimize compounds dynamically
                   ♦   Rapid access to multiple markets pre and post-approval - early reads on efficacy through
                      trends in the change in rate of key markers allow for rapid label expansion
                   ♦  Amelioration of safety concerns - more accurate reads on actual pathway dynamics
                       enable rapid optimization where beneficial and de lineation of patient sub-populations

               Economic Impact of Theranos Studies to Pharma:

               Based on Theranos' previous experience, predictive modeling and more comprehensive
               longitudinal profiling has resulted in the demonstration of mean ingful dose-response and efficacy
               dynamics profiles in 6 month timeframes where the conventional infrastructure took two years
               and was still not able to generate hard correlations. An 18 month time-savings, not to mention the
               ability to gain insight into methods for optimization for label expansion, can conservatively be
               equated to hundreds of millions of dollars gained. With industry estimates at $1-3M a day for the
               value of each day gained in time to market, even 6 months saved ranges between $180M and
               $540M in return on investment.

               Equally, once the infrastructure has been implemented, future studies are requiring about 25%
               fewer patients, reducing the patient costs, number of sites required , assay development, reagent
               screening, and infrastructure costs for shipping and processing samples through ambulatory
               point-of-care monitoring.

               Overall savings on 6 month trials once the data analytical infrastructure has been establ ished
               have averaged 50% of the cost of running an equivalent trial through the conventional
               infrastructure, further saving millions of dollars. As the data analytical engine evolves after the
               first 6 month study, costs are further reduced in each follow-on study, covering the cost of
               Theranos infrastructure and units many times over.

               Ultimately though, the greatest economic return on investment lies in the abil ity to expand
               percentage market ownership through visibility into pathway dynamics that enables rapid
               characterization of responder populations in ways previously not possible. This capability enables


                                                   3200 Hillview Palo Alto. CA 94304                                 2
                                          phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                     THPFM0004 782260




                                                            FER-187
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 188 of 299




                                                            CONFIDENTIAL


               commercialization of 'targeted blockbusters' by redefining a company's historical success rate in
               realizing the target product profile of each drug once it hits the market.


               Angiogenesis Program Overview:

               The primary objective of the present program was to demonstrate the functionality of Theranos
               Systems in such a way that future studies could fully leverage the power of comprehensive
               longitudinal time-series profiling for rapid compound optimization and development.

               For this program, Theranos was asked to develop multiplexed point-of-care assays for VEGF and
               PIGF for use in monitoring patient pharmacodynamic response to anti-angiogenesis therapies.
               Because the development of VEGFR2 in that multiplex was desirable as a tool for use in future
               studies , Theranos developed the assay and included it in the point-of-care multiplex.

               In this program, Theranos validated not only functional equivalence, but superior performance
               specifications of the Theranos multiplex to each of the respective 'gold-standard' kits.

               An Interim Report on Assay Development was submitted to Pfizer in 02 '07 upon successful
               completion of assay development.

               As planned for at the interim update meeting with Pfizer, the first patient began participating in the
               study in July of 2007. In order to fast-track the program timeline, Theranos contracted an
               independent site - Tennessee Oncology Center.

               Enrollment of Sutent patients at this site was very slow; from the time patient screening began
               (early 2007) and after discussions with respective members of the Pfizer team, the protocol was
               revised several times to increase the frequency of monitoring but reduce the total number of
               patients and shorten the monitoring cycles per patient. Likewise, enrollment criteria were
               broadened to include patients on other therapies with whom trends in the relevant markers could
               also be profiled.

               In doing so , statistical significance in meeting the study goals could still be ensured. Multiple IRB
               submissions were filed . Final IRB and Informed Consent Forms were included in two interim
               update reports sent to Pfizer.

               Goals of Study:
                      1. Generate preliminary data on VEGF and PLGF trends in cancer patients while
                           assessing the use of the Theranos System in the hands of clinicians and patients.
                      2. Obtain feedback and recommendations from clinical staff.
                      3. Assess the use of the Theranos System in the hands of ambulatory patients at home.
                      4. Assess the Ambulatory Bioinformatics Communications System 1 including the
                           physician and patient web portals as well as the data reports generated.

               Study design:
               Patient screening began in January 2007, once the final site was selected, enrollment began. In
                                                                                                                         th
               July of 2007, the first patient was enrolled in the trial. This trial consisted of very ill late-stage (4
               line) cancer patients with various tumor types receiving a variety of therapies at the Sarah


               1
                 The Ambulatory Bioinformatics Communication System (formerly known as ABCS) was rebranded as
               TheranOS, the Theranos Operating System

                                                    3200 Hillview Palo Alto. CA 94304                                         3
                                           phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                           THPFM0004782261




                                                              FER-188
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 189 of 299




                                                          CONFIDENTIAL


               Cannon Research Center at Tennessee Oncology (TNONC) in Nashville, Tennessee. The
               patients in the study typically resided in very remote locations across the eastern US. Almost all
               patients were not computer literate, and most were from low income families, unable to afford
               private telephone service.

               The Theranos angiogenesis monitoring system was evaluated for clinical efficacy and as a
               means of more accurately and effectively monitoring cancer therapy and the progression of solid
               tumor cancers from a mechan ism-of-action perspective. 32 patients were enrolled. Various
               cycles of therapies were monitored as well as physical changes in tumor size.

               Four of the patients retracted consent to the study, three of them due to family problems and one
               due to mental and physical instability. Thus, Theranos increased the targeted enrollment number
               to ensure that the goal of demonstrating performance across significantly significant patient
               numbers would be met. That goal has now been achieved. To realize the goal, some patients had
               extended (60 day) monitoring periods.

               Since Theranos has the ability to continue monitoring patients under the existing IRB and given
               the power of some of the correlations which are becoming apparent, Theranos may continue
               monitoring those patients for an extended period of time.

               Enrollment was unpredictable and slow. All installations and shipments completed for this study
               were done on-demand with less than 24 hours . As part of the installation procedure, Theranos'
               client solutions team has performed at-home installations and pick-ups for many weak patients.

               For each patient, a total of up to 14 time points were collected during the month-long analysis
               period, 3-4 time points taken at the clinic and the other 10-11 time points taken in-home. Both
               finger-stick and venous samples were taken during each clinic visit, while only finger-stick
               samples were run in-home. The venous draw samples were run on the Theranos System in the
               clinic at the time of the draw; these samples were also processed so that the plasma and/or
               serum was analyzed using a reference method .

               Venous samples were processed using reference methods and provide an archive of 41 anti-
               coagulated plasma and serum samples which were frozen and have subsequently been analyzed
               at Theranos .

               Theranos System Overview:

               The Theranos System is comprised of consumer-oriented readers, single-use cartridges
               containing assay chemistry and controls, and a data collection system that communicates
               through cellular networks with the instrument to provide assay protocols and to compute and
               display resu lts.

               The steps requ ired of a new patient are to 1) take the machine out of the box and 2) plug it into a
               power source. The touch-screen then walks each patient through the process of poking his/her
               finger, depositing blood into the cartridge, and placing the cartridge in the reader drawer. The
               instrument then processes the assays and sends the data through the cellular network in real-
               time to a secure web-portal.

               Theranos Systems allow for quantitative, multiplexed longitudinal time-series measurements to
               map correlations between the rate of change of blood-borne markers over time to surrogate and
               clinical end-points.



                                                  3200 Hillview Palo Alto. CA 94304                                 4
                                         phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                  THPFM0004 782262




                                                           FER-189
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 190 of 299




                                                          CONFIDENTIAL


               Specifications :

                   ❖   Designed for at home use. Can also be used in phys ician's offices, ICU , and laboratories.
                   ❖   Multiplexed measurement of biomarkers.
                   ❖   Customizable for different/new assays on demand.
                   ❖   Average 6 measurements per cartridge
                   ❖   Serial measurements to comprehensive ly profile pharmacodynamic response through
                       trends
                   ❖   Runs fresh whole blood, plasma or serum samples
                   ❖   Finger-stick - small sample size
                   ❖   Mix and match selection of analytes on demand .
                   ❖   Wide measurement range
                           o pg/mll - mg/ml (1 billion fold)
                   ❖   High sensitivity
                           o 0.2 pg/ml (2 parts per 10-billion)
                   ❖   Ana lyte Recovery: -100 %
                   ❖   System CV post-calibration (inter-intra reader, cartridge, and assay): < 10 %
                   ❖   On-board chemistry controls
                   ❖   Factory ca libration (no user calibration)
                   ❖   Wireless communication of results to appropriate user through cellular network
                   ❖   Proprietary algorithms to interpret time trend results

                   The existence of a technology infrastructure for home, real-time blood monitoring allows
                   collection of information which cannot be obtained using conventional blood testing
                   scenarios :
                   ❖    Small sample (finger-stick)+ more frequent sampling of a small subset of analytes
                        enables:
                            o Identification of appropriate ana lytes (greatly helped by more frequent sampling)
                            o   Earlier detection of efficacy and safety and acute problems so intervention (for
                                example, dose modification or change in drug type) can be more effective
                            o   Convenience of monitoring through-out a time-course before an event
                   ❖    Higher sample integrity; real-time sample analysis on fresh whole blood on a
                        standardized platform which can be deployed at any location (world-wide) eliminates
                        assay inaccuracy associated with commercially available tests performed on samples
                        which are "old" by the time they are analyzed.
                            o Elimination of erroneous results (caused by analyte instability) and inherent
                                errors in data and patient correlations (caused by processing data at various
                                contract locations)




                                                  3200 Hillview Palo Alto. CA 94304                                5
                                         phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                 THPFM0004 782263




                                                           FER-190
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 191 of 299




                                                               CONFIDENTIAL




               For this study, an instrument was deployed in the home of each patient; four others were installed
               at the Cancer Center.

               Three assays were performed simultaneously in multiplex by the system on a finger-stick sample
               of fresh whole blood. The analytes were Vascular Endothelial Growth Factor (VEGF), soluble
               VEGF receptor R2 (sVEGFR2, usually referred to as VEGFR2) and Placental Growth Factor
               (PLGF) . Each assay was controlled using within-cartridge control measurements.

               The system was calibrated at Theranos. Multiple cartridge lots were produced each with
               successively more clinically relevant specifications once samples were received from patients in
               the trial, as samples were not available during assay validation . Each lot was independently
               calibrated.

               Traceability of calibration: Calibration is traced to authentic analytes dissolved at known
               concentrations in a plasma-like matrix . Calibration materials are prepared as mixed solutions of
               the three analytes. Assignment of calibrator concentrations is then made to values found for
               measurements of calibrators using reference assays.

               System Performance Goals:
                Assay           Reportable low pg/ml                    Reportable high pg/ml           Precision CV, %
                VEGF                     20                                    10,000                          10
                VEGFR2                   150                                   15,000                          10
                PLGF                      5                                     1,000                          10

               Assay ranges achieved:
               The goals for each assay's dynamic range were achieved. Due to the inability to receive samples
               for calibration at the beginning of the studies, the upper limit of calibration for VEGF was
                                                                                       2
               restricted to 3,000 pg/ml in the first cartridge lots, but then extended to 10,000 pg/ml. For early
               cartridge lots the PLGF assay lower limit of sensitivity was 50 pg/ml. Therefore, many early
               results for PLGF were out-of-range low ("OORL"). Lots produced after receiving samples for
               calibration have reportable ranges below 20 pg/ml.

               2
                   All three assays have a linear dose-responses extending far above the highest calibrator used.


                                                       3200 Hillview Palo Alto. CA 94304                                  6
                                              phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                          THPFM0004782264




                                                                FER-191
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 192 of 299




                                                         CONFIDENTIAL




               Specificity:
               The specificity of the assays depends on the pairs of antibodies chosen for each assay. In the
               first instance, we rely on the antibody vendor information. Selected pairs are known to have good
               specificity in ELISA assays . Key issues for these analytes are (1) the structural relationship of
               VEGF and (2) the fact that VEGF binds to sVEGFR2. We have shown that the Theranos assay
               system is not affected by the presence of VEGF and VEGFR2 and PLGF in the same samples.
               In many patients in this study, the drug Avastin is used. This drug is an antibody that binds to
               VEGF. It is obvious that ELISA assays for VEGF (and perhaps VEGFR2) using antibody pairs
               are likely to be interfered with by Avastin. As documented below, Theranos assays for VEGF and
               VEGFR2 appear to function with minimal interference from Avastin. In contrast, the selected
               reference assay for VEGF is strongly interfered by Avastin .

               Theranos System Performance :

               Assay accuracy:
               Accuracy has been evaluated by analysis of clinical samples. Two sets of samples have been
               used: (1) A set of 12 serum samples from cancer patients (obtained from a commercial vendor),
               (2) 41 archived serum and plasma samples from this study. Because Avastin was used to treat
               many of the patients in the TNONC study and this antibody strongly interferes with the reference
               method, we used the commercially available samples for VEGF assay evaluation .

               Twelve serum samples were assayed (singlicate) in the Theranos system and in duplicate for the
               reference method with the following results:

               VEGF: y (Theranos) = 0.785 x (reference) + 95.2 ; R"2 =0.99. Range 96 - 1985 pg/ml. One
               sample was rejected from the analysis giving very high results in the Theranos system and low
               results in the reference assay. Based on the study data, it seems likely this patient was being
               treated with the drug Avastin, which interferes with the reference assay.




                                                 3200 Hillview Palo Alto. CA 94304                             7
                                        phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                               THPFM0004 782265




                                                          FER-192
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 193 of 299




                                                         CONFIDENTIAL



                                                Single cartridge clinical results



                              y = 0.785x + 95 .182
                                  R2 = 0.9875




                 E 1500
                ~
                 Ill
                 >,
                 Ill
                u:
                (!)
                w 1000
                >

                       500




                                                                                                     3000

                                                         VEGF, R&D, pg/ml
               For VEGFR2, 39 TNONC samples were assayed in triplicate in the Theranos system and
               duplicate for the reference method. The results were: y (Theranos) = 1.29 x (reference) + 1004;
               R =0.83. Range 1015 - 9285 pg/ml.




                                                 3200 Hillview Palo Alto. CA 94304                             8
                                        phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                THPFM0004 782266




                                                          FER-193
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 194 of 299




                                                         CONFIDENTIAL




                                      VEGF-R2 - TNONC sample correlation


                        10000
                        9000                                                                                ♦
                                     y =1.2945x - 1004.4
                        8000               R =0.83
                                                                                    ♦
                                                                                         ••
                 ..J    7000
                 E                                                         ♦                         ♦
                 c, 6000                                    ♦
                  a.                                                                             ♦
                  II)   5000
                  0
                  C:
                        4000
                  f!
                  Cl)
                 .c:    3000
                 I-
                        2000
                         1000
                            0
                                0   1000      2000       3000       4000       5000       6000       7000       8000
                                                VEGFR2 Reference assay, pg/ml



               For the initial PLGF samples analyzed by Theranos in the field and with the reference method the
               results fell mostly in the undetectable range of both methods. Once the Theranos calibration was
               re-optimized, values became detectable from 5-17 pg/ml in the out-of-range-low venous samples
               sent to The ranos.

               A significant correlation was achieved during validation on normal serum samples from twenty
               pregnant women assayed in quadruplicate. They were analyzed on both the Theranos system
               and the reference R&D Systems kit. The following results were obtained: y (Theranos) = 1.26*x
               (R&D Systems); R = 0.96. The average within sample CV for the Theranos results was 9%. One
               sample (shown in pink) below gave discrepant results.




                                                 3200 Hillview Palo Alto. CA 94304                                     9
                                        phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                       THPFM0004 782267




                                                           FER-194
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 195 of 299




                                                             CONFIDENTIAL




                                                       PLGF Assay Correlation

                         1000

                          900

                         800                   y   = 1.2598x                     ♦
                  :J"
                  E      700 -
                                               R
                                                   2
                                                    =0.9337
                  c,

                  -
                  e
                  :'i
                  VI
                  Q)
                         600

                          500
                  0:::
                  VI
                                 m
                  0      400
                  C:
                  ns
                  ai
                  .c:
                          300
                  I-
                         200 -

                          100

                            0
                                0    100        200         300       400        500        600     700   800
                                                              R&D Result (pg/ml)




               When the resu lts for patients were segregated by trimester and averaged, the concordance
               shown below was found.




                                                    3200 Hillview Palo Alto. CA 94304                             10
                                           phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                    THPFM0004 782268




                                                              FER-195
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 196 of 299




                                                                CONFIDENTIAL




                        600

                                                                                               ll!I R&D Systems
                        500
                ...J                                                                           lllll Theranos Systems
                .§
                 Cl
                 C.     400
                Li:'
                C)
                ...J    300 -
                 e:.
                 Q)
                 Cl
                 ...cu 200
                 Q)
                  >
                 c:.(
                        100


                          0 ..
                                           First                     Second                             Third
                                                                    Trimester



               Effect of Avastin on the reference VEGF assay:
               Comparison of reference and Theranos VEGF assay results for venous samples were not
               correlated. Many Theranos results were in the thousands of pg/ml where reference assay gave
               a low value. Since it was noted that many of the patients had been treated with Avastin which
               binds to VEGF, Theranos did a study of spike recovery for the reference method. VEGF (400
               pg/ml) was added to each sample and the assay repeated . Results are shown below:


                                 Avastin           VEGF average, pg/ml               VEGF average, pg/ml
                                 Present                  Ref                             Theranos
                                    N                     149                                588
                                   y                      136                               8359

                                                   VEGF spike recovery, %
                                   N                       66.5
                                   y                        -1.3


               It is evident that Avastin completely blocks the reference assay response . Presumably, Avastin
               binds at a site on VEGF close to or identical with that recognized by one of the antibodies used in
               the reference method. The reference assay thus responds only to free VEGF whereas the
               Theranos assay is not blocked and measures both Avastin-bound and free VEGF .




                                                        3200 Hillview Palo Alto. CA 94304                                11
                                               phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                            THPFM0004782269




                                                                 FER-196
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 197 of 299




                                                                     CONFIDENTIAL


                   Assay precision:

                   Inter-Instrument Precision:
                   Venous samples from patients were run across four instruments.

               !   Assay                    Reportable low pg/ml              Reportable high pg/ml             Precision CV, %
                   VEGF                                 20                           10,000                            8.0
                   VEGFR2                               150                          15,000                            7.3
                   PLGF                                  5                            1,000                           9.2

                   Precision in comparison to available reference methods was evaluated during calibration .
                   Singlicate measurements from six instruments were used next to commercially available 'go ld-
                   standards'. Theranos adjusted the target range after obtaining clinical samples. Due to the
                   superior performance characteristics of Theranos' assay next to commercial standards, obvious
                   variances are seen where the reference methods report OORL.

                   s·Ing Ie Iot ca l"b ra fI0n dat a:
                                   I

                                Ana lyte                                Range (pg/ml)                        Average CV, %
                              VEGF (lot 3)                               30-10,000                                12.0
                              VEGF (lot 1)                                30 - 3,000                              10.0
                             VEGFR2 (lot 3)                             1,000 - 10,000                             4.8
                             VEGFR2 (lot 1)                                50 - 800                               17.6
                              PLGF (lot 3)                                  5- 780                                26.9
                              PLGF (lot 1)                                 50 - 800                                9.1

                   Precision was also measured by analysis of the 41 archived clinical samples in assays and for
                   VEGF 12 commercial samples.

                                 Ana lvte                               RanQe (oa/ml)                        AveraQe CV, %
                                  VEGF                                    30 - 10,000                             16.7
                                  VEGF'                                    96 -1985                                5.7
                                 VEGFR2                                 1,000 - 10,000                            20.4
                                  PLGF                                      5- 780                                28.7

                   Dilution linearity:

                   Data gathered during lot cal ibration.

                                                              VEGF , pg/ml        Recovery, %
                                                                 10000               (100)
                                                                 2970                 102
                                                                  990                  95
                                                                  297                 105
                                                                  100                 109
                                                                   30                 105
                                                                   10                 101



                   3
                       Comm ercial samples


                                                             3200 Hillview Palo Alto. CA 94304                                    12
                                                    phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                                 THPFM0004 782270




                                                                        FER-197
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 198 of 299




                                                                 CONFIDENTIAL




                                                       VEGFR2, pg/ml           Recovery,%
                                                          10560                   (100)
                                                           7920                    92.9
                                                           5280                   100.9
                                                           3960                   104.8
                                                           2640                    97.7
                                                           1320                   100.8


                                                          PLGF, pg/ml          Recovery,%
                                                             780                  100.0
                                                             312                  87.6
                                                             156                  102.8
                                                              47                  106.3
                                                              16                  92.4
                                                               5                  99.4


               For all assays, recovery was close to 100 % in the reportable range.


               Limit of detection (LOO):
               Data gathered during calibration. The LOO is defined at a 95 % confidence level.

                                                             Analyte              LOO, pg/ml
                                                             VEGF                    < 20
                                                            VEGFR2                  < 200
                                                                   4
                                                             PLGF                    < 20


               Theranos Field Study:

               The system has been deployed to patient's homes and the TNONC study clinic and has
               downloaded protocols and uploaded data wirelessly. Some patients used direct telephonic
               communications (POTs modems) if they were worried about cell reception. Data for every patient
               has been profiled on a secure, Pfizer-specific server.

               Field Performance Overview:

               In this report we document results from:

                                    oo    27 patients (41% female and 59% male)
                                    oo    13 cancer types
                                    oo    38 Instruments
                                         o 27 instruments deployed to patients' homes


               4
                   Later stage cartridge lots

                                                         3200 Hillview Palo Alto. CA 94304                 13
                                                phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                             THPFM0004782271




                                                                  FER-198
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 199 of 299




                                                          CONFIDENTIAL


                                    o 4 instruments deployed to the clinical site in Nashville, TN
                                    o 4 updated instruments to replace the readers at the clin ical site such that
                                       the latest design revolution is deployed at the site
                                    o 3 were used to replace malfunctioning readers in the field (2 at clinic - one
                                       with communication issue, one mechanical due to user error; 1 at
                                       patient's home with mechanical issues from shipping)
                               oo    445 cartridges (approximately 1300 assay results)
                                    o This number includes cartridges run in-house on archived plasma as well
                                       as results gathered in-field

               Data acquisition has proven feasible in the home setting. There were instruments in the field
               operating in extreme temperature conditions (from very hot, no A/C to A/C turned to the
               maximum) as well as in very diverse locations (from RV's to log cabins in the middle of forests), in
               remote, difficult to reach areas where poor cellular reception is prevalent.

               The instruments have been deployed across three states, including Kentucky, Pennsylvania and
               Tennessee. As mentioned, typical turnaround time for installation and patient at-home test was
               less than 24 hours without notice.

               In monitoring this multiplex of analytes at far greater frequency than ever before, considerable
               patient-response variation can be seen across different sub-patient populations, therapies, and
               cancer types.

               When we look at the average results from each patient and the variation seen for each patient, it
               is evident that the patients vary drastically:

                                                 VEGF               VEGFR2             PLGF
                                                 Avg., pg/ml        Avg., pg/ml        Avg., pg/ml
                                    Maximum             13,584              6,317               410
                                    Minimum               47.5                368               37.3

               By evaluating sample statistics such as these, one can identify patients who are
               anomalous and who may benefit from therapy modification.

               For example, of the 13 patients with colon cancer we see one subject with an average VEGF of
               13,600 pg/ml and another with an average of 255 pg/ml whereas most of the patients had VEGF
               values quite closely clustered at 1000 - 5000 pg/ml. Simi larly, we see some subjects who show
               very little variation in analyte values and others with wide variations presumably related to
               response (high or low) to therapy.

               Trial Data:

               The following raw trial data is included in the appended spreadsheet:

                   1. Clin ic visit diagnostics (Patient characteristics and Clinical assay results)
                   2. Clinic visit pivot table (clinical results presented as a customizable pivot table)
                   3. Patient aggregate data (Compliance data, Result averages and CVs by patient and
                      averages by cancer type)
                   4. All field analyte data results (from the Theranos system presented by patient in a filtered
                      table format [sort-able])
                   5. Treatment data (drugs used and dosage)


                                                  3200 Hillview Palo Alto. CA 94304                               14
                                         phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                  THPFM0004 782272




                                                           FER-199
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 200 of 299




                                                          CONFIDENTIAL


                   6. Individual end-of-study results (patient evaluation of system)
                   7. Compilation and summary of end-of-study survey results
                   8. Data transmiss ion statistics



               Evaluation of time course results from individual patients:

               The study data demonstrates that in a larger, statistically controlled study, where the endpoint is
               directly proportional with patient outcome, e.g., a RECIST Score, a correlation between analyte
               dynamics and patient response to treatment would be generated.

               To showcase the ability to profile predictive correlations between treatment and response profiles,
               we selected data from two patients -- 14 and 12 . Due to patient 14's clinic schedule (first figure
               below), we were able to collect data following multiple infusion dates, allowing limited statistical
               analysis to be performed that correlates analyte levels with treatment administration. The cross-
               correlation function (second figure below) looking at VEGF and VEGFR2 blood levels for patient
               14 shows a positive correlation at a cadence of 3 data points. This coincides with the patient's
               weekly clinic visits during which the patient receives the Avastin infusions .




                                                              SCP014
                                                   Analytes and Treatment data
                 4000

                 3500



                 2500                                                                               ----+--VEGF
                                                                                                    ---m---- VEGFR2
                 2000
                                                                                                    ---.1r-Avasti n
                                                                                                    ---+---- E rbit ux

                 1000

                   500

                     0
                     6/1/20 6/6/20 6/11/2 6/16/2 6/21/2 6/26/2 7/1/20 7/6/20 7/11/2 7/16/2
                       08     08    008    008    008    008     08     08    008    008
                      0:00   0:00   0:00   0:00   0:00   0:00   0:00   0:00   0:00   0:00
                                                     Date



               The change in rate of the parameters can be correlated to progress, seen again below in a
               correlation plot:



                                                  3200 Hillview Palo Alto. CA 94304                                      15
                                         phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                       THPFM0004782273




                                                           FER-200
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 201 of 299




                                                                                CONFIDENTIAL




                                                          tnonc14.vegf & tnonc14.vegfr2




                                      6
                                      0 __, ____.______, _____,_____   L__ __




                                                                  -5                   0       5

                                                                                      lag


               For patient 12 (first figure below), we observe an inverse correlation between VEGF and VEGFR2
               blood levels. This suggests tha t the blood analytes behave differently with different drug
               treat ments, pointing at distinct pathways of drug activity (second figure below).




                                                 3200 Hillview Palo Alto. CA 94304                        16
                                        phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                            THPFM0004 78227 4



                                                                                FER-201
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 202 of 299




                                                                CONFIDENTIAL




                                                                       SCP012
                                                   Analytes inversely correlated; daily Sora fenib

               2500



               2000



               1500
                                                                                                           --+-VEGF
                                                                                                           _,,.__ VEGFR2
               1000



                500



                  0
                 6/1/2008 6/6/2008 6/11 /200 6/16/200 6/21 /200 6/26/200 7/1/2008 7/6/2008
                   0:00     0:00    8 0:00    8 0:00    8 0:00   8 0:00    0:00     0:00
                                                    Date


                                                     tnonc12.vegf & tnonc12.vegfr2

                                    ~     :   ---------------------------------------------
                                    0




                           C
                            0       N
                          ·.;:::,   0
                           ITT

                          ~0
                          u
                           J,
                           (f)

                           2
                          u


                                    ((J

                                    ~     ----------------------------------------------

                                              -6        -4        -2        0         2        4       6

                                                                           lag




                                                       3200 Hillview Palo Alto. CA 94304                               17
                                              phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                        THPFM0004782275




                                                                  FER-202
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 203 of 299




                                                         CONFIDENTIAL




               For most patients analyzed, the sample size and sample numbers did not provide sufficient
               statistical power to derive a statistically sign ificant conclusion but some clinical endpoint
               measurements were accessible to correlate analyte vectors and their rates of change with time to
               the patient's progression and response to treatment.

                Patient average VEGF and VEGFR2 data by cancer type:

                                                                                                         Average
                                                                      Main            Average VEGF       VEGFR2
               Patient ID            Cancer type                   Treatment          (pg/ml)            (pg/ml)
                SCP001             Adenocarcinoma                    Sutent                       47.5              2592
                SCP006              Breast Cancer                   Avastin                      2082               2662
                SCP010              Breast Cancer                   Avastin                      2055               3040
                SCP008              Breast Cancer                  Sorafenib                        98              1863
                SCP021             Colorectal Cancer                Avastin                      4677               3646
                SCP027             Colorectal Cancer               Sorafenib                     1093               4863
                SCP029             Colorectal Cancer               Sorafenib                     3612               5658
                SCP003             Colorectal Cancer                 Sutent                         72              2798
                SCP007             Colorectal Cancer                Avastin                      3860               2350
                SCP009             Colorectal Cancer                Avastin                      1840                368
                SCP022             Colorectal Cancer                Avastin           Patient dropped        N/A
                SCP014             Colorectal Cancer                Avastin                      1826               1634
                SCP019             Colorectal Cancer                    N/A           Patient dropped         N/A
                SCP016             Colorectal Cancer                 Avastin                     3006               2143
                SCP031             Colorectal Cancer                 Avastin                    13584               5463
                SCP024             Colorectal Cancer                Sorafenib                      255              1540
                SCP028             Colorectal Cancer                Sorafenib                    1274               6317
                SCP023            Esophageal Cancer                  Avastin                     3145               2260
                                Gastrointestinal Stromal
               SCP030                    Tumor                       Sutent                       889               2424
               SCP012                Liver Cancer                   Sorafenib                      96               1253
               SCP017                Lung Cancer                     Avastin                     3947               2111
               SCP025                 Melanoma                       Avastin                     5399               3294
               SCP002          Neuroendocrine carcinoma                 NIA           Patient dropped         N/A
               SCP026               Ovarian Cancer                  Sorafenib         Patient dropped         N/A
               SCP020            Renal Cell Carcinoma                Sutent                       368                883
               SCP004            Renal Cell Carcinoma                Avastin                     2316               1057
               SCP011            Renal Cell Carcinoma                Avastin                     3159               1911
               SCP013            Renal Cell Carcinoma                Avastin                     3908                770
               SCP015            Renal Cell Carcinoma                Avastin                     3031               1068
               SCP018               Tongue Cancer                    Avastin                     1457               3074
               SCP005              Unknown Primary                   Avastin                     3099               2980

               As referenced, patients #2, #19, #22, #26 dropped out of the study for various reasons; therefore
               average values are not statistically significant for them.



                                                 3200 Hillview Palo Alto. CA 94304                                  18
                                        phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                   THPFM0004 782276




                                                          FER-203
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 204 of 299




                                                            CONFIDENTIAL


               For the patients in whom PLGF is consistently detectable we selected plots as shown below.



                                                        SCP017 (gender-f) PLGF


                      700




                 § 500
                 e
                 C    400
                 ~
                 g 300
                 C
                 f:
                 C
                 0
                 u 200
                      100

                        0
                       6/6/2008 6/11/200 6/16/200 6/21/200 6/26/200 7/1/2008 7/6/2008 7/11/200 7/16/200 7/21/200 7/26/200
                         0:00    8 0:00   8 0:00   8 0:00   8 0:00    0:00     0:00    8 0:00   8 0:00   8 0:00   8 0:00
                                                      Date & time testing was performed




                                                    3200 Hillview Palo Alto. CA 94304                                       19
                                           phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                          THPFM0004 782277




                                                             FER-204
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 205 of 299




                                                               CONFIDENTIAL




                                                       SCP020 (gender-f) PLGF

                            1000

                             900

                             800
                   :::::-
                   -ECl     700
                   E::      600
                    C:
                    0
                             500
                   ~
                   i:a,     400
                    0
                    C:
                    0        300
                   (.)

                            200

                             100

                               o
                              6111/20 6116/20 6121120 6/26/20 711/200 716/200 7111/20 7116/20 7/21/20 7/26/20 7/31/20
                              08 o:oo 08 o:oo 08 o:oo 08 o:oo 8 o oo 8 o:oo 08 o:oo 08 o:oo 08 o:oo 08 o:oo 08 o:oo
                                                        Date & time testing was performed




                Patient mon itoring times and quality of life by gender:
                                                                                       Time of day
                                                                                       when home        Quality of life (as
                                                                                       monitoring       measured by on-
                                                                                       was performed    screen survey)
               Patient ID                    Cancer type                 Gender        (on average)*    (on average)*
                                                                                                        NIA (Survey was not yet
               SCP001                     Adenocarcinoma                 f             Morning          deployed)
               SCP006                      Breast Cancer                 f             Afternoon                   7
               SCP010                      Breast Cancer                 f             EveninQ                      8
               SCP008                      Breast Cancer                 f             Late EveninQ                 7
               SCP021                     Colorectal Cancer              f             Noon-afternoon               8
               SCP027                     Colorectal Cancer              f             Afternoon                   10
                                                                                       Afternoon-
               SCP029                     Colorectal Cancer              f             Evening               not vet available
                                                                                                        NIA (Survey was not yet
               SCP003                    Colorectal Cancer               f             Morning          dep loyed)
               SCP017                      Lung Cancer                   f             Evening                      9
               SCP026                     Ovarian Cancer                 f             NIA                         NIA
               SCP020                   Renal Cell Carcinoma             f             Afternoon                    6
               SCP005                    Unknown Primary                 f             Afternoon                    9


                                                       3200 Hillview Palo Alto. CA 94304                                 20
                                              phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                        THPFM0004 782278




                                                                FER-205
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 206 of 299




                                                           CONFIDENTIAL



               SCP007                Colorectal Cancer               m             Evening                          7
               SCP009                Colorectal Cancer               m             Late EveninQ                     7
               SCP022                Colorectal Cancer               m             N/A                              8
               SCP014                Colorectal Cancer               m             MorninQ                          7
               SCP019                Colorectal Cancer               m             N/A                            N/A
               SCP016                Colorectal Cancer               m             Evening                          8
               SCP031                Colorectal Cancer               m             Afternoon                not vet available
               SCP024                Colorectal Cancer               m             Afternoon                        9
               SCP028                Colorectal Cancer               m             Evening                  not yet available
               SCP023               Esophageal Cancer                m             Morning                          8
               SCP030          Gastrointestinal Stromal Tumor        m             Morning                  not yet available
               SCP012                   Liver Cancer                 m             Afternoon                       10
               SCP025                    Melanoma                    m             Morning                          9
               SCP002           Neuroendocrine carcinoma             m             N/A                            N/A
               SCP004              Renal Cell Carcinoma              m             Noon-afternoon                  10
              SCP011               Renal Cell Carcinoma            m             MorninQ                           9
              SCP013               Renal Cell Carcinoma            m             Evening                           10
              SCP015               Renal Cell Carcinoma            m             Evening                           7
              SCP018                   Tanoue Cancer               m             Afternoon                         5
          * Actual time for each test point and diurnal variations of quality of life can be found online

               Patient compliance with optional on-screen questionnaire was approximately 86% (this number
               was calculated before the end of the study, therefore final compliance figures may change) .




                                                   3200 Hillview Palo Alto. CA 94304                                    21
                                          phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                        THPFM0004 782279




                                                            FER-206
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 207 of 299




                                                            CONFIDENTIAL




               Patient clinical visit data by age·



        Patient                                                                              Alcohol                   Weight
        ID          Race                Smoking Status                                       Consumption       Age     (pounds)
        SCP029      Caucasian           does not smoke now, positive history                 None                36           179
        SCP010      Caucasian           never smoked                                         monthly or less     45           165
        SCP018      Caucasian           Smoke daily                                          None                45           181
        SCP007      Caucasian           never smoked                                         None                46           213
        SCP008      Caucasian           smoke occasionally                                   None                46           180
        SCP002      Caucasian           never smoked                                         monthly or less     49           194
        SCP016      Caucasian           smoke occasionally                                   monthly or less     49           167
        SCP012      Caucasian           does not smoke now, positive history                 None                53           190
        SCP015      Caucasian           does not smoke now, positive history                 None                53           174
        SCP028      Caucasian           smoke occasionally                                   None                57           262
        SCP001      Caucasian           does not smoke now, positive history                 None                61           172
                    African
        SCP027      American            never smoked                                         None                62           167
        SCP009      Caucasian           never smoked                                         None                63           221
        SCP011      Caucasian           does not smoke now, positive history                 monthly or less     63           305
                                        infrequent attempts (never developed a
        SCP024      Caucasian           habit)                                               Every day           64           200
        SCP023      Caucasian           never smoked                                         Every day           65           252
        SCP005      Caucasian           does not smoke now, positive history                 monthly or less     66           160
        SCP021      Caucasian           smoke occasionally                                   monthly or less     66           198
        SCP006      Caucasian           never smoked                                         monthly or less     68           163
        SCP017      Caucasian           does not smoke now, positive history                 Every day           69           112
        SCP013      Caucasian           never smoked                                         monthly or less     71           230
        SCP020      Caucasian           never smoked                                         None                72           101
        SCP026      Caucasian           never smoked                                         None                73           132
        SCP031      Caucasian           does not smoke now, positive history                 None                73         134.5
        SCP025      Caucasian           does not smoke now, positive history                 None                77           184
        SCP014      Caucasian           does not smoke now, positive history                 monthly or less     78         217.5
                    African
        SCP022      American            never smoked                                         None                82           178
        SCP030      Caucasian           never smoked                                         None                83           182




                                                    3200 Hillview Palo Alto. CA 94304                                 22
                                           phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                     THPFM0004 782280




                                                             FER-207
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 208 of 299




                                                          CONFIDENTIAL


               Sample of patient clinical blood work by patient ID:
                                                         Avg.                              Avg.
                                    Avg.%                Heart           Avg . Total       Systolic      Avg .
                Patient ID          Lymphocytes          Rate            Bilirubin         BP            RBC
                SCP001                            33.4        67.7                 0.7          129.3       3.2
                SCP002                            34 .1       55.0                 0.3          161.0       4.3
                SCP004                            27 .8       64.7                 0.5          144.7       3.2
                SCP005                            36.4        75.0                 0.2          127.5       3.9
                SCP006                            29 .5      100.7                 0.3          112.7       4.3
                SCP007                            24 .0       73.0                 0.3          131.3       4.4
                SCP008                            23 .7       84.0                 0.4          124.0       5.1
                SCP009                            25.0        71.5                 0.7          133.0       4.5
                SCP010                            45.3        74.3                 0.9          137.8       4.5
                SCP011                            28.6        82.0                 0.6          135.0       4.8
                SCP012                            28.3        75 .5                0.7          122 .0      4.0
                SCP013                            31.1        72 .0                0.7          137.0       4.2
                SCP014                            40.2        81 .5                0.4          125.3       4.0
                SCP015                            35.4        78 .3                0.3          147.0       5.0
                SCP016                            18.0        75 .3                0.3          131 .3      4.9
                SCP017                            20.7        89 .3                0.4          114.0       4.2
                SCP018                            23.4        70 .0                0.3          133.0       4.8
                SCP020                            17.9        60.7                 0.4          146.0       3.7
                SCP021                            36.5        91.0                 0.4          130.0       4.8
                SCP022                            23.5        93.5                 0.7          123.0       4.0
                SCP023                            26 .3      107.7                 0.7          119.7       4.7
                SCP024                            18.8        83.0                 0.7          139.0       3.7
                SCP025                            33 .5       94.0                 0.3          143.0       5.2
                SCP026                            34 .6      110.0                 0.4          125.0       3.7
                SCP027                             9.5        70.0                 0.7          119.0       3.7
                SCP028                            21 .2       98.0                 0.8          125.7       5.2
                SCP029                            32.6        90.5                 0.6          122.8       5.1
                SCP030                            42 .3       72.0                 0.4          137.0       3.7
                SCP031                            16.7        70.0                 0.4          145.0       4.3

               All individual patient data was profiled as it was generated on the Pfizer-specific secure portal at
               www.theranos.com ; raw data can also be found in the attached excel spreadsheet.


               Server and Data Transmission

               Approximately 361 cartridge results and 203 optional home surveys from the field were
               successfully transmitted to the Theranos servers . There were less than 5% transmission errors
               that required the readers to either retry sending the data or wait until they had a better connection
               to send the data. All data gathered in the field was transmitted to the Theranos servers. For the
               first two patients, on-screen surveys were not availab le. The number of surveys received is
               smaller than the number of cartridge runs due to the above as well as patients filling only one
               survey for each of their clinic visits (even though they ran two cartridges per visit). Once surveys


                                                  3200 Hillview Palo Alto. CA 94304                                23
                                         phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                      THPFM0004782281




                                                           FER-208
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 209 of 299




                                                          CONFIDENTIAL


               became available, each cartridge run also asked the user to comp lete an optional qual ity of life
               survey and comp liance was very good.



                                        Data distribution by transmission pathway to date
                              Direct Internet Connection I Wireless-GSM I Traditional Phone line
                                         5.6 %             I     90.7%      I        3.7 %


               The only problem encountered with using GSM wireless phone technology was poor signal. The
               main reasons for poor cellular reception were : dense foliage, metal roofs and poor signal quality
               due to remote location. In one location (Stewart, TN), there was no cellular coverage at all;
               therefore the reader used the standard telephone line in order to connect to our servers and
               report data as it was gathered. All of this patient's logs were received by Theranos servers. In
               future studies, multiple network providers would be contracted for these areas.

               Overall performance of the Theranos System based on Customer Care log:

               The customer care line was available to patients 24 hours a day 7 days a week over the course of
               the entire study (July 07 to October 08) . All calls were addressed professionally and all issues
               were resolved quickly, taking care to minimize the impact on patients and clinical staff.

               The types of calls for which patients used the Customer Care line:

                   o   Patient runn ing low on supp lies - the solution was to simply ship more of the needed
                       supplies w ith overnight delivery to make sure patient had enough for the upcom ing home
                       tests.
                   o   Patient not knowing how to turn machine on - the solution was to advise the patient over
                       the phone on the procedures outlined in the setup sheet they received and to make sure
                       they have the instrument up and running.
                   o   Patient cal ling about scheduling an instrument pickup - solution was to schedule one of
                       our representatives to pick up the machine or alternative ly to have FedEx pick up the
                       reader if patient was able to place it in the shipping container themselves.
                   o   Patient cal led about blood transfer question - the solution was to advise the patient to
                       leave the blood transfer device on a flat surface. If this solution was not sufficient, a new
                       batch was shipped to make sure no capillary manufacturer defects were at fault.
                   o   Patient cal led about instrument not recognizing cartridge - the solution was to ask patient
                       to re-try and call back if problem persisted. The suspicion was that due to poor cellular
                       signal the reader was unable to communicate, and by re-trying it would perform
                       appropriately. There were no subsequent calls from patient.
                   o   Patient cal led about instrument not being ready due to temperature - the solution was to
                       ask patient to move reader away from A/C units and possible air currents. Patients had
                       moved readers from initial installation location (one moved it to his RV, another into a
                       really hot room) and the temperature extremes affected the readers' ability to maintain
                       desired temperature. The Theranos readers are engineered to control temperature to
                       eliminate variability associated with conventional assays.

               The majority of systems deployed in the field performed their duties throughout the entire length
               of the patient monitoring schedule. One instrument had mechanical issues due to being misused;
               this happened during new personnel training at TNONC. The instrument was promptly replaced
               with a new instrument. Another failure occurred due to the instrument being damaged in sh ipping.

                                                  3200 Hillview Palo Alto. CA 94304                                 24
                                         phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                  THPFM0004 782282




                                                           FER-209
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 210 of 299




                                                           CONFIDENTIAL


               Although it performed its functions properly for the majority of the patient's schedule it eventually
               malfunctioned and was also promptly (~24 hours) replaced. Yet another issue was related to the
               cellular carrier not identifying the instrument. To expedite the process and assure that the clinic
               was adequately supplied it was decided to replace that instrument with one that was known to
               work. The problem was later resolved off-line.

               Patient Compliance with protocol:

               It is hard to estimate the patient compliance with the exact protocol due to the factors out of
               Theranos' control. In many instances patients re-scheduled their clinic visits and the new
               appointments were not communicated to us. At the onset of each patient's home monitoring they
               were provided with a tentative schedule which in many cases changed due to patient's need to
               travel or inability to keep schedu led appointments. With this in mind, we estimate that patient
               compliance with protocol was still very good, at approximately 96 % (measured as 80-120% of
               expected testing completed and received). Given the missing information, a much more accurate
               derivation would be possible.

               Theranos System Assessment by Patients and Clinical Staff:

               Patient end of study surveys were sent out to all participants . To date, 17 responses were
               collected from patients.

               Summary of patients' assessment of the Theranos system:

                       88% of patients surveyed found the Theranos System easy to use; no patients found it
                       "very hard" to use.
                       76% of patients found the written instructions to be very informative, with clear directions;
                       12% did not read instructions
                       91 % of patients scored the training given by their Theranos representative either a 9 or
                       10 (10 being very good training)
                       76% of patients found the Theranos System takes little time to use
                       (scores between 1 and 4 were tallied, with 1 = very little time and 10 = a lot of time)
                       100% of patients found the optional touch screen survey on the Theranos System easy to
                       use, giving scores of either 8, 9 or 10 (10 = easy to use, 1 = hard to use).
                       On a scale of 10 to 1 (10 =least painful, 1 = most pa inful), only one patient gave the
                       blood drawing experience a score of less than 6 . 59% felt almost no pain , scoring either a
                       9 or 10.
                       100% of the patients that responded to the survey gave Theranos Customer Support an
                       excellent or very good rating
                       For the majority of patients, the Theranos System worked very well. The major ways of
                       solving the questions patients had were figuring it out on their own or call ing the
                       Theranos Customer Care line.
                       In the follow-up survey, 100% of patients that responded said they received excellent or
                       very good technical support over the duration of the study.
                       Most patients said they prefer monitoring from home (scored 8 through 10) using the
                       Theranos System; 25% were indecisive (scored 4 to 6) when asked whether they prefer
                       going to the clinic or using the Theranos System; only two patients would rather monitor
                       at the clinic.

               From the interactions with clinical staff at Tennessee Oncology, the system was:
               1. well received and



                                                   3200 Hillview Palo Alto. CA 94304                              25
                                          phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                    THPFM0004 782283




                                                            FER-210
       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 211 of 299




                                                          CONFIDENTIAL


               2. the client solutions team made a very positive impact on the clinical staff and patients through
               promptitude and professionalism.

               Conclusions:

               General:
                  1. The Theranos System performed with superior performance to reference assays while
                      running in a complex ambulatory environment.
                  2. The existing Theranos support infrastructure enables on-demand home installation and
                      patient training in extremely rura l areas.
                  3. Patients preferred ambulatory monitoring to clinic vis its and liked using the Theranos
                      System.
                  4. Non-computer literate patients had no issues using the Theranos System.

               Technical:
                  5. Inter-system accuracy is excellent and was demonstrated on a platform with superior
                      performance specifications to reference methods.
                  6. Calibrations were updated with access to samples from the trial.
                  7. Good correlations were seen to various commercially available gold-standards.
                  8 . Avastin does not block the Theranos assay.
                  9. The Theranos System can measure VEGF both free and bound to VEGFR2 and Avastin
                      to better quantify dose-response.

               Economic:
                  1 0. This 15 month study demonstrated the robust functionality of Theranos Systems. With
                       this validation data, the technology can be applied to significantly cut costs and bring
                       compounds to market faster:

                   11. More frequent sampling enabled better characterization of longitudinal time-series
                       profiles of angiogenesis protein panels. More accurate insight of the change in rate of
                       those panels over time enables significantly faster and earlier reads on efficacy
                       dynamics.
                            a. See efficacy dynamics trends and correlation to end-points in patient time-course
                                 profiles on the Pfizer web-portal at www.theranos .com.
                   12. Response profiles were seen in this study over 30 day intervals. Historically, these types
                       of correlations have taken up to a couple years to demonstrate, or in some cases, were
                       previously not demonstrable. This time gained facilitates rapid data generation for
                       additions to a compendia and rapid label expansion of existing drugs. Equally, this
                       approach can be used to fast-trac k approvals of key compounds and at the same time
                       better optimize those compounds with better visibility to achieve the target product
                       profiles.
                            a. One of Theranos' pharma partners is publishing a report which estimates the
                                 increased time to market is valued at $1 M per day - ma king every month quite
                                 substantial.
                   13. Through Theranos Systems, Pfizer will be ab le to reduce the number of sites , eliminate
                       shipping costs for samples, processing costs, and analytica l costs. Based on historica l
                       data, implementation of these systems will enab le Pfizer to achieve ~50% cost savings
                       over current study spend ing (previously demonstrated to be $15M of a $30M study
                       budget). Equally, through better insight into pathway dynamics, Theranos is
                       demonstrating the ability to reduce the number of patients required to show statistical
                       significance in future studies by 30-50%.



                                                  3200 Hillview Palo Alto. CA 94304                               26
                                         phone: 650.838.9292 fax: 650.838.9165 www.theranos.com




Confidential                                                                                                  THPFM0004782284




                                                           FER-211
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 212 of 299




                                       File Could Not Be Processed




Confidential                                                                    THPFM0004 782285



                                               FER-212
               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 213 of 299



   Message
   From:             Eliza beth Holmes [/0=THERAN0S 0RGANIZATI0N/0U=FIRST ADMINISTRATIVE
                     GR0UP/CN=RECIPIENTS/CN=EHOLMES]
   Sent :            12/15/2009 7:32:42 PM
   To:               thomas.breuer@gskbio.com
   CC:               Sunny Balwani [sbalwani@theranos.com]
   Subject:          Follow up to our meeting


   Dear Thomas,

   It was great to meet you.

   In follow up to our conversations, I have attached three documents to this email.

   The first is a consolidated summary of the GSK infrastructure we've designed in follow up to our interactions with people on the
   corporate side in information systems and strategy. We took ten slides on the applications in Biologicals and added them to the end of
   that summary - slides 28-38. The first slide highlights the ability to use the existing surveillance infrastructure to rapidly test the
   efficacy of existing vaccines against drifted strains of influenza virus using Theranos' strain-specific real-time antibody tests and the
   formulas we've established for the relationship between dose, antibody levels, and clinical outcomes.

   The second is a copy of the validation report from the GSK staff who tested Theranos technolof:,>ies in RTP. As you can see in that
   attachn1ent, GSK's lab Director concluded that "Theranos Systems eliminate the need for a lab." The report shows the ability to get
   better sensitivity and real-time data using Theranos.

   The third is a copy of a case study on Theranos' analytics also reviewed by GSK staff in detail during their due diligence process. This
   review focused on the ability to improve probability of success of realizing a target product profile with Theranos analytics. The case
   study details another company's use ofTheranos analytics in registrational studies where the system increased POS from 15 -80% and
   saved 18-24 months in clinical development timelines.

   The Theranos Solution is a fully integrated and automated system for data capture, analysis, and care delivery. The data capture
   capability in combination with the predictive analytics capability has been the key to our success in accelerating development
   timelines.

   We are very much looking forward to following up with your clinicians in Philadelphia. Is there a convenient time this week we could
   meet or arrange a video-conference? Please let us know how best to follow up.

   Kind regards,
   Elizabeth.

   Elizabeth Holmes
   President and CEO
   Theranos, Inc.

   Tel: 650.470.6111
   Fax: 650.838.9804



   PRIVILEGED AND CONFIDENTIAL COMMUNICATION
   IMPORTANT - This electronic transmission, and any files transm itted with it are confidential and/or legal ly privileged information. This information is
   intended solely for the use of the individual or entity to which they are addressed. Any disclosure, retransmission, reproduction, dissem ination or other
   use of the contents of this information by persons or entities other than the intended recipient is strictly prohibited. If you have received this email in
   error, please contact us immediately and delete all copies. Please note that any views or opinions presented in this email are solely those of the author
   and do not necessarily represent those of Theranos, Inc. Finally, before opening or using attachments the recipient should check this emai l and any
   attachments for the presence of viruses. Theranos, Inc. accepts no liability for any damage caused by any virus transmitted by this email. Our sole
   responsibility is limited to resupplying any affected attachments.
   Theranos, Inc., 3200 Hillview Avenue, Palo Alto, CA, 94304
   650-838-9292     www.theranos.com




FOIA Confidential Treatment Requested by Theranos                                                                                               THER-6460774
Fed. R. Crim. P. 6(e) material


                                                                         FER-213
                                   the     heatthcare




                                                 's trategic nterprise Infrastructure




FER-214
                                                                                                       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 214 of 299




          FOIA Confidential Treatment Requested by Theranos                             THER-6460775
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                                   ontents




                                                 ™   GTS ROI




FER-215
                                                 m   GTS Deliverables


                                                 ™   GTS in Biologicals
                                                                                            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 215 of 299




          FOIA Confidential Treatment Requested by Theranos                  THER-6460776
          Fed. R. Crim. P. 6(e) material
                                      the                 heatthcare

                                                                             Introduction t                                  heranos, Inc~
                                                                                     :::::
                                 x-.,y. . .-. : i,4t ~~ 1-$ -~:Tu   i~,   :t'"%: ~
                                                                      ·t:l -~                                         #% %_ ,,s~ .*~ *~ ~:~ ~'%
                                                                                                                                                       i:» !::m It~,
                                                                                                                "B=              _@ ~,❖t"¾--.::::   ~-@~,-w
                                   i i ittl ~li f~_;~       IS t;T.                i I i .e~ #~ 1tt i e· el
                                                                              ~4iti~#Vi t V ~~mm-:::&                     ;t : : : c* 1L¼i t"¾ (1 11~,Wvtt;'U
                                                                                                         .~. ~. rnnrn t"¾ \f ""',,
                                                                                                                                                                 U ffi¾.%'%X
                                                                                                                                                                      e~ ·t'% 11t*vi:»
                                                                                                          &::

                                                                                             &'~
                                                                  ffi ill ~Yi} &'i £..~ *'~ n·,
                                                                                                   -*11&~#~@-~
                                 &~ ff'~ w1t1 w~ ~~ ~r, ir f
                                 ~$~fl ill ii'4~'¾i i)     m t.,e l¥ m n.,,11                mw ; £t:UU~*
                                                                                                   =~'*
                                 ®      Theranos provides fully customized solutions that impact a
                                        diverse range of stakeholders in health care by providing
                                        actionable information far earlier than historically possible




FER-216
                                 00
                                        Our current and past clients include 9 of the top 15 major
                                        pharmaceutical companies, midsized bio-pharmas, prominent
                                        research institutions and U.S. and foreign government health
                                        organizations
                                                                                                                                                                                                        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 216 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                              THER-6460777
          Fed. R. Crim. P. 6(e) material
                                   theranosheatthcare


                                                              bout Theranos
                           Founder and CEO Elizabeth Holmes left Stanford University to start Theranos
                              around her patents for next-generation healthcare systems. She has built the
                              company from inception to rapid commercial growth today.

                           Vice Chairman Sunny Balwani joined Theranos after leaving Microsoft to
                              successfully build and sell his own company for over $400M

                           Other Management Team Members:
                           ru  Dr. Channing Robertson, Dr. Seth Michelson, Jodi Sutton, Dr. David Lester, Dr.
                              Marc Thibonnier




FER-217
                           Theranos' investors and board members include, amongst others:
                           ru Donald L Lucas, the first venture capitalist in Silicon Valley, and a legend behind
                              many of today's Fortune 500 companies
                           m Larry Enisonj Founder and CEO of Oracle Corporation

                           m Bob Shapiro, former CEO and Chairman of Monsanto and Pharmacia
                              Corporations (now Pfizer); former director of NYSE) Citibank, and other major
                              corporations
                           m Draper Fisher Jurvetson; ATA Ventures (spin-out of Institutional Venture Partners)
                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 217 of 299




          FOIA Confidential Treatment Requested by Theranos                                                         THER-6460778
          Fed. R. Crim. P. 6(e) material
                                     the   heatthcare


                                                              heranos
                                 ■       GSK completed a comprehensive validation of Theranos Systems in
                                         2008
                                     ■    Validation was independently conducted run by GSK staff at RTP
                                     ■    Validation concluded "Theranos Systems eliminate the need for a
                                          lab"

                                 ■       Over the past four years, leads from all three business units across
                                         all therapeutic areas have evaluated and expressed interest in the
                                         Theranos infrastructure




FER-218
                                 ■ Theranos and GSK have a fully executed MSA


                                 ■   Integrated architecture of Theranos infrastructure requires adoption at
                                     top corporate levels
                                                                                                                               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 218 of 299




          FOIA Confidential Treatment Requested by Theranos                                                     THER-6460779
          Fed. R. Crim. P. 6(e) material
                                   the      heatthcare

                                                 Theranos infrastructure Technologies
                                                        ,,_-:;:
                                                     Svstt~rr-1s




                                    Devices                                               Cartridges                Mobile Applications -
                                                                                                                    Ex. the Health Assistant




FER-219
                           ~l'~t~1r:irz1r1()S ~~~w ~,l~f~Tttrt:trlt)S ()~)€Jr11tir1t1 Systr:irr1

                                                                                                   ',*1   t1




                                Data Infrastructure                             Models and Algorithms          Decision Support Applications
                                                                                                               - Ex. Virtual Studies
                                                                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 219 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                    THER-6460780
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare




                  ~   GTS is a fully integrated, enterprise wide health data capture (including blood testing), analysis and
                      care delivery solution
                  ~   Accelerates clinical development timelines, improves probability of success (POS) of realizing each
                      target product profile, and increases physician and patient adoption (increases sales)
                  ~   Comprised of Theranos Field Systems and the TheranOS
                      -   Integration of technologies and more frequent sampling identifies predictive signatures that have
                          not been possible to characterize using the conventional analytical infrastructure (movie v.




FER-220
                          snapshot) to better and more rapidly characterize efficacy and safety
                      -   Infrastructure is self-learning and is refined with every new data point collected across any
                          business unit
                      -   Provides predictive decision support tools for clinicians
                      -   Provides actionable, "smart" content back to patients to facilitate behavior modification
                      -   Data Collection, Analysis & Surveillance Infrastructure in emerging countries becomes care
                          delivery infrastructure
                                                                                                                                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 220 of 299




          FOIA Confidential Treatment Requested by Theranos                                                               THER-6460781
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                                   ontents


                                                 m   Background




FER-221
                                                 m   GTS Deliverables


                                                 m   GTS in Biologicals
                                                                                            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 221 of 299




          FOIA Confidential Treatment Requested by Theranos                  THER-6460782
          Fed. R. Crim. P. 6(e) material
                                      the  heatthcare

                                                              conomic Impact for
                                 ®    Accelerate Clinical Development/Trial Timelines


                                 ®    Improve Probability of Success of Realizing Target Product
                                      Profiles


                                 00




FER-222
                                      Increase Physician and Patient Adoption - Increase sales
                                                                                                                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 222 of 299




          FOIA Confidential Treatment Requested by Theranos                                        THER-6460783
          Fed. R. Crim. P. 6(e) material
                                      the  heatthcare

                                                              conomic Impact for
                                 ®    Accelerate Clinical Development/Trial Timelines
                                      =   Elimination of Logistical constraints (shipping samples,
                                          analyzing data, bringing patients into clinics, recruiting
                                          patients without knowing their response profiles, etc.) and
                                      =   Faster, more integrated studies (adaptive trials and decision
                                          making)




FER-223
                                      cumulatively reduce development timelines by (-3) years to
                                        facilitate earlier filings.


                                 00
                                      Theranos' large pharmaceutical clients have valued the fully
                                      loaded cost of each day gained in time to market at $1 M/day
                                                                                                                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 223 of 299




          FOIA Confidential Treatment Requested by Theranos                                               THER-6460784
          Fed. R. Crim. P. 6(e) material
                                     the   heatthcare

                                                              conomic Impact for
                                 ®   Improve Probability of Success of Realizing Target Product
                                     Profiles
                                     =   5x improvements in probability of success for each asset
                                     =   Salvage assets and improve labels (more first line therapies)
                                     =   Realizing the improvement in attrition rate across the entire
                                         portfolio versus just one compound continually reduces the




FER-224
                                         fully loaded cost of R&D
                                 ®   5x improvement in probability of success correlates with
                                     greater than 10°/o ROI on the total investment into a compound,
                                     averaging greater than $200M/asset
                                                                                                                        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 224 of 299




          FOIA Confidential Treatment Requested by Theranos                                              THER-6460785
          Fed. R. Crim. P. 6(e) material
                                      the  heatthcare

                                                              conomic Impact for
                                 ®    Increase Physician and Patient Adoption
                                      =   Evidence based guidelines for starting/stopping/re-starting
                                          therapies to increase physician comfort with prescribing
                                      =   Rapid publications for expanded use - new indications and
                                          amelioration of safety concerns
                                      =   Improved care delivery through individualized feedback tools




FER-225
                                          and better access to medicines through Theranos'
                                          decentralized testing infrastructures (in pharmacies, through
                                          health ministries, etc.)
                                 00
                                      Increase sales by several multiples over current
                                      adoption/projections
                                                                                                                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 225 of 299




          FOIA Confidential Treatment Requested by Theranos                                               THER-6460786
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                              eturn on Investment


                                   • The value of GTS lies in the fact that it is a fully integrated solution
                                     for data capture, integration, analysis, (and therapeutic delivery)
                                     across business units.


                                   • The integrated solution provides compounding ROI over any




FER-226
                                     particular business unit or drug-specific component.


                                   • The key to significant ROI on GTS is programmatic deployment,
                                     which yields short term cost savings against the initial
                                     customization investment in addition to longer term ROI measured
                                     in terms of time saved and improved POS of realizing the target
                                     product profile for each asset.
                                                                                                                               Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 226 of 299




          FOIA Confidential Treatment Requested by Theranos                                                     THER-6460787
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                     Immediate ROI: Executing on Healthcare
                                              iversification Strategy
                                 GTS is the vehicle for execution of GSK's strategic
                                   priorities and realization of the associated impact to
                                   earnings and growth

                                 • Accelerated timelines ... simplifying GSK's




FER-227
                                   operating model
                                 • Improved POS ... delivering more products of value
                                 • Increased adoption ... growing a diversified global
                                   business
                                                                                                           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 227 of 299




          FOIA Confidential Treatment Requested by Theranos                                 THER-6460788
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                                        ontents


                                                    00
                                                         Background


                                                 ™       GTS ROI




FER-228
                                               00
                                                         GTS in Biologicals
                                                                                                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 228 of 299




          FOIA Confidential Treatment Requested by Theranos                       THER-6460789
          Fed. R. Crim. P. 6(e) material
                                                                                  Theranos is the only
                                                                                  company with full
                                    the nos                                       integration between
                                                                                  sample analysis and
                                             heatthcare                           analytical capabil ities


                      TS integrates patient sample analysis with sophisticated
                            analytical capabilities to increase R&D ROL
                                                                                    thetDnos



                         Investigator/site mgmt                               ✓       ✓




                         Sample analysis
                                                                          ✓   ✓      ✓




FER-229
                         Basic analytical package             ✓   ✓   ✓              ✓
                         • PK/PD modeling
                         • Clinical trial simulation




                         Dynamic learning models and                                 ✓
                         real-time data acquisition
                                                                                                                     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 229 of 299




          FOIA Confidential Treatment Requested by Theranos                                           THER-6460790
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare

                                                              heranos Field              ystems



                                    Devices                              Cartridges                   Mobile Applications -
                                                                                                      Ex. the Health Assistant

                             " Measure whole blood analytes from a finger stick in real-time at any desired point of care (home,
                               clinic, or mobile units)




FER-230
                             " Simultaneously collect behavioral and lifestyle information through intuitive graphical touch
                               screen interface
                             " Data from each device automatically and securely transmitted to TheranOS in real-time through
                               cellular network
                             " Actionable information sent back to devices and applications (i.e., the Health Assistant, Virtual
                               Studies Application)
                             " Point-of-care analysis of fresh whole blood eliminates conventional testing infrastructure issues,
                               such as:
                               - Analyte decay rates
                               - Volumes of blood and frequency of blood draws
                                      Decreases sample volume by 98%
                                     0
                                      Sampling schemes no longer restricted
                                     Cost ,and   11
                                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 230 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                         THER-6460791
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare

                                                                     heran
                                                                            ·.rt?   ct




                                                                                                             , ...';,,.1




                                Data infrastructure             Models and Algorithms                 Applications -
                                                                                                      Virtual Study

                             " Data Infrastructure
                               - Automatically imports data from any desired source.




FER-231
                               - Translates it into one standardized format.
                               - Self-learning data engine
                             " Models
                               - Dynamically models the integrated data sets in real-time
                               - Fully integrated and inter-connected physiological, statistical, and epidemiological system
                               - Characterize each compound's mechanism-of-action.
                               - Characterize all pathophysiologies associated with realizing each compound's target product
                                  profile
                             " Customized Applications
                               - Clinical trials simulation
                               - Adaptive trials management, in compliance with existing regulatory guidelines
                               - Accessed through secure online web portal
                                                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 231 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                    THER-6460792
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare

                         heran                    : Proprieta                    ata Integration, Translation
                          ®    Proprietary import tool on web portal allows for automatic importation
                               and standardization of data from all clinical databases.
                          00
                               All data is automatically integrated with Theranos Field Systems data,
                               centralized, and passed through predictive models.
                                                                              Patient Diary
                                                              Environmental
                                                                                              Genomics
                                                                 Factors




FER-232
                                                          Central Lab                            Biopsies/Tissues
                                                             Data                                      Data




                                                        Theranos Field
                                                                                                  Patient Record
                                                        Systems Data

                                                                Patient                       Benchmark
                                                              Demographics                    Trend Data
                                                                              Placebo Data


                                                                TheranOS Data Infrastructure
                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 232 of 299




          FOIA Confidential Treatment Requested by Theranos                                                         THER-6460793
          Fed. R. Crim. P. 6(e) material
                                    the    heatthcare
                                                                           ii!


                                                     rchitecture         rives        eployment              Ian

                                ~   A cornerstone of GTS' architecture is the inflammation engine.
                                ~   The central role of inflammation in the disease process and tissue damage/repair,
                                    allows one to apply the GTS infrastructure across various therapeutic areas and
                                    business units.
                                ~   Deployment of a customized inflammation platform provides the ability to rapidly
                                    integrate data from different pathophysiological states for predicting and
                                    establishing novel therapeutic indications.




FER-233
                                    -   GTS engine learns from every new data point and models become increasingly
                                        predictive -compounding predictive power
                                ~   Drug-specific models and cartridges are built on GTS' pathway architecture to
                                    conform to existing business unit structure.
                                    -   TheranOS allows for data integration & exploitation across a broad range of
                                        existing data capture tools.
                                                                                                                                       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 233 of 299




          FOIA Confidential Treatment Requested by Theranos                                                             THER-6460794
          Fed. R. Crim. P. 6(e) material
                                   theranosheatthcare

                                apid              ustomization of GTS: Therapeutic   rea
                                                         Infrastru ctu res




FER-234
                                                                                                          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 234 of 299




          FOIA Confidential Treatment Requested by Theranos                                THER-6460795
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                       ecision support applications:

                               TheranOS Software for each Therapeutic Area:

                               • Probability Mapping Application
                               • Health Assistant
                               • GTS Assistant
                               • Adaptive Studies




FER-235
                               • Ontologies
                               • Predictive Signatures
                               • Biomarker Identification Application (BIA)
                               • Virtual Study Application
                               • Others
                                                                                                      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 235 of 299




          FOIA Confidential Treatment Requested by Theranos                            THER-6460796
          Fed. R. Crim. P. 6(e) material
                                     the   heatthcare


                                 ata Collection Library                     are uelive              ools:


                                 For each therapeutic area:

                                 •     Cartridge tests - libraries of -250 tests per disease area

                                 •     Device touch-screen software applications and embedded
                                       sensors - blood pressure, weight, others




FER-236
                                 •     Mobile phone applications
                                                                                                                           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 236 of 299




          FOIA Confidential Treatment Requested by Theranos                                                 THER-6460797
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                          olling infrastructure set-up
                                                                                    ::_.,,,.-,,-.




                                        Data Infrastructure

                                       Inflammation Enaine

                                        7 Thera~eutic Area Infrastructures




FER-237
                                      Customization and activation of base GSK data infrastructure and learning
                                         engines followed by rolling set up of 7 therapeutic area infrastructures
                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 237 of 299




          FOIA Confidential Treatment Requested by Theranos                                                         THER-6460798
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                          olling infrastructure set-up
                                                                           ::_.,,,.-,,-.




                                        Data Infrastructure

                                       Inflammation Enaine

                                        7 Thera~eutic Area Infrastructures




FER-238
                                                        Biologicals


                                                        PrescriQtions


                                                         Consumer
                                                                                                          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 238 of 299




          FOIA Confidential Treatment Requested by Theranos                                THER-6460799
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                          olling infrastructure set-up
                                                                                ::_.,,,.-,,-.




                                                        Biologicals: Influenza (vaccine) ➔ Oncology
                                                          ➔ Others

                                                        Prescriptions: Unprecedented Early
                                                          Development Compounds, REMS, LpPLA-2
                                                          ➔ Early Development, Phase Ill, Phase IV &




FER-239
                                                          Post marketing studies
                                                         Consumer: Weight loss (alli) ➔ Smoking
                                                          Cessation ➔ Others
                                                                                                                      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 239 of 299




          FOIA Confidential Treatment Requested by Theranos                                            THER-6460800
          Fed. R. Crim. P. 6(e) material
                                    the    heatthcare
                                                              eployment of



                                w   Customization, Installation, and License of
                                    enterprise infrastructure
                                w   Deployment of consumables for studies




FER-240
                                w   License expansion - Deployment of additional drug-
                                    specific models/consumables
                                                                                                        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 240 of 299




          FOIA Confidential Treatment Requested by Theranos                              THER-6460801
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                                                   ontents


                                                 w    Background


                                                 ™    GTS ROI




FER-241
                                                  m   GTS Deliverables
                                                                                            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 241 of 299




          FOIA Confidential Treatment Requested by Theranos                  THER-6460802
          Fed. R. Crim. P. 6(e) material
                                     the   heatthcare

                                                                                          "'
                                 apid Validating                   icacy of Existing acc1nes
                                                                                                       ""
                                   gainst Drifted                  trains of Influenza 1rus
                                 •     Theranos characterized relationship between dose, clinical efficacy,
                                       and antibody titers to influenza strains on its validated point-of-care
                                       systems.

                                 •     Assays identify functional, strain-specific antibodies from a finger-
                                       stick of fresh whole blood.




FER-242
                                 •     Once deployed in a clinical study, patients could be immediately
                                       challenged with the actual virus and followed for 2+ weeks to assess
                                       whether the existing vaccine is efficacious.

                                 •     If not, the same infrastructure could be used to rapidly assess
                                       optimal dose and efficacy of a new vaccine.
                                                                                                                                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 242 of 299




          FOIA Confidential Treatment Requested by Theranos                                                      THER-6460803
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare


                                           Influenza Surveillance Infrastructure

                        Real-time development and deployment of antibody, cytokine, and efficacy/safety
                           marker measurements from finger-stick of blood /nasal swab run on point-of-
                           care device

                         ffi   Characterize velocity of antibody decay

                         ffi   Accelerate development of new vaccines to mutations




FER-243
                         ffi   Quantitatively characterize efficacy and safety profiles to ameliorate concerns
                               and differentiate GSK vaccines

                         ffi   Guide optimal administration of vaccines

                         ffi   Provide real-time measurement of efficacy and immunity
                                                                                                                                Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 243 of 299




          FOIA Confidential Treatment Requested by Theranos                                                      THER-6460804
          Fed. R. Crim. P. 6(e) material
                                   the        heatthcare


                                              Influenza Surveillance Infrastructure

                                          Modeling and simulation of efficacy and safety dynamics and
                                             projected spread and mutation of the virus

                                          ~      In-silica comparative effectiveness studies to optimally power
                                                 head-head studies with antibody/efficacy cartridges

                                          ~      Virtual studies to rapidly optimize dose and minimize safety




FER-244
                                                 issues

                                          ~      Rapidly power (adaptive) studies

                                          ~      Detect any mutation of the H 1N 1 virus as it emerges.

                                          ~      Project spread of disease and mutations
                                                                                                                                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 244 of 299




          FOIA Confidential Treatment Requested by Theranos                                                       THER-6460805
          Fed. R. Crim. P. 6(e) material
                                   the




FER-245
                                                                             Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 245 of 299




          FOIA Confidential Treatment Requested by Theranos   THER-6460806
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare
                                        Recommended Actions Depend on Levels of
                                        ntigen, Antibody, Cytokine and Other Markers
                                                                                                                            1
                                                                    oe        o.8
                                                                                                                                                                                                              Combination of high Ag,
                                                         0
                                                                                                                                                                                                              high cytokine, and low Ab
                                            '1       -
                                                              ~                                                                                                                                               suggests hospitalizations
                                                              -~-                       ____,---·



                                            0.8                                                                                                                                                ::;::
                                                                                                                                                       ❖:· ■                          ~         l8!    l8ll




                                                                                                                !!!!         188
                                                                                                                             "] ~        18!                          181   'S?,181

                                                                             18                                    R"                                                                 8$
                                                 6                           !8!!8!!8!!18                                            t ~,. "lli                                        18!


                                                                         ~                                                                                                                 ~




FER-246
                      Combination o.                                         ltR        :tRI   181        l8!                :                   81!                 811
                                                                                                                       18                              II


                      of low Ag,     0.4
                                          l     " . . . . l~·                 R
                                                                                   S8
                                                                                        811
                                                                                               ~

                                                                                                   lli

                                                                                          :sii181 l8!
                                                                                                         ..     l8!



                                                                                                                       "
                                                                                                                            l8!




                                                                                                                              l8!
                                                                                                                                 ■

                                                                                                                                        I
                                                                                                                                         11!1:




                      low cytokine,                                                                       ~-...._
                                           ---1 -•~ ·• ·             - ' ~                                                                                     --------------
                      and high Ab
                                                                               .
                                                                               ~                                                                                            ----------------           ~
                      suggests                                                                                                                                                                                Colors classify
                      prophylactic    02q   <~r- ~                                                                                                                                                            patient "groups" for
                      anti-viral                                                                                                                                                                              triaging optimal
                      administration      0.8         ~ ---         ~                                                                         -------------
                                               0 .6        "-                                                                        ---------                                                                intervention
                      and                           0 .4                                       __.,.---                                                             ___________.
                      quarantine         " 'Antibodi.es 0      □A                                                                                                               .l\ntigen
                                                                                                                                                                                                                                                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 246 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                                                               THER-6460807
          Fed. R. Crim. P. 6(e) material
                                   the       heatthcare


                                                              odeling        latrorm           apabilities
                                  1.     Predicts spread of an infectious pathogen in a heterogeneous human
                                         population.
                                 2.      Reflects the impact of regional demographics and patient risk factors.
                                 3.      Enables evaluation of healthcare mitigation policies, for example:
                                          ~ Surveillance/testing strategies
                                           ffi
                                            Hospitalization, home isolation, and quarantine policies
                                          ~ Prophylactic vaccination and anti-viral treatment policies
                                           ffi
                                            School and workplace closures; other social distancing measures




FER-247
                                            Enables cost assessment and evaluation of quality adjusted life years
                                            (QALY) saved by comparing alternative mitigation approaches.
                                 4,      Is fully integrated with real-time data acquisition, enabling model updates
                                         based on the latest data acquired from multiple sources
                                         Includes automated, frequent model updates.
                                           ffi   Leads to more accurate projections for spread.
                                           ffi   Allows health agencies to rapidly adapt to changing conditions.
                                                                                                                                      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 247 of 299




          FOIA Confidential Treatment Requested by Theranos                                                            THER-6460808
          Fed. R. Crim. P. 6(e) material
                                            the   heatthcare

                                                                 odel Accurately                eproduces
                                                               pread of La Gloria               utbreak
                                       rn   All models are validated by reproducing historical data



                           Cf)

                           E
                           0
                          0..      0
                           E
                           >,      LO
                           Cf)




FER-248
                          '+-
                           0       0
                                   s;;I'"
                          wCf)
                           C
                           0
                          £                                               I                                        -   Simulation
                                                                                                                   ~
                          -~
                                   gl                                                                      I   I       Clinical reports
                           Cf)     0
                           Q)
                           Cf)
                           cu
                                   N
                                                                     r \
                           t)
                          '+-      0
                           0
                           I....
                           Q)
                          ..0
                           E       0
                           ::J
                          z
                                              0                20        40            60             80
                                                                                                                                                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 248 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                               THER-6460809
          Fed. R. Crim. P. 6(e) material
                                       the nos
                                            heatthcare
                                            eproauces Bangkok Publicly Reported H1 N1 Data
                                             including Deaths and Age=Dependence
                                                              Total cases ~20,000; reported cases significantly less.

                                          # of confirmed cases                                                    # of deaths
                                6000                                                               60

                                5000                                                               50
                                                                             o MOPH data
                                                                                                   40
                                                                                 simulation
                                3000                                                               30

                                2000                                                               20

                                                                                                   10

                                   0




FER-249
                                                                                                     0


                                # of confirmed cases 20-59 yrs old                               # of confirmed cases 5-14yrs old
                                2000                                                             2500


                                1600                                                             2000


                                1200                                                             1500 ..


                                 800 ..                                                          1000


                                 400                                                              500 ..


                                   0                                                                0
                                                                                                         0       50      100    150
                                                                                                                                                     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 249 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                           THER-6460810
          Fed. R. Crim. P. 6(e) material
                                     the   heatthcare


                                                    elected    ncology          pplications
                                 •    Rapid expansion of use through predictive visibility (models) and
                                      early reads (cartridges) on effiacacy and safety in new indications
                                     - MAGE-3 expansion

                                 •    Virtual and rapid head-head studies for comparative differentiation
                                     - Cervarix differentiation - characterization of velocity of antibody
                                       decay and need for re-boost




FER-250
                                 •    Combination tests for low cost, real-time identification of antigen
                                      levels/presence of genetic signature from finger-stick of fresh whole
                                      blood run on point-of-care device in pharmacies, physician's offices,
                                      and other remote locations
                                     - MAG E-3 "responder" identification
                                                                                                                             Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 250 of 299




          FOIA Confidential Treatment Requested by Theranos                                                   THER-6460811
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare
                                                                 eployment of


                                  • Decision support applications provide compounding predictive power
                                      • Inflammation/immunology/humeral response models form
                                        foundation of data analytics engine
                                      • Data analytics engine facilitates data integration and connectivity
                                        between disease-specific infrastructures:
                                                         • Viral & Allergy Vaccines
                                                         • Bacterial Vaccines




FER-251
                                                         • Emerging Diseases & HIV
                                                         • Cancer Vaccines


                                  • Data collection, analytics and surveillance infrastructure faciillitates
                                    Care Delivery in emerging countries through placement of devices in
                                    remote locations
                                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 251 of 299




          FOIA Confidential Treatment Requested by Theranos                                                    THER-6460812
          Fed. R. Crim. P. 6(e) material
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 252 of 299



                                             THERANOS CONFIDENTIAL


                                                                                       theranos
                                    Excerpts from GSK Metabolic Study Report

       Nelson Rhodes, Director GSK Metabolic Biomarker Laboratory
       Surekha Gangakhedkar, Theranos Assay Systems Lead

       Background information:
       The Theranos system was evaluated at GSK to profile active GLP-1 and C-peptide values and these data
       were compare to "gold standard" ELISAs using frozen human plasma from study XXXXXXX. The key
       project objectives (found in the attached statement of work) were:

           ■   To assess the performance of the Theranos System in measuring a multiplex for GLP-1 and c-
               peptide values (the "Cartridge Analytes") as compares to the current gold standard ELISAs
               (which are not multiplexed).
                  o Specifically, the study will assess Theranos' capabilities to detect points that the
                      reference assays failed to accurately detect by running samples with C-peptide values in a
                      standard range (ng/mL) and GLP-1 values between 0-3.2 pM
           ■   To assess the functionality, specificity, reproducibility, accuracy, and precision of the Theranos
               System.
           ■   Assess the Theranos data reporting and transfer functions

       Thirty plasma samples (assayed in duplicate) were chosen based on historical GSK data for total GLP-1
       levels from subjects given a mixed meal and two finger prick blood draws were performed. Five
       Theranos machines were used with active GLP-1 and C-peptide cartridges that required 20µL of plasma.
       MesoScale Discovery's (MSD) active and total GLP-1, Linco (Millipore) active GLP-1, and Linco
       (Millipore) C-peptide ELISAs were run as comparator assays.

       GSK Metabolic Biomarker Lab comments:

           ■   Data show good correlation
                   o r2 = 0.90 for GLP-1 (MSD vs. Theranos)
                   o r2 = 0.96 for C-peptide (Linco vs. Theranos)
           ■   Inter-instrument precision (RLU average %CV= 11)
           ■   Machines worked well
           ■   Touch-screen interface was easy to use
           ■   Cartridges were pretty straight forward (easy to handle and load)
           ■   Assays took approximately I hour and 15 minutes per cartridge

       Overall conclusions:
          ■  The Theranos system eliminates the need for a lab and provided quality data
          ■  The Metabolic Biomarker Lab has a favorable impression of the technology/system and
             recommends GSK clinical groups to work with Theranos




FOIA Confidential Treatment Requested by Theranos                                                        THER-6460813
Fed. R. Crim. P. 6(e) material


                                                      FER-252
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 253 of 299



                                                       THERANOS CONFIDENTIAL
              Data:


                                                Study design
                   • Human subjects
                   • Food "challenge"
                   • Measure GLP-1 and C-Peptide multiplex
                     over 5 time points
                      - Linea Assay
                      -MSD Assay
                      - Theranos Assay


                                                       Theranos Confidential




                                        C-Peptide Assay
                                                   Averaged results

                                          C-Peptide Assay Correlation
                                                   Human Plasma Samples
                                       People fed and samples taken over several hours

                           8.0 - - - - - - - - - - - - - - - - - ~
                           7.0
                                       y = 0.9328x + 0.2137
                           6.0              2
                                           R = 0.9629
                           5.0
                           4.0
                           3.0
                           2.0
                           1.0                                            N = 29
                           0.0 · f - - - - - - ~ - - - ~ - - - ~ - - - - - - - 1
                                 0.0             2.0               4.0             6.0   8.0
                                                 C-peptide, nglmL Reference Assay



                                                       Theranos Confidential




FOIA Confidential Treatment Requested by Theranos                                              THER-6460814
Fed. R. Crim. P. 6(e) material


                                                                   FER-253
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 254 of 299



                                                                   THERANOS CONFIDENTIAL


                           Calibration to GSK matrix
                                       Correlation ofTheranos Signal (RLU) with MSD result

                         4.0

                         3.5

                         3.0
                                           i   MSD
                                               •




                                           !-Linear (MSD)
                         2.5
                                                                   !




                         2.0

                         1.5

                         1.0
                                                                                            y = 3.9917E-04x - 5.3500E-01
                                                                                                        2
                         0.5                                                                        R = 8.1402E-01


                         00
                                0                  2000                4000              6000                8000           10000
                                                                                Signal


                                                                       Theranos Confidential




                       Lack of correlation of predicate
                                  methods
                                    Comparison of two commercially available
                                                   methods
                                20.0
                                18.0 -                                 •
                                                                                         y = 1.3912x + 5.3732
                                16.0
                                                               •                                R
                                                                                                    2
                                                                                                        = 0.0682        •
                                14.0
                         8C: 12.0 •• •                                     •
                         :::i
                         ... 10.0
                         D..  8.0
                         ...J
                         Cl

                                 4.0
                                                          ••               •
                                 2.0
                                 0.0
                                         •• ••• ..                                          •
                                    0.00           0.50    1.00            1.50      2.00       2.50        3.00     3.50     4.00
                                                                               GLP-1, pM. MSD


                                                                       Theranos Confidential




FOIA Confidential Treatment Requested by Theranos                                                                                    THER-6460815
Fed. R. Crim. P. 6(e) material


                                                                                         FER-254
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 255 of 299



                                                              THERANOS CONFIDENTIAL



                                            Assay correlation
                                                             GLP-1 Assay Correlation

                               3.50 ~ - - - - - - - - - - - - - - - - - - - ,

                                        y = 0.8939x
                               3.00
                                         R = 0.90
                        "' 2.50
                        0
                        C:

                       ..l'!   2.00
                                                                •                               •
                       ~
                          • 1.50
                       ~
                       a 1.00
                               0.50

                               000 - , - - ~ - ~ - - ~ - ~ - ~ - - ~ - ~ - - - - ,
                                  000      0~         1.00    1.~      200         2.~   ~00   ~~   400
                                                                GLP-1, pM MSD


                                                              Theranos Confidential




                                                       Subject 232
                                                                    Subject 232




                                                                     Time point


                                                              Theranos Confidential




FOIA Confidential Treatment Requested by Theranos                                                         THER-6460816
Fed. R. Crim. P. 6(e) material


                                                                                  FER-255
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 256 of 299



                                            THERANOS CONFIDENTIAL



                                        Subject 236
                                                 Subject 236




                                                    Time point




                                             Theranos Confidential




                                        Subject 249
                                                  Subject249




                       I                                                   ~
                                                                           ~




                                                 Time point




                                             Theranos Confidential




FOIA Confidential Treatment Requested by Theranos                               THER-6460817
Fed. R. Crim. P. 6(e) material


                                                                 FER-256
           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 257 of 299



                                            THERANOS CONFIDENTIAL



                                        Subject 264
                                               Subject 264




                                                                     ...,._264M:
                                                                     ~264T!




                                                    Time point


                                             Theranos Confidential




                           Summary Statistics GLP-1
                                Comparison

                   • Theranos LOO = 0.17 pM
                   • Dynamic range measured: 0-3.2 pM
                   • Mean= 0.9 pM (Th), 1.0 (MSD)




                                            Theranos Confidential




FOIA Confidential Treatment Requested by Theranos                                  THER-6460818
Fed. R. Crim. P. 6(e) material


                                                           FER-257
                                   the     heatthcare




                                                              ase   tudy:   lient   I




FER-258
                                                                                                       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 258 of 299




          FOIA Confidential Treatment Requested by Theranos                             THER-6460819
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare

                                                              irtual Study Application

                                  TheranOS Virtual Study Application enables more
                                  efficient clinical study design, conduct, and analysis
                                  through in-silica:
                                      1,      Comparison of alternative clinical study designs
                                      2,      Exploration of drug effects on multiple physiologic
                                              outputs




FER-259
                                      3,      Examination of patient response variance in order to
                                              power the clinical study
                                      40      Optimization of dose regimens
                                      50      Examination of the magnitude and variance of side
                                              effects
                                                                                                                    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 259 of 299




          FOIA Confidential Treatment Requested by Theranos                                          THER-6460820
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare

                                                              irtual Study Application

                       TheranOS Virtual Study Application enables more efficient
                       clinical study design, conduct, and analysis through in-silica:
                               Identification and selection of sub-populations having different
                               physiologic responses
                              0
                           7 Identification of predictive patterns for early reads on efficacy and
                               safety




FER-260
                           8, Refinement of enrollment criteria.
                           9, Probability analysis of likely clinical outcomes for a given design.
                           10, Head-head studies for comparative effectiveness
                           11, ...

                       Simulations can be run before a study is designed and
                       dynamicaUy throughout each study.
                                                                                                                    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 260 of 299




          FOIA Confidential Treatment Requested by Theranos                                          THER-6460821
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                             ! c:l\!S E: ~3-~rLJ L)\l K/1
                                   the     heatthcare

                              heran                           omprehensive                                               hysiological                                             dels
                       Using the interconnected physiological modeling engine, simulated optimal
                       therapy regimens for maximum efficacy and minimal adverse events for
                       asset that acts on multiple pathways.
                                                                                                                         0                                          0
                                                                     ~                                                   N                                          N

                       ~    95% target inhibition                                                                        0                                          0
                                                                                                                   ID                                        ID
                            reproduced key behaviors f               LO
                                                                                ...                          .
                                                                                                              .    _!;
                                                                                                                   ID
                                                                                                                    en
                                                                                                                    ro
                                                                                                                         0
                                                                                                                         N
                                                                                                                                                             _!;
                                                                                                                                                             ID
                                                                                                                                                              en
                                                                                                                                                              ro
                                                                                                                                                                    0
                                                                                                                                                                    N

                            reported in the clinical study ~                                                       ..c                                       ..c
                                                                     0
                                                                                                                   0     ~                                   0      ~
                                                                                                                   ~     0                                          0
                            of compound                    i    0
                                                                2:   LO
                                                                             -H-H                                  ><
                                                                                                                   I-
                                                                                                                   u
                                                                                                                         '9
                                                                                                                                                             ~
                                                                                                                                                             Cl..
                                                                                                                                                             <(
                                                                                                                                                             (0
                                                                                                                                                                    '9
                                                                              •   Total
                       ra   The model predicts the         co            ,
                                                                                 Lumbar spine
                                                                                                                         0                                          0




FER-261
                                                                     o       I • Hip                                     0                                          0
                            efficacy profiles of the drug,
                            even without accounting for                      0    100 200 300 400                             0   100 200 300 400                        0   100 200 300 400
                                                                                                                                            0
                                                                                              ~                                             0
                            its mechanism of action                                                                                         N
                                                                                                                                            0
                                                                                                                                            LO
                            (MOA models built for other                               ID      LO -                                  ID
                                                                                                                                     C
                                                                                      _!;                                           =       0
                            drugs)                                                    ID                                            3l      0
                                                                                       en
                                                                                       ro                                           1l
                                                                                      ..c                                           .....   0
                                                                                              0   -I                                 0      LO
                                                                                          0
                       ra   Model identified a predictive                                                                           ~
                                                                                      ~                                             I       o                                 Denosumab data:
                                                                                      ;l"I-'~                                       l-
                            signature of BMD that is                                                                                o...                                      McClung et al 2006
                            measurable ~6 months prior                                        0                                             0
                                                                                                                                            0

                            to physical changes in BMD                                                 0   100 200 300 400                       0   100 200 300 400
                                                                                                                                                                                                                     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 261 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                           THER-6460822
          Fed. R. Crim. P. 6(e) material
                                                                                                       :s ~r lJ L) 1/· Et
                                   the     heatthcare

                            Example of TPS in                  ompound Development for
                                   nemia and                   one-related Disease

                          1. Customized TheranOS for automated data integration,
                             analysis and real-time self-learning
                                   =    Compounding predictive power from all Client-generated
                                        data
                             . Developed and validated physiologic-based




FER-262
                               mechanistic modeling and simulation system
                                   -- Captured effects of target inhibition by Compound treatment
                                      Included target patient phenotypes based on literature and
                                      healthy patient responses to Compound
                                      Optimized design, evaluation, execution of (adaptive) clinical
                                      trials for Compound
                                      Led to novel biomarkers for efficacy and/or safety, enhancing
                                      patient treatment with Compound
                                                                                                                                    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 262 of 299




          FOIA Confidential Treatment Requested by Theranos                                                          THER-6460823
          Fed. R. Crim. P. 6(e) material
                                                                                                     :s ~r lJ L) 1/· Et
                                   the        heatthcare

                                                                  xample (cont'd)
                           3, Virtual Study Application used to optimize Phase Ila trial
                              design for target patient population
                                    =    Recommended designs enhance power of trial
                                          0
                                                 Increased probability of success
                                          0
                                                 Provided support for regulatory reviews
                                    =    Integrated data sets and models used by Client to run in-house
                                         simulations
                                    =    Easy-to-use interface for in-house ownership/use of highly




FER-263
                                         complex, proprietary modeling system
                           4. TheranOS applications integrated with Theranos Field
                              Systems yielding compounding predictive power
                                    =    Automated data integration, analysis, self learning and model
                                         refinement for trial design, analysis, and patient monitoring
                                    =    Extended to include additional indications for Compound and
                                         for other compounds and their indications/target profiles
                                                                                                                                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 263 of 299




          FOIA Confidential Treatment Requested by Theranos                                                        THER-6460824
          Fed. R. Crim. P. 6(e) material
                                                                                                      :s ~r lJ L) 1/· Et
                                   the nos heatthcare

                                    chematic                  verview of   hysiological        odel


                                                                              Erythropoiesis




FER-264
                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 264 of 299




          FOIA Confidential Treatment Requested by Theranos                                                         THER-6460825
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                                                               :s ~r lJ L) 1/· Et
                                   the     heatthcare
                                umma Illustration of uantitative Model
                                                         #



                              epresenting the ynamics of one etabolism
                                                                                              ---------------------------------------- • I e•A• f
                                                                                   ----------- ---------------------------------------     ....I-'                             ---►
                                                       ('(____                                             ,,.--~~~-ISL-;;-►               I                                  __
                                                                                                                                                                               __..1 C"lf~     1-~~~   BMD I
                                                                                                    IHI          :                   , , . ,,
                                                         \                                      ,           e-\                  ,'    """" ,
                                                               \                        ,,,                ''    \- ---
                                                                                                                     ~          ,'     k.J \.1.,
                                                                           '- /                             ', rGF --- /   -                       \
                                                                           ,'/, \                     .,______ ,:, ,,' ---:.,'
                                                                                                ·-----,.--------;..,_-::.---                       ',\
                                                               i                                ~H --.-rOPG-----/ ---!




FER-265
                                                         !                                                  --+--_-_:/-::~:?:::
                                                                                                           ---~\,,-
                                                                                                               ,,   TGF _______: : : ~ • • . • ~
                                                                                                                                               . ----- BM SC
                                                                                                                     \\                                                                          blood '
                                                         I
                                                          I                                                          I I                                                              ',
                                                           I
                                                               \
                                                                   \                                                  I I
                                                                                                                      ,,                                                                   '
                                                                       \
                                                                           \                                           ,,                                                              '
                                                                                                                                                                                      Compound
                                                                               \
                                                                                   \

                                                                                       ''                                  '\
                                                                                            '                                                                             I
                                                                                                                                                                      I
                                                                                                                                                                  I
                                                                                                                                                              I
                                                                                                    '                                                    ,,

                                                                                                          ---1
                                                                                                                                                              ---► Stimulation
                                                                                                                                                              ---• Inhibition
                                                                                                                                                              ---• Stimulation/ Inhibition
                                                                                                                                                                                                                                            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 265 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                                                  THER-6460826
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                              :s ~r lJ L) 1/· Et
                                     the         heatthcare
                                                     op-tJ~ w1ixed- ffects Modeling
                                                   for Compound        dministration
                                   • First-order one-compartment model was used to fit the
                                     Compound SC PK data.                                  o     Clinical data
                                   • Model data accurately predicts clinical PK profileJ ······· Model  individual fit
                                                                                                                                                             Model population fit
                       N           Subject #1                              Subject #2         0        . Subject #3                  . Subject #4                    •       Subject #5
                                                                                              (")

                       ci                                                                     ci
                                                        0
                       CD                                                                     ~                            N                                    N
                       c;:,                             ci                                          jO 0                   ci                                   ci
                       ci                                                                     0

                       0                                a                                                                  6                                    6
                       Ci)                               0
                                                                                                                           ci                                   ci




FER-266
                       ci                               ci
                                                                                              ~~o~                               ~        I
                                                                                                                                              ~-·,1.d
                              ()    1000    2000                  ()       10El0       2000            ()   10El0   2000             ()       10El0   2000               D    1090      2000

                                     Time (hr)                              Time (hr)                        Time (hr)                         Time (hr)                        Time (hr)



                                   Subject #6                 . Subject #7                    ro       . Subject #8        ro        . Subject #9                    •       Subject #10
                                                                                              ci                           ci                                   ro
                       st
                       ci                                                                                                                                       ci
                                                                                                                           "I"
                       N                                6 ~r\.                                6 J<f\                       ci                                   st
                       6                                                                                                                                        6

                       0                                                                                                   0                                    9.
                       6                                                                                                   ci                                   0

                                                        ~~ v~I                                g~       -~
                                                              I        I    I      I    I                                        ~             ~
                              ()    10El0   2000                  ()       10(30       2000            (}   10El0   2000             ()       10El0   2000               D    10(30     2000

                                     Time (hr)                              Time (hr)                        Time (hr)                         Time (hr)                        Time (hr)
                                                                                                                                                                                                           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 266 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                 THER-6460827
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                                      :s ~r lJ L) 1/· Et
                                              the          heatthcare

                                                          Simulated Peak Responses Predicted High, Mid,
                                                            and Low Dose Response for All Physiologies
                             LO                                              LO                                                     LO




                                                                             'SI"                                                   'SI"
                     (])
                     0)
                     C
                                                                             (")                                                    (")
                     ro
                    ..c
                    0
                                                                             N                                                      N
                    "'O
                     0
                    LL                  !!                ••••                            --~! _____ tt_•• _••           fl______ _ -n _,.,-H-•• _,., _ H_                      it ---
                                             !!                         it                         ,, TT                    .,
                             0                                               0                                                      0



                                        OJOOJ;:;aim-n                                       OJ     (")   OJ      ;a I    m    "TI             OJ     O     OJ              m    "TI




FER-267
                                                                                                                                                                   ;a I
                                        )::, --i ~ OJ cc "U U)                              )::,   --i   ~       OJ cc   "U   U)              )::,   --i   ~       OJ cc   "U   U)
                                        -u><oocrOI                                          -u><oocrOI                                        -u><oocrOI
                                                  'cf?.                                                  'cf?.                                             'cf?.
                     0) 0               - - - - - - - - - ~
                                                                                    0                                                   0
                                                                                    LO                                                  LO
                    I             LO
                    -E
                     E ~                                                            ~                                                   ~

                    ---
                    .....
                    -ro(])        0
                                  (")
                                                                                    0
                                                                                    (")
                                                                                                                                        0
                                                                                                                                        (")



                    "'O
                                                                                    ~
                                                                                                            f            !              ~
                                                                                                                                                             ! !
                    D.... 1'l
                    (Il
                     ff)
                         .        0
                                  ~
                                                    l t                             ~                                                   ~ -l I   e     Simulation (mean±SD)
                     >,.                                                                                                                         @     Clinical data (mean±SD)
                    en
                                                                                                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 267 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                         THER-6460828
          Fed. R. Crim. P. 6(e) material
                                                                                                                                         :s ~r lJ L) 1/· Et
                                   the     heatthcare

                                irtual Study                  pplication Increased Study P
                                 Simulations increased probability of study success by allowing
                                 users to optimize protocol and dosing titration schemes in-house
                                 prior to study initiation.
                                                                                    100
                                                                                      .........
                                                                                            %•  ·•···.·,
                                                                                                   q•',.,              ~
                                     Simulation of probability of 'successful
                                     outcome' indicated high probability of study   I ·~· ,                    /7 =~~. .
                                                                                    20'%
                                     failure ...                                     0%




FER-268
                                     ... due to underlying variability of            i     N

                                                                                     ~
                                     responses




                                     TPS optimized study design, dosing
                                     regimen, and titration parameters,
                                     increasing the probability of success 5x                                   -----i-"•vposea design
                                                                                                30%       50%          70%   90%
                                                                                                      Coeff. of Variation
                                                                                                                                                                      Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 268 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                            THER-6460829
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                                :s ~r lJ L) 1/· Et
                                        the          heatthcare

                                       irtual                    tudy                 pplication used to improve
                                       New titration design resulted in lower variance, leading to fewer
                                       excursions above maximum desired response and significantly
                                       decreasing frequency of safety issues.
                                       [;tf1f+:tf t~tf+:cw-f 7~·ifts:+f i<>ti                     7~·Vif: 7~·fr1r:1rr-Jr1~~:1s f:)c2Ititfrzrx hf c1~Jff\r:1ri ~T'strt-rf?t1r1

                                                                                Response @ 12m:                                                 Response @ 12m:
                               -s:t                                             10.5 ± 0.7 g/dl                                                 11.1 ± 0.5 g/dl
                               .....




FER-269
                               N
                        --J2 .....
                        -9
                        ..c
                        I      0
                               .....


                               co




                                         0          2           4           6     8    10   12      0           2           4           6           8          10         12

                                                                    Time (months)                                               Time (months)
                                                                                                                                                                                                             Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 269 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                   THER-6460830
          Fed. R. Crim. P. 6(e) material
                                                                                                                                               :s ~r lJ L) 1/· Et
                                   the       heatthcare

                                              Further                   ose        itration                  ptimization
                                  Further optimization of dose titration yielded even better efficacy
                                  and safety across three initial dose scenarios.


                                      High Initial Dose                       Moderate Initial Dose                       Low Initial Dose
                                                 Response @ 12m:                            Response @ 12m:                         Response @ 12m:
                         ~                       10.9 ± 0.6 g/dl                            11 . 1 ± 0. 5 g/d I                     11.3 ± 0.4 g/dl




FER-270
                         ~
                   ~
                   9
                   ..0
                   I
                         ~



                         co




                              0   2      4        6      8    10   12    0     2    4        6      8   10   12   0   2    4        6      8     10         12

                                             Time (months)                              Time (months)                          Time (months)
                                                                                                                                                                            Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 270 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                  THER-6460831
          Fed. R. Crim. P. 6(e) material
                                                                                                      :s ~r lJ L) 1/· Et
                                   the     heatthcare

                                                              afety and   icacy Profile

                                   Based on this safety and efficacy profile, the final
                                   design was recommended, as it:
                                      ®   Significantly enhances both safety and efficacy under all
                                          conditions for heterogeneous patient populations
                                      ®   Improves long-term Hgb maintenance by reducing "on-off'
                                          dosing and wide Hgb swings




FER-271
                                      ®   Reduces variance of Hgb response and treatment dose
                                      ®   Is robust to initial dose given to the cohort
                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 271 of 299




          FOIA Confidential Treatment Requested by Theranos                                                         THER-6460832
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                            :s ~r lJ L) 1/· Et
                                   the     heatthcare

                     Proposed Semi=ParaUel Trial Design is Estimated to Increase
                           the ProbabUitv of Success from ~15°/o to ~80%
                                   Recommendation: semi-parallel design has good chance of
                                   success for n=24 and n=16 in initial cohort and parallel cohorts,
                                   respectively
                                                         100%                                                      ""'\+""  Success, N=24/24, modified criteria
                                                                                                                   ..,.__ Success, N=24/20, modified criteria
                                                                                                                   ""1&"'"' Success, N=24/16, modified criteria

                                                  1/)                                                              ....... Success, N=12, Staggered
                                                  ~      80% - + - - - - - - ' ! > - - - - ~
                                                  I..
                                                 1-




FER-272
                                                 'C
                                                  a,
                                                  ~
                                                  "3     60%
                                                   E                                                                                design
                                                 i:n
                                                 ....0
                                                 ca,     40%
                                                  f:
                                                  a,
                                                  a.
                                                         20%


                                                          0% - + - - - - - , - - ~
                                                            10%          30%                    50%              70%            90%
                                                                                           Coeff. of Variation
                                                                                                                                                                                         Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 272 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                               THER-6460833
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                                :s ~r lJ L) 1/· Et
                                        the         heatthcare

                                      odel Illuminates Seconda                                                                       afety                oncerns

                                     Model indicates that Compound treatment may lead
                                     to secondary safety concerns in target patients
                                     undergoing treatment, if not taken into account.

                         5--,------------------------,                                                                    12 ~ - - - - - - - - - - - - - - - !

                         5 -+--------------i-------1•---------___.                             -Healthy                   11
                                                                                               -1 Flt I




FER-273
                         4                                 ii,,ik-----'"'-::..- - - - - - - - - - - - - - - - - - - - J   10   ~½~;                                ;   .;?;st                        i
                                                                                  Thick lines indicate mean.               9
                                                                                                                                                                                Normal
                                                                                  Thin lines indicate ±SD.                                                                         range
                                                                        ---------------------1
                                                                        .
                         3 -+-~__,____-~1------..-----+----clRc---":--'•~
                                                                                                                           8

                                                                                                                           7 +-,   ~,·- - - - ~ - ~ - - ~ - - - - - - - - - - - - - - - - 1
                         2   + - , ~ \ c - l - ·~ · · • • ~ , - - ' . . ~ • ~
                                                                            .• - - - - - - - - - - - - - - - <

                                                                                                                           6                                             --Healtlfy'            I
                                                                                                                           5-+------------------------<


                         a JJL_ _               ~---~~====3~~~                                                             4
                             0                     50                       100               150                   200        0          50             100             150                     200
                                                                    Time (days)                                                                      Time (days)
                                                                                                                                                                                                             Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 273 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                   THER-6460834
          Fed. R. Crim. P. 6(e) material
                                                                                           :s ~r lJ L) 1/· Et
                                   the     heatthcare

                                                          econda   afety L;oncerns

                                          Model indicated that Compound treatment may
                                          lead to secondary safety concerns in target
                                          patients undergoing treatment
                                   1. Severe hypocalcemia after intravenous
                                      administration of bisphosphonates has been




FER-274
                                      observed in patients with poor mineral regulation.
                                   2. Target patients present a particular risk due to
                                      limited endogenous mineral regulation.
                                      . Phase I studies with Compound in healthy
                                        patients show limited Ca effects due to normal
                                        mineral regulation in these patients.
                                                                                                                        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 274 of 299




          FOIA Confidential Treatment Requested by Theranos                                              THER-6460835
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                                           :s ~r lJ L) 1/· Et
                                          the            heatthcare

                                                         Enhanced                               heran                                 atient                  oho
                                      After safety review, shows excellent agreement with Client data
                                      on variability in pre- and post- BP of patients.
                                                                                                               L!)
                                                                                                               N

                                      0
                                      N
                                                    Pre-                                                                            Post-
                                                                                                               0       --
                                                                                                               N
                                                    lnte                                                                            Intervention
                                      ~
                                                                                                               L!)
                               >,                                                                       >,     ..---
                               ()                                                                       ()
                               C                                                                        C
                               Q)                                                                       Q)
                               :::;                                                                     :::;
                               0-     0                                                                 0-
                               ~      ..---                                                             ~
                               LL                                                                       LL     0




FER-275
                                      L!)
                                                                                                               L!)     ---j




                                      0       _J                                                               0       _J




                                                   100
                                                         ..  120          140          160       180                          100
                                                                                                                                    J.I__
                                                                                                                                        120          140          160          180
                                                              Systolic Blood Pressure (mm Hg)                                            Systolic Blood Pressure (mm Hg)


                           Population mean: 150.6 mmHg                                                                                        143.2 mmHg }                 [Rohrscheib et al,
                           Population SD:    18.0 mmHg                                                                                         13.3 mmHg                   CJAS N , 2008]


                           Population mean: 149.3 mmHg                                                                                        141.0 mmHg }                 Data from Client,
                                                                                                                                                                           Oct 27 2009
                                                                                                                                                                                                                        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 275 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                              THER-6460836
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                                           :s ~r lJ L) 1/· Et
                                      the          heatthcare


                                   ummary of uose itration Optimization for
                                 gb Maintenance and   =r&elated Safety Profile
                                                                                                                                                  Dose titration designs




                                                           Safety profil e (% population with high BP events)    I         8         I       17    I                8      I              10

                                   l'JI Palleals   I
                                                               Hgb response at 1 month after last dose, (%
                                                          responder patients with in target Hgb range, 10-12     I        62         I       91    I               78      I              86
                                                                                                       g/dl )




FER-276
                                                       Safety profi le in absence of high baseline BP patients
                                                                                                                 I        0.8        I       6     I               0.8
                                                           >160 mmHg, (% population with high BP events)
                                                   I
                        Excluding patients with
                       baseline BP>160 mmHg
                                                               Hgb response at 1 month after last dose, (%
                                                          responder patients with in target Hgb range, 10-12     I        67         I       91    I               82
                                                                                                       g/dl )

                                                                                                                                                                               Additional Info
                                                                                                                     • 6Hb since last dose                                       Current BP
                                                                                                                                                       Additional Info
                       Implementation logistics    I          Information required for calculating each dose     I•    6Hb since 1st dose                                        Max ,~BP since last dose
                                                                                                                                                       • Baseline BP
                                                                                                                     • Current Hb                                                Max sys BP since start
                                                                                                                                                                                 of trial
                                                                                                                                                                                                                        Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 276 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                                              THER-6460837
          Fed. R. Crim. P. 6(e) material
                                                                                                                       :s ~r lJ L) 1/· Et
                                   the     heatthcare

                                 ummary of Trial esign Results and Insights
                                    ased on      deling and Simulation
                           Using TheranOS model, optimized dose titration and Phase II clinical designs for
                               target patients to meet clinical objectives, improve success probability, and
                               accelerate development timelines
                                     ,.   Dose titration design predicted to improve efficacy across cohort of
                                          heterogeneous patients with improved safety profile (limits large/rapid Hgb
                                          excursion)
                                     ,.   Evaluated and proposed initial starting Compound dose for target patients to
                                          enhance response magnitude and rate with suitable safety profile




FER-277
                                     ,.   Proposed semi-parallel trial design and modified success criteria predicted to
                                          increase statistical power from 15% to 80%
                           Selected insights based on model development included:
                                     ,.   Rapid hypertensive response may be due to three contributing factors: direct
                                          pharmacological effect, rise in viscosity (RBC), delayed rise in EPO
                                          (vasoconstriction).
                                     ,.   Identification of candidate biomarker (CTX/BAP ratio) for the prediction of BMD %
                                          change
                                     ,.   Delayed transient increase in EPO may be indicative of abnormal RBC/Hgb
                                          function.
                                     ,.   Compound treatment predicted to lead to secondary safety marker in target
                                           ,atii,ents.
                                                                                                                                                    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 277 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                          THER-6460838
          Fed. R. Crim. P. 6(e) material
                                     the                                              I:        ccelerating Timelines and
                                              heatthcare                                          Improving
                                                                                      Milestones          Theranos impact

                                                       Critical path                                             •Data Quality significantly improved through integrated
                                     --------------studies                                                 ✓     data linkage and earlier & better visibility into exposure-
                                                                                                                 response and patient-patient visibility
                                                                                      Protocol                   •Advanced modeling and simulation capabilities
                                                                 Design and _         synopsis to                reduced need to run certain trials (e.g., add'I PK/PD
                                                                  planning            approval
                                                                                                           ✓     studies)
                                                                                                                 •Optimized trial design and dose selection reduces
                                                                                      Protocol                   possibility of re-running trials
                                                                 Startup and _        approval to          ✓     •Use in remote locations (e.g., off-shore) significantly
                                                                  initiation          FPFV
                                                                                                                 impacts site performance
                     Program                                                                                     •Real-time, Adaptive Decision Support improves POS
                    cycle time                                                        FPFV to              ✓     •15uL blood sample enables far more frequent samplin~
                                          Individual                                  LPLV                       than historically possible, yielding higher integrity data,




FER-278
                                         study cycle            Conduct and                                      faster
                                             time                                {                               •Reduces need for central lab sample shipping/
                                                                   closeout           LPLV to DBL          ✓     analysis
                                                                                                                 •Reduces need for clinic visits
                                                                                                                 •Decentralized and automated nature of sample
                                                                                                                 collection reduces number of sites/ investigators
                                                                                                                 Standardized real-time linkage
                                                                                DBL to tables ✓
                                                                  Analysis, - [ / graphs                         •Eliminates CRO and in-clinic overhead (and costs)
                                                                  reporting,                                     •Real-time data linkage reduces overhead associated
                                                                     and        Tables/ graphs ✓                 with data handling/ storage
                                                                 publication    to fCSR                          •Reduced number of queries
                                                                                                                 •TPS real-time linkage impacts DBL to analysis by
                      Note FPFV: First patient first visit; LPLV: Last patient last visit; DBL: Database lock    reducing need to consolidate various datasets
                      SOURCE: CMR; interviews; McKinsey analysis
                                                                                                                                                                                     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 278 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                           THER-6460839
          Fed. R. Crim. P. 6(e) material
                                                                                                     :s ~r lJ L) 1/· Et
                                      the  heatthcare

                          lient                 I from P         nalyses           ecommendations
                                 w    Overview
                                      =   Client with PoC study design question
                                      =   Compound being used in anemia

                                 w    The Theranos Solution utilization
                                      =   Theranos builds systems model to simulate PoC studies
                                      =




FER-279
                                          Theranos recommends new PoC study design

                                 rn   The Theranos Solution impact
                                      =   Theranos increased probability of success from -15°/o to
                                          -80%
                                      =   Theranos study design eNPV impact of -$202 million
                                                                                                                                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 279 of 299




          FOIA Confidential Treatment Requested by Theranos                                                        THER-6460840
          Fed. R. Crim. P. 6(e) material
                                                                                                                                       :s ~r lJ L) 1/· Et
                                   the     heatthcare
                                                                                                                "'
                                                 he           heranos               elution -=              verv1ew
                                Build predictive model and use it to design proof-of-concept study.
                                                      " Theranos asked to build a predictive model for a drug with highly complex
                                                        interacting physiologies and tightly limiting safety concern
                                                      " Theranos used the model to help design a proof-of-concept study that
                                                        improved odds of success

                                                      " Client had originally designed a proof of concept study that included
                                                        - Staggered dosing regimen
                                                                                ~
                                                                           01




FER-280
                                                                                    02
                                                                                         t - ---
                                                                                            ~ t -- ---
                                                                                                   --- -- -•
                                                                                                          --- - -•
                                                                                                  04
                                                                       . ----------•. . . .
                                                         -    Titration regimen that had high degree of variability in patient responses
                                                              (bouncing between too strong or too weak a response)

                                                      " Client had indicated that if the compound failed in the PoC study, there
                                                        were 3 likely outcomes
                                                        - Terminating compound development
                                                        - Re-doing Poe study
                                                        - Taking forward multiple doses forward for Phase 2b
                                                                                                                                                                    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 280 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                          THER-6460841
          Fed. R. Crim. P. 6(e) material
                                                                                                                              c: /\ ~3 E~ :s ~r lJ L) 1/· Et
                                   the     heatthcare

                                                he            heranos               olution ==           tilization
                        Built complex model and proposed optimized study design within 6 months.
                                                     " Feb, Theranos receives request
                                                     " Mar, Theranos receives data to begin modeling
                                                     " Jun, Complex systems model built from scratch, with initial physiologically
                                                       meaningful results
                                                     " July, Systems model and simulations completed with solution delivered to
                                                       Client
                                                     " The Theranos Solution improved odds of success in a number of ways,
                                                       including:




FER-281
                                                       - Building a complex systems model
                                                       - Proposing a new proof of concept study design based on extensive
                                                           simulation of underlying physiology including
                                                       - Proposing a semi-parallel dosing regimen

                                                                             •  •
                                                                   •01002•i -------•
                                                                             •  •  •               ••
                                                                       03•      •     •     •
                                                                         4                         •
                                                        -     Proposing a new titration regimen that reduced the likelihood of
                                                              excursions above the maximum desired response and reduced the
                                                              number of low-responders
                                                                                                                                                                       Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 281 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                             THER-6460842
          Fed. R. Crim. P. 6(e) material
                                                                                                                                 :s ~r lJ L) 1/· Et
                                   the     heatthcare

                                    he          heranos              elution == Impact n                           uccess
                      Optimized study design increased probability of success from -15°/o to -80%.
                                                 " Probability of success through study design
                                                   - New study design optimized dosing and titration regimens to patient responses,
                                                       resulting in improved odds of success from ~15% to ~80% by causing:
                                                       " Fewer excursions above highest dose range
                                                          Faster average onset of action
                                                 " Guidance to regulatory agency
                                                   - Theranos accompanied client at meetings with regulatory agency to present new
                                                       study design and rationale (and then designs for all following studies)
                                                 " Client reaction




FER-282
                                                   - Client believes The Theranos Solution study design significantly reduced
                                                       likelihood of (re-)running additional studies; Estimates an impact of 18+ months
                                                       saved in clinical development timeline
                                                                                                                                                              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 282 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                    THER-6460843
          Fed. R. Crim. P. 6(e) material
                                                                                                                                                                      :s ~r lJ L) 1/· Et
                                     the      heatthcare

                       Improving probability of survival in PoC from 15°/4 to 80
                     resulted in eNPV of ~$202 million for late market drug entrant

                                                             Risk adjusted margin contribution
                                                                                                                                         Tail revenue
                                                                                                           @15% POS NPV =                margin
                                                                                                               -$90 Mat               73 contribution
                                                                                                               P2a
                                                                                                         12   11   11   10   10   9
                                                                                                                                                j ~ Discounting cash flows
                           +--- R&D investment                                                                                                         to beginning of P2
                                         risk     '                                                                                                    results in expected NPV
                                         adjusted                            LOE
                                                                                                                                                       difference of ~$202
                                                                                                           @80% POS NPV =             399   1          million by increasing




FER-283
                                                                                                               +$112 Mat                               probability of success
                                                                                                               P2a
                       (223)                                                                                                                       ~   Return on R&D
                                                                                                                                                       investment for
                                                                                                                                                       successful launched
                                                                                                                                                       compound with the
                                                                                                                                                       profile indicated would
                                    Assumptions                                         P2 survival increase from: 15% to 80%                          have increased from -
                       (454)        PYS: $500 millions                                  P3 survival: 57%                                               3.6% to +13% (an
                                    WACC: 8%                                            Reg survival: 84%                                              increase in return of
                                    Contribution margin: 0%, 50%, 70%, 60%              P2 cycle time: 3.1 yrs                                         ~10 percentage points)
                                    R&D capitalization rate: 9.5%                       P3 cycle time: 2.8 yrs
                                    Revenue profile: Biologic                           Reg cycle time : 1 yr


                      SOURCE: PharmaProj ects ; DiMasi et al. 2002 Journal of Health Economics
                                                                                                                                                                                                   Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 283 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                                                         THER-6460844
          Fed. R. Crim. P. 6(e) material
                                                                                                       :s 'T lJ [) \l" El
                                   the       heatthcare

                                             he Theranos Solution -- Impact on                    I

                                        00
                                             Late-to-market drug
                                        00
                                             Potential safety issues
                                        00
                                             Competing against established drugs
                                        00
                                             Minimal peak year sales and success probabilities
                                 Ir1          FJ                      •''1 t)

                                        00




FER-284
                                             At Phase 2, value of the drug is -$90 million
                                        00
                                             Economically unfeasible at proposed success rate
                                        00
                                             Development is likely to be stopped
                                        00
                                             Considering development investment to date, IRR= 3.6°/o
                                                  I p            r~,  tJc:1 t1 f !
                                        00
                                             At Phase 2, value of the drug became +$112 million
                                        00
                                             Theranos added -$202 million value
                                        00
                                             Theranos effectively increases ROI to 13%.
                                                                                                                                    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 284 of 299




          FOIA Confidential Treatment Requested by Theranos                                                          THER-6460845
          Fed. R. Crim. P. 6(e) material
                                                                                                              :s ~r lJ L) 1/· Et
                                   the     heatthcare

                          EUminating the need to repeat a single study accelerated
                                  development (estimated 18=24 months)

                                                 m   Return on R&D investment for successful launched
                                                     compound increased -10 percentage points
                                                     =   Further reduction of fully loaded cost of R&D and
                                                         increase of revenues from time savings




FER-285
                                                 m   By realizing the improvement in attrition rate across
                                                     the entire portfolio versus just one compound,
                                                     biopharmaceutical companies are realizing a further
                                                     reduction in the fully loaded cost of R&D, because in
                                                     an aggregate portfolio fewer wasted trials yield lower
                                                     spend for the overall portfolio irrespective of
                                                     development timelines.
                                                                                                                                           Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 285 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                 THER-6460846
          Fed. R. Crim. P. 6(e) material
                                   the     heatthcare

                                         Increasing                                    eturn on                    Investment
                              External research shows that pulling several operational
                              levers can increase return on R&D investment.
                                                   (_}['1   R&[) iw11rs:.s0::f'rrtf.:ATti'

                                                                                                                                       13.0




FER-286
                                          Current IRR for             Cost                   Speed   Quality-       Quality -      New IRR for
                                          average small                                              Attrition      Revenue        average small
                                          molecule                                                                  potential      molecule




                      SOURCE: E. David, et al. "Pharmaceutical R&D: The Road to positive R&D returns", Nature Reviews Drug Discovery
                                                                                                                                                                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 286 of 299




          FOIA Confidential Treatment Requested by Theranos                                                                                        THER-6460847
          Fed. R. Crim. P. 6(e) material
                                            e
                                       

                                                                                                                




FER-287
                                                                                          .

                                                                           -          ,
                                                                                      .


                       4 4 2#4 /4$4  !,%1/#$4 4 !4(4/(4*(-#/#244,/1,'-4         
                                                                                                                                                                  Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 287 of 299




          4)& #&0#$4,0%&04+1.0434",&).4                                                                                             4
          4 4 ,#%4 4 4 %0,#$4
                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 288 of 299

To:      'aiden.a.flynn@gsk.com'[aiden.a.flynn@gsk.com]
From:    Carolyn Balkenhol[/O=THERANOS ORGANIZATION/OU=FIRST ADMINISTRATIVE
GROUP/CN=RECIPIENTS/CN=CBALKENHOL]
Sent:    Tue 3/3/2009 2:51:18 AM (UTC)
Subject: Follow up
Theranos Evaluation Summary_GSK Biomarker Lab.pdf
Theranos Systems Pharmaceutical Introduction.pdf

 Aiden,

 It sounds like the call went great today. I apologize for not having some of these materials to you in advance of the call, but I was
 finalizing some updates to our overview document and wanted to be sure to give you the latest information. Elizabeth asked me to
 forward you this GSK report, as well, for your review. She s hoping that there might be a time for another call next week, so you can
 discuss GSK-specific applications of Theranos Systems.

 Please let me know if you have any difficulty with these transmissions and if there s a good slot for you and your team next week.

 Thanks so much.
 Carolyn




                                                                                                               HOLMES0019369

                                                             FER-288
          Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 289 of 299

                                    THERANOS CONFIDENTIAL


                                                                              theranos
                                                                           redef1n111g healthcare


                           Excerpts from GSK Metabolic Study Report

Nelson Rhodes, Director GSK Metabolic Biomarker Laboratory
Surekha Gangakhedkar, Theranos Assay Systems Lead

Background information:
The Theranos system was evaluated at GSK to profile active GLP-1 and C-peptide values and these data
were compare to gold standard ELISAs using frozen human plasma from study XXXXXXX. The key
project objectives (found in the attached statement of work) were:

   ʐ To assess the performance of the Theranos System in measuring a multiplex for GLP-1 and c-
     peptide values (the Cartridge Analytes ) as compares to the current gold standard ELISAs
     (which are not multiplexed).
        o Specifically, the study will assess Theranos capabilities to detect points that the
            reference assays failed to accurately detect by running samples with C-peptide values in a
            standard range (ng/mL) and GLP-1 values between 0-3.2 pM
   ʐ To assess the functionality, specificity, reproducibility, accuracy, and precision of the Theranos
     System.
   ʐ Assess the Theranos data reporting and transfer functions

Thirty plasma samples (assayed in duplicate) were chosen based on historical GSK data for total GLP-1
levels from subjects given a mixed meal and two finger prick blood draws were performed. Five
Theranos machines were used with active GLP-1 and C-peptide cartridges that required 20μL of plasma.
MesoScale Discovery s (MSD) active and total GLP-1, Linco (Millipore) active GLP-1, and Linco
(Millipore) C-peptide ELISAs were run as comparator assays.

GSK Metabolic Biomarker Lab comments:

   ʐ Data show good correlation
         o r2 = 0.90 for GLP-1 (MSD vs. Theranos)
         o r2 = 0.96 for C-peptide (Linco vs. Theranos)
   ʐ Inter-instrument precision (RLU average %CV = 11)
   ʐ Machines worked well
   ʐ Touch-screen interface was easy to use
   ʐ Cartridges were pretty straight forward (easy to handle and load)
   ʐ Assays took approximately 1 hour and 15 minutes per cartridge

Overall conclusions:
   ʐ The Theranos system eliminates the need for a lab and provided quality data
   ʐ The Metabolic Biomarker Lab has a favorable impression of the technology/system and
      recommends GSK clinical groups to work with Theranos




                                                                                             HOLMES0019370

                                                FER-289
    Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 290 of 299

                                                         THERANOS CONFIDENTIAL
Data:


                                               Study design
        Human subjects
        Food challenge
        Measure GLP-1 and C-Peptide multiplex
        over 5 time points
            Linco Assay
            MSD Assay
            Theranos Assay


                                                         Theranos Confidential




                                          C-Peptide Assay
                                                     Averaged results

                                           C-Peptide Assay Correlation
                                                     Human Plasma Samples
                                         People fed and samples taken over several hours

                             8.0
                             7.0
                                         y = 0.9328x + 0.2137
         Theranos result .




                             6.0                2
                                              R = 0.9629
                             5.0
                             4.0
                             3.0
                             2.0
                             1.0                                           N = 29
                             0.0
                                   0.0             2.0               4.0            6.0    8.0
                                                   C-peptide, ng/mL Reference Assay


                                                         Theranos Confidential




                                                                                                 HOLMES0019371

                                                                             FER-290
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 291 of 299

                                                                    THERANOS CONFIDENTIAL


                   Calibration to GSK matrix
                                   Correlation of Theranos Signal (RLU) with MSD resul                                           t

                4.0

                3.5

                3.0
                                              MSD
                                              Linear (MSD)
                2.5
  GLP-1, pM




                2.0

                1.5

                1.0
                                                                                ♦
                                                                                ♦
                                                                                                y = 3.9917E-04x - 5.3500E-01
                                                                                                        2
                0.5                                                             ♦                     R = 8.1402E-01
                                                            ♦
                                                        ♦


                0.0
                            0                2000                       4000                 6000            8000              10000
                                                                                    Signal


                                                                        Theranos Confidential




  Lack of correlation of predicate
             methods
                                Comparison of two commercially available
                                                methods
                            20.0
                                                                        ♦
                            18.0
                                                                                             y = 1.3912x + 5.3732
                            16.0                                                                    2                      ♦

                                                                •                                 R = 0.0682
                            14.0                                            ♦
              GLP-1 Linco




                                         ♦
                            12.0    ••


                            10.0
                             8.0                    •               ♦
                                                                                                       •
                             6.0                                                                ♦
                                                                                                                    ♦
                                                                                    ♦
                                                        ♦
                             4.0
                                                        •                   ♦

                                                                                                ♦
                             2.0
                             0.0
                                                    ••
                                0.00         0.50           1.00            1.50         2.00       2.50     3.00       3.50      4.00
                                                                                GLP-1, pM. MSD

                                                                        Theranos Confidential




                                                                                                                                         HOLMES0019372

                                                                                                      FER-291
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 292 of 299

                                                         THERANOS CONFIDENTIAL



                                    Assay correlation
                                                        GLP-1 Assay Correlation

                    3.50

                               y = 0.8939x
                    3.00
                                 R = 0.90
                    2.50                                   ♦                                        ♦
 GLP-1, Theranos




                    2.00

                    1.50

                    1.00

                    0.50

                    0.00
                        0.00      0.50       1.00        1.50      2.00       2.50       3.00   3.50      4.00
                                                           GLP-1, pM MSD


                                                         Theranos Confidential




                                              Subject 232
                                                                Subject 232

                   3.50

                                                                                                        232M
                                                                                                        232T
                   3.00




                   2.50




                   2.00
   GLP-1, pM




                   1.50




                   1.00



                   0.50




                   0.00
                          0          1              2                3               4          5                6
                                                                 Time point


                                                         Theranos Confidential




                                                                                                                     HOLMES0019373

                                                                                         FER-292
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 293 of 299

                              THERANOS CONFIDENTIAL



                         Subject 236
                                  Subject 236

         4.00
                                                                  236M
                                                                  236T
         3.50



         3.00



         2.50
 GLP-1




         2.00



         1.50



         1.00



         0.50



         0.00
                 0   1    2              3            4       5              6
                                    Time point



                              Theranos Confidential




                         Subject 249
                                  Subject 249

          1.60



          1.40



          1.20



          1.00




 I        0.80



          0.60
                                                                                 249M
                                                                                 249T




          0.40



          0.20



          0.00
                 0   1    2             3         4       5              6

                                  Ti me poi nt




                              Theranos Confidential




                                                                                        HOLMES0019374

                                                      FER-293
Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 294 of 299

                                    THERANOS CONFIDENTIAL



                               Subject 264
                                       Subject 264
             3.00




                                                                          264M
             2.50
                                                                          264T




             2.00
 GLP-1, pM




             1.50




             1.00




             0.50




             0.00
                    0      1    2               3            4        5          6
                                            Time point


                                    Theranos Confidential




                        Summary Statistics GLP-1
                             Comparison

 Theranos LOD = 0.17 pM
 Dynamic range measured: 0-3.2 pM
 Mean = 0.9 pM (Th), 1.0 (MSD)




                                    Theranos Confidential




                                                                                     HOLMES0019375

                                                            FER-294
                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 295 of 299


        theranos
     re:def1n,n_q heolt~rnre        
                                                                 Theranos Systems
     Introduction
     Theranos is transforming patient management, indivi dual wellness, and the economics of health care del ivery.

     In doing so, Theranos has showcased a new economic model for pharmaceutical companies, exponentially
     increasing sales and rate of growth while cutting d evelopment expenses.

     As the Theranos infrastructure begins to transform the way payors and physicians approach blood testin g and
     reimbursement, the adoption of Theranos Systems in pharmaceutical companies is powering a radical new
     growth model for the pharmaceutical and biotech ind ustry.

     Return on Investment for Pharmaceutical Clients
     Theranos technology has been robustly validated ov er the last four years. Existing clients include
     AstraZeneca, BMS, Celgene, GSK, J&J Centocor, Mayo Clinic, Merck, Pfizer, and others. Theranos direct -to-
     consumer home monitoring systems are currently bein g launched. In pharmaceutical clinical studies/prog rams,
     Theranos Systems have:

     Accelerated trial timelines by an average of 18 months.
          Demonstrating meaningful dose-response and efficac y dynamics profiles in ~6 months where
          conventional infrastructure took two years and was still not able to generate equally predictive
          correlations.
          Existing customers value a six-month gain in time-to-market at $180 million to $540 million 1.

     Reduced clinical operations costs by 50%.
         In addition to saving time, point-of-care ambulatory monitoring reduces the number of sites, as well as
         shipping, sample processing and clinical operations costs.
         Higher integrity field data and predictive models reduce the number of patients required in each clin ical
         study by 25%.

     Enabled realization of target product profiles that customers had not been able to achieve using the
     conventional testing and analytical infrastructure.
          Improved visibility into pathway dynamics
          Early reads on efficacy and safety dynamics
             - Established comprehensive longitudinal PK/PD prof iles.
             - Characterized trends in the rate of change of key markers. (Conventional infrastructure obscures
               trends Theranos Systems elucidate.)
          Optimized development in ways previously not possi ble because of the biology complexities.
             - Enabled adaptive studies and development.
             - Salvaged assets that were about to be written off .
             - Rapidly enabled label expansion into key new pati ent populations and multiple indications.
             - Powered mechanistically driven cross-comparison s tudies for compound differentiation and
               reimbursement.

     Enabled approval, reimbursement, and maximized use of key assets through drug-systems combinations
     now going onto the market together to optimize the benefit/risk profile of a drug on an individual patient basis.
     The individualized selection, treatment, monitoring and wellness counseling of subjects made possible through
     Theranos Systems is the foundation of a radical new growth model for pharmaceutical companies followin g
     the drug-device approach recommended by the Critica l Path Initiative. The ability to comprehensively monitor
     blood-proteins and behavior in an at-home system en ables pharmaceutical companies to overcome the clin ical
     and economic limitations of what s currently known as personalized population-based medicine.




      
     Most recent estimates by an existing Theranos clien t value each day gained at 1-3 million dollars per day.




CONFIDENTIAL                                                                                                           Page 1   

                                                                                                                    HOLMES0019376


                                                                     FER-295
                 Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 296 of 299


         theranos
     rettef,111111 JlfOltlrcare   
                                                  The Theranos System
     
     Theranos Systems are Theranos proprietary, patente d technology. The systems are becoming the center o f
     healthcare in the home, making healthcare a home ne cessity in the same way that personalized computers
     made computing a home necessity.

     For point-of-care technology to develop into a true individualized medical system (IMS) and make it a staple of
     patient care at the individualized level, significa nt breakthroughs were needed over the current state -of-the-art
     tools in the following domains:
            Greater sensitivity, specificity, precision and accuracy of simultaneous assays
            Home protein analysis for time profiling
            Home drug analysis for exposure-response character ization
            Integration of data coming from various sources into electronic health records (EHR)
            Data modeling using Bayesian and other approaches
            Systematic, prompt feedback to the health care provider (HCP) and the patient
            Enabling early, adaptive and rapid decision making about healthcare utilization

     The Theranos System was developed to address the af orementioned issues. Theranos Systems allow HCPs
     and patients to monitor drugs, their metabolites, and relevant biomarkers from fresh whole blood samples in
     real-time at any testing frequency in a clinic, hos pital setting or any point of care, including the home.

     Theranos Systems process finger-stick blood samples at the point of care,
     wirelessly transmit data to relevant health care pr oviders/clinicians, and can
     provide individualized and integrated content back to consumers to assist
     them in modifying behavior and establishing/achievi ng health and wellness
     goals. The user interface on the device is a graphi cal touch-screen, which 
     links with an individual s mobile phone in real-tim e, providing each user with
                                                                                                                   -
      smart, customized information.

     Theranos proprietary blood-analysis technology has made it possible to measure multiplexed combinatio ns of
     drugs, proteins and other analytes in the home, and in doing so, characterize trends in disease progre ssion
     and regression that were previously not seen. The a bility to capture more comprehensive longitudinal t ime-
     series measurements is fundamental to better characterizing a patient s response to therapy.

                                                       When deployed, the information system allows for th e
                                                       integration and exploitation of information in a wa y previously
                                                       not feasible. The field units combined with the mod els in the
                                                       information system enable accelerated clinical studies and
                                                       realization of the target profiles of key assets.

     In order to increase the value and coverage of mark eted assets, compound-specific information characterized
     in clinical studies is being leveraged in the consu mer environment. The information system allows for
     customized content to be deployed to device touch-s creens and the associated mobile applications to
     enhance the value of a therapy.

     The social networks which are rising around the mob ile and home
     systems are proving to be powerful viral marketing channels.




CONFIDENTIAL                                                                                                    Page 2    

                                                                                                           HOLMES0019377


                                                         FER-296
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 297 of 299

       theranos
     redefimri.q healthcare

                     Theranos Systems are comprised of three integrated technologies and services.

     1. Data infrastructure (for use across an entire p harmaceutical pipeline)
     An information integration and exploitation infrast ructure which permits:
           Data acquisition and storage of point-of-care resu lts in real time.
           The integration of blood parameters and patient diary data with all other physiologically relevant
           information into the EHR.
           A central mathematical software program to:
              - Graphically visualize, help to interpret, and ana lyze all data in one place
              - Link any new information into a disease managemen t system that then maps the information onto a
                probability space of clinical outcomes.
           The graphical display of clinically relevant and a ctionable information back to the HCP and/or the
           patient.
     A customer-specific data integration and self-learn ing prediction and simulation engine to:
           Centralize all information in one repository.
           Automatically import data that exist in different formats (historical data, clinical studies, literature, patient
           records, etc.).
           Power models of patient response and disease patho physiologies on integrated data sets.
           Constantly evolve and become increasingly predicti ve as learning algorithms process data from the
           field and literature without requiring human interv ention.

     2. Predictive and dynamic, multivariate, multi-dim ensional models (customized for program-specific
     objectives) that map disease progression and regres sion
     Algorithms
            Built-in pattern recognition tools characterize r esponder classes and clinical outcomes.
            Probability analysis tools systematically account for uncertainty.
            Integrate physiological models with statistical an alysis tools based on Theranos proprietary time-se ries
            analysis.
     Models
            Account for all relevant pathophysiologies and com pounds mechanisms of action
            Can identify relevant circulating parameters for p atient monitoring and classification
            Have increasingly predictive to power future studi es and decision making
            Simulate scenarios that answer what-if questions and allow users to run queries themselves
              - Patient profiles
              - Trial protocols

     3. Field units (integrated point-of-care home and mobile monitoring systems that work for any
     combination of assays, including drug and protein a nalysis)
     Devices remote, portable patient care systems
           On-site, real-time, automatic processing of cartridges for blood analysis
           User interface designed for non-computer-literate subjects, allowing the patient to initiate the assa ys
           and to graphically enter a variety of relevant info rmation, such as full patient diaries and behaviora l and
           psychological information
           Two-way communication system from the instruments to HCP/clinicians, mobile phones, and back to
           patients with relevant content, messages, and healt h information
           Blood and environmental data is automatically (wir elessly) transmitted into models in real time.
             - Fully exploit all data (every IIT or pivotal trial increases the predictive value of the models).
             - Characterize dose-response, efficacy and safety d ynamics faster and more accurately.
           Simultaneously collect relevant environmental info rmation and comprehensive patient diary information
           through graphical touch-screens.




CONFIDENTIAL                                                                                                        Page 3

                                                                                                               HOLMES0019378


                                                         FER-297
              Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 298 of 299

       theranos
     redefimri.q healthcare

     Cartridges disposable cartridges pre-loaded with chemistries to simultaneously measure multiplexes o f
     proteins and other analytes from ~15 μL whole blood finger-stick
            Cartridges can be customized to measure any combin ation of drugs and biomarkers together to map
            indicators/trends through comprehensive longitudina l PK/PD profiles of subject status.
            Rapid characterization of rate-of-change in key ma rkers and trends (through more frequent monitoring
            than possible using central labs) yields predictive insight into clinical outcomes far earlier than mo re
            traditional radiologic and clinical end-points, res ulting in earlier go/no-go decisions across multipl e
            indications.
            Assay precision and trend generation capabilities reduce required patient numbers.
            Standardized analytical platform can be used acros s all sites.
               - Reduce variability of data between sites.
               - Improve quality of data by avoiding issues with a nalyte decay rates and sample processing.
            Drug-specific cartridges complement wellness/disea se-specific cartridges that are being launched by
            Theranos direct to consumers and physicians.

     Mobile Applications transmission of individualize d content to smart, automated counselors on dev ice
     touch-screens and users mobile phones to assist wi th behavior modification and increase compliance wi th
     therapy
           Theranos proprietary algorithms enable the correl ation of blood data to efficacy dynamics profiles,
           behavior, lifestyle, diet, and side-effects.
           Truly individualized content is selected to help p eople change their lifestyles in a sustained way,
           through the integrated use of the back-end algorith ms, models, and data in the data infrastructure.
           Content is based on data for patient classes, wh ich recognize physiological and psychological pre-
           dispositions as well as local socio-environmental i nfluences.
           Applications link users through social networks, where success stories compound through the
           combination of each tailored home health system with a given therapy.

     Theranos Client Services include:
     Customization
            Devices
            Cartridges
            Informatics Systems
            Web portals
            Mobile applications for specific assets
     Study Planning
            Biomarker selection
     Support
            24x7 live international call center
            New Information System features for in-person trai ning of all site and where applicable, at-home devi ce
            installations and training for patients
            Maintenance of information systems and all web and mobile applications
     Regulatory Filings
            Compound-specific cartridges
     Distribution of the systems to consumers, physician s offices, and pharmacies
            Sale and distribution of devices and cartridges
            Reimbursement for devices and cartridges
     Marketing through the creation of Theranos product -specific mobile, device and web-based social welln ess
     networks




CONFIDENTIAL                                                                                                   Page 4

                                                                                                          HOLMES0019379


                                                       FER-298
     Case: 22-10312, 11/13/2023, ID: 12823472, DktEntry: 73, Page 299 of 299




                      CERTIFICATE OF SERVICE

     I hereby certify that I electronically filed the foregoing with the Clerk

of the Court for the United States Court of Appeals for the Ninth Circuit by

using the appellate CM/ECF system on November 13, 2023. I certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.


                                                  /s/ Amy Mason Saharia
                                                  AMY MASON SAHARIA
November 13, 2023
